Case 4:19-cv-00847-BSM Document 23-1 Filed 08/09/21 Page 1 of 316




                EXHIBIT A
Case 4:19-cv-00847-BSM
      Case 20-50527-LSS Document
                         Doc 185 23-1
                                  FiledFiled
                                        07/21/21
                                             08/09/21
                                                   Page
                                                      Page
                                                        1 of 23 of 316
Case 4:19-cv-00847-BSM
      Case 20-50527-LSS Document
                         Doc 185 23-1
                                  FiledFiled
                                        07/21/21
                                             08/09/21
                                                   Page
                                                      Page
                                                        2 of 33 of 316
Case 4:19-cv-00847-BSM
      Case 20-50527-LSS Document
                         Doc 185 23-1
                                  FiledFiled
                                        07/21/21
                                             08/09/21
                                                   Page
                                                      Page
                                                        3 of 43 of 316
CaseCase
     4:19-cv-00847-BSM
         20-50527-LSS Doc
                       Document
                          185-1 23-1
                                 FiledFiled
                                      07/21/21
                                            08/09/21
                                                  PagePage
                                                       1 of 5
                                                            312
                                                              of 316




                              Exhibit 1

                          Fifth Stipulation
             CaseCase
                  4:19-cv-00847-BSM
                      20-50527-LSS Doc
                                    Document
                                       185-1 23-1
                                              FiledFiled
                                                   07/21/21
                                                         08/09/21
                                                               PagePage
                                                                    2 of 6
                                                                         312
                                                                           of 316




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    BOY SCOUTS OF AMERICA AND                              Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                           (Jointly Administered)
                            Debtors.


    BOY SCOUTS OF AMERICA,

                            Plaintiff,                     Adv. Pro. No. 20-50527 (LSS)

                v.
                                                           Re: Adv. Docket Nos. 54, 72, 77, 107, 116, 151, 162
    A.A., et al.,

                            Defendants.


   FIFTH STIPULATION BY AND AMONG THE BOY SCOUTS OF AMERICA,
 THE OFFICIAL COMMITTEE OF SURVIVORS OF ABUSE, AND THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS MODIFYING THE CONSENT ORDER
GRANTING THE BSA’S MOTION FOR A PRELIMINARY INJUNCTION PURSUANT
       TO 11 U.S.C. §§ 105(a) AND 362 AND FURTHER EXTENDING THE
            TERMINATION DATE OF THE STANDSTILL PERIOD

             This fifth stipulation (this “Fifth Stipulation”) modifying certain terms of the Consent

Order Pursuant to 11 U.S.C. §§ 105(a) and 362 Granting the BSA’s Motion for a Preliminary

Injunction [Adv. Docket No. 54] (the “Consent Order”)2 and further extending the Termination

Date of the Standstill Period thereunder is made and entered into by and among the Boy Scouts

of America (the “BSA”), the non-profit corporation that is, along with its affiliate, Delaware


1
 The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Consent Order or The BSA’s Opening Brief in Support of Motion for a Preliminary Injunction Pursuant to Sections
105(a) and 362 of the Bankruptcy Code [Adv. Docket No. 7], as applicable, unless otherwise indicated.
       CaseCase
            4:19-cv-00847-BSM
                20-50527-LSS Doc
                              Document
                                 185-1 23-1
                                        FiledFiled
                                             07/21/21
                                                   08/09/21
                                                         PagePage
                                                              3 of 7
                                                                   312
                                                                     of 316




BSA, LLC, a debtor and debtor in possession in the above-captioned chapter 11 cases, the

official committee of survivors of abuse (the “TCC”), and the official committee of unsecured

creditors (the “UCC” and, together with the TCC, the “Committees”), by and through their

respective undersigned counsel.

                                           RECITALS

       WHEREAS, on March 30, 2020, after notice and a hearing, the Bankruptcy Court entered

the Consent Order.

       WHEREAS, the Consent Order stayed, up to and including May 18, 2020 (the

“Termination Date”), each of the Pending Abuse Actions and Further Abuse Actions identified

on Schedule 1 to the Consent Order with respect to the BSA Related Parties identified on

Schedule 2 to the Consent Order. The time period from the Petition Date to and including the

Termination Date, as extended from time to time, is referred to as the “Standstill Period.”

       WHEREAS, on May 18, 2020, the Bankruptcy Court entered the Stipulation and Agreed

Order By and Among the Boy Scouts of America, the Official Committee of Survivors of Abuse,

and the Official Committee of Unsecured Creditors Extending the Termination Date of the

Standstill Period Under the Consent Order Granting the BSA’s Motion for a Preliminary

Injunction Pursuant to 11 U.S.C. §§ 105(a) and 362 [Adv. Docket No. 72] (the “First Stipulation

and Agreed Order”), which extended the Termination Date of the Standstill Period up to and

including June 8, 2020.

       WHEREAS, on June 9, 2020, the Bankruptcy Court entered the Second Stipulation and

Agreed Order By and Among the Boy Scouts of America, the Official Committee of Survivors of

Abuse, and the Official Committee of Unsecured Creditors Modifying the Consent Order

Granting the BSA’s Motion for a Preliminary Injunction Pursuant to 11 U.S.C. §§ 105(a) and




                                                 2
       CaseCase
            4:19-cv-00847-BSM
                20-50527-LSS Doc
                              Document
                                 185-1 23-1
                                        FiledFiled
                                             07/21/21
                                                   08/09/21
                                                         PagePage
                                                              4 of 8
                                                                   312
                                                                     of 316




362 and Further Extending the Termination Date of the Standstill Period [Adv. Docket No. 77]

(the “Second Stipulation and Agreed Order”), which extended the Termination Date of the

Standstill Period up to and including November 16, 2020.

       WHEREAS, the Second Stipulation and Agreed Order deleted Paragraph 12 of the

Consent Order and replaced it with the following provision pertaining to the procedures for

obtaining further extensions of the Termination Date of the Standstill Period:

       The Termination Date may be extended by either (1) mutual agreement among the
       BSA, the UCC and the TCC, which shall be memorialized in a stipulation filed
       with the Court (an “Extension Notice”); or (2) motion filed by the BSA (an
       “Extension Motion”), which, in either case, shall be filed no later than twenty-five
       (25) days prior to the Termination Date and served on plaintiffs to Pending Abuse
       Actions or, as the case may be, Further Abuse Actions (through their counsel of
       record in any such Pending Abuse Action or Further Abuse Action) and any other
       party served with notice thereof. Any plaintiff in a Pending Abuse Action or
       Further Abuse Action may object to such extension of the Termination Date as to
       such plaintiff’s Pending Abuse Action or Further Abuse Action by filing with the
       Bankruptcy Court, within fourteen (14) days of the date of an Extension Notice or
       Extension Motion, an objection setting forth the basis for its objection (an
       “Extension Objection”). An Objecting Party shall serve any Extension Objection
       on the undersigned counsel to the TCC, the UCC and the BSA, and counsel to any
       affected BSA Related Party or Additional BSA Related Party or their counsel of
       record. No more than seven (7) days following the deadline by which Extension
       Objections must be filed, the BSA, the UCC, the TCC, and Local Council
       Committee shall be authorized to file a single omnibus reply to any Extension
       Objections filed with the Bankruptcy Court. Notwithstanding the filing of an
       Extension Objection by any plaintiff, the Termination Date shall be extended as to
       any plaintiff who does not object to the Extension Notice.

       WHEREAS, on October 22, 2020, the BSA and the Committees filed with the

Bankruptcy Court the Third Stipulation By and Among the Boy Scouts of America, the Official

Committee of Survivors of Abuse, and the Official Committee of Unsecured Creditors Modifying

the Consent Order Granting the BSA’s Motion for a Preliminary Injunction Pursuant to 11

U.S.C. §§ 105(a) and 362 and Further Extending the Termination Date of the Standstill Period

[Adv. Docket No. 107-1] (the “Third Stipulation”).




                                                3
       CaseCase
            4:19-cv-00847-BSM
                20-50527-LSS Doc
                              Document
                                 185-1 23-1
                                        FiledFiled
                                             07/21/21
                                                   08/09/21
                                                         PagePage
                                                              5 of 9
                                                                   312
                                                                     of 316




       WHEREAS, on November 18, 2020, the Bankruptcy Court approved the Third

Stipulation, entering the Order Approving Third Stipulation by and Among the Boy Scouts of

America, the Official Committee of Survivors of Abuse, and the Official Committee of Unsecured

Creditors Modifying the Consent Order Granting the BSA’s Motion for a Preliminary Injunction

Pursuant to 11 U.S.C. §§ 105(a) and 362 and Further Extending the Termination Date of the

Standstill Period [Adv. Docket No. 116] (the “Order Approving Third Stipulation”), which

extended the Termination Date of the Standstill Period up to and including March 19, 2021.

       WHEREAS, on March 8, 2021, the BSA and the Committees filed with the Bankruptcy

Court the Fourth Stipulation By and Among the Boy Scouts of America, the Official Committee of

Survivors of Abuse, and the Official Committee of Unsecured Creditors Modifying the Consent

Order Granting the BSA’s Motion for a Preliminary Injunction Pursuant to 11 U.S.C. §§ 105(a)

and 362 and Further Extending the Termination Date of the Standstill Period [Adv. Docket No.

151] (the “Fourth Stipulation”).

       WHEREAS, on March 21, 2021, the Bankruptcy Court approved the Fourth Stipulation,

entering the Order Approving Fourth Stipulation by and Among the Boy Scouts of America, the

Official Committee of Survivors of Abuse, and the Official Committee of Unsecured Creditors

Modifying the Consent Order Granting the BSA’s Motion for a Preliminary Injunction Pursuant

to 11 U.S.C. §§ 105(a) and 362 and Further Extending the Termination Date of the Standstill

Period [Adv. Docket No. 162] (the “Order Approving Fourth Stipulation”), which extended the

Termination Date of the Standstill Period up to and including July 19, 2021.

       WHEREAS, on June 17, 2021, the Debtors filed the Third Amended Chapter 11 Plan of

Reorganization for Boy Scouts of America and Delaware BSA, LLC [Docket No. 5368] (as such

may be amended or modified from time to time, the “Plan”) and the Proposed Amendments to




                                                4
       CaseCase
            4:19-cv-00847-BSM
                 20-50527-LSS Document
                              Doc 185-1 23-1
                                          FiledFiled
                                                07/21/21
                                                     08/09/21
                                                            Page
                                                               Page
                                                                 6 of10
                                                                      312
                                                                        of 316




Disclosure Statement for the Third Amended Chapter 11 Plan of Reorganization for Boy Scouts

of America and Delaware BSA, LLC [Docket No. 5371].

        WHEREAS, the Plan provides for the issuance of a Channeling Injunction that will

permanently enjoin the assertion of Abuse Claims against the Protected Parties, which, in the

case of a Global Resolution Plan, include the Local Councils and Contributing Chartered

Organizations, among others, as further described in Article X.F of the Plan.3

        WHEREAS, the Parties have agreed to a further extension of the Termination Date of the

Standstill Period as set forth in Paragraph 3 hereof, subject to the terms and conditions as set

forth herein.

        NOW THEREFORE, THE PARTIES, BY AND THROUGH THEIR RESPECTIVE

UNDERSIGNED             COUNSEL,         HEREBY         STIPULATE           AND      AGREE,        AND       THE

BANKRUPTCY COURT HEREBY ORDERS, AS FOLLOWS:

        1.       Effectiveness. This Fifth Stipulation shall become effective upon execution by

counsel for each of the BSA, the TCC, and the UCC and entry of an order of the Bankruptcy

Court approving this Fifth Stipulation, and every term hereof shall be effective as if expressly set

forth in the Consent Order; provided, however, the terms in Paragraph 6 of this Fifth Stipulation

(including any related default terms herein) shall be effective upon execution and filing by the

BSA, TCC, and UCC. For the avoidance of doubt, no Local Council is being ordered to comply

with the terms of the Fifth Stipulation or is being ordered to take any of the actions described in

Paragraphs 4 through 7 hereof; rather, if the order approving the Fifth Stipulation is entered, the

terms in Paragraphs 4 through 7 simply set out the terms under which the TCC and/or the UCC

can seek to terminate the Preliminary Injunction (as set forth in Paragraph 8) with respect to a


3
   Capitalized terms used in this recital but not otherwise defined herein shall have the meanings ascribed to such
terms in the Plan.


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      CaseCase
           4:19-cv-00847-BSM
                20-50527-LSS Document
                             Doc 185-1 23-1
                                         FiledFiled
                                               07/21/21
                                                    08/09/21
                                                           Page
                                                              Page
                                                                7 of11
                                                                     312
                                                                       of 316




particular Local Council that has not complied with the terms set out in Paragraphs 4 through 7

of this Fifth Stipulation.

        2.      Notice. This Fifth Stipulation constitutes good and sufficient notice in accordance

with Paragraph 12 of the Consent Order, as modified by Paragraph 8 of the Second Stipulation

and Agreed Order, and no other or further notice of the extension of the Termination Date of the

Standstill Period pursuant to this Fifth Stipulation is or shall be required.

        3.      Extension of Termination Date of Standstill Period. In accordance with the terms

of the Consent Order, as modified by the First Stipulation and Agreed Order, the Second

Stipulation and Agreed Order, the Order Approving Third Stipulation, the Order Approving

Fourth Stipulation, and this Fifth Stipulation, and without prejudice to future requests for further

extensions of the Termination Date of the Standstill Period consistent with the terms thereof, the

Pending Abuse Actions and the Further Abuse Actions identified on Schedule 1 attached hereto

(as such schedule may be further amended from time to time) are hereby stayed as to the BSA

Related Parties identified on Schedule 2 attached hereto (as such schedule may be further

amended from time to time) up to and including the earlier of: (a) October 28, 2021; and (b) the

date of the first omnibus hearing after the Bankruptcy Court issues its decision confirming or

denying confirmation of the Plan (as applicable, the “Extended Termination Date”).

Notwithstanding the foregoing, if on or before the Extended Termination Date (within the

meaning of the previous sentence) the TCC is party to a filing with the Bankruptcy Court that

evidences its support for the Plan, the Extended Termination Date shall be the date of the first

omnibus hearing after the Bankruptcy Court issues its decision confirming or denying

confirmation of the Plan.




                                                   6
       CaseCase
            4:19-cv-00847-BSM
                 20-50527-LSS Document
                              Doc 185-1 23-1
                                          FiledFiled
                                                07/21/21
                                                     08/09/21
                                                            Page
                                                               Page
                                                                 8 of12
                                                                      312
                                                                        of 316




        4.       Acknowledgment and Agreement. The terms of the form of Acknowledgment

and Agreement, attached to the Second Stipulation and Agreed Order as Exhibit 4, are

incorporated by reference herein and shall continue to apply with full force and effect until the

Extended Termination Date of the Standstill Period.

        5.       Preservation and Production of Rosters. The BSA and the Local Councils shall

continue to make diligent and reasonable efforts to preserve and keep intact all historical troop

and camp rosters that describe by name the Scouting youth, adult volunteers, Scouting

volunteers, and chartered organizations (“Rosters”) in the possession, custody, or control of the

BSA or the Local Councils, as applicable, in all locations where they may be found in the

manner in which Rosters were collected or created and filed in the ordinary course of operations.

All rights and obligations related to preservation and production of Rosters and related

information contained in the Third Stipulation and Fourth Stipulation are incorporated by

reference herein and shall continue to apply with full force and effect, as applicable and except

as otherwise provided herein, until the Extended Termination Date of the Standstill Period. The

BSA shall only be obligated to send additional Claims Lists to the applicable Local Councils for

Sexual Abuse Proofs of Claim amended or normalized on or before June 30, 2021. Producing

Councils shall then have 60 days from receipt of any such additional Claims List to, as provided

in the Fourth Stipulation, search for and produce Rosters to the BSA, which search and

production shall occur on a rolling basis but not later than 60 days after delivery of the applicable

additional Claims List by the BSA to the Local Council, unless the TCC consents.4

        6.       Chartered Organization Information Request in Advance of Revival Window

Expiration. The following protocol shall apply through the Extended Termination Date with


4
  Capitalized terms used in this paragraph but not defined herein shall have the meanings ascribed to such terms in
the Fourth Stipulation.


                                                        7
       CaseCase
            4:19-cv-00847-BSM
                 20-50527-LSS Document
                              Doc 185-1 23-1
                                          FiledFiled
                                                07/21/21
                                                     08/09/21
                                                            Page
                                                               Page
                                                                 9 of13
                                                                      312
                                                                        of 316




respect to only Local Councils that are located in New York, New Jersey, and North Carolina

(such states, the “Window States”):

                i.    TCC Counsel may, as soon as practicable, provide a list to the BSA of all

                      Sexual Abuse Survivor Proofs of Claim for which (1) a Local Council is

                      identified and (2) neither the Survivor nor the state court counsel who has

                      been retained by the Survivor has information indicating the likely identity of

                      the Chartered Organization that sponsored the Scouting unit with which the

                      Survivor was affiliated at the time of the alleged abuse (the “Relevant

                      Chartered Organization”); provided that, in the case of claims involving New

                      Jersey and North Carolina, TCC Counsel shall provide no more than one such

                      list per state per 30-day period (other than in the 60-day period before a

                      Revival Window5 in New Jersey or North Carolina expires, during which 60-

                      day period this proviso shall not apply).6 TCC Counsel shall use best efforts

                      to consolidate its lists so as to provide only one list per Window State to the

                      BSA.

               ii.    The BSA shall provide to each Local Council that is identified in the Sexual

                      Abuse Survivor Proof of Claim a list of all Sexual Abuse Survivor Proofs of

                      Claim relating to that Local Council that were listed on the TCC’s list

                      described in Paragraph 6(i) above.

              iii.    Based on the information contained in each applicable Sexual Abuse Survivor

                      Proof of Claim, BSA and the Local Council shall conduct a reasonable good

5
         “Revival Window” shall mean any law in a Window State reviving a previously expired statute of
limitations, claim presentation deadline, or other time limit that acts as a defense or bar to the filing of a cause of
action for damages relating to sexual conduct or sexual contact.
6
         If a Revival Window in New York is extended beyond August 14, 2021, this proviso shall also apply to
claims involving New York beginning on the date that such extension takes effect.


                                                          8
       CaseCase
            4:19-cv-00847-BSM
                20-50527-LSS Doc
                              Document
                                 185-1 23-1
                                        FiledFiled
                                             07/21/21
                                                   08/09/21
                                                         PagePage
                                                              10 of14
                                                                    312
                                                                      of 316




                     faith search for documents or information identifying the Relevant Chartered

                     Organization. BSA’s and the Local Council’s search shall not be limited to

                     exact matches, insofar as the BSA and each Local Council shall reasonably

                     expand their search for the Relevant Chartered Organization(s) beyond exact

                     matches in the Sexual Abuse Survivor Proof of Claim regarding the unit

                     number, meeting location(s), year(s) of abuse, etc.

              iv.    By no later than 30 days following its receipt of a list (which time period will

                     start to run the day after the TCC delivers a list to the BSA), each Local

                     Council that is located in a Window State and that elects to comply with the

                     provisions of this Paragraph 6 (each, a “Producing Local Council”) will

                     provide to the BSA:

                     A.       With respect to each Sexual Abuse Survivor Proof of Claim on the list

                              provided to the Producing Local Council, a list of any Chartered

                              Organization(s) that the Producing Local Council believes are

                              reasonably likely to be Relevant Chartered Organizations, along with

                              the documents, if any, supporting the Local Council’s inclusion of a

                              Chartered Organization on the list with respect to the Sexual Abuse

                              Survivor Proof of Claim;7 and

                     B.       A certification that: (1) the Producing Local Council has conducted the

                              reasonable good faith search described in Paragraph 6(iii) and (2) to

                              the extent that a Producing Local Council has not identified any

                              Chartered Organizations on the list described in Paragraph 6(iv)(A)

7
         The Local Council shall be able to redact the identifying information of any youth Scouting participants
other than the Survivor as to whose Sexual Abuse Survivor Proof of Claim the document relates from these
documents.


                                                       9
CaseCase
     4:19-cv-00847-BSM
         20-50527-LSS Doc
                       Document
                          185-1 23-1
                                 FiledFiled
                                      07/21/21
                                            08/09/21
                                                  PagePage
                                                       11 of15
                                                             312
                                                               of 316




                 with respect to a Sexual Abuse Survivor Proof of Claim, the Producing

                 Local Council has been unable to identify any Chartered Organizations

                 that the Producing Local Council believes are reasonably likely to be

                 Relevant Chartered Organizations with respect to that Sexual Abuse

                 Survivor Proof of Claim.

          C.     Notwithstanding the deadline in Paragraph 6(iv) hereof, a Producing

                 Local Council that is located in New York shall provide the foregoing

                 lists and certifications to BSA on a rolling basis as the Producing

                 Local Council finishes its search regarding individual Sexual Abuse

                 Survivor Proofs of Claim; provided that this obligation shall be

                 satisfied if the Producing Council makes a production at least every

                 seven days from the date that it receives a claims list and five business

                 days immediately prior to the expiration of any Revival Window.

     v.   The BSA will promptly provide the lists and certifications outlined in

          Paragraph 6(iv) to TCC Counsel on a rolling basis as it receives them from

          Producing Local Councils.

    vi.   For the avoidance of doubt, TCC Counsel may only provide the information

          or documents produced by the Local Council pursuant to this Paragraph 6 to a

          Survivor or state court counsel who has been retained by such Survivor that

          relate solely to that Survivor’s Sexual Abuse Survivor Proof of Claim or the

          sexual abuse set forth therein. Neither a Survivor nor state court counsel who

          has been retained by such Survivor may provide any documents received

          pursuant to this Paragraph 6 to any other person, other than in connection with




                                      10
      CaseCase
           4:19-cv-00847-BSM
               20-50527-LSS Doc
                             Document
                                185-1 23-1
                                       FiledFiled
                                            07/21/21
                                                  08/09/21
                                                        PagePage
                                                             12 of16
                                                                   312
                                                                     of 316




                    (a) litigation as described in Paragraph 6(vii) or (b) settlement discussions

                    between the Survivor and any Relevant Chartered Organization outside of the

                    Chapter 11 Cases.

            vii.    In addition to any limitations contained in the paragraphs above, any

                    documents provided hereunder shall be subject to the Confidentiality Protocol

                    set forth in the Bar Date Order and the Protective Order [Docket No. 799-1];

                    provided that a Survivor can use the documents that such Survivor has

                    received pursuant to Paragraph 6(vi) in connection with (a) litigation brought

                    by the Survivor against any Relevant Chartered Organization outside of the

                    Chapter 11 Cases or (b) settlement discussions between the Survivor and any

                    Relevant Chartered Organization outside of the Chapter 11 Cases.

            viii.   Submission of Disputes to Mediators. All disputes regarding the search for

                    and production and use of lists and documents as provided herein shall be

                    submitted to the Bankruptcy Court-appointed Mediators. A dispute hereunder

                    may be brought before the Bankruptcy Court only after a good-faith effort to

                    resolve the dispute as described in this paragraph.

       7.       Transfers of Local Council Assets. Unless and until the preliminary injunction is

terminated as to a Local Council, no Local Council shall (a) sell, transfer, or encumber any real

or personal property or other assets unless it receives value that is reasonably equivalent to the

value of the property or assets that it sells, transfers, or encumbers or (b) sell, transfer, or

encumber any real or personal property or other assets with actual intent to hinder, delay, or

defraud creditors or the estates (or their creditors). For the avoidance of doubt, the transfer of

property or assets to a trust, foundation, charity or non-profit, or any asset protection or asset




                                                 11
       CaseCase
            4:19-cv-00847-BSM
                20-50527-LSS Doc
                              Document
                                 185-1 23-1
                                        FiledFiled
                                             07/21/21
                                                   08/09/21
                                                         PagePage
                                                              13 of17
                                                                    312
                                                                      of 316




shielding vehicle for inadequate consideration is expressly prohibited under this provision

without regard to the rationale for such transfer.8 The Local Councils shall make diligent and

reasonable efforts to preserve and keep intact all documents and information relating to any

transfers of real or personal property or other assets made during the pendency of the Debtors’

chapter 11 cases.

        8.       Designation of Assets. Local Councils shall not designate unrestricted assets as

restricted by board resolution or otherwise, including the proceeds from sale of assets.

        9.       Termination of Preliminary Injunction. The preliminary injunction shall continue

to be subject to termination on the conditions and to the extent provided in Paragraph 9 of the

Fourth Stipulation; provided that the preliminary injunction shall terminate automatically upon

(i) the filing by the TCC of a notice of termination and corresponding certification of counsel of

a proposed order and entry by the Bankruptcy Court of an order terminating the preliminary

injunction as to any Local Council in a Window State that fails to complete the actions in

Paragraph 6 and (ii) entry by the Bankruptcy Court of an order terminating the preliminary

injunction as to such Local Council.

        10.      Immediate Effect.         Notwithstanding Bankruptcy Rule 6004(h), the terms and

conditions of this Fifth Stipulation are immediately effective and enforceable upon entry of an

order of the Bankruptcy Court approving this Fifth Stipulation; provided, however, the terms of

Paragraph 6 of this Fifth Stipulation and any relating default provisions are effective upon

execution and filing with the Court.

        11.      Authorization to File.         The BSA is authorized to file a copy of this Fifth

Stipulation (including the schedules attached hereto) with any court in which a Pending Abuse

8
  Notwithstanding anything in this paragraph, nothing herein shall prejudice any party’s right to assert that the
transfer of any assets to any of the entities identified in the foregoing sentence is an actual fraudulent transfer,
without regard to the adequacy or value of consideration provided.


                                                        12
      CaseCase
           4:19-cv-00847-BSM
               20-50527-LSS Doc
                             Document
                                185-1 23-1
                                       FiledFiled
                                            07/21/21
                                                  08/09/21
                                                        PagePage
                                                             14 of18
                                                                   312
                                                                     of 316




Action or Further Abuse Action is or may hereafter become pending as proof that such action is

stayed and enjoined as set forth herein and in the Consent Order.

        12.     Reservation of Rights. Nothing herein shall be construed to limit or affect any

party’s right to seek appropriate relief from this Court to the extent necessary to respond to any

actions by a court in which a Pending Abuse Action or Further Abuse Action is pending, which,

but for the stay provided herein and in the Consent Order, would require a party to act before the

Extended Termination Date of the Standstill Period.

        13.     Retention of Jurisdiction.   This Court shall retain jurisdiction to hear and

determine all matters arising from or related to the implementation, interpretation and/or

enforcement of this Fifth Stipulation and the Consent Order.

        14.     Headings. Headings of the decretal paragraphs of this Fifth Stipulation have been

inserted for convenience of reference only and are not intended to be a part of or to affect the

interpretation of this Fifth Stipulation.

        15.     Filing with Clerk. This Fifth Stipulation shall be promptly filed in the clerk’s

office and entered into the record.



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                                               13
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            4:19-cv-00847-BSM
                20-50527-LSS Doc
                              Document
                                 185-1 23-1
                                        FiledFiled
                                             07/21/21
                                                   08/09/21
                                                         PagePage
                                                              15 of19
                                                                    312
                                                                      of 316



CONSENTED TO BY:
                                              PACHULSKI STANG ZIEHL & JONES LLP
WHITE & CASE LLP
                                               /s/ James E. O’Neill
Jessica C. Lauria (admitted pro hac vice)
                                              James I. Stang (admitted pro hac vice)
1221 Avenue of the Americas
                                              Robert B. Orgel (admitted pro hac vice)
New York, New York 10020
                                              John A. Morris (admitted pro hac vice)
Telephone: (212) 819-8200
                                              James E. O’Neill (No. 4042)
Email: jessica.lauria@whitecase.com
                                              John W. Lucas (admitted pro hac vice)
                                              919 N. Market Street, 17th Floor
– and –
                                              P.O. Box 8705
                                              Wilmington, DE 1999-8705 (Courier 19801)
WHITE & CASE LLP
                                              Telephone: (302) 652-4100
Michael C. Andolina (admitted pro hac vice)
                                              Facsimile: (302) 652-4400
Matthew E. Linder (admitted pro hac vice)
                                              Email: jstang@pszjlaw.com
Laura E. Baccash (admitted pro hac vice)
                                                      rorgel@pszjlaw.com
Blair M. Warner (admitted pro hac vice)
                                                      jmorris@pszjlaw.com
111 South Wacker Drive
                                                      joneill@pszjlaw.com
Chicago, Illinois 60606
                                                      jlucas@pszjlaw.com
Telephone: (312) 881-5400
Email: mandolina@whitecase.com
                                              Attorneys for the Official Tort Claimants’ Committee
       mlinder@whitecase.com
       laura.baccash@whitecase.com            REED SMITH LLP
       blair.warner@whitecase.com             Kurt F. Gwynne (No. 3951)
                                              Katelin A. Morales (No. 6683)
– and –                                       1201 North Market Street, Suite 1500
                                              Wilmington, DE 19801
MORRIS, NICHOLS, ARSHT & TUNNELL LLP          Telephone: (302) 778-7500
                                              Facsimile: (302) 778-7575
 /s/ Paige N. Topper                          Email: kgwynne@reedsmith.com
Derek C. Abbott (No. 3376)                            kmorales@reedsmith.com
Andrew R. Remming (No. 5120)
Paige N. Topper (No. 6470)                    – and –
1201 North Market Street, 16th Floor
P.O. Box 1347                                 KRAMER LEVIN NAFTALIS
Wilmington, Delaware 19899-1347               & FRANKEL LLP
Telephone: (302) 658-9200                      /s/ Megan Wasson
Email: dabbott@morrisnichols.com
                                              Thomas Moers Mayer (admitted pro hac vice)
        aremming@morrisnichols.com
                                              Rachael Ringer (admitted pro hac vice)
        ptopper@morrisnichols.com
                                              Jennifer Sharret (admitted pro hac vice)
                                              Megan Wasson (admitted pro hac vice)
Attorneys for the Boy Scouts of America
                                              1177 Avenue of the Americas
                                              New York, NY 10036
                                              Telephone: (212) 715-9100
                                              Facsimile: (212) 715-8000
                                              Email: tmayer@kramerlevin.com
                                                      rringer@kramerlevin.com
                                                      dblabey@kramerlevin.com
                                                      jsharret@kramerlevin.com
                                                      mwasson@kramerlevin.com

                                              Attorneys for the Official Committee of Unsecured
                                              Creditors
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     4:19-cv-00847-BSM
         20-50527-LSS Doc
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                                                  PagePage
                                                       16 of20
                                                             312
                                                               of 316




                             Schedule 1


                Pending and Further Abuse Actions
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                                       4:19-cv-00847-BSM
                                           20-50527-LSS Doc
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                                                                              08/09/21
                                                                                    PagePage
                                                                                         17 of21
                                                                                               312
                                                                                                 of 316




    Schedule 1
    Pending Abuse Actions


                                     Underlying
           Non-Debtor                Plaintiff(s)
           Defendants(s)             (last, first)      Case Caption                      Case Number         Court or Agency
1          Quapaw Area Council       [Redacted]         [Redacted] v. Boy Scouts of       4:20-cv-159         United States
           Incorporated of the Boy                      America, and Quapaw Area                              District Court for
           Scouts of America                            Council Incorporated of the Boy                       the Eastern
                                                        Scouts of America                                     District of
                                                                                                              Arkansas,
                                                                                                              Central Division
2          Quapaw Area Council       [Redacted]         [Redacted] v. Boy Scouts of       5:20-cv-05034-TLB   United States
           Incorporated of the Boy                      America, and Quapaw Area                              District Court for
           Scouts of America                            Council Incorporated of the Boy                       the Western
                                                        Scouts of America                                     District of
                                                                                                              Arkansas,
                                                                                                              Fayetteville
                                                                                                              Division
3          Greater Los Angeles       John Doe 1         JOHN DOE 1, an individual v. 2:20-cv-01551            United States
           Area Council; Does 1                         BOY SCOUTS OF AMERICA;                                District Court for
           through 100                                  BOY SCOUTS OF AMERICA                                 the Central
                                                        GREATER LOS ANGELES AREA                              District of
                                                        COUNCIL, and DOES 1 through                           California,
                                                        100                                                   Western Division
4          DOE DEFENDANT 1;          [Redacted]         [Redacted] v. DOE DEFENDANT  30-2020-01122410-        Superior Court of
           DOE DEFENDANT 2;                             1; DOE DEFENDANT 2; DOES 3   CU-PO-CJC                the State of
           DOES 3 THROUGH 10                            THROUGH 10, INCLUSIVE                                 California,
                                                                                                              County of
                                                                                                              Orange
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                                                                             08/09/21
                                                                                   PagePage
                                                                                        18 of22
                                                                                              312
                                                                                                of 316




                                    Underlying
      Non-Debtor                    Plaintiff(s)
      Defendants(s)                 (last, first)         Case Caption                         Case Number         Court or Agency
5     DOE DEFENDANT 1;              [Redacted]            [Redacted] v. DOE DEFENDANT          37-2020-00000007-   Superior Court of
      DOE DEFENDANT 2;                                    1; DOE DEFENDANT 2; DOES 3           CU-PO-CTL           the State of
      DOES 3 THROUGH 10                                   THROUGH 10, INCLUSIVE                                    California,
                                                                                                                   County of San
                                                                                                                   Diego, Central
                                                                                                                   District
6     California Inland Empire      John Doe;            JOHN DOE, a minor, an                 5:20-cv-00314       United States
      Council; Does 1 through       [Redacted].          individually and by his Guardian                          District Court for
      100                                                Ad Litem, [Redacted] v. BOY                               the Central
                                                         SCOUTS OF AMERICA; BOY                                    District of
                                                         SCOUTS OF AMERICA,                                        California,
                                                         CALIFORNIA INLAND EMPIRE                                  Eastern Division
                                                         COUNCIL, and DOES 1 through
                                                         100
7     Silicon Valley Monterey       [Redacted]           [Redacted] v. Boy Scouts of           5:20-cv-1202        United States
      Bay Council, Inc.;                                 America; Silicon Valley Monterey                          District Court for
      Learning for Life, Inc.;                           Bay Council; Learning for Life,                           the Northern
      Does 7-100                                         Inc.; Joseph Alvarado; and Does 7-                        District of
                                                         100                                                       California
81    Town of Trumbull;             Jane Doe             JANE DOE v. TOWN OF                   20-05004 (JAM)      United States
      Learning for Life, Inc.;                           TRUMBULL; LEARNING FOR                                    Bankruptcy
      William Ruscoe;                                    LIFE INC.; BOY SCOUTS OF                                  Court for the
      Thomas Kiely; Timothy                              AMERICA CORPORATION;                                      District of
      Fedor                                              WILLIAM RUSCOE; THOMAS                                    Connecticut
                                                         KIELY; TIMOTHY FEDOR
9     Fairfield County Council      John Doe #1; John    JOHN DOE #1; JOHN DOE #2;             20-05005 (JAM)      United States
      of Boy Scouts of              Doe #2; John Doe #3; JOHN DOE #3; JOHN DOE #4 v.                               Bankruptcy
      America, Inc.;                John Doe #4          BOY SCOUTS OF AMERICA                                     Court for the

     1 Pending Abuse Action 8 is stayed only with respect to non-debtor Defendant Learning for Life.
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                                                                              PagePage
                                                                                   19 of23
                                                                                         312
                                                                                           of 316




                                Underlying
     Non-Debtor                 Plaintiff(s)
     Defendants(s)              (last, first)     Case Caption                            Case Number     Court or Agency
     Connecticut Yankee                           CORPORATION; FAIRFIELD                                  District of
     Council, Inc., Boy                           COUNTY COUNCIL OF BOY                                   Connecticut
     Scouts of America                            SCOUTS OF AMERICA, INC.;
                                                  CONNECTICUT YANKEE
                                                  COUNCIL, INC., BOY SCOUTS
                                                  OF AMERICA
10   Fairfield County Council   [Redacted]        [Redacted] v. FAIRFIELD                 20-05006        United States
     of Boy Scouts of                             COUNTY COUNCIL OF BOY                                   Bankruptcy
     America, Inc.;                               SCOUTS OF AMERICA, INC.,                                Court for the
     Connecticut Yankee                           CONNECTICUT YANKEE                                      District of
     Council, Inc., Boy                           COUNCIL, INC., BOY SCOUTS                               Connecticut
     Scouts of America                            OF AMERICA and BOY SCOUTS
                                                  OF AMERICA CORPORATION
11   Connecticut Rivers         [Redacted]        [Redacted] v. CONNECTICUT               20-02004        United States
     Council, Inc., Boy                           RIVERS COUNCIL, INC., BOY                               Bankruptcy
     Scouts of America                            SCOUTS OF AMERICA, and BOY                              Court for the
                                                  SCOUTS OF AMERICA                                       District of
                                                  CORPORATION                                             Connecticut
12   Connecticut Rivers         [Redacted]        [Redacted] v. CONNECTICUT               20-02003        United States
     Council, Inc., Boy                           RIVERS COUNCIL, INC., BOY                               Bankruptcy
     Scouts of America                            SCOUTS OF AMERICA, and BOY                              Court for the
                                                  SCOUTS OF AMERICA                                       District of
                                                  CORPORATION                                             Connecticut
13   Darwyn Azzinaro            [Redacted]        [Redacted] v. DARWYN                    SC 20309        Supreme Court
                                                  AZZINARO and BOY SCOUTS                                 State of
                                                  OF AMERICA CORP.                                        Connecticut
14   North Florida Council,     [Redacted]        [Redacted] v. THE BOY SCOUTS            6:20-cv-00275   United States
     Inc., Boy Scouts of                          OF AMERICA, a corporation                               District Court for
     America; Central Florida                     authorized to do business in Florida,                   the Middle
                                                  the NORTH FLORIDA COUNCIL,                              District of
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                                                                                 PagePage
                                                                                      20 of24
                                                                                            312
                                                                                              of 316




                                  Underlying
     Non-Debtor                   Plaintiff(s)
     Defendants(s)                (last, first)      Case Caption                            Case Number          Court or Agency
     Council, Inc., Boy                              INC., BOY SCOUTS OF                                          Florida, Orlando
     Scouts of America                               AMERICA, a corporation                                       Division
                                                     authorized to do business in Florida,
                                                     and the CENTRAL FLORIDA
                                                     COUNCIL, INC., BOY SCOUTS
                                                     OF AMERICA, a corporation
                                                     authorized to do business in Florida
15   North Florida Council,       [Redacted]         [Redacted] v. THE BOY SCOUTS            5:20-cv-00069        United States
     Inc., Boy Scouts of                             OF AMERICA, a corporation                                    District Court for
     America; Silver Springs                         authorized to do business in Florida,                        the Middle
     Shores Presbyterian                             the NORTH FLORIDA COUNCIL,                                   District of
     Church, Inc.                                    INC., BOY SCOUTS OF                                          Florida, Ocala
                                                     AMERICA, a corporation                                       Division
                                                     authorized to do business in Florida,
                                                     and SILVER SPRINGS SHORES
                                                     PRESBYTERIAN CHURCH, INC,
                                                     a corporation authorized to do
                                                     business in Florida
16   Stephen Zanetti; Linda       [Redacted]         [Redacted] v. BOY SCOUTS OF             0:20-cv-60351-       United States
     Jensen; Aaron Moore                             AMERICA, a foreign non-profit           XXXX                 District Court for
                                                     corporation, MARK KERN,                                      the Southern
                                                     individually, STEPHEN ZANETTI,                               District of
                                                     individually, LINDA JENSEN,                                  Florida, Fort
                                                     individually and AARON MOORE                                 Lauderdale
                                                     individually                                                 Division
17   Coastal Georgia Council,     John Doe           JOHN DOE, a pseudonym v. BOY            4:20-cv-00033-RSB-   United States
     Inc. (f/k/a) Coastal                            SCOUTS OF AMERICA (CORP),               CLR                  District Court for
     Empire Council, Inc.;                           COASTAL GEORGIA COUNCIL,                                     the Southern
     City of Bloomingdale                            INC. f/k/a COASTAL EMPIRE                                    District of
                                                                                                                  Georgia,
                           CaseCase
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                                                                 07/21/21
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                                                                             PagePage
                                                                                  21 of25
                                                                                        312
                                                                                          of 316




                                Underlying
     Non-Debtor                 Plaintiff(s)
     Defendants(s)              (last, first)    Case Caption                          Case Number         Court or Agency
                                                 COUNCIL, INC., and CITY OF                                Savannah
                                                 BLOOMINGALE                                               Division
18   Northeast Georgia          [Redacted]       [Redacted] v. BOY SCOUTS OF           3:20-cv-00021-CDL   United States
     Council, Inc.; Green                        AMERICA, INC.; NORTHEAST                                  District Court for
     Acres Baptist Church;                       GEORGIA COUNCIL, INC.,                                    the Middle
     First Baptist Church of                     GREEN ACRES BAPTIST                                       District of
     Athens; Betty Boland, as                    CHURCH; FIRST BAPTIST                                     Georgia, Athens
     the Administrator of the                    CHURCH OF ATHENS and                                      Division
     Estate of Ernest Boland                     BETTY BOLAND, AS THE
                                                 ADMINISTRATOR OF THE
                                                 ESTATE OF ERNEST BOLAND
19   Northeast Georgia          Dennis Doe       DENNIS DOE, individually and on       3:20-cv-00022-CDL   United States
     Council, Inc.; Green                        behalf of the General Public of the                       District Court for
     Acres Baptist Church;                       State of Georgia v. BOY SCOUTS                            the Middle
     Beech Haven Baptist                         OF AMERICA, INC.;                                         District of
     Church; First Baptist                       NORTHEAST GEORGIA                                         Georgia, Athens
     Church of Athens; Betty                     COUNCIL, INC., GREEN ACRES                                Division
     Boland, as the                              BAPTIST CHURCH; BEECH
     Administrator of the                        HAVEN BAPTIST CHURCH;
     Estate of Ernest Boland                     FIRST BAPTIST CHURCH OF
                                                 ATHENS and BETTY BOLAND,
                                                 AS THE ADMINISTRATOR OF
                                                 THE ESTATE OF ERNEST
                                                 BOLAND
20   Northeast Georgia          William Doe      WILLIAM DOE, individually and         3:20-cv-00024-CAR   United States
     Council, Inc.; Green                        on behalf of the General Public of                        District Court for
     Acres Baptist Church;                       the State of Georgia v. BOY                               the Middle
     Beech Haven Baptist                         SCOUTS OF AMERICA, INC.;                                  District of
     Church; First Baptist                       NORTHEAST GEORGIA                                         Georgia, Athens
     Church of Athens; Betty                     COUNCIL, INC., GREEN ACRES                                Division
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                                                                                 PagePage
                                                                                      22 of26
                                                                                            312
                                                                                              of 316




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     Non-Debtor                   Plaintiff(s)
     Defendants(s)                (last, first)      Case Caption                          Case Number         Court or Agency
     Boland, as the                                  BAPTIST CHURCH; BEECH
     Administrator of the                            HAVEN BAPTIST CHURCH;
     Estate of Ernest Boland                         FIRST BAPTIST CHURCH OF
                                                     ATHENS and BETTY BOLAND,
                                                     AS THE ADMINISTRATOR OF
                                                     THE ESTATE OF ERNEST
                                                     BOLAND
21   Northeast Georgia            Timothy Doe        TIMOTHY DOE, individually and         3:20-cv-00023-CDL   United States
     Council, Inc.; Green                            on behalf of the General Public of                        District Court for
     Acres Baptist Church;                           the State of Georgia v. BOY                               the Middle
     Beech Haven Baptist                             SCOUTS OF AMERICA, INC.;                                  District of
     Church; First Baptist                           NORTHEAST GEORGIA                                         Georgia, Athens
     Church of Athens; Betty                         COUNCIL, INC., GREEN ACRES                                Division
     Boland, as the                                  BAPTIST CHURCH; BEECH
     Administrator of the                            HAVEN BAPTIST CHURCH;
     Estate of Ernest Boland                         FIRST BAPTIST CHURCH OF
                                                     ATHENS and BETTY BOLAND,
                                                     AS THE ADMINISTRATOR OF
                                                     THE ESTATE OF ERNEST
                                                     BOLAND
22   Northeast Georgia            John Doe           JOHN DOE, individually and on         3:20-cv-00025-CAR   United States
     Council, Inc.; Green                            behalf of the General Public of the                       District Court for
     Acres Baptist Church;                           State of Georgia v. BOY SCOUTS                            the Middle
     Beech Haven Baptist                             OF AMERICA, INC.;                                         District of
     Church; First Baptist                           NORTHEAST GEORGIA                                         Georgia, Athens
     Church of Athens; Betty                         COUNCIL, INC., GREEN ACRES                                Division
     Boland, as the                                  BAPTIST CHURCH; BEECH
     Administrator of the                            HAVEN BAPTIST CHURCH;
     Estate of Ernest Boland                         FIRST BAPTIST CHURCH OF
                                                     ATHENS and BETTY BOLAND,
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
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                                                                    07/21/21
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                                                                                PagePage
                                                                                     23 of27
                                                                                           312
                                                                                             of 316




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     Non-Debtor                  Plaintiff(s)
     Defendants(s)               (last, first)      Case Caption                        Case Number     Court or Agency
                                                    AS THE ADMINISTRATOR OF
                                                    THE ESTATE OF ERNEST
                                                    BOLAND
23   Northeast Georgia           Robert Doe         ROBERT DOE, individually and on 3:20-cv-00026-CAR   United States
     Council, Inc.; Green                           behalf of the General Public of the                 District Court for
     Acres Baptist Church;                          State of Georgia v. BOY SCOUTS                      the Middle
     Beech Haven Baptist                            OF AMERICA, INC.;                                   District of
     Church; First Baptist                          NORTHEAST GEORGIA                                   Georgia, Athens
     Church of Athens; Betty                        COUNCIL, INC., GREEN ACRES                          Division
     Boland, as the                                 BAPTIST CHURCH; BEECH
     Administrator of the                           HAVEN BAPTIST CHURCH;
     Estate of Ernest Boland;                       FIRST BAPTIST CHURCH OF
     R. Fleming Weaver, Jr                          ATHENS; BETTY BOLAND, AS
                                                    THE ADMINISTRATOR OF THE
                                                    ESTATE OF ERNEST BOLAND,
                                                    and R. FLEMING WEAVER, JR.
24   Boy Scouts of America       [Redacted]         [Redacted] v. BOY SCOUTS OF         1:20-cv-00011   United States
     Aloha Counsel                                  AMERICA, A                                          District Court for
     Chamorro District;                             CONGRESSIONALLY                                     the District of
     Capuchin Franciscans;                          CHARTERED CORPORATION,                              Guam
     Capuchin Franciscans                           AUTHORIZED TO DO
     Province of St. Mary;                          BUSINESS IN GUAM; BOY
     Capuchin Franciscans                           SCOUTS OF AMERICA ALOHA
     Custody of Star of the                         COUNSEL CHAMORRO
     Sea; Doe Entities 1-5;                         DISTRICT; CAPUCHIN
     And Doe-Individuals 6-                         FRANCISCANS; CAPUCHIN
     47, Inclusive                                  FRANCISCANS PROVINCE OF
                                                    ST. MARY; CAPUCHIN
                                                    FRANCISCANS CUSTODY OF
                                                    STAR OF THE SEA; DOE
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                                                                                     24 of28
                                                                                           312
                                                                                             of 316




                                 Underlying
     Non-Debtor                  Plaintiff(s)
     Defendants(s)               (last, first)      Case Caption                           Case Number     Court or Agency
                                                    ENTITIES 1-5; AND DOE-
                                                    INDIVIDUALS 6-47, INCLUSIVE
25   Boy Scouts of America       [Redacted]         [Redacted] v. BOY SCOUTS OF            1:20-cv-00010   United States
     Aloha Council                                  AMERICA; BOY SCOUTS OF                                 District Court for
     Chamorro District; The                         AMERICA, ALOHA COUNCIL                                 the District of
     School Sisters of Notre                        CHAMORRO DISTRICT; THE                                 Guam
     Dame, Milwaukee                                SCHOOL SISTERS OF NOTRE
     Province, Inc.; School                         DAME, MILWAUKEE
     Sisters of Notre Dame                          PROVINCE, INC.; SCHOOL
     Central Pacific Province,                      SISTERS OF NOTRE DAME
     Inc.; School Sisters of                        CENTRAL PACIFIC PROVINCE,
     Notre Dame, Region of                          INC.; SCHOOL SISTERS OF
     Guam; John Does 1-20                           NOTRE DAME, REGION OF
                                                    GUAM; and JOHN DOES 1-20
26   Boy Scouts of America       [Redacted]         [Redacted] v. BOY SCOUTS OF            1:20-cv-00013   United States
     Aloha Council                                  AMERICA, a congressionally                             District Court for
     Chamorro District;                             chartered corporation, authorized to                   the District of
     Capuchin Franciscans;                          do business in Guam; BOY                               Guam
     Capuchin Franciscans                           SCOUTS OF AMERICA ALOHA
     Province of St. Mary;                          COUNCIL CHAMORRO
     Capuchin Franciscans                           DISTRICT; CAPUCHIN
     Custody of Star of the                         FRANCISCANS; CAPUCHIN
     Sea; Doe Entities 1-5;                         FRANCISCANS PROVINCE OF
     and Doe-Individuals 6-                         ST. MARY; CAPUCHIN
     47, Inclusive                                  FRANCISCANS CUSTODY OF
                                                    STAR OF THE SEA; DOE
                                                    ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-47, inclusive
27   Boy Scouts of America       [Redacted]         [Redacted] v. BOY SCOUTS OF            1:20-cv-00014   United States
     Aloha Council                                  AMERICA, a congressionally                             District Court for
                              CaseCase
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                                                                          08/09/21
                                                                                PagePage
                                                                                     25 of29
                                                                                           312
                                                                                             of 316




                                 Underlying
     Non-Debtor                  Plaintiff(s)
     Defendants(s)               (last, first)      Case Caption                           Case Number     Court or Agency
     Chamorro District;                             chartered corporation, authorized to                   the District of
     Capuchin Franciscans;                          do business in Guam; BOY                               Guam
     Capuchin Franciscans                           SCOUTS OF AMERICA ALOHA
     Province of St. Mary;                          COUNCIL CHAMORRO
     Capuchin Franciscans                           DISTRICT; CAPUCHIN
     Custody of Star of the                         FRANCISCANS; CAPUCHIN
     Sea; Doe Entities 1-5;                         FRANCISCANS PROVINCE OF
     and Doe-Individuals 6-                         ST. MARY; CAPUCHIN
     47, Inclusive                                  FRANCISCANS CUSTODY OF
                                                    STAY OF THE SEA; DOE
                                                    ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-47, inclusive
28   Boy Scouts of America       [Redacted]         [Redacted] v. CAPUCHIN                 1:20-cv-00012   United States
     Aloha Council                                  FRANCISCANS; CAPUCHIN                                  District Court for
     Chamorro District;                             FRANCISCANS, PROVINCE OF                               the District of
     Capuchin Franciscans;                          ST. MARY; BOY SCOUTS OF                                Guam
     Capuchin Franciscans,                          AMERICA, a congressionally
     Province of St. Mary;                          chartered corporation authorized to
     Doe-Entities 1-5; and                          do business in Guam; BOY
     Doe-Individuals 6-10,                          SCOUTS OF AMERICA ALOHA
     Inclusive                                      COUNCIL CHAMORRO
                                                    DISTRICT; DOE-ENTITIES 1-5;
                                                    and DOE-INDIVIDUALS 6-10,
                                                    inclusive
29   Boy Scouts of America,      John Doe No. 120   JOHN DOE NO. 120 v. BOY                1:20-cv-00077   United States
     Aloha Council; Gary L.                         SCOUTS OF AMERICA; BOY                                 District Court for
     Strain; Jane Does 1-10;                        SCOUTS OF AMERICA, ALOHA                               the District of
     Doe Corporations 1-10;                         COUNCIL; GARY L. STRAIN;                               Hawaii
     Doe Partnerships 1-10;                         JANE DOES 1-10; DOE
     Doe Non-Profit Entities                        CORPORATIONS 1-10; DOE
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                                   07/21/21
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                                                                               PagePage
                                                                                    26 of30
                                                                                          312
                                                                                            of 316




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     Non-Debtor               Plaintiff(s)
     Defendants(s)            (last, first)        Case Caption                           Case Number       Court or Agency
     1-10; and Doe                                 PARTNERSHIPS 1-10; DOE
     Governmental Entities 1-                      NON-PROFIT ENTITIES 1-10;
     10                                            and DOE GOVERNMENTAL
                                                   ENTITIES 1-10
30   Hawkeye Area Council,      John Doe           JOHN DOE v. THE BOY SCOUTS             1:20-cv-00019     United States
     Boy Scouts of America                         OF AMERICA, a congressionally                            District Court for
                                                   chartered corporation, authorized to                     the Northern
                                                   do business in Iowa and                                  District of Iowa,
                                                   HAWKEYE AREA COUNCIL,                                    Cedar Rapids
                                                   BOY SCOUTS OF AMERICA, an                                Division
                                                   Iowa corporation
31   Chicago Area Council,      [Redacted]         [Redacted] v. BOY SCOUTS OF            1:20-cv-01176     United States
     Inc., Boy Scouts of                           AMERICA, a congressionally                               District Court for
     America; Pathway to                           chartered corporation, authorized to                     the Northern
     Adventure Council, Inc.,                      do business in Illinois, CHICAGO                         District of
     Boy Scouts of America                         AREA COUNCIL, INC. BOY                                   Illinois, Eastern
                                                   SCOUTS OF AMERICA,                                       District
                                                   CHICAGO AREA COUNCIL,
                                                   BOY SCOUTS OF AMERICA,
                                                   INC., and PATHWAY TO
                                                   ADVENTURE COUNCIL, INC.,
                                                   BOY SCOUTS OF AMERICA
32   Lincoln Heritage           [Redacted]         [Redacted] v. TIMOTHY                  3:20-cv-126-CHB   United States
     Council, Inc., Boy                            FLEMING AND THE BOY                                      District Court for
     Scouts of America;                            SCOUTS OF AMERICA AND                                    the Western
     Audubon Baptist                               AUDUBON BAPTIST CHURCH                                   District of
     Church; Timothy                               AND LINCOLN HERITAGE                                     Kentucky
     Fleming                                       COUNCIL, INC., BOY SCOUTS
                                                   OF AMERICA
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                        08/09/21
                                                                              PagePage
                                                                                   27 of31
                                                                                         312
                                                                                           of 316




                               Underlying
     Non-Debtor                Plaintiff(s)
     Defendants(s)             (last, first)      Case Caption                         Case Number     Court or Agency
33   Robert Bulens             [Redacted]         [Redacted] v. BOY SCOUTS OF          1:20-cv-10319   United States
                                                  AMERICA, CORP.; and ROBERT                           District Court for
                                                  BULENS                                               the District of
                                                                                                       Massachusetts
34   Gamehaven Council,        Doe 386            Doe 386 v. The Boy Scouts of         0:20-cv-00542   United States
     Inc., Boy Scouts of                          America, Gamehaven Council, Inc.,                    District Court for
     America; St. Pius X                          Boy Scouts of America and St. Pius                   the District of
     Catholic Church of                           X Catholic Church of Rochester,                      Minnesota
     Rochester, Minnesota                         Minnesota
35   Gamehaven Council,        Doe 384            Doe 384 v. The Boy Scouts of         0:20-cv-00537   United States
     Inc., Boy Scouts of                          America, Gamehaven Council, Inc.,                    District Court for
     America; St. Pius X                          Boy Scouts of America; and St.                       the District of
     Catholic Church of                           Pius X Catholic Church of                            Minnesota
     Rochester, Minnesota                         Rochester, Minnesota
36   Gamehaven Council,        Doe 383            Doe 383 v. The Boy Scouts of         0:20-cv-00536   United States
     Inc., Boy Scouts of                          America, Gamehaven Council, Inc.,                    District Court for
     America; St. Pius X                          Boy Scouts of America; and St.                       the District of
     Catholic Church of                           Pius X Catholic Church of                            Minnesota
     Rochester, Minnesota                         Rochester, Minnesota
37   Gamehaven Council,        Doe 583            Doe 583 v. The Boy Scouts of         0:20-cv-00544   United States
     Inc., Boy Scouts of                          America, Gamehaven Council, Inc.,                    District Court for
     America; St. Pius X                          Boy Scouts of America; and St.                       the District of
     Catholic Church of                           Pius X Catholic Church of                            Minnesota
     Rochester, Minnesota                         Rochester, Minnesota
38   Gamehaven Council,        Doe 382            Doe 382 v. The Boy Scouts of         0:20-cv-00535   United States
     Inc., Boy Scouts of                          America, Gamehaven Council, Inc.,                    District Court for
     America; St. Pius X                          Boy Scouts of America and St. Pius                   the District of
     Catholic Church of                           X Catholic Church of Rochester,                      Minnesota
     Rochester, Minnesota                         Minnesota
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                                                                                PagePage
                                                                                     28 of32
                                                                                           312
                                                                                             of 316




                                 Underlying
     Non-Debtor                  Plaintiff(s)
     Defendants(s)               (last, first)        Case Caption                        Case Number         Court or Agency
39   Gamehaven Council,          Doe 385              Doe 385 v. The Boy Scouts of        0:20-cv-00540       United States
     Inc., Boy Scouts of                              America, Gamehaven Council, Inc.,                       District Court for
     America; St. Pius X                              Boy Scouts of America; and St.                          the District of
     Catholic Church of                               Pius X Catholic Church of                               Minnesota
     Rochester, Minnesota                             Rochester, Minnesota
40   Gamehaven Council,          Doe 555              Doe 555 v. The Boy Scouts of        0:20-cv-00543       United States
     Inc., Boy Scouts of                              America, Gamehaven Council, Inc.,                       District Court for
     America; St. Pius X                              Boy Scouts of America; and St.                          the District of
     Catholic Church of                               Pius X Catholic Church of                               Minnesota
     Rochester, Minnesota                             Rochester, Minnesota
41   Greater St. Louis Area      John Doe             JOHN DOE by and through his         4:20-cv-00273       United States
     Council, Boy Scouts of                           Next Friend LINDA                                       District Court for
     America, Inc.; Samuel                            HOUSEKNECHT v. GREATER                                  the Eastern
     Christian Carleton                               ST. LOUIS AREA COUNCIL,                                 District of
                                                      BOY SCOUTS OF AMERICA,                                  Missouri, Eastern
                                                      INC., and BOY SCOUTS OF                                 Division
                                                      AMERICA, and SAMUEL
                                                      CHRISTIAN CARLETON
42   St. Louis County,           Minor John Doe, by   MINOR JOHN DOE by                   4:20-cv-00272       United States
     Missouri; Steve Stenger;    [Redacted]as next    [Redacted]as next friend v. ST.                         District Court for
     Chief Of Police Jon         friend               LOUIS COUNTY, MISSOURI;                                 the Eastern
     Belmar; Eric R. Parks                            STEVE STENGER; CHIEF OF                                 District of
                                                      POLICE JON BELMAR; BOY                                  Missouri, Eastern
                                                      SCOUTS OF AMERICA; AND                                  Division
                                                      ERIC R. PARKS
43   Heat of America             [Redacted]           [Redacted] v. TERRY WRIGHT          4:20-cv-00110-FJG   United States
     Council, Boy Scouts of                           and HEART OF AMERICA                                    District Court for
     America; Terry Wright                            COUNCIL, BOY SCOUTS OF                                  the Western
                                                      AMERICA and BOY SCOUTS OF                               District of
                                                      AMERICA
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   29 of33
                                                                                         312
                                                                                           of 316




                               Underlying
     Non-Debtor                Plaintiff(s)
     Defendants(s)             (last, first)       Case Caption                           Case Number      Court or Agency
                                                                                                           Missouri,
                                                                                                           Western Division
44   Montana Council, Boy      [Redacted]          [Redacted] v. THE BOY SCOUTS           4:20-cv-00008-   United States
     Scouts of America                             OF AMERICA, a congressionally          BMM              District Court for
                                                   chartered corporation, authorized to                    the District of
                                                   do business in Montana; and                             Montana
                                                   MONTANA COUNCIL, BOY
                                                   SCOUTS OF AMERICA, a
                                                   Montana non-profit corporation
45   Montana Council, Boy      [Redacted]          [Redacted] v. THE BOY SCOUTS           4:20-cv-00010-   United States
     Scouts of America; John                       OF AMERICA, a congressionally          BMM              District Court for
     Does I and II                                 chartered corporation, authorized to                    the District of
                                                   do business in Montana; and                             Montana
                                                   MONTANA COUNCIL, BOY
                                                   SCOUTS OF AMERICA, a
                                                   Montana non-profit corporation,
                                                   and JOHN DOES I and II
46   Montana Council, Boy      [Redacted]          [Redacted] v. THE BOY SCOUTS           4:20-cv-00009-   United States
     Scouts of America                             OF AMERICA, a congressionally          BMM              District Court for
                                                   chartered corporation, authorized to                    the District of
                                                   do business in Montana; and                             Montana
                                                   MONTANA COUNCIL, BOY
                                                   SCOUTS OF AMERICA, a
                                                   Montana non-profit corporation
47   Daniel Webster Council,   John Doe AM, John   JOHN DOE AM, JOHN DOE DS,              1:20-cv-00252    United States
     Boy Scouts of America     Doe DS, John Doe    JOHN DOE DZ, JOHN DOE DN,                               District Court for
                               DZ, John Doe DN,    JOHN DOE PJ, and JOHN DOE PT                            the District of
                               John Doe PJ, and    v. BOY SCOUTS OF AMERICA,                               New Hampshire
                               John Doe PT         AND DANIEL WEBSTER
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                                  4:19-cv-00847-BSM
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    30 of34
                                                                                          312
                                                                                            of 316




                                  Underlying
     Non-Debtor                   Plaintiff(s)
     Defendants(s)                (last, first)    Case Caption                            Case Number     Court or Agency
                                                   COUNCIL, BOY SCOUTS OF
                                                   AMERICA
48   Jersey Shore Council,        [Redacted]       [Redacted] v. THE NATIONAL              1:20-cv-01744   United States
     Inc., Boy Scouts of                           BOY SCOUTS OF AMERICA                                   District Court for
     America, f/k/a Atlantic                       FOUNDATION d/b/a THE BOY                                the District of
     Area Council, Inc., Boy                       SCOUTS OF AMERICA; JERSEY                               New Jersey
     Scouts of America, a/k/a                      SHORE COUNCIL, INC., BOY
     Atlantic Area Council                         SCOUTS OF AMERICA, f/k/a
     No. 331; ABC Entity, its                      ATLANTIC AREA COUNCIL,
     directors, officers,                          INC., BOY SCOUTS OF
     employees, agents,                            AMERICA, a/k/a ATLANTIC
     servants, representatives                     AREA COUNCIL NO. 331; ABC
     and/or volunteers, is a                       ENTITY, its directors, officers,
     fictitious name of an                         employees, agents, servants,
     entity believed to have                       representatives and/or volunteers, is
     employed and/or                               a fictitious name of an entity
     supervised Angelo                             believed to have employed and/or
     "Skip" Dellomo; and                           supervised Angelo "Skip" Dellomo;
     John Does 1-5,                                and JOHN DOES 1-5, individually,
     individually, and in their                    and in their capacity as a former
     capacity as a former                          and/or current director, officer,
     and/or current director,                      employee, agent, servant,
     officer, employee, agent,                     representative and/or volunteer of
     servant, representative                       the defendants, are persons whose
     and/or volunteer of the                       identities are unknown to Plaintiff
     defendants, are persons
     whose identities are
     unknown to Plaintiff
49   Essex County Council of      [Redacted]       [Redacted] v. BOY SCOUTS OF             20-cv-01743     United States
     the Boy Scout of                              AMERICA; ESSEX COUNTY                                   District Court for
                              CaseCase
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                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     31 of35
                                                                                           312
                                                                                             of 316




                                  Underlying
     Non-Debtor                   Plaintiff(s)
     Defendants(s)                (last, first)     Case Caption                      Case Number      Court or Agency
     America; Northern New                          COUNCIL OF THE BOYS                                the District of
     Jersey Council of the                          SCOUTS OF AMERICA;                                 New Jersey
     Boy Scouts of America;                         NORTHERN NEW JERSEY
     Boy Scout Troop #64;                           COUNCIL OF THE BOY
     XYZ Entities 1-100                             SCOUTS OF AMERICA; BOY
     (fictitious designations);                     SCOUT TROOP #64; XYZ
     and JOHN Does 1-200                            ENTITIES 1-100 (fictitious
     (fictitious designations)                      designations); and JOHN DOES 1-
                                                    200 (fictitious designations)
50   Essex County Counsel of [Redacted]             [Redacted] v. BOY SCOUTS OF       2:19-cv-17954-   United States
     the Boy Scouts of                              AMERICA, a Congressionally        BRM-JAD          District Court for
     America; Xyz                                   Chartered Corporation, ESSEX                       the District of
     Corporation 1-100                              COUNTY COUNSEL OF THE                              New Jersey
                                                    BOY SCOUTS OF AMERICA and
                                                    XYZ CORPORATION 1-100
51   Northern New Jersey          Jack Doe          JACK DOE v. BOY SCOUTS OF         3:20-cv-01735    United States
     Council Boy Scouts of                          AMERICA, NORTHERN NEW                              District Court for
     America, Inc. ; ABC                            JERSEY COUNCIL BOY                                 the District of
     Corporations 1-10, and                         SCOUTS OF AMERICA, INC.,                           New Jersey
     John Does 1-10                                 ABC CORPORATIONS 1-10,
                                                    AND JOHN DOES 1-10
52   The Pingry School; Thad      [Redacted]        [Redacted] v. THE PINGRY          2:20-cv-01721    United States
     Alton, and John Does 1-                        SCHOOL, BOY SCOUTS OF                              District Court for
     50, and ABC                                    AMERICA, THAD ALTON, and                           the District of
     Corporations 1-50                              JOHN DOES 1-50, and ABC                            New Jersey
                                                    CORPORATIONS 1-50
53   John Does 1-10               [Redacted]        [Redacted] v. BOY SCOUTS OF       3:20-cv-01739    United States
                                                    AMERICA; JOHN DOES 1-10                            District Court for
                                                                                                       the District of
                                                                                                       New Jersey
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                                               PagePage
                                                                                    32 of36
                                                                                          312
                                                                                            of 316




                                Underlying
     Non-Debtor                 Plaintiff(s)
     Defendants(s)              (last, first)      Case Caption                    Case Number       Court or Agency
54   Northern New Jersey        [Redacted]         [Redacted] v. BOY SCOUTS OF     3:20-cv-01741     United States
     Council; John Does 1-10                       AMERICA; NORTHERN NEW                             District Court for
                                                   JERSEY COUNCIL; JOHN DOES                         the District of
                                                   1-10                                              New Jersey
55   Northern New Jersey        [Redacted]         [Redacted] v. BOY SCOUTS OF     3:20-cv-01740     United States
     Council; John Does 1-10                       AMERICA; NORTHERN NEW                             District Court for
                                                   JERSEY COUNCIL; JOHN DOES                         the District of
                                                   1-10                                              New Jersey
56   Monmouth Council;          [Redacted]         [Redacted] v. BOY SCOUTS OF     20-01106          United States
     John Does 1-10                                AMERICA; MONMOUTH                                 Bankruptcy
                                                   COUNCIL; JOHN DOES 1-10                           Court for the
                                                                                                     District of New
                                                                                                     Jersey
57   Jersey Shore Council;      [Redacted]         [Redacted] v. BOY SCOUTS OF     T20-1117          United States
     John Does 1-10                                AMERICA; JERSEY SHORE                             Bankruptcy
                                                   COUNCIL; JOHN DOES 1-10                           Court for the
                                                                                                     District of New
                                                                                                     Jersey
58   Monmouth Council;          [Redacted]         [Redacted] v. BOY SCOUTS OF     20-01110          United States
     John Does 1-10                                AMERICA; MONMOUTH                                 Bankruptcy
                                                   COUNCIL; JOHN DOES 1-10                           Court for the
                                                                                                     District of New
                                                                                                     Jersey
59   Monmouth Council;          [Redacted]         [Redacted] v. BOY SCOUTS OF     20-01111          United States
     John Does 1-10                                AMERICA; MONMOUTH                                 Bankruptcy
                                                   COUNCIL; JOHN DOES 1-10                           Court for the
                                                                                                     District of New
                                                                                                     Jersey
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                                        20-50527-LSS Doc
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                                                                           08/09/21
                                                                                 PagePage
                                                                                      33 of37
                                                                                            312
                                                                                              of 316




                                  Underlying
     Non-Debtor                   Plaintiff(s)
     Defendants(s)                (last, first)      Case Caption                    Case Number       Court or Agency
60   Monmouth Council;            [Redacted]         [Redacted] v. BOY SCOUTS OF     20-01103          United States
     John Does 1-10                                  AMERICA; MONMOUTH                                 Bankruptcy
                                                     COUNCIL; JOHN DOES 1-10                           Court for the
                                                                                                       District of New
                                                                                                       Jersey
61   Northern New Jersey          [Redacted]         [Redacted] v. BOY SCOUTS OF     3:20-cv-01713     United States
     Council; John Does 1-10                         AMERICA; NORTHERN NEW                             District Court for
                                                     JERSEY COUNCIL; JOHN DOES                         the District of
                                                     1-10                                              New Jersey
62   Patriots’ Path Council;      [Redacted]         [Redacted] v. BOY SCOUTS OF     20-01105          United States
     John Does 1-10                                  AMERICA; PATRIOTS' PATH                           Bankruptcy
                                                     COUNCIL; JOHN DOES 1-10                           Court for the
                                                                                                       District of New
                                                                                                       Jersey
63   Northern New Jersey          [Redacted]         [Redacted] v. BOY SCOUTS OF     3:20-cv-01742     United States
     Council; John Does 1-10                         AMERICA; NORTHERN NEW                             District Court for
                                                     JERSEY COUNCIL; JOHN DOES                         the District of
                                                     1-10                                              New Jersey
64   Northern New Jersey          [Redacted]         [Redacted] v. BOY SCOUTS OF     1:20-cv-01733     United States
     Council; John Does 1-10                         AMERICA; NORTHERN NEW                             District Court for
                                                     JERSEY COUNCIL; JOHN DOES                         the District of
                                                     1-10                                              New Jersey
65   Northern New Jersey          [Redacted]         [Redacted] v. BOY SCOUTS OF     3:20-cv-01746     United States
     Council; John Does 1-10                         AMERICA; NORTHERN NEW                             District Court for
                                                     JERSEY COUNCIL; JOHN DOES                         the District of
                                                     1-10                                              New Jersey
66   Garden State Council;        [Redacted]         [Redacted] v. BOY SCOUTS OF     20-1116           United States
     John Does 1-10                                  AMERICA; GARDEN STATE                             Bankruptcy
                                                     COUNCIL; JOHN DOES 1-10                           Court for the
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                                        20-50527-LSS Doc
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                                                                                 PagePage
                                                                                      34 of38
                                                                                            312
                                                                                              of 316




                                  Underlying
     Non-Debtor                   Plaintiff(s)
     Defendants(s)                (last, first)      Case Caption                    Case Number       Court or Agency
                                                                                                       District of New
                                                                                                       Jersey
67   Patriots’ Path Council;      [Redacted]         [Redacted] v. BOY SCOUTS OF     20-01108          United States
     John Does 1-10                                  AMERICA; PATRIOTS' PATH                           Bankruptcy
                                                     COUNCIL; JOHN DOES 1-10                           Court for the
                                                                                                       District of New
                                                                                                       Jersey
68   Jersey Shore Council;        [Redacted]         [Redacted] v. BOY SCOUTS OF     20-1115           United States
     John Does 1-10                                  AMERICA; JERSEY SHORE                             Bankruptcy
                                                     COUNCIL; JOHN DOES 1-10                           Court for the
                                                                                                       District of New
                                                                                                       Jersey
69   Garden State Council;        [Redacted]         [Redacted] v. BOY SCOUTS OF     20-1120           United States
     John Does 1-10                                  AMERICA; GARDEN STATE                             Bankruptcy
                                                     COUNCIL; JOHN DOES 1-10                           Court for the
                                                                                                       District of New
                                                                                                       Jersey
70   Northern New Jersey          [Redacted]         [Redacted] v. BOY SCOUTS OF     3:20-cv-01734     United States
     Council; John Does 1-10                         AMERICA; NORTHERN NEW                             District Court for
                                                     JERSEY COUNCIL; JOHN DOES                         the District of
                                                     1-10                                              New Jersey
71   Monmouth Council;            [Redacted]         [Redacted] v. BOY SCOUTS OF     20-01109          United States
     John Does 1-10                                  AMERICA; MONMOUTH                                 Bankruptcy
                                                     COUNCIL; JOHN DOES 1-10                           Court for the
                                                                                                       District of New
                                                                                                       Jersey
72   Patriots Path Council        [Redacted]         [Redacted] v. PATRIOTS PATH     20-01107          United States
                                                     COUNCIL; BOY SCOUTS OF                            Bankruptcy
                                                     AMERICA, INC.                                     Court for the
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                                                                                PagePage
                                                                                     35 of39
                                                                                           312
                                                                                             of 316




                                 Underlying
     Non-Debtor                  Plaintiff(s)
     Defendants(s)               (last, first)      Case Caption                        Case Number   Court or Agency
                                                                                                      District of New
                                                                                                      Jersey
73   Patriots’ Path Council,     [Redacted]         [Redacted] v. BOY SCOUTS OF         20-01104      United States
     Inc. Boy Scouts of                             AMERICA, a Congressionally                        Bankruptcy
     America, Sussex District                       Chartered Corporation, PATRIOTS'                  Court for the
     Boy Scouts of America                          PATH COUNCIL, INC. BOY                            District of New
     d/b/a Stillwater Boy                           SCOUTS OF AMERICA, SUSSEX                         Jersey
     Scouts of America                              DISTRICT BOY SCOUTS OF
     and/or Group 83                                AMERICA d/b/a Stillwater Boy
     Stillwater, and XYZ                            Scouts of America and/or Group 83
     Corporation 1-100                              Stillwater, and XYZ
                                                    CORPORATION 1-100
74   Country Farm Supply;        John Doe           JOHN DOE v. [Redacted],             20-01014      United States
     Sacred Heart – Espanola;                       COUNTRY FARM SUPPLY, BOY                          Bankruptcy
     Monastery of Christ in                         SCOUTS OF AMERICA,                                Court for the
     the Desert; Richard                            SACRED HEART - ESPANOLA,                          District of New
     Lucero                                         and MONASTERY OF CHRIST IN                        Mexico
                                                    THE DESERT
75   Great Southwest             John Doe           JOHN DOE v. THE BOY SCOUTS          20-01015      United States
     Council, Boy Scouts of                         OF AMERICA, a Congressionally                     Bankruptcy
     America                                        Chartered Corporation, and GREAT                  Court for the
                                                    SOUTHWEST COUNCIL, BOY                            District of New
                                                    SCOUTS OF AMERICA, a New                          Mexico
                                                    Mexico non-profit corporation
76   Richard L. Lucero           [Redacted]         [Redacted] v. Richard L. Lucero,    20-01013      United States
                                                    and Boy Scouts of America                         Bankruptcy
                                                                                                      Court for the
                                                                                                      District of New
                                                                                                      Mexico
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                                    20-50527-LSS Doc
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                                                                       08/09/21
                                                                             PagePage
                                                                                  36 of40
                                                                                        312
                                                                                          of 316




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     Non-Debtor               Plaintiff(s)
     Defendants(s)            (last, first)            Case Caption                        Case Number          Court or Agency
77   Longhouse Council, Inc., [Redacted]               [Redacted] v. THE NATIONAL          5:20-cv-00172-GTS-   United States
     Boy Scouts of America                             BOY SCOUTS OF AMERICA               TWD                  District Court for
                                                       FOUNDATION d/b/a THE BOY                                 the Northern
                                                       SCOUTS OF AMERICA, and                                   District of New
                                                       LONGHOUSE COUNCIL, INC.,                                 York
                                                       BOY SCOUTS OF AMERICA
78   Hiawatha Council; The     [Redacted]              [Redacted] v. DONALD J.             5:20-cv-181          United States
     Roman Catholic Diocese                            HERBERT; BOY SCOUTS OF                                   District Court for
     of Syracuse; Saint John                           AMERICA, INC.; BOY SCOUTS                                the Northern
     the Baptist Church;                               OF AMERICA - HIAWATHA                                    District of New
     Donald J. Herbert; Does                           COUNCIL; THE ROMAN                                       York
     1-100                                             CATHOLIC DIOCESE OF
                                                       SYRACUSE; SAINT JOHN THE
                                                       BAPTIST CHURCH; and DOES 1-
                                                       100
79   Longhouse Council         [Redacted]              [Redacted] and R.E.M. v. BOY        5:20-cv-178          United States
                                                       SCOUTS OF AMERICA and                                    District Court for
                                                       LONGHOUSE COUNCIL                                        the Northern
                                                                                                                District of New
                                                                                                                York
80   Boy Scout Troop 95;       Anonymous #1, An        ANONYMOUS #1, An Infant, by         7:20-cv-1542         United States
     Our Savior Lutheran       Infant, by his Parent   his Parent and Natural Guardians,                        District Court for
     Church; Hudson Valley     and Natural             and his Parents and Natural                              the Southern
     Council, Inc., Boy        Guardians, and his      Guardians Individually v.                                District of New
     Scouts of America;        Parents and Natural     MICHAEL KELSEY, RICHARD                                  York
     Michael Kelsey; Richard   Guardians               ROBBINS, BOY SCOUT TROOP
     Robbins                   Individually            95, OUR SAVIOR LUTHERAN
                                                       CHURCH, HUDSON VALLEY
                                                       COUNCIL, INC., BOY SCOUTS
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                                      20-50527-LSS Doc
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                                                       185-1 23-1
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                                                                               PagePage
                                                                                    37 of41
                                                                                          312
                                                                                            of 316




                                Underlying
     Non-Debtor                 Plaintiff(s)
     Defendants(s)              (last, first)           Case Caption                      Case Number     Court or Agency
                                                        OF AMERICA, and BOY SCOUTS
                                                        OF AMERICA, INC.
81   Boy Scout Troop 95;        Anonymous #2, An        ANONYMOUS #2, An Infant, by       7:20-cv-1543    United States
     Our Savior Lutheran        Infant, by his Parent   his Parent and Natural Guardians,                 District Court for
     Church; Hudson Valley      and Natural             and his Parents and Natural                       the Southern
     Council, Inc., Boy         Guardians, and his      Guardians Individually v.                         District of New
     Scouts of America;         Parents and Natural     MICHAEL KELSEY, RICHARD                           York
     Michael Kelsey; Richard    Guardians               ROBBINS, BOY SCOUT TROOP
     Robbins                    Individually            95, OUR SAVIOR LUTHERAN
                                                        CHURCH, HUDSON VALLEY
                                                        COUNCIL, INC., BOY SCOUTS
                                                        OF AMERICA, and BOY SCOUTS
                                                        OF AMERICA, INC.
82   Five Rivers Council,       [Redacted]              [Redacted] v. BOY SCOUTS OF       1:20-cv-00212   United States
     Boy Scouts of America                              AMERICA, and FIVE RIVERS                          District Court for
                                                        COUNCIL, BOY SCOUTS OF                            the Western
                                                        AMERICA                                           District of New
                                                                                                          York
83   Five Rivers Council        [Redacted]              [Redacted] v. BOY SCOUTS OF      6:20-cv-06107    United States
                                                        AMERICA and FIVE RIVERS                           District Court for
                                                        COUNCIL                                           the Western
                                                                                                          District of New
                                                                                                          York
84   Five Rivers Council        [Redacted]              [Redacted] v. BOY SCOUTS OF      6:20-cv-06108    United States
                                                        AMERICA and FIVE RIVERS                           District Court for
                                                        COUNCIL                                           the Western
                                                                                                          District of New
                                                                                                          York
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                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   38 of42
                                                                                         312
                                                                                           of 316




                                Underlying
     Non-Debtor                 Plaintiff(s)
     Defendants(s)              (last, first)     Case Caption                    Case Number       Court or Agency
85   Boy Scouts of America,-    [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-00879     United States
     Pack 494                                     AMERICA and BOY SCOUTS OF                         District Court for
                                                  AMERICA,-Pack 494                                 the Eastern
                                                                                                    District of New
                                                                                                    York
86   Diocese of Brooklyn; St.   [Redacted]        [Redacted] v. DIOCESE OF        500293/2020       Supreme Court
     Francis Xavier Church;                       BROOKLYN, ST. FRANCIS                             of the State of
     Greater New York                             XAVIER CHURCH, NATIONAL                           New York, Kings
     Councils, Inc., Boy                          BOY SCOUTS OF AMERICA                             County
     Scouts of America;                           FOUNDATION a/k/a THE BOY
     Brooklyn Council, Boy                        SCOUTS OF AMERICA,
     Scouts of America                            GREATER NEW YORK
                                                  COUNCILS, INC., BOY SCOUTS
                                                  OF AMERICA and BROOKLYN
                                                  COUNCIL, BOY SCOUTS OF
                                                  AMERICA, a New York
                                                  Corporation
87   Boy Scouts of America,-    [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-00876     United States
     Pack 494                                     AMERICA and BOY SCOUTS OF                         District Court for
                                                  AMERICA,-Pack 494                                 the Eastern
                                                                                                    District of New
                                                                                                    York
88   Boy Scouts of America,-    [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-940       United States
     Pack 494                                     AMERICA and BOY SCOUTS OF                         District Court for
                                                  AMERICA,-Pack 494                                 the Eastern
                                                                                                    District of New
                                                                                                    York
89   Greater New York           [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-941       United States
     Councils, Boy Scouts of                      AMERICA, INC., a                                  District Court for
     America; Brooklyn                            Congressionally Chartered                         the Eastern
                                    CaseCase
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                                                              185-1 23-1
                                                                     FiledFiled
                                                                          07/21/21
                                                                                08/09/21
                                                                                      PagePage
                                                                                           39 of43
                                                                                                 312
                                                                                                   of 316




                                       Underlying
           Non-Debtor                  Plaintiff(s)
           Defendants(s)               (last, first)       Case Caption                          Case Number            Court or Agency
           Council, Boy Scouts of                          Corporation authorized to do                                 District of New
           America                                         business in New York, GREATER                                York
                                                           NEW YORK COUNCILS, BOY
                                                           SCOUTS OF AMERICA, a New
                                                           York Corporation, and
                                                           BROOKLYN COUNCIL, BOY
                                                           SCOUTS OF AMERICA, a New
                                                           York Corporation
90 2       Diocese of Brooklyn;        [Redacted]          [Redacted] v. DIOCESE OF              518178/19              Supreme Court
           Church of the Holy                              BROOKLYN, CHURCH OF THE                                      of the State of
           Innocents; Greater New                          HOLY INNOCENTS, GREATER                                      New York, Kings
           York Council of the Boy                         NEW YORK COUNCIL OF THE                                      County
           Scouts of America;                              BOY SCOUTS OF AMERICA,
           Alpine Scout Camp;                              ALPINE SCOUT CAMP, and
           Frank Pedone                                    FRANK PEDONE
91         Greater New York            [Redacted]          [Redacted] v. BOY SCOUTS OF           1:20-cv-00871          United States
           Councils, Boy Scouts of                         AMERICA and GREATER NEW                                      District Court for
           America                                         YORK COUNCILS, BOY                                           the Eastern
                                                           SCOUTS OF AMERICA                                            District of New
                                                                                                                        York
92         Greater New York            [Redacted]          [Redacted] v. BOY SCOUTS OF           1:20-cv-874            United States
           Councils; Brooklyn                              AMERICA, GREATER NEW                                         District Court for
           Council; John B. Lowell                         YORK COUNCILS, BROOKLYN                                      the Eastern
                                                           COUNCIL and JOHN B. LOWELL                                   District of New
                                                                                                                        York
93         Greater New York            [Redacted]          [Redacted] v. BOY SCOUTS OF           1:20-cv-00862          United States
           Councils, Boy Scouts of                         AMERICA; NATIONAL BOY                                        District Court for

       2  Pending Abuse Action 90 is stayed with respect to all defendants other than the Diocese of Brooklyn, Church of the Holy
       Innocents, and Frank Pedone.
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                                       20-50527-LSS Doc
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     40 of44
                                                                                           312
                                                                                             of 316




                                 Underlying
     Non-Debtor                  Plaintiff(s)
     Defendants(s)               (last, first)      Case Caption                    Case Number         Court or Agency
     America; Greater New                           SCOUTS OF AMERICA                                   the Eastern
     York Councils;                                 FOUNDATION; SCOUTS BSA;                             District of New
     Brooklyn Council, Boy                          GREATER NEW YORK                                    York
     Scouts of America                              COUNCILS, BOY SCOUTS OF
                                                    AMERICA; AND GREATER
                                                    NEW YORK COUNCILS,
                                                    BROOKLYN COUNCIL, BOY
                                                    SCOUTS OF AMERICA
94   Boy Scouts OF               [Redacted]         [Redacted] v. BOY SCOUTS OF     1:20-cv-00878       United States
     America,-Pack 494                              AMERICA and BOY SCOUTS OF                           District Court for
                                                    AMERICA,-Pack 494                                   the Eastern
                                                                                                        District of New
                                                                                                        York
95   Boy Scouts OF               [Redacted]         [Redacted] v. BOY SCOUTS OF     1:20-cv-00883       United States
     America,-Pack 494                              AMERICA and BOY SCOUTS OF                           District Court for
                                                    AMERICA,-Pack 494                                   the Eastern
                                                                                                        District of New
                                                                                                        York
96   Westchester-Putnam          [Redacted]         [Redacted] v. BOY SCOUTS OF     7:20-cv-01383-NSR   United States
     Council                                        AMERICA and WESTCHESTER-                            District Court for
                                                    PUTNAM COUNCIL                                      the Southern
                                                                                                        District of New
                                                                                                        York
97   Suffolk County Council      [Redacted]         [Redacted] v. BOY SCOUTS OF     2:20-cv-865         United States
     of the Boy Scouts of                           AMERICA, and SUFFOLK                                District Court for
     America                                        COUNTY COUNCIL OF THE                               the Eastern
                                                    BOY SCOUTS OF AMERICA                               District of New
                                                                                                        York
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                                    4:19-cv-00847-BSM
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                                                         185-1 23-1
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                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      41 of45
                                                                                            312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                    Case Number       Court or Agency
98    Theodore Roosevelt          [Redacted]         [Redacted] v. BOY SCOUTS OF     7:20-cv-1497      United States
      Council, Boy Scouts of                         AMERICA, and THEODORE                             District Court for
      America                                        ROOSEVELT COUNCIL, BOY                            the Southern
                                                     SCOUTS OF AMERICA                                 District of New
                                                                                                       York
99    Westchester-Putnam          [Redacted]         [Redacted] v. BOY SCOUTS OF     7:20-cv-1498      United States
      Council, Boy Scouts of                         AMERICA, and WESTCHESTER-                         District Court for
      America                                        PUTNAM COUNCIL, BOY                               the Southern
                                                     SCOUTS OF AMERICA                                 District of New
                                                                                                       York
100   Westchester-Putnam          [Redacted]         [Redacted] v. BOY SCOUTS OF     7:20-cv-1499      United States
      Council, Boy Scouts of                         AMERICA, and WESTCHESTER-                         District Court for
      America                                        PUTNAM COUNCIL, BOY                               the Southern
                                                     SCOUTS OF AMERICA                                 District of New
                                                                                                       York
101   Westchester-Putnam          [Redacted]         [Redacted] v. BOY SCOUTS OF     7:20-cv-1501      United States
      Council, Boy Scouts of                         AMERICA, and WESTCHESTER-                         District Court for
      America                                        PUTNAM COUNCIL, BOY                               the Southern
                                                     SCOUTS OF AMERICA                                 District of New
                                                                                                       York
102   Westchester-Putnam          [Redacted]         [Redacted] v. BOY SCOUTS OF     7:20-cv-1540      United States
      Council, Boy Scouts of                         AMERICA, and WESTCHESTER                          District Court for
      America                                        PUTNAM COUNCIL, BOY                               the Southern
                                                     SCOUTS OF AMERICA                                 District of New
                                                                                                       York
103   Westchester-Putnam          [Redacted]         [Redacted] v. BOY SCOUTS OF     7:20-cv-1537      United States
      Council, Boy Scouts of                         AMERICA, and WESTCHESTER-                         District Court for
      America                                        PUTNAM COUNCIL, BOY                               the Southern
                                                     SCOUTS OF AMERICA                                 District of New
                                                                                                       York
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                                                                               08/09/21
                                                                                     PagePage
                                                                                          42 of46
                                                                                                312
                                                                                                  of 316




                                       Underlying
            Non-Debtor                 Plaintiff(s)
            Defendants(s)              (last, first)       Case Caption                         Case Number           Court or Agency
104         Bronx Council Boy          Anonymous BR        ANONYMOUS BR v. THE BOY              1:20-cv-1479          United States
            Scouts of America, Inc.;                       SCOUTS OF AMERICA, BRONX                                   District Court for
            St. Helena Parish                              COUNCIL BOY SCOUTS OF                                      the Southern
                                                           AMERICA, INC., and ST.                                     District of New
                                                           HELENA PARISH                                              York
105 3       St. Demetrios Greek        [Redacted]          [Redacted] v. LAWRENCE               400026/2019           Supreme Court
            Orthodox Church; Greek                         SVRCEK, ST. DEMETRIOS                                      of the State of
            Orthodox Archdiocese                           GREEK ORTHODOX CHURCH,                                     New York,
            of America; The Boy                            GREEK ORTHODOX                                             Queens County
            Scouts of America                              ARCHDIOCESE OF AMERICA,
            Greater New York                               THE BOY SCOUTS OF
            Councils; Lawrence                             AMERICA, and THE BOY
            Svrcek                                         SCOUTS OF AMERICA
                                                           GREATER NEW YORK
                                                           COUNCILS
106         Greater Niagara Frontier   [Redacted]          [Redacted] v. BOY SCOUTS OF          1:20-cv-285           United States
            Council of the Boy                             AMERICA, GREATER                                           District Court for
            Scouts of America;                             NIAGARA FRONTIER COUNCIL                                   the Western
            Diocese of Buffalo; St.                        OF THE BOY SCOUTS OF                                       District of New
            Ambrose Church                                 AMERICA, DIOCESE OF                                        York
                                                           BUFFALO, AND ST. AMBROSE
                                                           CHURCH
107         Greater Niagara Frontier   [Redacted]          [Redacted] v. BOY SCOUTS OF          1:20-cv-00220         United States
            Council                                        AMERICA and GREATER                                        District Court for
                                                           NIAGARA FRONTIER COUNCIL                                   the Western
                                                                                                                      District of New
                                                                                                                      York

        3 Pending Abuse Action 105 is stayed with respect to all defendants other than the St. Demetrios Greek Orthodox Church, Greek
        Orthodox Archdiocese of America, and Lawrence Svrcek.
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                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    43 of47
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                    Case Number       Court or Agency
108   Greater Niagara Frontier   [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-00200     United States
      Council, Boy Scouts of                       AMERICA, and GREATER                              District Court for
      America                                      NIAGARA FRONTIER                                  the Western
                                                   COUNCIL, BOY SCOUTS OF                            District of New
                                                   AMERICA                                           York
109   Greater Niagara Frontier   [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-00205     United States
      Council, Boy Scouts of                       AMERICA, and GREATER                              District Court for
      America                                      NIAGARA FRONTIER                                  the Western
                                                   COUNCIL, BOY SCOUTS OF                            District of New
                                                   AMERICA                                           York
110   Greater Niagara Frontier   [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-00202     United States
      Council                                      AMERICA and GREATER                               District Court for
                                                   NIAGARA FRONTIER COUNCIL                          the Western
                                                                                                     District of New
                                                                                                     York
111   Greater Niagara Frontier   [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-00203     United States
      Council                                      AMERICA and GREATER                               District Court for
                                                   NIAGARA FRONTIER COUNCIL                          the Western
                                                                                                     District of New
                                                                                                     York
112   Greater Niagara Frontier   [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-00214     United States
      Council                                      AMERICA and GREATER                               District Court for
                                                   NIAGARA FRONTIER COUNCIL                          the Western
                                                                                                     District of New
                                                                                                     York
113   Greater Niagara Frontier   [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-00209     United States
      Council                                      AMERICA and GREATER                               District Court for
                                                   NIAGARA FRONTIER COUNCIL                          the Western
                                                                                                     District of New
                                                                                                     York
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    44 of48
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)         Case Caption              Case Number         Court or Agency
114   Greater Niagara Frontier   John Doe              JOHN DOE v. BOY SCOUTS OF 1:20-cv-00216       United States
      Council #380                                     AMERICA and GREATER                           District Court for
                                                       NIAGARA FRONTIER COUNCIL                      the Western
                                                       #380                                          District of New
                                                                                                     York
115   Greater Niagara Frontier   KS-Doe-1, KS-Doe-     KS-Doe-1; KS-Doe-1a; KS-Doe-2; 1:20-cv-247    United States
      Council #380 of the Boy    1a; KS-Doe-2; KS-     KS-Doe-2a; KS-Doe-3; KS-Doe-3a;               District Court for
      Scouts of America; Holy    Doe-2a; KS-Doe-3;     KS-Doe-4; KS-Doe-4a; KS-Doe-5;                the Western
      See, State of Vatican      KS-Doe-3a; KS-Doe-    KS-Doe-6; KS-Doe-7; KS-Doe-7a;                District of New
      City - The Vatican; Pope   4; KS-Doe-4a; KS-     KS-Doe-8; KS-Doe-9; KS-Doe-9a;                York
      Francis - The Pontiff,     Doe-5; KS-Doe-6;      KS-Doe-10; KS-Doe-10a; KS-Doe-
      Bishop of Rome,            KS-Doe-7; KS-Doe-     11; KS-Doe-11a; KS-Doe-12; KS-
      Supreme Leader and         7a; KS-Doe-8; KS-     Doe-12a; KS-Doe-13; KS-Doe-14;
      Supervisor of the Roman    Doe-9; KS-Doe-9a;     KS-Doe-15; KS-Doe-16; KS-Doe-
      Catholic Church, a/k/a     KS-Doe-10; KS-Doe-    16a; KS-Doe-17; KS-Doe-21; KS-
      Jorge Mario Bergoglio;     10a; KS-Doe-11; KS-   Doe-21a; KS-Doe-22; and KS-Doe
      Archbishop Timothy         Doe-11a; KS-Doe-      v. Holy See, State of Vatican City -
      Dolan, Archbishop of       12; KS-Doe-12a; KS-   The Vatican; Pope Francis - The
      New York; Archbishop       Doe-13; KS-Doe-14;    Pontiff, Bishop of Rome, Supreme
      Christopher Pierre,        KS-Doe-15; KS-Doe-    Leader and Supervisor of the
      Apostolic Nuncio of the    16; KS-Doe-16a; KS-   Roman Catholic Church, a/k/a
      Holy See for the United    Doe-17; KS-Doe-21;    Jorge Mario Bergoglio; Archbishop
      States; The Foundation     KS-Doe-21a; KS-       Timothy Dolan, Archbishop of New
      of the Roman Catholic      Doe-22; and KS-Doe    York; Archbishop Christopher
      Diocese of Buffalo N.Y.,                         Pierre, Apostolic Nuncio of the
      Inc; Most Reverend                               Holy See for the United States; The
      Richard J. Malone, a/k/a                         Foundation of the Roman Catholic
      Bishop Richard J.                                Diocese of Buffalo N.Y., Inc; Most
      Malone; Most Reverend                            Reverend Richard J. Malone, a/k/a
      Edward U. Kmiec, a/k/a                           Bishop Richard J. Malone; Most
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                                                            07/21/21
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                                                                        PagePage
                                                                             45 of49
                                                                                   312
                                                                                     of 316




                           Underlying
Non-Debtor                 Plaintiff(s)
Defendants(s)              (last, first)    Case Caption                         Case Number   Court or Agency
Bishop Edward U.                            Reverend Edward U. Kmiec, a/k/a
Kmiec; Most Reverend                        Bishop Edward U. Kmiec; Most
Henry J. Mansell, a/k/a                     Reverend Henry J. Mansell, a/k/a
Bishop Henry J.                             Bishop Henry J. Mansell; St. Joseph
Mansell; St. Joseph                         Investment Fund, Inc.; George J.
Investment Fund, Inc.;                      Eberl; Society of Jesus, USA-
George J. Eberl; Society                    Northeast Province a/k/a The
of Jesus, USA-Northeast                     Jesuits; Rev. Ronald Silverio; Rev.
Province a/k/a The                          Basil Ormsby, S.J.; Rev. Florian
Jesuits; Rev. Ronald                        Jasinski; Rev. Joseph Persich, S.J.;
Silverio; Rev. Basil                        Rev. David Bialakowski; Rev.
Ormsby, S.J.; Rev.                          Frederick Fingerle; Monsignor
Florian Jasinski; Rev.                      Michael Harrington; Monsignor
Joseph Persich, S.J.;                       William Stanton; Rev. Theodore
Rev. David Bialakowski;                     Podson; Rev. Nelson Kinmartin;
Rev. Frederick Fingerle;                    Rev. Gerald Jasinski; Rev. Ronald
Monsignor Michael                           Sajdak; Rev. Donald W. Becker;
Harrington; Monsignor                       Rev. Norbert Orsolits; Rev. William
William Stanton; Rev.                       White; Rev. John P. Hajduk; St.
Theodore Podson; Rev.                       Bridgets R.C. Church; All Saints
Nelson Kinmartin; Rev.                      R.C. Church; The Blessed Trinity
Gerald Jasinski; Rev.                       R.C. Church; Holy Family R.C.
Ronald Sajdak; Rev.                         Church; St. Teresas R.C. Church;
Donald W. Becker; Rev.                      St. Josephats R.C. Church; St. John
Norbert Orsolits; Rev.                      Gualberts R.C. Church; St. John
William White; Rev.                         Vianney R.C. Church; St. Pauls
John P. Hajduk; St.                         R.C. Church; Immaculate
Bridgets R.C. Church;                       Conception R.C. Church; Canisius
All Saints R.C. Church;                     High School of Buffalo;
The Blessed Trinity R.C.                    Calasanctius School of Buffalo;
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                            4:19-cv-00847-BSM
                                20-50527-LSS Doc
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                                                             07/21/21
                                                                   08/09/21
                                                                         PagePage
                                                                              46 of50
                                                                                    312
                                                                                      of 316




                            Underlying
Non-Debtor                  Plaintiff(s)
Defendants(s)               (last, first)    Case Caption                           Case Number   Court or Agency
Church; Holy Family                          Bishop Turner High School; Christ
R.C. Church; St. Teresas                     the King; Seminary; Queen of
R.C. Church; St.                             Peave R.C. Church; Priest-Doe(s);
Josephats R.C. Church;                       Attorney(s) ABC and Accountant(s)
St. John Gualberts R.C.                      XYZ; The Fidelis Care as a
Church; St. John                             Trademark for the Centene
Vianney R.C. Church;                         Corporation; Catholic Health of
St. Pauls R.C. Church;                       WNY and its subsidiaries; Catholic
Immaculate Conception                        Cemeteries of the Roman Catholic
R.C. Church; Canisius                        Diocese of Buffalo, Inc.; Christ the
High School of Buffalo;                      King Seminary Fund, Inc.; John
Calasanctius School of                       Gruber, individually; and The Boy
Buffalo; Bishop Turner                       Scouts of America and the Greater
High School; Christ the                      Niagara Frontier Council #380 of
King; Seminary; Queen                        the Boy Scouts of America
of Peave R.C. Church;
Priest-Doe(s);
Attorney(s) ABC and
Accountant(s) XYZ; The
Fidelis Care as a
Trademark for the
Centene Corporation;
Catholic Health of WNY
and its subsidiaries;
Catholic Cemeteries of
the Roman Catholic
Diocese of Buffalo, Inc.;
Christ the King
Seminary Fund, Inc.;
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                                     4:19-cv-00847-BSM
                                         20-50527-LSS Doc
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                                                                      07/21/21
                                                                            08/09/21
                                                                                  PagePage
                                                                                       47 of51
                                                                                             312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                          Case Number     Court or Agency
      John Gruber,
      individually
116   Boy Scouts of America,       PB-9 Doe           PB-9 Doe v. BOY SCOUTS OF             1:20-cv-00221   United States
      Iroquois Trail Council,                         AMERICA, IROQUOIS TRAIL                               District Court for
      Inc.; Boy Scouts of                             COUNCIL, INC., BOY SCOUTS                             the Western
      America, Greater                                OF AMERICA, GREATER                                   District of New
      Niagara Frontier                                NIAGARA FRONTIER                                      York
      Council, Inc.; Alleghany                        COUNCIL, INC., BOY SCOUTS
      Highlands Council, Inc.                         OF AMERICA, and ALLEGHANY
                                                      HIGHLANDS COUNCIL, INC.
117   Theodore Roosevelt           [Redacted]         [Redacted] v. NATIONAL BOY            2:20-cv-954     United States
      Council, Inc., Boy                              SCOUTS OF AMERICA                                     District Court for
      Scouts of America f/k/a                         FOUNDATION a/k/a THE BOY                              the Eastern
      Nassau County Council                           SCOUTS OF AMERICA, a foreign                          District of New
      Boy Scouts of America,                          not-for-profit corporation and                        York
      Inc.                                            THEODORE ROOSEVELT
                                                      COUNCIL, INC., BOY SCOUTS
                                                      OF AMERICA f/k/a NASSAU
                                                      COUNTY COUNCIL BOY
                                                      SCOUTS OF AMERICA, INC., a
                                                      domestic not-for-profit corporation
118   N/A                          Anonymous          ANONYMOUS v. BOY SCOUTS               2:20-cv-995     United States
                                                      OF AMERICA                                            District Court for
                                                                                                            the Eastern
                                                                                                            District of New
                                                                                                            York
119   Theodore Roosevelt           [Redacted]         [Redacted] v. NATIONAL BOY            2:20-cv-933     United States
      Council, Inc., Boy                              SCOUTS OF AMERICA                                     District Court for
      Scouts of America f/k/a                         FOUNDATION a/k/a THE BOY                              the Eastern
      Nassau County Council                           SCOUTS OF AMERICA;
                               CaseCase
                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
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                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      48 of52
                                                                                            312
                                                                                              of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)        Case Caption                          Case Number          Court or Agency
      of Boy Scouts of                               THEODORE ROOSEVELT                                         District of New
      America, Inc.; House of                        COUNCIL, INC., BOY SCOUTS                                  York
      Hope Presbyterian                              OF AMERICA f/k/a NASSAU
      Church; Does 1-5 whose                         COUNTY COUNCIL OF BOY
      identities are unknown to                      SCOUTS OF AMERICA,
      Plaintiff                                      INCORPORATED; HOUSE OF
                                                     HOPE PRESBYTERIAN
                                                     CHURCH; and DOES 1-5 whose
                                                     identities are unknown to Plaintiff
120   Theodore Roosevelt          [Redacted]         [Redacted] v. BOY SCOUTS OF           2:20-cv-950          United States
      Council, Boy Scouts of                         AMERICA, and THEODORE                                      District Court for
      America                                        ROOSEVELT COUNCIL, BOY                                     the Eastern
                                                     SCOUTS OF AMERICA                                          District of New
                                                                                                                York
121   Theodore Roosevelt          [Redacted]         [Redacted] v. BOY SCOUTS OF           2:20-cv-949          United States
      Council, Boy Scouts of                         AMERICA, and THEODORE                                      District Court for
      America                                        ROOSEVELT COUNCIL, BOY                                     the Eastern
                                                     SCOUTS OF AMERICA                                          District of New
                                                                                                                York
122   Twin Rivers Council         [Redacted]         [Redacted] v. BOY SCOUTS OF           1:20-cv-167          United States
                                                     AMERICA and TWIN RIVERS                                    District Court for
                                                     COUNCIL                                                    the Northern
                                                                                                                District of New
                                                                                                                York
123   Boy Scouts of America       [Redacted]         [Redacted] v. BOY SCOUTS OF           1:20-cv-00180-GTS-   United States
      Twin Rivers Council;                           AMERICA (BSA), BOY SCOUTS             TWD                  District Court for
      Vincent Siecinski                              OF AMERICA TWIN RIVERS                                     the Northern
                                                     COUNCIL, VINCENT SIECINSKI                                 District of New
                                                                                                                York
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                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     49 of53
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                    Case Number          Court or Agency
124   Twin Rivers Council,       [Redacted]         [Redacted] v. BOY SCOUTS OF     3:20-cv-208          United States
      Boy Scouts of America                         AMERICA, and TWIN RIVERS                             District Court for
                                                    COUNCIL, BOY SCOUTS OF                               the Northern
                                                    AMERICA                                              District of New
                                                                                                         York
125   Twin Rivers Council,       [Redacted]         [Redacted] v. BOY SCOUTS OF     1:20-cv-00170-GTS-   United States
      Boy Scouts of America                         AMERICA, and TWIN RIVERS        TWD                  District Court for
                                                    COUNCIL, BOY SCOUTS OF                               the Northern
                                                    AMERICA                                              District of New
                                                                                                         York
126   Twin Rivers Council,       [Redacted]         [Redacted] v. BOY SCOUTS OF     1:20-cv-00175-GTS-   United States
      Boy Scouts of America                         AMERICA, and TWIN RIVERS        TWD                  District Court for
                                                    COUNCIL, BOY SCOUTS OF                               the Northern
                                                    AMERICA                                              District of New
                                                                                                         York
127   Greater New York           [Redacted]         [Redacted] v. NATIONAL BOY      1:20-cv-1597         United States
      Councils, Inc., Boy                           SCOUTS OF AMERICA                                    District Court for
      Scouts of America;                            FOUNDATION a/k/a THE BOY                             the Southern
      Manhattan Council, Boy                        SCOUTS OF AMERICA,                                   District of New
      Scouts of America;                            GREATER NEW YORK                                     York
      Archdiocese of New                            COUNCILS, INC., BOY SCOUTS
      York; Our Lady of                             OF AMERICA, MANHATTAN
      Lourdes Catholic School                       COUNCIL, BOY SCOUTS OF
                                                    AMERICA, ARCHDIOCESE OF
                                                    NEW YORK and OUR LADY OF
                                                    LOURDES CATHOLIC SCHOOL
128   Greater New York           [Redacted]         [Redacted] v. BOY SCOUTS OF     1:20-cv-1981         United States
      Councils, Boy Scouts of                       AMERICA, and GREATER NEW                             District Court for
      America                                       YORK COUNCILS, BOY                                   the Southern
                                                    SCOUTS OF AMERICA
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                                      20-50527-LSS Doc
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                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    50 of54
                                                                                          312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                    Case Number       Court or Agency
                                                                                                     District of New
                                                                                                     York
129   Greater New York            John Doe         JOHN DOE v. GREATER NEW         1:20-cv-1403      United States
      Council of the Boy                           YORK COUNCIL OF THE BOY                           District Court for
      Scouts of America; Ten                       SCOUTS OF AMERICA, TEN                            the Southern
      Miles River Scout                            MILES RIVER SCOUT CAMP,                           District of New
      Camp; Camp                                   CAMP AQUEHONGA and                                York
      Aquehonga                                    BRUCE DeSANDRE
130   Greater New York            John Doe         JOHN DOE v. GREATER NEW         1:20-cv-1526      United States
      Council of the Boy                           YORK COUNCIL OF THE BOY                           District Court for
      Scouts of America; Big                       SCOUTS OF AMERICA and BIG                         the Southern
      Cross Elementary                             CROSS ELEMENTARY SCHOOL                           District of New
      School                                                                                         York
131   Greater New York            John Doe         JOHN DOE v. GREATER NEW         1:20-cv-1438      United States
      Council of the Boy                           YORK COUNCIL OF THE BOY                           District Court for
      Scouts of America; Ten                       SCOUTS OF AMERICA, TEN                            the Southern
      Mile River Scout Camp;                       MILE RIVER SCOUT CAMP and                         District of New
      Gary Ackerman                                GARY ACKERMAN                                     York
132   Greater New York            [Redacted]       [Redacted] v. NATIONAL BOY      1:20-cv-1491      United States
      Councils, Boy Scouts of                      SCOUTS OF AMERICA                                 District Court for
      America d/b/a Queens                         FOUNDATION a/k/a THE BOY                          the Southern
      Council; Greater New                         SCOUTS OF AMERICA;                                District of New
      York Councils, Boy                           GREATER NEW YORK                                  York
      Scouts of America; St.                       COUNCILS, BOY SCOUTS OF
      Nicholas of Tolentine;                       AMERICA d/b/a QUEENS
      University Heights                           COUNCIL, GREATER NEW
      Presbyterian Church;                         YORK COUNCILS, BOY
      Does 1-5 whose                               SCOUTS OF AMERICA; ST.
      identities are unknown to                    NICHOLAS OF TOLENTINE;
      Plaintiff                                    UNIVERSITY HEIGHTS
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                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
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                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     51 of55
                                                                                           312
                                                                                             of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)     Case Caption                          Case Number    Court or Agency
                                                    PRESBYTERIAN CHURCH; and
                                                    DOES 1-5 whose identities are
                                                    unknown to Plaintiff
133   Greater New York            ARK85 Doe         ARK85 Doe v. NATIONAL BOY             1:20-cv-1455   United States
      Councils, Boy Scouts of                       SCOUTS OF AMERICA                                    District Court for
      America a/b/a Staten                          FOUNDATION a/k/a THE BOY                             the Southern
      Island Council Boy                            SCOUTS OF AMERICA;                                   District of New
      Scouts of America, Inc.;                      GREATER NEW YORK                                     York
      St. Teresa Parish a/k/a                       COUNCILS, BOY SCOUTS OF
      Church of St. Teresa of                       AMERICA d/b/a STATEN
      the Infant Jesus; Does 1-                     ISLAND COUNCIL BOY
      5 whose identities are                        SCOUTS OF AMERICA, INC.;
      unknown to Plaintiff                          ST. TERESA PARISH a/k/a
                                                    CHURCH OF ST. TERESA OF
                                                    THE INFANT JESUS; and DOES
                                                    1-5 whose identities are unknown to
                                                    Plaintiff
134   Greater New York          ARK99 Doe           ARK99 DOE v. NATIONAL BOY             1:20-cv-1461   United States
      Councils, Boy Scouts of                       SCOUTS OF AMERICA                                    District Court for
      America; St. Pius V;                          FOUNDATION a/k/a THE BOY                             the Southern
      Does 1-5 whose                                SCOUTS OF AMERICA;                                   District of New
      identities are unknown to                     GREATER NEW YORK                                     York
      Plaintiff                                     COUNCILS, BOY SCOUTS OF
                                                    AMERICA; ST. PIUS V; and
                                                    DOES 1-5 whose identities are
                                                    unknown to Plaintiff
135   Greater New York            ARK100 DOE        ARK100 DOE v. NATIONAL                1:20-cv-1473   United States
      Councils, Boy Scouts of                       BOY SCOUTS OF AMERICA                                District Court for
      America a/b/a/                                FOUNDATION a/k/a THE BOY                             the Southern
      Manhattan Council;                            SCOUTS OF AMERICA;
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
                                                   Document
                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   52 of56
                                                                                         312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)     Case Caption                    Case Number       Court or Agency
      Greater New York                            GREATER NEW YORK                                  District of New
      Councils, Boy Scouts of                     COUNCILS, BOY SCOUTS OF                           York
      America; Does 1-5                           AMERICA d/b/a MANHATTAN
      whose identities are                        COUNCIL, GREATER NEW
      unknown to Plaintiff                        YORK COUNCILS, BOY
                                                  SCOUTS OF AMERICA; and
                                                  DOES 1-5 whose identities are
                                                  unknown to Plaintiff
136   Greater New York          ARK102 Doe        ARK102 DOE v. NATIONAL          1:20-cv-1474      United States
      Councils, Boy Scouts of                     BOY SCOUTS OF AMERICA                             District Court for
      America a/b/a Manhattan                     FOUNDATION a/k/a THE BOY                          the Southern
      Council; Greater New                        SCOUTS OF AMERICA;                                District of New
      York Councils, Boy                          GREATER NEW YORK                                  York
      Scouts of America; Big                      COUNCILS, BOY SCOUTS OF
      Apple District; Greater                     AMERICA d/b/a MANHATTAN
      New York Councils,                          COUNCIL, GREATER NEW
      Boy Scouts of America;                      YORK COUNCILS, BOY
      Does 1-5 whose                              SCOUTS OF AMERICA; BIG
      identities are unknown to                   APPLE DISTRICT, GREATER
      Plaintiff                                   NEW YORK COUNCILS, BOY
                                                  SCOUTS OF AMERICA; and
                                                  DOES 1-5 whose identities are
                                                  unknown to Plaintiff
137   Greater New York          ARK103 Doe        ARK103 DOE v. NATIONAL          1:20-cv-1475      United States
      Councils, Boy Scouts of                     BOY SCOUTS OF AMERICA                             District Court for
      America a/b/a Brooklyn                      FOUNDATION a/k/a THE BOY                          the Southern
      Council, Boy Scouts of                      SCOUTS OF AMERICA;                                District of New
      America; Holy Family                        GREATER NEW YORK                                  York
      Church; Does 1-5 whose                      COUNCILS, BOY SCOUTS OF
                                                  AMERICA d/b/a BROOKLYN
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    53 of57
                                                                                          312
                                                                                            of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)      Case Caption                          Case Number    Court or Agency
      identities are unknown to                    COUNCIL, BOY SCOUTS OF
      Plaintiff                                    AMERICA; HOLY FAMILY
                                                   CHURCH; and DOES 1-5 whose
                                                   identities are unknown to Plaintiff
138   Greater New York           ARK104 Doe        ARK104 DOE v. NATIONAL                1:20-cv-1476   United States
      Councils, Boy Scouts of                      BOY SCOUTS OF AMERICA                                District Court for
      America a/k/a Greater                        FOUNDATION a/k/a THE BOY                             the Southern
      New York City                                SCOUTS OF AMERICA;                                   District of New
      Councils; Bronx Council                      GREATER NEW YORK                                     York
      a/k/a and d/b/a Bronx                        COUNCILS, BOY SCOUTS OF
      Council, Boy Scouts of                       AMERICA a/k/a GREATER NEW
      America; Ten Mile River                      YORK CITY COUNCILS,
      Scout Camps, Boy                             BRONX COUNCIL a/k/a and d/b/a
      Scouts of America a/k/a                      BRONX COUNCIL, BOY
      Ten Mile River Scout                         SCOUTS OF AMERICA; TEN
      Camps; Alpine Scout                          MILE RIVER SCOUT CAMPS,
      Camp a/k/a Alpine Scout                      BOY SCOUTS OF AMERICA
      Camp, Boy Scouts of                          a/k/a TEN MILE RIVER SCOUT
      America; Patrick A.                          CAMPS; ALPINE SCOUT CAMP
      Mancuso; Does 1-5                            a/k/a ALPINE SCOUT CAMP,
      whose identities are                         BOY SCOUTS OF AMERICA;
      unknown to Plaintiff                         PATRICK A. MANCUSO; and
                                                   DOES 1-5 whose identities are
                                                   unknown to Plaintiff
139   Greater New York           [Redacted]        [Redacted] v. BOY SCOUTS OF           1:20-cv-1492   United States
      Councils                                     AMERICA and GREATER NEW                              District Court for
                                                   YORK COUNCILS                                        the Southern
                                                                                                        District of New
                                                                                                        York
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   54 of58
                                                                                         312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)     Case Caption                    Case Number       Court or Agency
140   Greater New York          [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-1494      United States
      Councils, Boy Scouts of                     AMERICA, GREATER NEW                              District Court for
      America; Manhattan                          YORK COUNCILS, BOY SOUTS                          the Southern
      Council, Boy Scouts of                      OF AMERICA, and                                   District of New
      America                                     MANHATTAN COUNCIL, BOY                            York
                                                  SCOUTS OF AMERICA
141   Greater New York          [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-1495      United States
      Councils, Boy Scouts of                     AMERICA, and GREATER NEW                          District Court for
      America                                     YORK COUNCILS, BOY                                the Southern
                                                  SCOUTS OF AMERICA                                 District of New
                                                                                                    York
142   Greater New York          [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-1478      United States
      Councils, Boy Scouts of                     AMERICA, and GREATER NEW                          District Court for
      America                                     YORK COUNCILS, BOY                                the Southern
                                                  SCOUTS OF AMERICA                                 District of New
                                                                                                    York
143   Greater New York          [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-1503      United States
      Councils, Boy Scouts of                     AMERICA, and GREATER NEW                          District Court for
      America                                     YORK COUNCILS, BOY                                the Southern
                                                  SCOUTS OF AMERICA                                 District of New
                                                                                                    York
144   Greater New York          [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-1506      United States
      Councils, Boy Scouts of                     AMERICA, and GREATER NEW                          District Court for
      America                                     YORK COUNCILS, BOY                                the Southern
                                                  SCOUTS OF AMERICA                                 District of New
                                                                                                    York
145   Greater New York          [Redacted]        [Redacted] v. BOY SCOUTS OF     1:20-cv-1512      United States
      Councils, Boy Scouts of                     AMERICA, and GREATER NEW                          District Court for
      America                                     YORK COUNCILS, BOY                                the Southern
                                                  SCOUTS OF AMERICA
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                        08/09/21
                                                                              PagePage
                                                                                   55 of59
                                                                                         312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                    Case Number       Court or Agency
                                                                                                    District of New
                                                                                                    York
146   Greater New York           [Redacted]       [Redacted] v. BOY SCOUTS OF     1:20-cv-1514      United States
      Councils, Boy Scouts of                     AMERICA, and GREATER NEW                          District Court for
      America                                     YORK COUNCILS, BOY                                the Southern
                                                  SCOUTS OF AMERICA                                 District of New
                                                                                                    York
147   Greater New York           [Redacted]       [Redacted] v. BOY SCOUTS OF     1:20-cv-1517      United States
      Councils, Boy Scouts of                     AMERICA, and GREATER NEW                          District Court for
      America                                     YORK COUNCILS, BOY                                the Southern
                                                  SCOUTS OF AMERICA                                 District of New
                                                                                                    York
148   N/A                        [Redacted]       [Redacted] v. BOY SCOUTS OF     1:20-cv-1519      United States
                                                  AMERICA                                           District Court for
                                                                                                    the Southern
                                                                                                    District of New
                                                                                                    York
149   Greater New York           [Redacted]       [Redacted] v. BOY SCOUTS OF     1:20-cv-1539      United States
      Councils, Boy Scouts of                     AMERICA, and GREATER NEW                          District Court for
      America                                     YORK COUNCILS, BOY                                the Southern
                                                  SCOUTS OF AMERICA                                 District of New
                                                                                                    York
150   Roman Catholic             [Redacted]       [Redacted] v. ROMAN             1:20-cv-1531      United States
      Archdiocese of New                          CATHOLIC ARCHDIOCESE OF                           District Court for
      York; Archdiocese of                        NEW YORK, ARCHDIOCESE OF                          the Southern
      New York; Regis High                        NEW YORK, REGIS HIGH                              District of New
      School; USA Northeast                       SCHOOL, USA NORTHEAST                             York
      Province of the Society                     PROVINCE OF THE SOCIETY
      of Jesus; The Boy Scouts                    OF JESUS, THE BOY SCOUTS
      of America Greater New                      OF AMERICA, THE BOY
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                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     56 of60
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                         Case Number     Court or Agency
      York Councils;                                SCOUTS OF AMERICA
      Brooklyn Council; Ten                         GREATER NEW YORK
      Mile River Scout Camp                         COUNCILS, BROOKLYN
                                                    COUNCIL AND TEN MILE
                                                    RIVER SCOUT CAMP
151   Greater New York           [Redacted]         [Redacted] v. BOY SCOUTS OF          1:20-cv-1538    United States
      Councils, Boy Scouts of                       AMERICA, and GREATER NEW                             District Court for
      America                                       YORK COUNCILS, BOY                                   the Southern
                                                    SCOUTS OF AMERICA                                    District of New
                                                                                                         York
152   Greater New York           [Redacted]         [Redacted] v. NATIONAL BOY           1:20-cv-1541    United States
      Councils, Boy Scouts of                       SCOUTS OF AMERICA                                    District Court for
      America; Ten Mile River                       FOUNDATION a/k/a THE BOY                             the Southern
      Scout Camps a/k/a Ten                         SCOUTS OF AMERICA;                                   District of New
      Mile River Scout                              GREATER NEW YORK                                     York
      Camps, Boy Scouts of                          COUNCILS, BOY SCOUTS OF
      America; Does 1-5                             AMERICA; TEN MILE RIVER
      whose identifies are                          SCOUT CAMPS a/k/a TEN MILE
      unknown to Plaintiff                          RIVER SCOUT CAMPS, BOY
                                                    SCOUTS OF AMERICA; and
                                                    DOES 1-5 whose identifies are
                                                    unknown to Plaintiff
153   The Diocese of             [Redacted]         [Redacted] v. THE DIOCESE OF         1:20-cv-00219   United States
      Rochester (a/k/a “Roman                       ROCHESTER (a/k/a "Roman                              District Court for
      Catholic Diocese of                           Catholic Diocese of Rochester"), a                   the Western
      Rochester”); Roman                            religious corporation; ROMAN                         District of New
      Catholic Parish of St.                        CATHOLIC PARISH OF ST.                               York
      Frances Xavier Cabrini,                       FRANCES XAVIER CABRINI,
      Rochester NY (formerly                        ROCHESTER NY (formerly
      “Church of the                                "Church of the Annunciation of
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                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
                                                      Document
                                                         185-1 23-1
                                                                FiledFiled
                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      57 of61
                                                                                            312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                         Case Number          Court or Agency
      Annunciation of                                Rochester, New York"), a religious
      Rochester, New York”);                         corporation, THE NATIONAL
      The Seneca Waterways                           BOY SCOUTS OF AMERICA
      Council, Inc., Boy                             FOUNDATION d/b/a THE BOY
      Scouts of America                              SCOUTS OF AMERICA; and THE
                                                     SENECA WATERWAYS
                                                     COUNCIL, INC., BOY SCOUTS
                                                     OF AMERICA
154   Seneca Waterways            [Redacted]         [Redacted] v. BOY SCOUTS OF          6:20-cv-06104        United States
      Council, Boy Scouts of                         AMERICA, and SENECA                                       District Court for
      America                                        WATERWAYS COUNCIL, BOY                                    the Western
                                                     SCOUTS OF AMERICA                                         District of New
                                                                                                               York
155   Seneca Waterways            [Redacted]         [Redacted] v. BOY SCOUTS OF          1:20-cv-00213        United States
      Council, Boy Scouts of                         AMERICA, and SENECA                                       District Court for
      America                                        WATERWAYS COUNCIL, BOY                                    the Western
                                                     SCOUTS OF AMERICA                                         District of New
                                                                                                               York
156   Longhouse Council, Inc., [Redacted]            [Redacted] v. THE BOY SCOUTS         5:20-cv-186          United States
      Boy Scouts of America;                         OF AMERICA; LONGHOUSE                                     District Court for
      Weedsport Central                              COUNCIL, INC., BOY SCOUTS                                 the Northern
      School District;                               OF AMERICA; WEEDSPORT                                     District of New
      Weedsport Central                              CENTRAL SCHOOL DISTRICT;                                  York
      School District Board of                       WEEDSPORT CENTRAL
      Education; Does 1-5                            SCHOOL DISTRICT BOARD OF
      whose identifies are                           EDUCATION; and DOES 1-5
      unknown to Plaintiff                           whose identifies are unknown to
                                                     Plaintiff
157   Twin Rivers Council,        [Redacted]         [Redacted] v. BOY SCOUTS OF          1:20-cv-00174-GTS-   United States
      Inc., Boy Scouts of                            AMERICA; TWIN RIVERS                 TWD                  District Court for
                               CaseCase
                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
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                                                         185-1 23-1
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                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      58 of62
                                                                                            312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                    Case Number       Court or Agency
      America; Governor                              COUNCIL, INC., BOY SCOUTS                         the Northern
      Clinton Council, Inc.,                         OF AMERICA; and GOVERNOR                          District of New
      Boy Scouts of America                          CLINTON COUNCIL, INC., BOY                        York
                                                     SCOUTS OF AMERICA
158   Twin Rivers Council,        John Doe           JOHN DOE v. BOY SCOUTS OF       1:20-cv-211       United States
      Inc., Boy Scouts of                            AMERICA, TWIN RIVERS                              District Court for
      America; Glens Falls                           COUNCIL, INC., BOY SCOUTS                         the Northern
      City School District                           OF AMERICA, and GLENS                             District of New
                                                     FALLS CITY SCHOOL                                 York
                                                     DISTRICT
159   Leatherstocking Council     [Redacted]         [Redacted] v. BOY SCOUTS OF     6:20-cv-182       United States
                                                     AMERICA and                                       District Court for
                                                     LEATHERSTOCKING COUNCIL                           the Northern
                                                                                                       District of New
                                                                                                       York
160   Baden-Powell Council,       [Redacted]         [Redacted] v. BOY SCOUTS OF     3:20-cv-164       United States
      Boy Scouts of America                          AMERICA, and BADEN-                               District Court for
                                                     POWELL COUNCIL, BOY                               the Northern
                                                     SCOUTS OF AMERICA                                 District of New
                                                                                                       York
161   Leatherstocking Council,    [Redacted]         [Redacted] v. BOY SCOUTS OF 6:20-cv-00169-GTS-    United States
      Boy Scouts of America                          AMERICA, and                TWD                   District Court for
                                                     LEATHERSTOCKING COUNCIL,                          the Northern
                                                     BOY SCOUTS OF AMERICA                             District of New
                                                                                                       York
162   The Roman Catholic          [Redacted]         [Redacted] v. THE ROMAN         3:20-cv-212       United States
      Diocese of Syracuse,                           CATHOLIC DIOCESE OF                               District Court for
      NY; St. Catherine’s                            SYRACUSE, NY; ST.                                 the Northern
      Roman Catholic Church;                         CATHERINE'S ROMAN                                 District of New
      St. Catherine’s Roman                          CATHOLIC CHURCH; ST.                              York
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    59 of63
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                        Case Number       Court or Agency
      Catholic Church School;                      CATHERINE'S ROMAN
      St. Francis of Assisi                        CATHOLIC CHURCH SCHOOL;
      Roman Catholic Church;                       ST. FRANCIS OF ASSISI
      Susquenango Council,                         ROMAN CATHOLIC CHURCH;
      Boy Scouts of America,                       SUSQUENANGO COUNCIL,
      Inc.; Baden-Powell                           BOY SCOUTS OF AMERICA,
      Council, Inc., Boy                           INC; and BADEN-POWELL
      Scouts of America                            COUNCIL, INC., BOY SCOUTS
                                                   OF AMERICA
163   Susquenango Council,       SHC-MG-4 Doe      SHC-MG-4 DOE v. DAVID A.            3:20-cv-192       United States
      Boy Scouts of America,                       DECLUE, a/k/a DAVID DECLUE;                           District Court for
      Inc.; Baden-Powell                           SUSQUENANGO COUNCIL,                                  the Northern
      Council, Inc., Boy                           BOY SCOUTS OF AMERICA,                                District of New
      Scouts of America;                           INC.; BADEN-POWELL                                    York
      David A. Declue, a/k/a                       COUNCIL, INC., BOY SCOUTS
      David Declue                                 OF AMERICA; AND BOY
                                                   SCOUTS OF AMERICA, a/k/a
                                                   NATIONAL BOY SCOUTS OF
                                                   AMERICA FOUNDATION, a/k/a
                                                   BOY SCOUTS OF AMERICA,
                                                   CORP.
164   Allegheny Highlands        [Redacted]        [Redacted] v. Allegheny Highlands   1:20-cv-00215     United States
      Council, Inc.; Donald C.                     Council, Inc., Donald C. Shriver,                     District Court for
      Shriver                                      and Boy Scouts of America, Inc.                       the Western
                                                                                                         District of New
                                                                                                         York
165   Leatherstocking Council    [Redacted]        [Redacted] v. BOY SCOUTS OF         EFCA2020-000266   Supreme Court
      of the Boy Scouts of                         AMERICA,                                              of the State of
      America; Mohawk                              LEATHERSTOCKING COUNCIL                               New York,
      District of the Northern                     OF THE BOY SCOUTS OF
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     60 of64
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                          Case Number    Court or Agency
      New York Annual                               AMERICA, and MOHAWK                                  County of
      Conference of the                             DISTRICT OF THE NORTHERN                             Oneida
      Methodist Episcopal                           NEW YORK ANNUAL
      Church of New York                            CONFERENCE OF THE
                                                    METHODIST EPISCOPAL
                                                    CHURCH OF NEW YORK
166   Oregon Trail Council,      [Redacted]         [Redacted] v. THE BOY SCOUTS          20-03017       United States
      Inc., Boy Scouts of                           OF AMERICA, a congressionally                        Bankruptcy
      America; Learning for                         chartered corporation; OREGON                        Court for the
      Life                                          TRAIL COUNCIL, INC., BOY                             District of
                                                    SCOUTS OF AMERICA, an                                Oregon, Eugene
                                                    Oregon non-profit corporation; and                   Division
                                                    LEARNING FOR LIFE, a District
                                                    of Columbia non-profit corporation
167   Cascade Pacific Council,   [Redacted]         [Redacted] v. THE BOY SCOUTS          20-03014-tmb   United States
      Boy Scouts of America                         OF AMERICA, a congressionally                        Bankruptcy
                                                    chartered corporation authorized to                  Court for the
                                                    do business in Oregon; and                           District of
                                                    CASCADE PACIFIC COUNCIL,                             Oregon
                                                    BOY SCOUTS OF AMERICA, an
                                                    Oregon nonprofit corporation
168   Cascade Pacific Council,   [Redacted]         [Redacted] v. THE BOY SCOUTS          20-03018       United States
      Boy Scouts of America                         OF AMERICA, a congressionally                        Bankruptcy
                                                    chartered corporation authorized to                  Court for the
                                                    do business in Oregon; and                           District of
                                                    CASCADE PACIFIC COUNCIL,                             Oregon, Eugene
                                                    BOY SCOUTS OF AMERICA, an                            Division
                                                    Oregon nonprofit corporation
169   Cascade Pacific Council,   Mark Doe           MARK DOE, an individual               20-03022       United States
      Boy Scouts of America                         proceeding under a fictitious name                   Bankruptcy
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    61 of65
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)         Case Caption                          Case Number    Court or Agency
                                                       v. THE BOY SCOUTS OF                                 Court for the
                                                       AMERICA, a congressionally                           District of
                                                       chartered corporation authorized to                  Oregon
                                                       do business in Oregon; and
                                                       CASCADE PACIFIC COUNCIL,
                                                       BOY SCOUTS OF AMERICA, an
                                                       Oregon nonprofit corporation
170   Cascade Pacific Council,   Julie Doe, an adult   JULIE DOE, an adult proceeding        20-03019-tmb   United States
      Boy Scouts of America      proceeding under a    under a pseudonym, as Guardian                       Bankruptcy
                                 pseudonym, as         Ad Litem for TRAVIS DOE, a                           Court for the
                                 Guardian Ad Litem     minor proceeding under a                             District of
                                 for Travis Doe, a     pseudonym v. BOY SCOUTS OF                           Oregon
                                 minor proceeding      AMERICA, a Congressionally
                                 under a pseudonym     Chartered Corporation, authorized
                                                       to do business in Oregon; and
                                                       CASCADE PACIFIC COUNCIL,
                                                       BOY SCOUTS OF AMERICA, an
                                                       Oregon Non-Profit Corporation
171   Cascade Pacific Council,   [Redacted]            [Redacted] v. THE BOY SCOUTS          20-03013       United States
      Boy Scouts of America                            OF AMERICA, a congressionally                        Bankruptcy
                                                       chartered corporation authorized to                  Court for the
                                                       do business in Oregon; and                           District of
                                                       CASCADE PACIFIC COUNCIL,                             Oregon
                                                       BOY SCOUTS OF AMERICA, an
                                                       Oregon nonprofit corporation
172   Cascade Pacific Council,   [Redacted]            [Redacted] v. BOY SCOUTS OF           20-03020-tmb   United States
      Boy Scouts of America                            AMERICA, a Congressionally                           Bankruptcy
                                                       Chartered Corporation, authorized                    Court for the
                                                       to do business in Oregon; and                        District of
                                                       CASCADE PACIFIC COUNCIL,                             Oregon
                               CaseCase
                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
                                                      Document
                                                         185-1 23-1
                                                                FiledFiled
                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      62 of66
                                                                                            312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)          Case Caption                       Case Number   Court or Agency
                                                         BOY SCOUTS OF AMERICA, an
                                                         Oregon Non-Profit Corporation
173   Cascade Pacific Council,    Andrew Doe, an         ANDREW DOE, an adult               20-03023      United States
      Boy Scouts of America       adult proceeding       proceeding under a pseudonym, as                 Bankruptcy
                                  under a pseudonym,     Guardian Ad Litem for BRIAN                      Court for the
                                  as Guardian Ad         DOE and CARL DOE, minors                         District of
                                  Litem for Brian Doe    proceeding under pseudonyms v.                   Oregon
                                  and Carl Doe, minors   BOY SCOUTS OF AMERICA, a
                                  proceeding under       Congressionally Chartered
                                  pseudonyms             Corporation, authorized to do
                                                         business in Oregon; and CASCADE
                                                         PACIFIC COUNCIL, BOY
                                                         SCOUTS OF AMERICA, an
                                                         Oregon Non-Profit Corporation
174   Oregon Trail Council,       Franklin Doe           FRANKLIN DOE, proceeding           20-03021      United States
      Boy Scouts of America                              under a pseudonym v. BOY                         Bankruptcy
                                                         SCOUTS OF AMERICA, a                             Court for the
                                                         Congressionally Chartered                        District of
                                                         Corporation, authorized to do                    Oregon
                                                         business in Oregon; and OREGON
                                                         TRAIL COUNCIL, BOY SCOUTS
                                                         OF AMERICA, an Oregon Non-
                                                         Profit Corporation
175   Penn Mountains              [Redacted]             [Redacted] v. BOY SCOUTS OF        2:20-cv-904   United States
      Council, Boy Scouts of                             AMERICA and PENN                                 District Court for
      America; Paul Antosh                               MOUNTAINS COUNCIL, BOY                           the Eastern
                                                         SCOUTS OF AMERICA and                            District of
                                                         PAUL ANTOSH                                      Pennsylvania
176   Cradle of Liberty           [Redacted]             [Redacted] v. BOY SCOUTS OF        1908-00955    In the Court of
      Council, Inc., Boy                                 AMERICA, CRADLE OF                               Common Pleas
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     63 of67
                                                                                           312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                      Case Number     Court or Agency
      Scouts of America;                            LIBERTY COUNCIL, INC., BOY                        of Philadelphia
      Michael Forbes; William                       SCOUTS OF AMERICA,                                County
      Thomas Forbes                                 MICHAEL FORBES, and
                                                    WILLIAM THOMAS FORBES
177   Hawk Mountain                [Redacted]       [Redacted] v. BOY SCOUTS OF       5:20-cv-903     United States
      Council, Inc., Boy                            AMERICA; HAWK MOUNTAIN                            District Court for
      Scouts of America d/b/a                       COUNCIL, INC., BOY SCOUTS                         the Eastern
      Pack 0315; Reformation                        OF AMERICA d/b/a PACK 0315;                       District of
      Lutheran Church; C.P.                         REFORMATION LUTHERAN                              Pennsylvania
                                                    CHURCH; and C.P.
178   Corporation of the           John Doe C.J.    JOHN DOE C.J. v.                  190700977       Second District
      President of the Church                       CORPORATION OF THE                                Court, Davis
      of Jesus Christ of Latter-                    PRESIDENT OF THE CHURCH                           County
      Day Saints; Great Salt                        of JESUS CHRIST OF LATTER-
      Lake Council, BSA;                            DAY SAINTS; BOY SCOUTS OF
      Thomas M. Thackeray                           AMERICA, a federally-chartered
                                                    nonprofit corporation; GREAT
                                                    SALT LAKE COUNCIL, BSA, a
                                                    Utah nonprofit corporation;
                                                    THOMAS M. THACKERAY, an
                                                    individual
179   Heart of Virginia            [Redacted]       [Redacted] v. Heart of Virginia   3:20-cv-00108   United States
      Council, Inc., Boy                            Council, Inc., Boy Scouts of                      District Court for
      Scouts of America                             America and Boy Scouts of                         the Eastern
                                                    America                                           District of
                                                                                                      Virginia,
                                                                                                      Richmond
                                                                                                      Division
180   Blue Ridge Mountains         [Redacted]       [Redacted] v. SAMUEL ROCHE,       3:20-cv-00111   United States
      Council, Inc., Boy                            MADISON OSBORNE, THOMAS                           District Court for
                               CaseCase
                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
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                                                         185-1 23-1
                                                                FiledFiled
                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      64 of68
                                                                                            312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                          Case Number     Court or Agency
      Scouts of America; First                       SCOTT, BLUE RIDGE                                     the Eastern
      Baptist Church of                              MOUNTAINS COUNCIL,                                    District of
      Danville d/b/a Boy                             INCORPORATED, BOY SCOUTS                              Virginia,
      Scouts Troop 354;                              OF AMERICA, and FIRST                                 Richmond
      Samuel Roche; Madison                          BAPTIST CHURCH OF                                     Division
      Osborne; Thomas Scott                          DANVILLE d/b/a BOY SCOUT
                                                     TROOP 354
181   Evergreen Area Council,     [Redacted]         [Redacted] v. BOY SCOUTS OF           2:20-cv-00249   United States
      Boy Scouts of America,                         AMERICA, a congressionally                            District Court for
      n/k/a Mount Baker                              chartered corporation authorized to                   the Western
      Council, Boy Scouts of                         do business in the State of                           District of
      America                                        Washington; EVERGREEN AREA                            Washington at
                                                     COUNCIL, BOY SCOUTS OF                                Seattle
                                                     AMERICA, n/k/a MOUNT
                                                     BAKER COUNCIL, BOY
                                                     SCOUTS OF AMERICA
182   Chief Seattle Council,      [Redacted]         [Redacted] v. BOY SCOUTS OF           2:20-cv-00250   United States
      Boy Scouts of America                          AMERICA, a congressionally                            District Court for
                                                     chartered corporation authorized to                   the Western
                                                     do business in the State of                           District of
                                                     Washington; CHIEF SEATTLE                             Washington at
                                                     COUNCIL, BOY SCOUTS OF                                Seattle
                                                     AMERICA, a Washington
                                                     nonprofit corporation
183   Evergreen Area Council,     [Redacted]         [Redacted] v. BOY SCOUTS OF           2:20-cv-00251   United States
      Boy Scouts of America,                         AMERICA, a congressionally                            District Court for
      n/k/a Mount Baker                              chartered corporation authorized to                   the Western
      Council, Boy Scouts of                         do business in the State of                           District of
      America                                        Washington; EVERGREEN AREA                            Washington at
                                                     COUNCIL, BOY SCOUTS OF                                Seattle
                               CaseCase
                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
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                                                         185-1 23-1
                                                                FiledFiled
                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      65 of69
                                                                                            312
                                                                                              of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)     Case Caption                         Case Number     Court or Agency
                                                     AMERICA, n/k/a MOUNT
                                                     BAKER COUNCIL, BOY
                                                     SCOUTS OF AMERICA, a
                                                     Washington nonprofit corporation
184   Quapaw Area Council          [Redacted]        [Redacted] v. Boy Scouts of          4:19-cv-00847   United States
      Incorporated of the Boy                        America, and Quapaw Area                             District Court for
      Scouts of America                              Council Incorporated of the Boy                      the Eastern
                                                     Scouts of America                                    District of
                                                                                                          Arkansas, Little
                                                                                                          Rock Division
185   N/A                          John Does 1-8.    JOHN DOES 1-8 v. BOY SCOUTS          1:20-CV-00017   United States
                                                     OF AMERICA, a congressionally                        District Court for
                                                     chartered corporation domiciled in                   the District of
                                                     the District of Columbia                             Columbia
186   Boy Scouts of America        [Redacted]        [Redacted] v. ROMAN                  1:19-cv-00010   United States
      Aloha Counsel                                  CATHOLIC ARCHBISHOP OF                               District Court for
      Chamorro District; Louis                       AGANA, a Corporation sole; BOY                       the District of
      Brouillard, an individual,                     SCOUTS OF AMERICA, a                                 Guam
      Doe Entites 1-5; and                           congressionally chartered
      Doe Individuals 6-50,                          corporation, authorized to do
      inclusive                                      business in Guam; BOY SCOUTS
                                                     OF AMERICA ALOHA
                                                     COUNSEL CHAMORRO
                                                     DISTRICT; LOUIS
                                                     BROUILLARD, an individual,
                                                     DOE ENTITES 1-5; and DOE
                                                     INDIVIDUALS 6-50, inclusive
187   Roman Catholic               [Redacted]        [Redacted] v. Roman Catholic         1:19-cv-00083   United States
      Archbishop Of Agana;                           Archbishop Of Agana, A                               District Court for
      Andrew Mannetta, An                            Corporation Sole; Boy Scouts Of
                                 CaseCase
                                      4:19-cv-00847-BSM
                                          20-50527-LSS Doc
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                                                                       07/21/21
                                                                             08/09/21
                                                                                   PagePage
                                                                                        66 of70
                                                                                              312
                                                                                                of 316




                                    Underlying
      Non-Debtor                    Plaintiff(s)
      Defendants(s)                 (last, first)      Case Caption                        Case Number     Court or Agency
      Individual; Doe Entities                         America, A Congressionally                          the District of
      1-5; Doe Individuals 6-                          Chartered Corporation Authorized                    Guam
      10, Inclusive                                    To Do Business In Guam; Andrew
                                                       Mannetta, An Individual; Doe
                                                       Entities 1-5; Doe Individuals 6-10,
                                                       Inclusive
188   Boy Scouts of America         [Redacted]         [Redacted] v. Roman Catholic        1:19-cv-00067   United States
      Aloha Council                                    Archbishop Of Agana, A                              District Court for
      Chamorro District; Doe                           Corporation Sole; Boy Scouts Of                     the District of
      Entities 1-5; Doe                                America, A Congressionally                          Guam
      Individuals 6-50; Roman                          Chartered Corporation Authorized
      Catholic Archbishop Of                           To Do Business In Guam; Boy
      Agana                                            Scouts Of America Aloha Council
                                                       Chamorro District; Doe Entities 1-
                                                       5; Doe Individuals 6-50
189   Boy Scouts of America         [Redacted]         [Redacted] v. ROMAN                 1:17-cv-00088   United States
      Aloha Council                                    CATHOLIC ARCHBISHOP OF                              District Court for
      Chamorro District;                               AGANA, a Corporation sole; BOY                      the District of
      Discalced Carmelite                              SCOUTS OF AMERICA, a                                Guam
      Nuns (O.C.D.) a.k.a.                             congressionally chartered
      Order of Discalced                               corporation, authorized to do
      Carmelites; Carmel of                            business in Guam; BOY SCOUTS
      the Immaculate                                   OF AMERICA ALOHA
      Concepcion; Roman                                COUNCIL CHAMORRO
      Catholic Archbishop Of                           DISTRICT; LOUIS
      Agana; Louis Brouillard                          BROUILLARD, an individual;
      Doe Entities 1-5; and                            DISCALCED CARMELITE NUNS
      Doe-Individuals 6-48,                            (O.C.D.) a.k.a. ORDER OF
      inclusive                                        DISCALCED CARMELITES;
                                                       CARMEL OF THE
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    67 of71
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                     Case Number      Court or Agency
                                                   IMMACULATE CONCEPCION;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-48, inclusive
190   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00036    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
191   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00004    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard an                          corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, and individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    68 of72
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                   Case Number        Court or Agency
192   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN            1:17-cv-00042      United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Discalced Carmelite                          SCOUTS OF AMERICA, a                              Guam
      Nuns (O.C.D.) a.k.a.                         congressionally chartered
      Order of Discalced                           corporation, authorized to do
      Carmelites; Carmel of                        business in Guam; BOY SCOUTS
      the Immaculate                               OF AMERICA ALOHA
      Concepcion; Roman                            COUNCIL CHAMORRO
      Catholic Archbishop Of                       DISTRICT; LOUIS
      Agana; Louis Brouillard;                     BROUILLARD, an individual;
      Doe Entities 1-5; and                        DISCALCED CARMELITE NUNS
      Doe-Individuals 6-48,                        (O.C.D.) a.k.a. ORDER OF
      inclusive                                    DISCALCED CARMELITES;
                                                   CARMEL OF THE
                                                   IMMACULATE CONCEPCION;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-48, inclusive
193   Capuchin Franciscans;      [Redacted]        [Redacted] v. CAPUCHIN         1:19-cv-00116      United States
      Capuchin Franciscans,                        FRANCISCANS; CAPUCHIN                             District Court for
      Province of St. Mary;                        FRANCISCANS, PROVINCE OF                          the District of
      Capuchin Franciscans                         ST. MARY; CAPUCHIN                                Guam
      Custody of Star of the                       FRANCISCANS CUSTODY OF
      Sea; Boy Scouts of                           STAR OF THE SEA; BOY
      America Aloha Counsel                        SCOUTS OF AMERICA, a
      Chamorro District; Doe                       congressionally chartered
      Entities 1-5; and Doe-                       corporation, authorized to do
      Individuals 6-50,                            business in Guam; BOY SCOUTS
      inclusive                                    OF AMERICA ALOHA
                                                   COUNSEL CHAMORRO
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
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                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     69 of73
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                     Case Number      Court or Agency
                                                    DISTRICT; DOE ENTITIES 1-5;
                                                    and DOE-INDIVIDUALS 6-50,
                                                    inclusive
194   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00022    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard;                             corporation, authorized to do
      Doe Entities 1-5; and                         business in Guam; BOY SCOUTS
      Doe Individuals 6-50,                         OF AMERICA ALOHA
      inclusive                                     COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE
                                                    INDIVIDUALS 6-50, inclusive
195   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00005    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    70 of74
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                   Case Number        Court or Agency
196   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN            1:17-cv-00024      United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Discalced Carmelite                          SCOUTS OF AMERICA, a                              Guam
      Nuns (O.C.D.) a.k.a.                         congressionally chartered
      Order of Discalced                           corporation, authorized to do
      Carmelites; Carmel of                        business in Guam; BOY SCOUTS
      the Immaculate                               OF AMERICA ALOHA
      Conception; Roman                            COUNCIL CHAMORRO
      Catholic Archbishop Of                       DISTRICT; LOUIS
      Agana; Louis Brouillard,                     BROUILLARD, an individual;
      an individual; Doe                           DISCALCED CARMELITE NUNS
      Entities 1-5; and Doe-                       (O.C.D.) a.k.a. ORDER OF
      Individuals 6-48,                            DISCALCED CARMELITES;
      inclusive                                    CARMEL OF THE
                                                   IMMACULATE CONCEPTION;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-48, inclusive
197   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN            1:17-cv-00129      United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
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                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     71 of75
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                     Case Number      Court or Agency
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
198   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00125    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
199   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00107    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, and individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
200   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00046    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    72 of76
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                   Case Number        Court or Agency
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, and individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
201   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN            1:17-cv-00048      United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Discalced Carmelite                          SCOUTS OF AMERICA, a                              Guam
      Nuns (O.C.D.) a.k.a.                         congressionally chartered
      Order of Discalced                           corporation, authorized to do
      Carmelites; Carmel of                        business in Guam; BOY SCOUTS
      the Immaculate                               OF AMERICA ALOHA
      Conception; Roman                            COUNCIL CHAMORRO
      Catholic Archbishop Of                       DISTRICT; LOUIS
      Agana; Louis Brouillard,                     BROUILLARD, an individual;
      an individual; Doe                           DISCALCED CARMELITE NUNS
      Entities 1-5; and Doe-                       (O.C.D.) a.k.a. ORDER OF
      Individuals 6-48,                            DISCALCED CARMELITES;
      inclusive                                    CARMEL OF THE
                                                   IMMACULATE CONCEPCION;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-48, inclusive
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     73 of77
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                     Case Number      Court or Agency
202   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00035    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE
                                                    INDIVIDUALS 6-50, inclusive
203   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00006    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
204   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00020    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
                                 CaseCase
                                      4:19-cv-00847-BSM
                                          20-50527-LSS Doc
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                                                           185-1 23-1
                                                                  FiledFiled
                                                                       07/21/21
                                                                             08/09/21
                                                                                   PagePage
                                                                                        74 of78
                                                                                              312
                                                                                                of 316




                                    Underlying
      Non-Debtor                    Plaintiff(s)
      Defendants(s)                 (last, first)      Case Caption                     Case Number      Court or Agency
      Archbishop Of Agana;                             congressionally chartered
      Louis Brouillard, an                             corporation, authorized to do
      individual; Tomas A.                             business in Guam; BOY SCOUTS
      Camacho, an individual;                          OF AMERICA ALOHA
      Doe Entities 1-5; and                            COUNCIL CHAMORRO
      Doe-Individuals 6-50,                            DISTRICT; TOMAS A.
      inclusive                                        CAMACHO, an individual, LOUIS
                                                       BROUILLARD, an individual;
                                                       DOE ENTITIES 1-5; and DOE-
                                                       INDIVIDUALS 6-50, inclusive
205   Boy Scouts of America         [Redacted]         [Redacted] v. ROMAN              1:17-cv-00049    United States
      Aloha Council                                    CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                               AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                   SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                             congressionally chartered
      Louis Brouillard, an                             corporation, authorized to do
      individual; Doe Entities                         business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                         OF AMERICA ALOHA
      6-50, inclusive                                  COUNCIL CHAMORRO
                                                       DISTRICT; LOUIS
                                                       BROUILLARD, an individual;
                                                       DOE ENTITIES 1-5; and DOE-
                                                       INDIVIDUALS 6-50, inclusive
206   Boy Scouts of America         [Redacted]         [Redacted] v. ROMAN              1:17-cv-00023    United States
      Aloha Council                                    CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                               AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                   SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                             congressionally chartered
      Louis Brouillard, an                             corporation, authorized to do
      individual; Doe Entities                         business in Guam; BOY SCOUTS
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    75 of79
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                     Case Number      Court or Agency
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
207   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-CV-00101    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual,
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
208   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00098    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     76 of80
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                     Case Number      Court or Agency
                                                    DOES ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
209   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00037    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
210   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00100    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
211   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00057    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
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                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     77 of81
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                     Case Number      Court or Agency
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
212   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00021    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
213   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00025    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    78 of82
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                     Case Number      Court or Agency
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
214   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00019    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
215   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00077    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    79 of83
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                     Case Number      Court or Agency
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
216   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00087    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
217   Capuchin Franciscans;      [Redacted]        [Redacted] v. CAPUCHIN           1:19-cv-00118    United States
      Capuchin Franciscans,                        FRANCISCANS; CAPUCHIN                             District Court for
      Province of St. Mary;                        FRANCISCANS, PROVINCE OF                          the District of
      Capuchin Franciscans                         ST. MARY; CAPUCHIN                                Guam
      Custody of Star of the                       FRANCISCANS CUSTODY OF
      Sea; Boy Scouts of                           STAR OF THE SEA; BOY
      America Aloha Counsel                        SCOUTS OF AMERICA, a
      Chamorro District ; Doe                      congressionally chartered
      Entities 1-5; and Doe-                       corporation, authorized to do
      Individuals 6-50,                            business in Guam; BOY SCOUTS
      inclusive                                    OF AMERICA ALOHA
                                                   COUNSEL CHAMORRO
                                                   DISTRICT; DOE ENTITIES 1-5;
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    80 of84
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                     Case Number      Court or Agency
                                                   and DOE INDIVIDUALS 6-50,
                                                   inclusive
218   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:18-cv-00001    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; DOE-
                                                   INDIVIDUALS 6-50, inclusive
219   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00123    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Capuchin Franciscans;                        SCOUTS OF AMERICA, a                              Guam
      Capuchin Franciscans                         congressionally chartered
      Province of St. Mary;                        corporation, authorized to do
      Capuchin Franciscans                         business in Guam; BOY SCOUTS
      Custody of Star of the                       OF AMERICA ALOHA
      Sea; Roman Catholic                          COUNCIL CHAMORRO
      Archbishop Of Agana;                         DISTRICT; LOUIS
      Louis Brouillard, an                         BROUILLARD, an individual;
      individual; Doe Entities                     CAPUCHIN FRANCISCANS;
      1-5; and Doe-Individuals                     CAPUCHIN FRANCISCANS
      6-47, inclusive                              PROVINCE OF ST. MARY;
                                                   CAPUCHIN FRANCISCANS
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    81 of85
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                     Case Number      Court or Agency
                                                   CUSTODY OF STAR OF THE
                                                   SEA; DOE ENTITIES 1-5; and
                                                   DOE-INDIVIDUALS 6-47,
                                                   inclusive
220   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00061    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
221   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00034    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    82 of86
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                   Case Number        Court or Agency
222   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN            1:17-cv-00026      United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
223   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN            1:17-cv-00121      United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Discalced Carmelite                          SCOUTS OF AMERICA, a                              Guam
      Nuns (O.C.D.) a.k.a.                         congressionally chartered
      Order of Discalced                           corporation, authorized to do
      Carmelites; Carmel of                        business in Guam; BOY SCOUTS
      the Immaculate                               OF AMERICA ALOHA
      Concepcion; Roman                            COUNCIL CHAMORRO
      Catholic Archbishop Of                       DISTRICT; LOUIS
      Agana; Louis Brouillard,                     BROUILLARD, an individual;
      an individual; Doe                           DISCALCED CARMELITE NUNS
      Entities 1-5; and Doe-                       (O.C.D.) a.k.a. ORDER OF
      Individuals 6-48,                            DISCALCED CARMELITES;
      inclusive                                    CARMEL OF THE
                                                   IMMACULATE CONCEPCION;
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     83 of87
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                     Case Number      Court or Agency
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-48, inclusive
224   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00075    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE
                                                    INDIVIDUALS 6-50, inclusive
225   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00007    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
226   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00052    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     84 of88
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                     Case Number      Court or Agency
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
227   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00130    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
228   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00106    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    85 of89
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                     Case Number      Court or Agency
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
229   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:18-cv-00008    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
230   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00095    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    86 of90
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                     Case Number      Court or Agency
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
231   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00082    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
232   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00054    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     87 of91
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                     Case Number      Court or Agency
233   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00067    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; DOE ENTITIES 1-5;
                                                    and DOE-INDIVIDUALS 6-50,
                                                    inclusive
234   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00122    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
235   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00063    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
                               CaseCase
                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
                                                      Document
                                                         185-1 23-1
                                                                FiledFiled
                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      88 of92
                                                                                            312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                     Case Number      Court or Agency
      Louis Brouillard, an                           corporation, authorized to do
      individual; Doe Entities                       business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                       OF AMERICA ALOHA
      6-50, inclusive                                COUNCIL CHAMORRO
                                                     DISTRICT; LOUIS
                                                     BROUILLARD, an individual;
                                                     DOE ENTITIES 1-5; and DOE-
                                                     INDIVIDUALS 6-50, inclusive
236   Boy Scouts of America       [Redacted]         [Redacted] v. ROMAN              1:18-cv-00004    United States
      Aloha Council                                  CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                             AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                 SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                           congressionally chartered
      Louis Brouillard, an                           corporation, authorized to do
      individual; Doe Entities                       business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                       OF AMERICA ALOHA
      6-50, inclusive                                COUNCIL CHAMORRO
                                                     DISTRICT; LOUIS
                                                     BROUILLARD, an individual;
                                                     DOE ENTITIES 1-5; and DOE-
                                                     INDIVIDUALS 6-50, inclusive
237   Boy Scouts of America       [Redacted]         [Redacted] v. ROMAN              1:18-cv-00018    United States
      Aloha Council                                  CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                             AGANA, a Corporation sole; BOY                    the District of
      Capuchin Franciscans;                          SCOUTS OF AMERICA, a                              Guam
      Capuchin Franciscans                           congressionally chartered
      Province of St. Mary;                          corporation, authorized to do
      Capuchin Franciscans                           business in Guam; BOY SCOUTS
      Custody of Star of the                         OF AMERICA ALOHA
      Sea; Roman Catholic                            COUNCIL CHAMORRO
                                 CaseCase
                                      4:19-cv-00847-BSM
                                          20-50527-LSS Doc
                                                        Document
                                                           185-1 23-1
                                                                  FiledFiled
                                                                       07/21/21
                                                                             08/09/21
                                                                                   PagePage
                                                                                        89 of93
                                                                                              312
                                                                                                of 316




                                    Underlying
      Non-Debtor                    Plaintiff(s)
      Defendants(s)                 (last, first)      Case Caption                     Case Number      Court or Agency
      Archbishop Of Agana;                             DISTRICT; LOUIS
      Louis Brouillard, an                             BROUILLARD, an individual;
      individual; Doe Entities                         CAPUCHIN FRANCISCANS;
      1-5; and Doe-Individuals                         CAPUCHIN FRANCISCANS
      6-47, inclusive                                  PROVINCE OF ST. MARY;
                                                       CAPUCHIN FRANCISCANS
                                                       CUSTODY OF STAR OF THE
                                                       SEA; DOE ENTITIES 1-5; and
                                                       DOE-INDIVIDUALS 6-47,
                                                       inclusive
238   Boy Scouts of America         [Redacted]         [Redacted] v. ROMAN              1:17-cv-00047    United States
      Aloha Council                                    CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                               AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                   SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                             congressionally chartered
      Louis Brouillard, an                             corporation, authorized to do
      individual; Doe Entities                         business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                         OF AMERICA ALOHA
      6-50, inclusive                                  COUNCIL CHAMORRO
                                                       DISTRICT; LOUIS
                                                       BROUILLARD, an individual;
                                                       DOE ENTITIES 1-5; and DOE-
                                                       INDIVIDUALS 6-50, inclusive
239   Boy Scouts of America         [Redacted]         [Redacted] v. ROMAN              1:17-cv-00109    United States
      Aloha Council                                    CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District ;                              AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                   SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                             congressionally chartered
      Louis Brouillard, an                             corporation, authorized to do
      individual; Doe Entities                         business in Guam; BOY SCOUTS
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    90 of94
                                                                                          312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                     Case Number      Court or Agency
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
240   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00039    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
241   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN              1:17-cv-00120    United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                    the District of
      Discalced Carmelite                          SCOUTS OF AMERICA, a                              Guam
      Nuns (O.C.D.) a.k.a.                         congressionally chartered
      Order of Discalced                           corporation, authorized to do
      Carmelites; Carmel of                        business in Guam; BOY SCOUTS
      the Immaculate                               OF AMERICA ALOHA
      Concepcion; Roman                            COUNCIL CHAMORRO
      Catholic Archbishop Of                       DISTRICT; LOUIS
      Agana; Louis Brouillard,                     BROUILLARD, an individual;
                               CaseCase
                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
                                                      Document
                                                         185-1 23-1
                                                                FiledFiled
                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      91 of95
                                                                                            312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                         Case Number     Court or Agency
      an individual; Doe                             DISCALCED CARMELITE NUNS
      Entities 1-5; and Doe-                         (O.C.D.) a.k.a. ORDER OF
      Individuals 6-48,                              DISCALCED CARMELITES;
      inclusive                                      CARMEL OF THE
                                                     IMMACULATE CONCEPCION;
                                                     DOE ENTITIES 1-5; and DOE-
                                                     INDIVIDUALS 6-48, inclusive
242   Boy Scouts of America       [Redacted]         [Redacted] v. ROMAN                  1:17-cv-00015   United States
      Aloha Council                                  CATHOLIC ARCHBISHOP OF                               District Court for
      Chamorro District;                             AGANA, a Corporation sole; BOY                       the District of
      Roman Catholic                                 SCOUTS OF AMERICA, a                                 Guam
      Archbishop Of Agana;                           congressionally chartered
      Louis Brouillard, an                           corporation, authorized to do
      individual; Doe Entities                       business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                       OF AMERICA ALOHA
      6-50, inclusive                                COUNCIL CHAMORRO
                                                     DISTRICT; LOUIS
                                                     BROUILLARD, an individual;
                                                     DOE ENTITIES 1-5; and DOE-
                                                     INDIVIDUALS 6-50, inclusive
243   Boy Scouts of America       [Redacted]         [Redacted] v. BOY SCOUTS OF          1:19-cv-00133   United States
      Aloha Council                                  AMERICA, a congressionally                           District Court for
      Chamorro District;                             chartered corporation, authorized to                 the District of
      Capuchin Franciscans;                          do business in Guam; BOY                             Guam
      Capuchin Franciscans                           SCOUTS OF AMERICA ALOHA
      Province of St. Mary;                          COUNCIL CHAMORRO
      Capuchin Franciscans                           DISTRICT; CAPUCHIN
      Custody of Star of the                         FRANCISCANS; CAPUCHIN
      Sea; Doe Entities 1-5;                         FRANCISCANS PROVINCE OF
                                                     ST. MARY; CAPUCHIN
                               CaseCase
                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
                                                      Document
                                                         185-1 23-1
                                                                FiledFiled
                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      92 of96
                                                                                            312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                     Case Number      Court or Agency
      and Doe-Individuals 6-                         FRANCISCANS CUSTODY OF
      47, inclusive                                  STAR OF THE SEA; DOE
                                                     ENTITIES 1-5; and DOE-
                                                     INDIVIDUALS 6-47, inclusive
244   Boy Scouts of America       [Redacted]         [Redacted] v. ROMAN              1:17-cv-00045    United States
      Aloha Council                                  CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                             AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                 SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                           congressionally chartered
      Louis Brouillard, an                           corporation, authorized to do
      individual; Doe Entities                       business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                       OF AMERICA ALOHA
      6-50, inclusive                                COUNCIL CHAMORRO
                                                     DISTRICT; LOUIS
                                                     BROUILLARD, an individual;
                                                     DOE ENTITIES 1-5; and DOE-
                                                     INDIVIDUALS 6-50, inclusive
245   Boy Scouts of America       [Redacted]         [Redacted] v. ROMAN              1:18-cv-00036    United States
      Aloha Council                                  CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                             AGANA, a Corporation sole; BOY                    the District of
      Capuchin Franciscans;                          SCOUTS OF AMERICA, a                              Guam
      Capuchin Franciscans                           congressionally chartered
      Province of St. Mary;                          corporation, authorized to do
      Roman Catholic                                 business in Guam; BOY SCOUTS
      Archbishop Of Agana;                           OF AMERICA ALOHA
      Louis Brouillard, an                           COUNCIL CHAMORRO
      individual; Doe Entities                       DISTRICT; LOUIS
      1-5; and Doe-Individuals                       BROUILLARD, an individual;
      6-50, inclusive                                CAPUCHIN FRANCISCANS;
                                                     CAPUCHIN FRANCISCANS
                               CaseCase
                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
                                                      Document
                                                         185-1 23-1
                                                                FiledFiled
                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      93 of97
                                                                                            312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                           Case Number     Court or Agency
                                                     PROVINCE OF ST. MARY; DOE
                                                     ENTITIES 1-5; and DOE-
                                                     INDIVIDUALS 6-50, inclusive
246   Boy Scouts of America       [Redacted]         [Redacted] v. ROMAN                    1:17-cv-00038   United States
      Aloha Council                                  CATHOLIC ARCHBISHOP OF                                 District Court for
      Chamorro District;                             AGANA, a Corporation sole; BOY                         the District of
      Roman Catholic                                 SCOUTS OF AMERICA, a                                   Guam
      Archbishop Of Agana;                           congressionally chartered
      Louis Brouillard, an                           corporation, authorized to do
      individual; Doe Entities                       business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                       OF AMERICA ALOHA
      6-50, inclusive                                COUNCIL CHAMORRO
                                                     DISTRICT; LOUIS
                                                     BROUILLARD, an individual;
                                                     DOE ENTITIES 1-5; and DOE-
                                                     INDIVIDUALS 6-50, inclusive
247   Boy Scouts of America       [Redacted]         [Redacted] v. BOY SCOUTS OF            1:17-cv-00084   United States
      Aloha Council                                  AMERICA, a congressionally                             District Court for
      Chamorro District; Doe                         chartered corporation, authorized to                   the District of
      Entities 1-5; and Doe-                         do business in Guam; BOY                               Guam
      Individuals 6-50,                              SCOUTS OF AMERICA ALOHA
      inclusive                                      COUNCIL CHAMORRO
                                                     DISTRICT; DOE ENTITIES 1-5;
                                                     and DOE-INDIVIDUALS 6-50,
                                                     inclusive
248   Boy Scouts of America       [Redacted]         [Redacted] v. ROMAN                    1:17-cv-00003   United States
      Aloha Council                                  CATHOLIC ARCHBISHOP OF                                 District Court for
      Chamorro District ;                            AGANA, a Corporation sole; BOY                         the District of
      Roman Catholic                                 SCOUTS OF AMERICA, a                                   Guam
      Archbishop Of Agana;                           congressionally chartered
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
                                                               FiledFiled
                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     94 of98
                                                                                           312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                     Case Number      Court or Agency
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
249   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00008    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                          congressionally chartered
      Louis Brouillard, an                          corporation, authorized to do
      individual; Doe Entities                      business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                      OF AMERICA ALOHA
      6-50, inclusive                               COUNCIL CHAMORRO
                                                    DISTRICT; LOUIS
                                                    BROUILLARD, an individual;
                                                    DOE ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-50, inclusive
250   Boy Scouts of America      [Redacted]         [Redacted] v. ROMAN              1:17-cv-00066    United States
      Aloha Council                                 CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                            AGANA, a Corporation sole; BOY                    the District of
      Discalced Carmelite                           SCOUTS OF AMERICA, a                              Guam
      Nuns (O.C.D.) a.k.a.                          congressionally chartered
      Order of Discalced                            corporation, authorized to do
      Carmelites; Carmel of                         business in Guam; BOY SCOUTS
      the Immaculate                                OF AMERICA ALOHA
      Concepcion; Roman                             COUNCIL CHAMORRO
                               CaseCase
                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
                                                      Document
                                                         185-1 23-1
                                                                FiledFiled
                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      95 of99
                                                                                            312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                   Case Number        Court or Agency
      Catholic Archbishop Of                         DISTRICT; LOUIS
      Agana; Louis Brouillard,                       BROUILLARD, an individual;
      an individual; Doe                             DISCALCED CARMELITE NUNS
      Entities 1-5; and Doe-                         (O.C.D.) a.k.a. ORDER OF
      Individuals 6-48,                              DISCALCED CARMELITES;
      inclusive                                      CARMEL OF THE
                                                     IMMACULATE CONCEPCION;
                                                     DOE ENTITIES 1-5; and DOE-
                                                     INDIVIDUALS 6-48, inclusive
251   Capuchin Franciscans;       [Redacted]         [Redacted] v. CAPUCHIN         1:19-cv-00115      United States
      Capuchin Franciscans                           FRANCISCANS; CAPUCHIN                             District Court for
      Province of St. Mary;                          FRANCISCANS PROVINCE OF                           the District of
      Capuchin Franciscans                           ST. MARY; CAPUCHIN                                Guam
      Custody of Star of the                         FRANCISCANS CUSTODY OF
      Sea; Boy Scouts of                             STAR OF THE SEA; BOY
      America Aloha Council                          SCOUTS OF AMERICA, a
      Chamorro District; Doe                         congressionally chartered
      Entities 1-5; and Doe-                         corporation, authorized to do
      Individuals 6-50,                              business in Guam; BOY SCOUTS
      inclusive                                      OF AMERICA ALOHA
                                                     COUNCIL CHAMORRO
                                                     DISTRICT; DOE ENTITIES 1-5;
                                                     and DOE-INDIVIDUALS 6-50,
                                                     inclusive
252   Boy Scouts of America       [Redacted]         [Redacted] v. ROMAN            1:19-cv-00039      United States
      Aloha Council                                  CATHOLIC ARCHBISHOP OF                            District Court for
      Chamorro District;                             AGANA, a Corporation sole; BOY                    the District of
      Roman Catholic                                 SCOUTS OF AMERICA, a                              Guam
      Archbishop Of Agana;                           congressionally chartered
      Louis Brouillard, an                           corporation, authorized to do
                            CaseCase
                                 4:19-cv-00847-BSM
                                      20-50527-LSS Document
                                                   Doc 185-1 23-1
                                                               FiledFiled
                                                                     07/21/21
                                                                          08/09/21
                                                                                 Page
                                                                                    Page
                                                                                      96 of
                                                                                         100312
                                                                                              of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                           Case Number     Court or Agency
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
253   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN                    1:17-cv-00055   United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                                 District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                         the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                                   Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
254   Boy Scouts of America      [Redacted]        [Redacted] v. BOY SCOUTS OF            1:18-cv-00023   United States
      Aloha Council                                AMERICA, a congressionally                             District Court for
      Chamorro District;                           chartered corporation, authorized to                   the District of
      David Joseph Ellington,                      do business in Guam; BOY                               Guam
      an individual; Doe                           SCOUTS OF AMERICA ALOHA
      Entities 1-5; and Doe-                       COUNCIL CHAMORRO
      Individuals 6-50,                            DISTRICT; DAVID JOSEPH
      inclusive                                    ELLINGTON, an individual; DOE
                                                   ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
                            CaseCase
                                 4:19-cv-00847-BSM
                                      20-50527-LSS Document
                                                   Doc 185-1 23-1
                                                               FiledFiled
                                                                     07/21/21
                                                                          08/09/21
                                                                                 Page
                                                                                    Page
                                                                                      97 of
                                                                                         101312
                                                                                              of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                   Case Number          Court or Agency
255   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN            1:17-cv-00080        United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                              District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                      the District of
      Discalced Carmelite                          SCOUTS OF AMERICA, a                                Guam
      Nuns (O.C.D.) a.k.a.                         congressionally chartered
      Order of Discalced                           corporation, authorized to do
      Carmelites; Carmel of                        business in Guam; BOY SCOUTS
      the Immaculate                               OF AMERICA ALOHA
      Concepcion; Roman                            COUNCIL CHAMORRO
      Catholic Archbishop Of                       DISTRICT; LOUIS
      Agana; Louis Brouillard,                     BROUILLARD, an individual;
      an individual; Doe                           DISCALCED CARMELITE NUNS
      Entities 1-5; and Doe-                       (O.C.D.) a.k.a. ORDER OF
      Individuals 6-48,                            DISCALCED CARMELITES;
      inclusive                                    CARMEL OF THE
                                                   IMMACULATE CONCEPCION;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-48, inclusive
256   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN            1:17-cv-00115        United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                              District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                      the District of
      Roman Catholic                               SCOUTS OF AMERICA, a                                Guam
      Archbishop Of Agana;                         congressionally chartered
      Louis Brouillard, an                         corporation, authorized to do
      individual; Doe Entities                     business in Guam; BOY SCOUTS
      1-5; and Doe-Individuals                     OF AMERICA ALOHA
      6-50, inclusive                              COUNCIL CHAMORRO
                                                   DISTRICT; LOUIS
                                                   BROUILLARD, an individual;
                            CaseCase
                                 4:19-cv-00847-BSM
                                      20-50527-LSS Document
                                                   Doc 185-1 23-1
                                                               FiledFiled
                                                                     07/21/21
                                                                          08/09/21
                                                                                 Page
                                                                                    Page
                                                                                      98 of
                                                                                         102312
                                                                                              of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                   Case Number          Court or Agency
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-50, inclusive
257   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN            1:17-cv-00081        United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                              District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                      the District of
      Discalced Carmelite                          SCOUTS OF AMERICA, a                                Guam
      Nuns (O.C.D.) a.k.a.                         congressionally chartered
      Order of Discalced                           corporation, authorized to do
      Carmelites; Carmel of                        business in Guam; BOY SCOUTS
      the Immaculate                               OF AMERICA ALOHA
      Concepcion; Roman                            COUNCIL CHAMORRO
      Catholic Archbishop Of                       DISTRICT; LOUIS
      Agana; Louis Brouillard,                     BROUILLARD, an individual;
      an individual; Doe                           DISCALCED CARMELITE NUNS
      Entities 1-5; and Doe-                       (O.C.D.) a.k.a. ORDER OF
      Individuals 6-48,                            DISCALCED CARMELITES;
      inclusive                                    CARMEL OF THE
                                                   IMMACULATE CONCEPCION;
                                                   DOE ENTITIES 1-5; and DOE-
                                                   INDIVIDUALS 6-48, inclusive
258   Boy Scouts of America      [Redacted]        [Redacted] v. ROMAN            1:17-cv-00047        United States
      Aloha Council                                CATHOLIC ARCHBISHOP OF                              District Court for
      Chamorro District;                           AGANA, a Corporation sole; BOY                      the District of
      Discalced Carmelite                          SCOUTS OF AMERICA, a                                Guam
      Nuns (O.C.D.) a.k.a.                         congressionally chartered
      Order of Discalced                           corporation, authorized to do
      Carmelites; Carmel of                        business in Guam; BOY SCOUTS
      the Immaculate                               OF AMERICA ALOHA
      Concepcion; Roman                            COUNCIL CHAMORRO
      Catholic Archbishop Of                       DISTRICT; LOUIS
                                CaseCase
                                     4:19-cv-00847-BSM
                                          20-50527-LSS Document
                                                       Doc 185-1 23-1
                                                                   FiledFiled
                                                                         07/21/21
                                                                              08/09/21
                                                                                     Page
                                                                                        Page
                                                                                          99 of
                                                                                             103312
                                                                                                  of 316




                                    Underlying
         Non-Debtor                 Plaintiff(s)
         Defendants(s)              (last, first)           Case Caption                         Case Number             Court or Agency
         Agana; Louis Brouillard,                           BROUILLARD, an individual;
         an individual; Doe                                 DISCALCED CARMELITE NUNS
         Entities 1-5; and Doe-                             (O.C.D.) a.k.a. ORDER OF
         Individuals 6-48,                                  DISCALCED CARMELITES;
         inclusive                                          CARMEL OF THE
                                                            IMMACULATE CONCEPCION;
                                                            DOE ENTITIES 1-5; and DOE-
                                                            INDIVIDUALS 6-48, inclusive
259      Boy Scouts of America      [Redacted]              [Redacted] v. BOY SCOUTS OF          1:20-cv-00005           United States
         Aloha Counsel                                      AMERICA, a congressionally                                   District Court for
         Chamorro District; Doe                             chartered corporation, authorized to                         the District of
         Entities 1-5; and Doe-                             do business in Guam; BOY                                     Guam
         Individuals 6-50,                                  SCOUTS OF AMERICA ALOHA
         inclusive                                          COUNSEL CHAMORRO
                                                            DISTRICT; DOE ENTITIES 1-5;
                                                            and DOE-INDIVIDUALS 6-50,
                                                            inclusive
260 4    Brandon Wood; Kenneth      [Redacted]              [Redacted] v. Brandon Wood;          3:18-cv-00157           United States
         Betts; Curtis Flaherty;                            Kenneth Betts; Curtis Flaherty;                              District Court for
         Louisville Metro Police                            Louisville Metro Police                                      the Western
         Department, City of                                Department, City of Louisville,                              District of
         Louisville, Jefferson                              Jefferson County / Louisville                                Kentucky
         County / Louisville                                Consolidated Government; Lincoln                             Louisville
         Consolidated                                       Heritage Council, Inc., Boy Scouts                           Division
         Government; Lincoln                                of America; The Boy Scouts of
         Heritage Council, Inc.,                            America; Unknown Officers of
         Boy Scouts of America;                             Louisville Metro Police

        4 Pending Abuse Actions 260-66 are stayed only with respect to non-debtor Defendants Lincoln Heritage Council,   Inc. and Learning
        for Life. The BSA has consented to limited discovery in this matter.
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    100 104
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                          Case Number     Court or Agency
      Unknown Officers of                          Department; Unknown Employees ,
      Louisville Metro Police                      Agents AND/OR Servants of City
      Department; Unknown                          of Louisville/Jefferson
      Employees, Agents                            County/Louisville Consolidated
      AND/OR Servants of                           Government; Unknown Employees,
      City of                                      Agents AND/OR Servants of
      Louisville/Jefferson                         Lincoln Heritage Council, Inc., Boy
      County/Louisville                            Scouts of America; Unknown
      Consolidated                                 Employees, Agents AND/OR
      Government; Unknown                          Servants of The Boy Scouts of
      Employees, Agents                            America; Learning for Life, Inc.;
      AND/OR Servants of                           Learning for Life Lincoln Chapter,
      Lincoln Heritage                             Inc.
      Council, Inc., Boy
      Scouts of America;
      Unknown Employees,
      Agents AND/OR
      Servants of The Boy
      Scouts of America;
      Learning for Life, Inc.;
      Learning for Life
      Lincoln Chapter, Inc.
261   Kenneth Betts; Brandon     [Redacted]         [Redacted] v. Kenneth Betts;         3:18-cv-00176   United States
      Wood; Casey Scott;                            Brandon Wood; Casey Scott; Curtis                    District Court for
      Curtis Flaherty; City of                      Flaherty; City of Louisville,                        the Western
      Louisville, Jefferson                         Jefferson County / Louisville                        District of
      County / Louisville                           Consolidated Government; Lincoln                     Kentucky
      Consolidated                                  Heritage Council, Inc., Boy Scouts                   Louisville
      Government; Lincoln                           of America; The Boy Scouts of                        Division
      Heritage Council, Inc.,                       America; Learning for Life, Inc.;
                            CaseCase
                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
                                                   Document
                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   101 105
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number     Court or Agency
      Boy Scouts of America;                      Learning for Life Lincoln Chapter,
      Learning for Life, Inc.;                    Inc.; Unknown Officers of
      Learning for Life                           Louisville Metro Police
      Lincoln Chapter, Inc.;                      Department; Unknown Employees,
      Unknown Officers of                         Agents AND/OR Servants of City
      Louisville Metro Police                     of Louisville/Jefferson
      Department; Unknown                         County/Louisville Consolidated
      Employees, Agents                           Government; Unknown Employees,
      AND/OR Servants of                          Agents AND/OR Servants of
      City of                                     Lincoln Heritage Council, Inc., Boy
      Louisville/Jefferson                        Scouts of America; Unknown
      County/Louisville                           Employees, Agents AND/OR
      Consolidated                                Servants of The Boy Scouts of
      Government; Unknown                         America; Unknown Employees,
      Employees, Agents                           Agents AND/OR Servants of
      AND/OR Servants of                          Learning for Life Lincoln Chapter,
      Lincoln Heritage                            Inc.
      Council, Inc., Boy
      Scouts of America;
      Unknown Employees,
      Agents AND/OR
      Servants of The Boy
      Scouts of America;
      Unknown Employees,
      Agents AND/OR
      Servants of Learning for
      Life Lincoln Chapter,
      Inc.
262   Kenneth Betts; Brandon     [Redacted]        [Redacted] v. Kenneth Betts;         3:18-cv-00306   United States
      Wood; Curtis Flaherty;                       Brandon Wood; Curtis Flaherty;                       District Court for
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    102 106
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                          Case Number     Court or Agency
      Louisville Metro Police                      Louisville Metro Police                               the Western
      Department; City of                          Department; City of Louisville,                       District of
      Louisville, Jefferson                        Jefferson County / Louisville                         Kentucky
      County / Louisville                          Consolidated Government;                              Louisville
      Consolidated                                 Unknown Officers of Louisville                        Division
      Government; Unknown                          Metro Police Department;
      Officers of Louisville                       Unknown Employees, Agents
      Metro Police                                 AND/OR Servants of City of
      Department; Unknown                          Louisville/Jefferson
      Employees, Agents                            County/Louisville Consolidated
      AND/OR Servants of                           Government; Unknown Employees,
      City of                                      Agents AND/OR Servants of
      Louisville/Jefferson                         Lincoln Heritage Council, Inc., Boy
      County/Louisville                            Scouts of America; Unknown
      Consolidated                                 Employees, Agents AND/OR
      Government; Unknown                          Servants of The Boy Scouts of
      Employees, Agents                            America; Learning for Life, Inc.;
      AND/OR Servants of                           Learning for Life Lincoln Chapter,
      Lincoln Heritage                             Inc.
      Council, Inc., Boy
      Scouts of America;
      Unknown Employees,
      Agents AND/OR
      Servants of The Boy
      Scouts of America;
      Learning for Life, Inc.;
      Learning for Life
      Lincoln Chapter, Inc.
263   Bradley Schumann;          [Redacted]         [Redacted] v. Bradley Schumann;      3:18-cv-00151   United States
      Matthew Gelhausen;                            Matthew Gelhausen; Kenneth                           District Court for
                       CaseCase
                            4:19-cv-00847-BSM
                                20-50527-LSS Doc
                                              Document
                                                 185-1 23-1
                                                        FiledFiled
                                                             07/21/21
                                                                   08/09/21
                                                                         PagePage
                                                                              103 107
                                                                                  of 312
                                                                                      of 316




                            Underlying
Non-Debtor                  Plaintiff(s)
Defendants(s)               (last, first)    Case Caption                          Case Number   Court or Agency
Kenneth Betts; Brandon                       Betts; Brandon Wood; Curtis                         the Western
Wood; Curtis Flaherty;                       Flaherty; Julie Schmidt; Louisville                 District of
Julie Schmidt; Louisville                    Metro Police Department; Lincoln                    Kentucky
Metro Police                                 Heritage Council, Inc. Boy Scouts                   Louisville
Department; Lincoln                          of America; The Boy Scouts of                       Division
Heritage Council, Inc.                       America; Learning for Life, Inc.;
Boy Scouts of America;                       Learning for Life Lincoln Chapter,
Learning for Life, Inc.;                     Inc.; City of Louisville, Jefferson
Learning for Life                            County / Louisville Consolidated
Lincoln Chapter, Inc.;                       Government; Unknown Officers of
City of Louisville,                          Louisville Metro Police
Jefferson County /                           Department; Unknown Employees,
Louisville Consolidated                      Agents AND/OR Servants of City
Government; Unknown                          of Louisville/Jefferson
Officers of Louisville                       County/Louisville Consolidated
Metro Police                                 Government; Unknown Employees,
Department; Unknown                          Agents AND/OR Servants of
Employees, Agents                            Lincoln Heritage Council, Inc., Boy
AND/OR Servants of                           Scouts of America; Unknown
City of                                      Employees, Agents AND/OR
Louisville/Jefferson                         Servants of The Boy Scouts of
County/Louisville                            America; Unknown Employees,
Consolidated                                 Agents AND/OR Servants of
Government; Unknown                          Learning for Life, Inc.; Unknown
Employees, Agents                            Employees, Agents AND/OR
AND/OR Servants of                           Servants of Learning for Life
Lincoln Heritage                             Lincoln Chapter, Inc.
Council, Inc., Boy
Scouts of America;
Unknown Employees,
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    104 108
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                            Case Number     Court or Agency
      Agents AND/OR
      Servants of The Boy
      Scouts of America;
      Unknown Employees,
      Agents AND/OR
      Servants of Learning for
      Life, Inc.; Unknown
      Employees, Agents
      AND/OR Servants of
      Learning for Life
      Lincoln Chapter, Inc.
264   Kenneth Betts; Curtis       [Redacted]        [Redacted] v. Kenneth Betts; Curtis    3:18-cv-00152   United States
      Flaherty; City of                             Flaherty; City of Louisville,                          District Court for
      Louisville, Jefferson                         Jefferson County / Louisville                          the Western
      County / Louisville                           Consolidated Government; Lincoln                       District of
      Consolidated                                  Heritage Council, Inc. Boy Scouts                      Kentucky
      Government; Lincoln                           of America; The Boy Scouts of                          Louisville
      Heritage Council, Inc.                        America; Learning for Life, Inc.;                      Division
      Boy Scouts of America;                        Learning for Life Lincoln Chapter,
      Learning for Life, Inc.;                      Inc.; Unknown Officers; Unknown
      Learning for Life                             Employees, Agents and/or Servants
      Lincoln Chapter, Inc.                         of
265   Kenneth Betts; Brandon      [Redacted]        [Redacted] v. Kenneth Betts;           3:18-cv-00153   United States
      Wood; Curtis Flaherty;                        Brandon Wood; Curtis Flaherty;                         District Court for
      Julie Schmidt; Louisville                     Julie Schmidt; Louisville Metro                        the Western
      Metro Police                                  Police Department; Paul Brandon                        District of
      Department; Paul                              Paris; City of Louisville, Jefferson                   Kentucky
      Brandon Paris; City of                        County / Louisville Consolidated                       Louisville
      Louisville, Jefferson                         Government; Lincoln Heritage                           Division
      County / Louisville                           Council, Inc. Boy Scouts of
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    105 109
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
      Consolidated                                 America; Unknown Officers of
      Government; Lincoln                          Louisville Metro Police
      Heritage Council, Inc.                       Department; The Boy Scouts of
      Boy Scouts of America;                       America; Unknown Employees,
      Unknown Employees,                           Agents AND/OR Servants of
      Agents AND/OR                                Lincoln Heritage Council, Inc., Boy
      Servants of Lincoln                          Scouts of America; Unknown
      Heritage Council, Inc.,                      Employees, Agents AND/OR
      Boy Scouts of America;                       Servants of City of
      Unknown Employees,                           Louisville/Jefferson
      Agents AND/OR                                County/Louisville Consolidated
      Servants of City of                          Government; Learning for Life,
      Louisville/Jefferson                         Inc.; Learning for Life Lincoln
      County/Louisville                            Chapter, Inc.
      Consolidated
      Government; Learning
      for Life, Inc.; Learning
      for Life Lincoln Chapter,
      Inc.
266   Kenneth Betts; Curtis       [Redacted]        [Redacted] v. Kenneth Betts; Curtis   3:18-cv-00158   United States
      Flaherty; City of                             Flaherty; City of Louisville,                         District Court for
      Louisville, Jefferson                         Jefferson County / Louisville                         the Western
      County / Louisville                           Consolidated Government; Lincoln                      District of
      Consolidated                                  Heritage Council, Inc. Boy Scouts                     Kentucky
      Government; Lincoln                           of America; The Boy Scouts of                         Louisville
      Heritage Council, Inc.                        America; Learning for Life, Inc.;                     Division
      Boy Scouts of America;                        Learning for Life Lincoln Chapter,
      Learning for Life, Inc.;                      Inc.; Unknown Officers of
      Learning for Life                             Louisville Metro Police
      Lincoln Chapter, Inc.;                        Department; Unknown Employees,
                            CaseCase
                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   106 110
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number     Court or Agency
      Unknown Officers of                         Agents AND/OR Servants of City
      Louisville Metro Police                     of Louisville/Jefferson
      Department; Unknown                         County/Louisville Consolidated
      Employees, Agents                           Government; Unknown Employees,
      AND/OR Servants of                          Agents AND/OR Servants of
      City of                                     Lincoln Heritage Council, Inc., Boy
      Louisville/Jefferson                        Scouts of America; Unknown
      County/Louisville                           Employees, Agents AND/OR
      Consolidated                                Servants of The Boy Scouts of
      Government; Unknown                         America; Unknown Employees,
      Employees, Agents                           Agents AND/OR Servants of
      AND/OR Servants of                          Learning for Life, Inc.; Unknown
      Lincoln Heritage                            Employees, Agents AND/OR
      Council, Inc., Boy                          Servants of Learning for Life
      Scouts of America;                          Lincoln Chapter, Inc.
      Unknown Employees,
      Agents AND/OR
      Servants of The Boy
      Scouts of America;
      Unknown Employees,
      Agents AND/OR
      Servants of Learning for
      Life, Inc.; Unknown
      Employees, Agents
      AND/OR Servants of
      Learning for Life
      Lincoln Chapter, Inc.
267   Greater New York           [Redacted]        [Redacted] v. BOY SCOUTS OF          1:20-cv-00315   United States
      Councils, Boy Scouts of                      AMERICA; GREATER NEW                                 District Court for
      America; Brooklyn                            YORK COUNCILS, BOY                                   the Eastern
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     107 111
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                            Case Number     Court or Agency
      Council, Boy Scouts of                        SCOUTS OF AMERICA; and                                  District of New
      America                                       BROOKLYN COUNCIL, BOY                                   York
                                                    SCOUTS OF AMERICA
268   Doe Defendant 1; Doe       [Redacted]         [Redacted] v. DOE DEFENDANT             20STCV04460     Superior Court of
      Defendant 2; Does 3                           1; DOE DEFENDANT 2; DOES 3                              the State of
      Through 10, Inclusive                         THROUGH 10, INCLUSIVE                                   California,
                                                                                                            County of Los
                                                                                                            Angeles, Central
                                                                                                            District
269   Boy Scouts of America      [Redacted]          [Redacted] v. BOY SCOUTS OF            1:20-cv-00008   United States
      Aloha Counsel                                  AMERICA, a congressionally                             District Court for
      Chamorro District; Doe                         chartered corporation, authorized to                   the District of
      Entities 1-5; Doe-                             do business in Guam; BOY                               Guam
      Individuals 6-50,                              SCOUTS OF AMERICA ALOHA
      inclusive                                      COUNSEL CHAMORRO
                                                     DISTRICT; DOE ENTITIES 1-5;
                                                     and DOE-INDIVIDUALS 6-50,
                                                     inclusive
270   Fairfield County Council   James Doe           JAMES DOE v. FAIRFIELD                 20-05007        United States
      of Boy Scouts of                               COUNTY COUNCIL OF BOY                                  Bankruptcy
      America, Inc.;                                 SCOUTS OF AMERICA, INC.;                               Court for the
      Connecticut Yankee                             CONNECTICUT YANKEE                                     District of
      Council, Inc., Boy                             COUNCIL, INC., BOY SCOUTS                              Connecticut
      Scouts of America                              OF AMERICA
271   Westchester-Putnam         John Doe            JOHN DOE v. BOY SCOUTS OF              7:20-cv-1978    United States
      Council, Inc.                                  AMERICA, and WESTCHESTER-                              District Court for
                                                     PUTNAM COUNCIL, INC., BOY                              the Southern
                                                     SCOUTS OF AMERICA                                      District of New
                                                                                                            York
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     108 112
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                           Case Number     Court or Agency
272   Aloha Council              [Redacted]         [Redacted] v. BOY SCOUTS OF            1:20-cv-00009   United States
      Chamorro District;                            AMERICA, a congressionally                             District Court for
      Capuchin Franciscans;                         chartered corporation, authorized to                   the District of
      Capuchin Franciscans                          do business in Guam; BOY                               Guam
      Province of St. May;                          SCOUTS OF AMERICA ALOHA
      Capuchin Franciscans                          COUNCIL CHAMORRO
      Custody of Star of the                        DISTRICT; CAPUCHIN
      Sea; DOE ENTITIES 1-                          FRANCISCANS; CAPUCHIN
      5; DOE-INDIVIDUALS                            FRANCISCANS PROVINCE OF
      6-47, inclusive                               ST. MARY; CAPUCHIN
                                                    FRANCISCANS CUSTODY OF
                                                    STAR OF THE SEA; DOE
                                                    ENTITIES 1-5; and DOE-
                                                    INDIVIDUALS 6-47, inclusive
273   Garden State Council;      [Redacted]         [Redacted] v. BOY SCOUTS OF            20-1114         United States
      John Does 1-10                                AMERICA; GARDEN STATE                                  Bankruptcy
                                                    COUNCIL; JOHN DOES 1-10                                Court for the
                                                                                                           District of New
                                                                                                           Jersey
274   Jersey Shore Council;      [Redacted]          [Redacted] v. BOY SCOUTS OF           20-1118         United States
      John Does 1-10                                 AMERICA, JERSEY SHORE                                 Bankruptcy
                                                     COUNCIL, AND JOHN DOES 1-                             Court for the
                                                     10                                                    District of New
                                                                                                           Jersey
275   Greater New York           [Redacted]          [Redacted] v. BOY SCOUTS OF 950041/2020               Supreme Court
      Councils, Boy Scouts of                        AMERICA and GREATER NEW                               of the State of
      America; The Roman                             YORK COUNCILS, BOY                                    New York,
      Catholic Archdiocese of                        SCOUTS OF AMERICA, THE                                County of New
      New York; The Apostles                         ROMAN CATHOLIC                                        York
      of the Sacred Heart of                         ARCHDIOCESE OF NEW YORK,
                            CaseCase
                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   109 113
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                       Case Number    Court or Agency
      Jesus a/k/a The Apostles                    THE APOSTLES OF THE
      of the Sacred Heart of                      SACRED HEART OF JESUS a/k/a
      Jesus, of New York, Inc.                    THE APOSTLES OF THE
      f/k/a Missionary                            SACRED HEART OF JESUS, OF
      Zelatrices of the Sacred                    NEW YORK, INC. f/k/a
      Heart, Inc.                                 MISSIONARY ZELATRICES OF
                                                  THE SACRED HEART, INC.
276   Boy Scouts of America      [Redacted]       [Redacted] v. Boy Scouts of        7:20-cv-2276   United States
      Westchester-Putnam                          America, Inc., and Boy Scouts of                  District Court for
      Council, Inc.                               America Westchester-Putnam                        the Southern
                                                  Council, Inc.                                     District of New
                                                                                                    York
277   Maryvale Union Free        Anonymous         ANONYMOUS v. MARYVALE         1:20-cv-289        United States
      School District; Greater                     UNION FREE SCHOOL                                District Court for
      Niagara Frontier Council                     DISTRICT; BOY SCOUTS OF                          the Western
                                                   AMERICA and GREATER                              District of New
                                                   NIAGARA FRONTIER COUNCIL                         York
278   Northern New Jersey        [Redacted]        [Redacted] v. BOYS SCOUTS OF 3:20-cv-01745       United States
      Council; John Does 1-10                      AMERICA; NORTHERN NEW                            District Court for
                                                   JERSEY COUNCIL; JOHN DOES                        the District of
                                                   1-10                                             New Jersey
279   Greater New York           [Redacted]        [Redacted] v. BOYS SCOUTS OF 950042/2020         Supreme Court
      Councils of the Boy                          AMERICA, GREATER NEW                             of the State of
      Scouts of America;                           YORK COUNCILS of the BOY                         New York,
      Fordham University;                          SCOUTS OF AMERICA;                               County of New
      John and Jane Doe 1-30;                      FORDHAM UNIVERSITY; JOHN                         York
      members of the Board of                      and JANE DOE 1-30; members of
      Trustees of Fordham                          the BOARD OF TRUSTEES OF
      University, in their                         FORDHAM UNIVERSITY, in
      official and individual                      their official and individual
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
                                                     Document
                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     110 114
                                                                                         of 312
                                                                                             of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)       Case Caption                        Case Number    Court or Agency
      capacities, whose                             capacities, whose identities are
      identities are presently                      presently unknown to Plaintiff,
      unknown to Plaintiff,                         ROMAN CATHOLIC ORDER OF
      Roman Catholic Order                          JESUITS USA PROVINCE
      of Jesuits USA Province                       NORTHEAST a/k/a THE USA
      Northeast a/k/a The USA                       NORTHEAST PROVINCE OF
      Northeast Province of                         THE SOCIETY OF JESUS, INC.;
      the Society of Jesus,                         ROMAN CATHOLIC
      Inc.; Roman Catholic                          ARCHDIOCESE OF NEW YORK;
      Archdiocese of New                            JOHN DOE; JANE DOE;
      York; John Doe; Jane                          RICHARD ROE; JANE ROE,
      Doe; Richard Roe; Jane                        priests, clergy, and administrators
      Roe, priests, clergy, and                     whose names are unknown to the
      administrators whose                          Plaintiff
      names are unknown to
      the Plaintiff
280   Doe 1; Doe 2; and Does John GG Doe             John GG Doe v. DOE 1, a            20CV364132     Superior Court of
      3-50                                           California domestic nonprofit; DOE                the State of
                                                     2, an individual; and DOES 3-50,                  California,
                                                     inclusive                                         County of Santa
                                                                                                       Clara
281   Ozark Trails Council,      [Redacted]          [Redacted] v. Boy Scouts of      6:20-cv-3059     United States
      Inc.; Scott Wortman                            America; Ozark Trails Council,                    District Court
                                                     Inc.; Scott Wortman                               Western District
                                                                                                       of Missouri,
                                                                                                       Southern
                                                                                                       Division
282   Our Lady of Guadalupe      John Doe            John Doe v. Boy Scouts of        D-101-CV-2020-   First Judicial
      Parish                                         America; Our Lady of Guadalupe   00448            District Court,
                                                     Parish
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    111 115
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                          Case Number    Court or Agency
                                                                                                        County of Santa
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283   The Greater Niagara        [Redacted]         [Redacted] v. The Boy Scouts of      1:20-cv-260    United States
      Frontier Council                              America and The Greater Niagara                     District Court for
                                                    Frontier Council                                    the Western
                                                                                                        District of New
                                                                                                        York
284   The Greater New York       [Redacted]         [Redacted] v. The Boy Scouts of      1:20-cv-1983   United States
      Councils of the Boy                           America and The Greater New                         District Court for
      Scouts of America                             York Councils of the Boy Scouts of                  the Southern
                                                    America                                             District of New
                                                                                                        York
285   The Greater New York       [Redacted]         [Redacted] v. The Boy Scouts of      1:20-cv-1988   United States
      Councils of the Boy                           America and The Greater New                         District Court for
      Scouts of America                             York Councils of the Boy Scouts of                  the Southern
                                                    America                                             District of New
                                                                                                        York
286   Greater New York           [Redacted]         [Redacted] v. Boy Scouts of          1:20-cv-1990   United States
      Councils, Boy Scouts of                       America, Inc., Greater New York                     District Court for
      America, and Brooklyn                         Councils, Boy Scouts of America,                    the Southern
      Council, Boy Scouts of                        and Brooklyn Council, Boy Scouts                    District of New
      America                                       of America                                          York
287   Seneca Waterways           [Redacted]         [Redacted] v. National Boy Scouts    6:20-cv-6137   United States
      Counsel – The Boy                             of America Foundation also known                    District Court for
      Scouts of America;                            as the Boy Scouts of America;                       the Western
      Greater Niagara Frontier                      Seneca Waterways Counsel – The                      District of New
      Counsel – The Boy                             Boy Scouts of America; Greater                      York
      Scouts of America;                            Niagara Frontier Counsel – The
      Sullivan Trail Counsel –                      Boy Scouts of America; Sullivan
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
                                                   Document
                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   112 116
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number       Court or Agency
      The Boy Scouts of                           Trail Counsel – The Boy Scouts of
      America                                     America
288   Seneca Waterways           [Redacted]       [Redacted] v. National Boy Scouts     6:20-cv-6126      United States
      Council; Otetiana                           of America also known as The Boy                        District Court for
      Council                                     Scouts of America, Seneca                               the Western
                                                  Waterways Council and Otetiana                          District of New
                                                  Council                                                 York
289   Westchester-Putnam         [Redacted]       [Redacted] v. Boy Scouts of           7:20-cv-1980      United States
      Council, Inc., Boy                          America, Inc., and Westchester-                         District Court for
      Scouts of America                           Putnam Council, Inc., Boy Scouts                        the Southern
                                                  of America                                              District of New
                                                                                                          York
290   Boy Scouts of America      John Doe 1        John Doe 1 v. Boy Scouts of          2020 CV 0118      Richland County
      Heart of Ohio Council                        America and Boy Scouts of                              Court of
                                                   America Heart of Ohio Council                          Common Pleas
291   Greater New York           [Redacted]        [Redacted] v. The Boy Scouts of      70022/2020E       Supreme Court
      Councils of the Boy                          America and Greater New York                           of the State of
      Scouts of America                            Councils of the Boy Scouts of                          New York,
                                                   America                                                County of Bronx
292   Garden State Council,      [Redacted]        [Redacted] v. Boy Scouts of          CAM-L-001079-20   Superior Court of
      Boy Scouts of America;                       America; Garden State Council,                         New Jersey,
      Bethel Commandment                           Boy Scouts of America; Bethel                          Camden County
      Church of the Living                         Commandment Church of the
      God of New Jersey, Inc.;                     Living God of New Jersey, Inc.;
      Vincent Watkins                              Vincent Watkins
293   John C. O’Neal; John &     [Redacted]        [Redacted] v. Boy Scouts of          CAM-L-001074-20   Superior Court of
      Jane Does (1-10); and                        America; John C. O’Neal; John &                        New Jersey,
      ABC Entities (1-10)                          Jane Does (1-10); and ABC Entities                     Camden County
                                                   (1-10)
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                                4:19-cv-00847-BSM
                                    20-50527-LSS Doc
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                                                     185-1 23-1
                                                            FiledFiled
                                                                 07/21/21
                                                                       08/09/21
                                                                             PagePage
                                                                                  113 117
                                                                                      of 312
                                                                                          of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)    Case Caption                         Case Number         Court or Agency
294   Doe Defendant 2; Does     [Redacted]       [Redacted] v. Doe Defendant 1;       CIV2000002          Superior Court of
      3 through 10                               Doe Defendant 2; Does 3 through                          the State of
                                                 10, inclusive                                            California,
                                                                                                          County of Marin
295   Doe Defendant 2; Does     [Redacted]        [Redacted] v. Doe Defendant 1;      37-2020-00000766-   Superior Court of
      3 through 10                                Doe Defendant 2; Does 3 through     CU-PO-CTL           the State of
                                                  10, inclusive                                           California,
                                                                                                          County of San
                                                                                                          Diego, Central
                                                                                                          District
296   Doe Defendant 2; Does     [Redacted]        [Redacted] v. Doe Defendant 1;      34-2020-00272378-   Superior Court of
      3 through 10                                Doe Defendant 2; Does 3 through     CU-PO-GDS           the State of
                                                  10, inclusive                                           California,
                                                                                                          County of
                                                                                                          Sacramento
297   Doe Defendant 2; Doe      [Redacted]        [Redacted] v. Doe Defendant 1;      20STCV00086         Superior Court of
      Defendants 3 through 10                     Doe Defendant 2; Doe Defendants                         the State of
                                                  3 through 10, inclusive                                 California,
                                                                                                          County of Los
                                                                                                          Angeles, Central
                                                                                                          District
298   Doe Defendant 2; Doe      [Redacted]        [Redacted] v. Doe Defendant 1;      20STCV00556         Superior Court of
      Defendant 3; Doe                            Doe Defendant 2; Doe Defendant 3;                       the State of
      Defendants 4 through 10                     Doe Defendants 4 through 10,                            California,
                                                  inclusive                                               County of Los
                                                                                                          Angeles, Central
                                                                                                          District
299   Doe Defendant 2; Does     [Redacted]        [Redacted] v. Doe Defendant 1;      20CECG00048         Superior Court of
      3 through 10                                Doe Defendant 2; Does 3 through                         the State of
                                                  10, inclusive
                            CaseCase
                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   114 118
                                                                                       of 312
                                                                                           of 316




                               Underlying
      Non-Debtor               Plaintiff(s)
      Defendants(s)            (last, first)      Case Caption                         Case Number         Court or Agency
                                                                                                           California,
                                                                                                           County of Fresno
300   Doe Defendant 2; Does    [Redacted]          [Redacted] v. Doe Defendant 1;      37-2020-00000763-   Superior Court of
      3 through 10                                 Doe Defendant 2; Does 3 through     CU-PO-CTL           the State of
                                                   10, inclusive                                           California,
                                                                                                           County of San
                                                                                                           Diego, Central
                                                                                                           District
301   Doe Defendant 2; Does    [Redacted]          [Redacted] v. Doe Defendant 1;      20STCV00767         Superior Court of
      3 through 10                                 Doe Defendant 2; Does 3 through                         the State of
                                                   10, inclusive                                           California,
                                                                                                           County of Los
                                                                                                           Angeles, Central
                                                                                                           District
302   Doe Defendant 2; Does    [Redacted]          [Redacted] v. Doe Defendant 1;      CIV2000057          Superior Court of
      3 through 10                                 Doe Defendant 2; Does 3 through                         the State of
                                                   10, inclusive                                           California,
                                                                                                           County of Marin
303   Defendant 2; John Does   John Doe            John Doe v. Defendant 1;            20-1209 (KCF)       United States
      1-10                                         Defendant 2l John Does 1-10                             Bankruptcy
                                                                                                           Court District of
                                                                                                           New Jersey
304   Aloha Council; Maui      [Redacted]          [Redacted] v. Boy Scouts of         1CCV-XX-XXXXXXX     Circuit Court of
      County Council                               America, a federally chartered                          the First Circuit,
                                                   nonprofit corporation; Boy Scouts                       State of Hawaii
                                                   of America, Aloha Council
                                                   formerly known as Maui County
                                                   Council of the Boy Scouts of
                                                   America, Limited; and John Does
                                                   1-10
                                 CaseCase
                                      4:19-cv-00847-BSM
                                          20-50527-LSS Doc
                                                        Document
                                                           185-1 23-1
                                                                  FiledFiled
                                                                       07/21/21
                                                                             08/09/21
                                                                                   PagePage
                                                                                        115 119
                                                                                            of 312
                                                                                                of 316




                                      Underlying
         Non-Debtor                   Plaintiff(s)
         Defendants(s)                (last, first)          Case Caption                           Case Number       Court or Agency
305      Mid-America Council          [Redacted]             [Redacted] v. Boy Scouts of            MID-L-002351-20   Superior Court of
                                                             America, The Mid-America                                 New Jersey,
                                                             Council of the Boy Scouts of                             Middlesex
                                                             America and John Does 1-5                                County Law
                                                                                                                      Division
306 5    Northern New Jersey          [Redacted]              [Redacted], an individual v.          ESX-L-001390-20   Superior Court of
         Council, Inc.; St. Francis                           Northern New Jersey Council, Inc.;                      New Jersey,
         Xavier Parish; ABC                                   Francis Xavier Parish; ABC Entity,                      Essex County
         Entity                                               its directors, officers, employees,                     Law Division
                                                              agents, servants, representatives
                                                              and/or volunteers, is a fictitious
                                                              name of an entity believed to have
                                                              employed and/or supervised
                                                              [Redacted]; [Redacted]; and John
                                                              Does 1-5, individually, and in his
                                                              capacity as a former and/or current
                                                              director, officer, employee, agent,
                                                              servant, representative and/or
                                                              volunteer of the defendants, are
                                                              persons whose identities are
                                                              unknown to Plaintiff
307      Aloha Council                [Redacted]              [Redacted] v. Boy Scouts of           1CCV-XX-XXXXXXX   Circuit Court of
                                                              America, Aloha Council, and John                        the First Circuit,
                                                              Does 1-50, Jane Does 1-50, Doe                          State of Hawaii
                                                              Corporations 1-50, Doe Limited
                                                              Liability Companies 1-50, Doe
                                                              Limited Liability Corporations 1-


        5 The parties in this matter have agreed to allow non-party discovery.
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    116 120
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)          Case Caption                           Case Number       Court or Agency
                                                        50, Doe Governmental Entities 1-
                                                        50, and Doe Other Entities 1-50
308   Aloha Council              John Roe No. 1; John   John Roe No. 1, John Roe No. 2,        1CCV-XX-XXXXXXX   Circuit Court of
                                 Roe No. 2; John Roe    John Roe No. 3, John Roe No. 4,                          the First Circuit,
                                 No. 3; John Roe No.    John Roe No. 5, John Roe No. 6,                          State of Hawaii
                                 4; John Roe No. 5;     John Roe No. 7, and John Roe No.
                                 John Roe No. 6; John   8 v. Boy Scouts of America, Aloha
                                 Roe No. 7; and John    Council, a domestic nonprofit
                                 Roe No. 8              corporation; Doe Defendants 1-10;
                                                        Doe Entities 1-10
309   Northeast Georgia          John Doe               John Doe v. R. Fleming Weaver,         2020CV649W        Superior Court of
      Council, Inc.; First                              Jr., Steven N. Brown, Northeast                          Hall County,
      Baptist Church of                                 Georgia Council, Inc., First Baptist                     State of Georgia
      Gainesville                                       Church of Gainesville
310   Northeast Georgia          John Doe               John Doe v. R. Fleming Weaver,         2020CV650A        Superior Court of
      Council, Inc.; First                              Jr., Steven N. Brown, Northeast                          Hall County,
      Baptist Church of                                 Georgia Council, Inc., First Baptist                     State of Georgia
      Gainesville                                       Church of Gainesville
311   Northeast Georgia          [Redacted]             [Redacted] v. R. Fleming Weaver,       2020CV648W        Superior Court of
      Council, Inc.; First                              Jr., The Estate of F.E. (Gene) Bobo,                     Hall County,
      Baptist Church of                                 Steven N. Brown, Northeast                               State of Georgia
      Gainesville                                       Georgia Council, Inc., First Baptist
                                                        Church of Gainesville
312   Northeast Georgia          [Redacted]             [Redacted] v. R. Fleming Weaver,       2020CV653J        Superior Court of
      Council, Inc.; First                              Jr., Steven N. Brown, Northeast                          Hall County,
      Baptist Church of                                 Georgia Council, Inc., First Baptist                     State of Georgia
      Gainesville                                       Church of Gainesville
313   Greater Niagara Frontier   LG 37 Doe              LG 37 DOE v. DOUGLAS NAIL,             1:20-cv-00217     United States
      Council, Inc., Boy                                GREATER NIAGARA                                          District Court for
                                                        FRONTIER COUNCIL, INC.,                                  the Western
                           CaseCase
                                4:19-cv-00847-BSM
                                    20-50527-LSS Doc
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                                                     185-1 23-1
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                                                                 07/21/21
                                                                       08/09/21
                                                                             PagePage
                                                                                  117 121
                                                                                      of 312
                                                                                          of 316




                               Underlying
      Non-Debtor               Plaintiff(s)
      Defendants(s)            (last, first)     Case Caption                           Case Number   Court or Agency
      Scouts of America;                         BOY SCOUTS OF AMERICA,                               District of New
      Douglas Nail                               and BOY SCOUTS OF AMERICA                            York
314   Montana Council of the   [Redacted]        [Redacted] v. Montana Council of       DDV-20-0244   Montana Eighth
      Boy Scouts of America;                     the Boy Scouts of America, a                         Judicial District
      Moose Lodge Libby;                         Montana non-profit Corporation;                      Court, Cascade
      Moose International;                       Moose Lodge Libby; Moose                             County
      Does 1-5                                   International; and Does 1-5
315   Montana Council of the   [Redacted]        [Redacted] v. Montana Council of       DDV-20-0243   Montana Eighth
      Boy Scouts of America;                     the Boy Scouts of America, a                         Judicial District
      Faith Lutheran Church;                     Montana non-profit corporation;                      Court, Cascade
      New Hope Lutheran                          Faith Lutheran Church; New Hope                      County
      Church; Montana Synod                      Lutheran Church; Montana Synod
      of the Evangelical                         of the Evangelical Lutheran Church
      Lutheran Church in                         in America, Inc.
      America, Inc.
316   Montana Council of the   [Redacted]         [Redacted] v. Montana Council of      DDV-20-0245   Montana Eighth
      Boy Scouts of America                       the Boy Scouts of America, a                        Judicial District
                                                  Montana non-profit corporation                      Court, Cascade
                                                                                                      County
317   Montana Council          [Redacted]         [Redacted], an adult male v.          CDV-20-0246   Montana Eighth
                                                  Montana Council, Boy Scouts of                      Judicial District
                                                  America, a Montana non-profit                       Court, Cascade
                                                  corporation, and John Does I and II                 County
318   Montana Council          [Redacted]         [Redacted], an adult male             DDV-20-0247   Montana Eighth
                                                  proceeding under a fictitious name                  Judicial District
                                                  v. Montana Council, Boy Scouts of                   Court, Cascade
                                                  America, a Montana non-profit                       County
                                                  corporation
319   Montana Council          [Redacted]         [Redacted], an adult male v.          ADV-20-0248   Montana Eighth
                                                  Montana Council, Boy Scouts of                      Judicial District
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                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                          08/09/21
                                                                                PagePage
                                                                                     118 122
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                          Case Number   Court or Agency
                                                    America, a Montana non-profit                       Court, Cascade
                                                    corporation, and John Does I and II                 County
320   Montana Coucnil            [Redacted]         [Redacted], an adult male v.          DDV-20-0250   Montana Eighth
                                                    Montana Council, Boy Scouts of                      Judicial District
                                                    America, a Montana non-profit                       Court, Cascade
                                                    corporation, and John Does I and II                 County
321   Montana Council            [Redacted]         [Redacted], an adult male v.          ADV-20-0251   Montana Eighth
                                                    Montana Council, Boy Scouts of                      Judicial District
                                                    America, a Montana non-profit                       Court, Cascade
                                                    corporation, and John Does I and II                 County
322   Montana Council            [Redacted]         [Redacted], an adult male, and        DDV-20-0249   Montana Eighth
                                                    [Redacted], an adult male v.                        Judicial District
                                                    Montana Council, a Montana non-                     Court, Cascade
                                                    profit corporation, and John Does I                 County
                                                    and II
323   Montana Council            John Does 1-10     John Does 1-10, adult males           DDV-20-0254   Montana Eighth
                                                    proceeding under fictitious names                   Judicial District
                                                    v. Boy Scouts of America Montana                    Court, Cascade
                                                    Council                                             County
324   Montana Council            [Redacted]         [Redacted], an adult male v.          CDV-20-0259   Montana Eighth
                                                    Montana Council, Boy Scouts of                      Judicial District
                                                    America, a Montana non-profit                       Court, Cascade
                                                    corporation, and John Does I and II                 County
325   Montana Council            [Redacted]         [Redacted], an adult male v.          CDV-20-0260   Montana Eighth
                                                    Montana Council, Boy Scouts of                      Judicial District
                                                    America, a Montana non-profit                       Court, Cascade
                                                    corporation, and John Does I and II                 County
326   Finger Lakes Council;      [Redacted]         [Redacted] v. Finger Lakes            E2020003198   Supreme Court
      Seneca Waterways                              Council; Seneca Waterways                           of the State of
                                CaseCase
                                     4:19-cv-00847-BSM
                                         20-50527-LSS Doc
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                                                                      07/21/21
                                                                            08/09/21
                                                                                  PagePage
                                                                                       119 123
                                                                                           of 312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                           Case Number       Court or Agency
      Council, Inc.; St.                              Council, Inc., Boy Scouts of                             New York,
      Michael’s Church                                America; and St. Michael’s Church                        Monroe County
327   Susquenango Council;         [Redacted]         [Redacted] v. Susquenango              EFCA2020000874    Supreme Court
      Baden-Powell Council,                           Council; Baden-Powell Council,                           of the State of
      Inc.                                            Inc., Boy Scouts of America                              New York,
                                                                                                               Broome County
328   Susquenango Council;         [Redacted]          [Redacted] v. Susquenango             EFCA2020000875    Supreme Court
      Baden-Powell Council,                            Council; Baden-Powell Council,                          of the State of
      Inc.; Sarah Jane United                          Inc., Boy Scouts of America; and                        New York,
      Methodist Church                                 Sarah Jane United Methodist                             Broome County
                                                       Church
329   Susquenango Council;         [Redacted]          [Redacted] v. Susquenango             EFCA2020000876    Supreme Court
      Baden-Powell Council,                            Council; Baden-Powell Council,                          of the State of
      Inc.; Church of the Holy                         Inc., Boy Scouts of America;                            New York,
      Trinity; St. Stanislaus                          Church of the Holy Trinity; St.                         Broome County
      Kostka Catholic Church;                          Stanislaus Kostka Catholic Church;
      Diocese of Syracuse                              and Diocese of Syracuse
330   Otetiana Council;            [Redacted]          [Redacted] v. Otetiana Council;       E2020003199       Supreme Court
      Seneca Waterways                                 Seneca Waterways Council, Inc.,                         of the State of
      Council, Inc.; Alliance                          Boy Scouts of America; and                              New York,
      Church                                           Alliance Church                                         Monroe County
331   Otetiana Council;            [Redacted]          [Redacted] v. Otetiana Council; and   E2020003200       Supreme Court
      Seneca Waterways                                 Seneca Waterways Council, Inc.,                         of the State of
      Council, Inc.                                    Boy Scouts of America                                   New York,
                                                                                                               Monroe County
332   Land of the Oneidas          [Redacted]          [Redacted] v. Land of the Oneidas     EFCA2020-000962   Supreme Court
      Council; Leatherstocking                         Council; Leatherstocking Council                        of the State of
      Council, Inc.; Catholic                          of the Boy Scouts of America, Inc.,                     New York,
      Church of St. John the                           Catholic Church of St. John the                         Oneida County
      Baptist and                                      Baptist and Transfiguration of Our
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    120 124
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                           Case Number       Court or Agency
      Transfiguration of Our                       Lord Parish; and Diocese of
      Lord Parish; Diocese of                      Syracuse
      Syracuse
333   Fort Stanwix Council;      [Redacted]         [Redacted] v. Fort Stanwix            EFCA2020-000961   Supreme Court
      Iroquois Council;                             Council; Iroquois Council;                              of the State of
      Leatherstocking Council,                      Leatherstocking Council of the Boy                      New York,
      Inc.                                          Scouts of America, Inc.; and Doe                        Oneida County
                                                    Defendant
334   Iroquois Council;          [Redacted]         [Redacted] v. Iroquois Council; and   EFCA2020-000960   Supreme Court
      Leatherstocking Council,                      Leatherstocking Council of the Boy                      of the State of
      Inc.                                          Scouts of America, Inc.                                 New York,
                                                                                                            Oneida County
335   Garden State Council;      [Redacted]         [Redacted] v. Boy Scouts of           CAM-L-001446-20   Superior Court of
      Bethel Commandment                            America; Garden State Council,                          New Jersey,
      Church of the Living                          Boy Scouts of America; Bethel                           Camden County
      God of New Jersey, Inc.;                      Commandment Church of the                               Law Division –
      Vincent Watkins; Clyde                        Living God of New Jersey, Inc.;                         Civil Part
      Watkins a/k/a Kallad                          Vincent Watkins; and Clyde
      Watkins Cepada                                Watkins a/k/a Kallad Watkins
                                                    Cepada
336   Burlington County          [Redacted]         [Redacted] v. Burlington County       BUR-L-001020-20   Superior Court of
      Council; Garden State                         Council; Garden State Council,                          New Jersey,
      Council, Inc.; Mount                          Inc., Boy Scouts of America;                            Burlington
      Laurel Fire Department                        Mount Laurel Fire Department; and                       County Law
                                                    John Does 1-10                                          Division
337   Greater New York           [Redacted]         [Redacted] v. Greater New York        950090/2020       Supreme Court
      Councils; Manhattan                           Councils, Boy Scouts of America,                        of the State of
      Council; Our Lady of                          Manhattan Council; Our Lady of                          New York, New
      Guadalupe at St.                              Guadalupe at St. Bernard; and the                       York County
      Bernard; and the                              Archdiocese of New York
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                                     20-50527-LSS Doc
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   121 125
                                                                                       of 312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)     Case Caption                         Case Number   Court or Agency
      Archdiocese of New
      York
338   Theodore Roosevelt        [Redacted]         [Redacted] v. Theodore Roosevelt    900035/2020   Supreme Court
      Council, Inc.; Nassau                        Council, Inc., Boy Scouts of                      of the State of
      County Council; Fork                         America; Nassau County Council;                   New York,
      Lane School; Dutch                           Fork Lane School; Dutch Lane                      Nassau County
      Lane School; Lee                             School; Lee Avenue Elementary
      Avenue Elementary                            School; and Hicksville Union Free
      School; Hicksville                           School District
      Union Free School
      District
339   Theodore Roosevelt        [Redacted]         [Redacted] v. Theodore Roosevelt    900034/2020   Supreme Court
      Council, Inc.; Nassau                        Council, Inc., Boy Scouts of                      of the State of
      County Council; Fork                         America; Nassau County Council;                   New York,
      Lane School; Dutch                           Fork Lane School; Dutch Lane                      Nassau County
      Lane School; Hicksville                      School; and Hicksville Union Free
      Union Free School                            School District
      District
340   Theodore Roosevelt        [Redacted]         [Redacted] v. Theodore Roosevelt    900033/2020   Supreme Court
      Council, Inc.; Nassau                        Council, Inc., Boy Scouts of                      of the State of
      County Council; Archer                       America; Nassau County Council;                   New York,
      Street School; Freeport                      Archer Street School; Freeport                    Nassau County
      Union Free School                            Union Free School District; Our
      District; Our Holy                           Holy Redeemer School; and
      Redeemer School;                             Diocese of Rockville Centre
      Diocese of Rockville
      Centre
341   Westchester-Putnam        [Redacted]         [Redacted] v. Westchester-Putnam    55931/2020    Supreme Court
      Council, Inc.;                               Council, Inc., Boy Scouts of                      of the State of
                                                                                                     New York,
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   122 126
                                                                                       of 312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)     Case Caption                        Case Number   Court or Agency
      Washington Irving                           America; and Washington Irving                    Westchester
      Council                                     Council                                           County
342   Greater New York          [Redacted]        [Redacted] v. Greater New York      950089/2020   Supreme Court
      Councils; Brooklyn                          Councils, Boy Scouts of America;                  of the State of
      Council; Diocese of                         Brooklyn Council; Diocese of                      New York, New
      Brooklyn; St. Patrick’s                     Brooklyn; and St. Patrick’s                       York County
      Catholic Academy                            Catholic Academy
343   Greater New York          [Redacted]        [Redacted] v. Greater New York      950086/2020   Supreme Court
      Councils; Queens                            Councils, Boy Scouts of America;                  of the State of
      Council; St. Mary and                       Queens Council; St. Mary and St.                  New York, New
      St. Antonios Coptic                         Antonios Coptic Orthodox Church;                  York County
      Orthodox Church; The                        and The Coptic Orthodox Diocese
      Coptic Orthodox                             of New York and New England
      Diocese of New York
      and New England
344   Suffolk County Council,   [Redacted]         [Redacted] v. Suffolk County       605382/2020   Supreme Court
      Inc.; Smithtown Central                      Council, Inc., Boy Scouts of                     of the State of
      School District; St.                         America; Smithtown Central                       New York,
      James Elementary                             School District; and St. James                   Suffolk County
      School                                       Elementary School
345   Westchester-Putnam        [Redacted]         [Redacted] v. Westchester-Putnam   55930/2020    Supreme Court
      Council, Inc.; White                         Council, Inc., Boy Scouts of                     of the State of
      Plains School District;                      America; White Plains School                     New York,
      George Washington                            District; and George Washington                  Westchester
      Elementary School                            Elementary School                                County
346   Longhouse Council,        [Redacted]         [Redacted] v. Longhouse Council,   003099/2020   Supreme Court
      Inc.; St. Lawrence                           Inc., Boy Scouts of America; St.                 of the State of
      Council; Town of                             Lawrence Council; Town of                        New York,
      Russell; Russell Town                        Russell; and Russell Town Hall                   Onondaga
      Hall                                                                                          County
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                                        20-50527-LSS Doc
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                                                                           08/09/21
                                                                                 PagePage
                                                                                      123 127
                                                                                          of 312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                        Case Number         Court or Agency
347   Longhouse Council,          [Redacted]         [Redacted] v. Longhouse Council,    003096/2020         Supreme Court
      Inc.; St. Lawrence                             Inc., Boy Scouts of America; St.                        of the State of
      Council; Town of                               Lawrence Council; Town of                               New York,
      Russell; Russell Town                          Russell; Russell Town Hall; and                         Onondaga
      Hall; Russell Methodist                        Russell Methodist Church                                County
      Church
348   Longhouse Council,          [Redacted]          [Redacted] v. Longhouse Council,   003095/2020         Supreme Court
      Inc.; St. Lawrence                              Inc., Boy Scouts of America; St.                       of the State of
      Council; Town of                                Lawrence Council; Town of                              New York,
      Russell; Russell Town                           Russell; Russell Town Hall; Knox                       Onondaga
      Hall; Knox Memorial                             Memorial Central School; and                           County
      Central School;                                 Edwards-Knox Central School
      Edwards-Knox Central                            District
      School District
349   Longhouse Council,          [Redacted]          [Redacted] v. Longhouse Council,   003094/2020         Supreme Court
      Inc.; Seaway Valley                             Inc., Boy Scouts of America;                           of the State of
      Council; St. Lawrence                           Seaway Valley Council; St.                             New York,
      Council; Town of                                Lawrence Council; Town of                              Onondaga
      Russell; Russell Town                           Russell; Russell Town Hall; Knox                       County
      Hall; Knox Memorial                             Memorial Central School; and
      Central School District;                        Edward-Knox Central School
      Edward-Knox Central                             District
      School District
350   Olympic Area Council;       [Redacted]          [Redacted] v. Olympic Area          20-2-09228-2 SEA   Superior Court of
      Chief Seattle Council;                          Council; Chief Seattle Council, Boy                    the State of
      Bethel Grange No. 404                           Scouts of America; and Bethel                          Washington,
                                                      Grange No. 404                                         King County
351   Olympic Area Council;       [Redacted]          [Redacted] v. Olympic Area          20-2-09229-1 SEA   Superior Court of
      Chief Seattle Council;                          Council; Chief Seattle Council, Boy                    the State of
      Bethel Grange No. 404
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                                        20-50527-LSS Doc
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                                                                           08/09/21
                                                                                 PagePage
                                                                                      124 128
                                                                                          of 312
                                                                                              of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)     Case Caption                          Case Number        Court or Agency
                                                     Scouts of America; and Bethel                            Washington,
                                                     Grange No. 404                                           King County
352   Olympic Area Council;        [Redacted]        [Redacted], individually v. Olympic   20-2-09230-4 SEA   Superior Court of
      Chief Seattle Council;                         Area Council; Chief Seattle                              the State of
      Bethel Grange No. 404                          Council, Boy Scouts of America;                          Washington,
                                                     and Bethel Grange No. 404                                King County
353   Olympic Area Council;        [Redacted]        [Redacted] v. Olympic Area            20-2-09231-2 SEA   Superior Court of
      Chief Seattle Council;                         Council; Chief Seattle Council, Boy                      the State of
      Bethel Grange No. 404                          Scouts of America; and Bethel                            Washington,
                                                     Grange No. 404                                           King County
354   Greater New York             [Redacted]        [Redacted] v. Greater New York        950094/2020        Supreme Court
      Councils; The Bronx                            Councils, Boy Scouts of America;                         of the State of
      Council; Hudson Valley                         The Bronx Council; Hudson Valley                         New York, New
      Council, Inc.; St. Francis                     Council, Inc., Boy Scouts of                             York County
      Xavier Church; The                             America; St. Francis Xavier
      Archdiocese of New                             Church; and the Archdiocese of
      York                                           New York
355   Greater New York             [Redacted]        [Redacted] v. Greater New York        950100/2020        Supreme Court
      Councils; Manhattan                            Councils, Boy Scouts of America;                         of the State of
      Council; Holy Rosary                           Manhattan Council; Holy Rosary                           New York, New
      Church; The                                    Church; and The Archdiocese of                           York County
      Archdiocese of New                             New York
      York
356   Iroquois Trail Council,      [Redacted]         [Redacted] v. Iroquois Trial         E68367             Supreme Court
      Inc.; Alexander Fire                            Council, Inc., Boy Scouts of                            of the State of
      Department                                      America; and Alexander Fire                             New York,
                                                      Department                                              Genesee County
357   Greater New York             [Redacted]         [Redacted] v. Greater New York       950119/2020        Supreme Court
      Councils; Bronx                                 Councils, Boy Scouts of America;                        of the State of
      Council; Catholic                               Bronx Council; Boy Scouts of
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                                        20-50527-LSS Doc
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                                                                           08/09/21
                                                                                 PagePage
                                                                                      125 129
                                                                                          of 312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                          Case Number       Court or Agency
      Guardian Services                              America; and Catholic Guardian                          New York, New
      A.K.A. Catholic                                Services A.K.A. Catholic Guardian                       York County
      Guardian Society                               Society
358   Five Rivers Council,        [Redacted]         [Redacted] v. Five Rivers Council,    2020-5294         Supreme Court
      Inc., Boy Scouts of                            Inc., Boy Scouts of America;                            of the State of
      America; Steuben Area                          Steuben Area Council; and Grange                        New York,
      Council; and Grange                            Hall                                                    Chemung County
      Hall
359   Five Rivers Council,        [Redacted]          [Redacted] v. Five Rivers Council,   2020-5293         Supreme Court
      Inc.; Sullivan Trail                            Inc., Boy Scouts of America;                           of the State of
      Council; Our Lady of                            Sullivan Trail Council; and Our                        New York,
      Lourdes                                         Lady of Lourdes                                        Chemung County
360   Twin Rivers Council,        [Redacted]          [Redacted] v. Twin Rivers Council,   903680-20         Supreme Court
      Inc.; Adirondack                                Inc., Boy Scouts of America; and                       of the State of
      Council                                         Adirondack Council                                     New York,
                                                                                                             Albany County
361   Longhouse Council,          [Redacted]          [Redacted] v. Longhouse Council,     003252/2020       Supreme Court
      Inc.; Jefferson-Lewis                           Inc., Boy Scouts of America; and                       of the State of
      Council                                         Jefferson-Lewis Council                                New York,
                                                                                                             Onondaga
                                                                                                             County
362   Twin Rivers Council,        [Redacted]          [Redacted] v. Twin Rivers Council,   903679-20         Supreme Court
      Inc.; Governor Clinton                          Inc., Boy Scouts of America;                           of the State of
      Council; First                                  Governor Clinton Council; First                        New York,
      Presbyterian Church of                          Presbyterian Church of Watervliet,                     Albany County
      Watervliet, N.Y.                                N.Y.
363   Burlington County           [Redacted]          [Redacted] v. Burlington County      BUR-L-001021-20   Superior Court of
      Council; Garden State                           Council; Garden State Council,                         New Jersey,
      Council, Inc.                                   Inc., Boy Scouts of America; and                       Burlington
                                                      John Does 1-10
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                                      20-50527-LSS Doc
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                                                                         08/09/21
                                                                               PagePage
                                                                                    126 130
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                          Case Number     Court or Agency
                                                                                                         County Law
                                                                                                         Division
364   Watchung Area Council;      [Redacted]        [Redacted] v. Watchung Area          MRS-L-1086-20   Superior Court of
      Patriots’ Path Council,                       Council; Patriots’ Path Council,                     New Jersey,
      Inc.; Veterans of Foreign                     Inc., Boy Scouts of America;                         Morris County
      Wars #6763; Veterans of                       Veterans of Foreign Wars #6763;                      Law Division
      Foreign Wars of the                           Veterans of Foreign Wars of the
      United States                                 United States; and John Does 1-10
365   Greater Niagara Frontier    [Redacted]        [Redacted] v. Greater Niagara        805178/2020     Supreme Court
      Council, Inc.; Buffalo                        Frontier Council, Inc., Boy Scouts                   of the State of
      Area Council; Rescue                          of America; Buffalo Area Council;                    New York, Erie
      Volunteer Hose                                and Rescue Volunteer Hose                            County
      Company No. 1 of                              Company No. 1 of Cheektowga,
      Cheektowga, N.Y.                              N.Y.
366   Theodore Roosevelt          [Redacted]        [Redacted] v. Theodore Roosevelt     900036/2020     Supreme Court
      Council, Inc.; Nassau                         Council, Inc., Boy Scouts of                         of the State of
      County Council; Archer                        America; Nassau County Council;                      New York,
      Street School; Steele                         Archer Street School; Steele                         Nassau County
      Elementary School;                            Elementary School; Freeport Union
      Freeport Union Free                           Free School District; Baldwin
      School District; Baldwin                      Union Free School District; Our
      Union Free School                             Holy Redeemer School; and The
      District; Our Holy                            Diocese of Rockville Centre
      Redeemer School; The
      Diocese of Rockville
      Centre
367   Hudson Valley Council,      [Redacted]        [Redacted] v. Hudson Valley          EF002579-2020   Supreme Court
      Inc.; Dutchess County                         Council, Inc., Boy Scouts of                         of the State of
      Council; Trinity United                       America; Dutchess County                             New York,
      Methodist Church;                             Council; Trinity United Methodist                    Orange County
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                                     20-50527-LSS Doc
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   127 131
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                         Case Number   Court or Agency
      United Methodist                            Church; and United Methodist
      Church, New York-                           Church, New York-Connecticut
      Connecticut District                        District
368   Greater Niagara Frontier   [Redacted]       [Redacted] v. Greater Niagara        805177/2020   Supreme Court
      Council, Inc.; Buffalo                      Frontier Council, Inc., Boy Scouts                 of the State of
      Area Council; Rescue                        of America; Buffalo Area Council;                  New York, Erie
      Volunteer Hose                              and Rescue Volunteer Hose                          County
      Company No. 1 of                            Company No. 1 of Cheektowga,
      Cheektowga, N.Y.                            N.Y.
369   Greater New York           [Redacted]       [Redacted] v. Greater New York       950120/2020   Supreme Court
      Councils; Bronx                             Councils, Boy Scouts of America;                   of the State of
      Council; Catholic                           Bronx Council, Boy Scouts of                       New York, New
      Guardian Services                           America; and Catholic Guardian                     York County
      A.K.A. Catholic                             Services A.K.A. Catholic Guardian
      Guardian Society                            Society
370   Westchester-Putnam         [Redacted]       [Redacted] v. Westchester-Putnam     55932/2020    Supreme Court
      Council, Inc.;                              Council, Inc., Boy Scouts of                       of the State of
      Washington Irving                           America; and Washington Irving                     New York,
      Council                                     Council                                            Westchester
                                                                                                     County
371   Westchester-Putnam         [Redacted]        [Redacted] v. Westchester-Putnam    56142/2020    Supreme Court
      Council, Inc.;                               Council, Inc., Boy Scouts of                      of the State of
      Washington Irving                            America; Washington Irving                        New York,
      Council; Greenburgh                          Council; Greenburgh Junior High                   Westchester
      Junior High School;                          School; and Greenburgh Central                    County
      Greenburgh Central                           School District
      School District
372   Westchester-Putnam         [Redacted]        [Redacted] v. Westchester-Putnam    56143/2020    Supreme Court
      Council, Inc.;                               Council, Inc., Boy Scouts of                      of the State of
      Washington Irving                            America; Washington Irving                        New York,
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                                      20-50527-LSS Doc
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    128 132
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                         Case Number   Court or Agency
      Council; School 23;                          Council; School 23; Yonkers Public                 Westchester
      Yonkers Public Schools                       Schools                                            County
373   Longhouse Council,          [Redacted]       [Redacted] v. Longhouse Council,     003461/2020   Supreme Court
      Inc.; Onondaga Council;                      Inc., Boy Scouts of America;                       of the State of
      Edward Smith School;                         Onondaga Council; Edward Smith                     New York,
      Syracuse City School                         School; and Syracuse City School                   Onondaga
      District                                     District                                           County
374   Suffolk County Council,     [Redacted]       [Redacted] v. Suffolk County         606775/2020   Supreme Court
      Inc.; Higbie Lane                            Council, Inc., Boy Scouts of                       of the State of
      School; Secatogue                            America; Higbie Lane School;                       New York,
      School; West Islip                           Secatogue School; and West Islip                   Suffolk County
      School District                              School District
375   Suffolk County Council,     [Redacted]       [Redacted] v. Suffolk County         606777/2020   Supreme Court
      Inc.; St. Ann’s Episcopal                    Council, Inc., Boy Scouts of                       of the State of
      Church                                       America; and St. Ann’s Episcopal                   New York,
                                                   Church                                             Suffolk County
376   Suffolk County Council,     [Redacted]       [Redacted] v. Suffolk County         606776/2020   Supreme Court
      Inc.; Baden-Powell                           Council, Inc., Boy Scouts of                       of the State of
      Council, Inc.; Katahdin                      America; Baden-Powell Council,                     New York,
      Area Council, Inc.; West                     Inc., Boy Scouts of America;                       Suffolk County
      Hills United Methodist                       Katahdin Area Council Boy Scouts
      Church                                       of America, Inc.; and West Hills
                                                   United Methodist Church
377   Greater New York            [Redacted]       [Redacted] v. Greater New York       950133/2020   Supreme Court
      Councils; Brooklyn                           Councils, Boy Scouts of America;                   of the State of
      Council; Holy Cross                          Brooklyn Council, Boy Scouts of                    New York, New
      High School; The                             America; Holy Cross High School;                   York County
      Diocese of Brooklyn                          and The Diocese of Brooklyn
378   Westchester-Putnam          [Redacted]       [Redacted] v. Westchester-Putnam     56144/2020    Supreme Court
      Council, Inc.;                               Council, Inc., Boy Scouts of                       of the State of
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                                        20-50527-LSS Doc
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                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      129 133
                                                                                          of 312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                          Case Number     Court or Agency
      Washington Irving                              America; and Washington Irving                        New York,
      Council                                        Council                                               Westchester
                                                                                                           County
379   Greater New York            [Redacted]          [Redacted] v. Greater New York       950134/2020     Supreme Court
      Councils; Brooklyn                              Councils, Boy Scouts of America;                     of the State of
      Council; Holy Cross                             Brooklyn Council, Boy Scouts of                      New York, New
      High School; The                                America; Holy Cross High School;                     York County
      Diocese of Brooklyn                             and The Diocese of Brooklyn
380   Greater Niagara Frontier    [Redacted]          [Redacted] v. Greater Niagara        805607/2020     Supreme Court
      Council, Inc.; Buffalo                          Frontier Council, Inc., Boy Scouts                   of the State of
      Area Council; Seneca                            of America; Buffalo Area Council;                    New York, Erie
      Waterways Council, Inc.                         and Seneca Waterways Council,                        County
                                                      Inc., Boy Scouts of America
381   Greater New York            [Redacted]          [Redacted] v. Greater New York       950132/2020     Supreme Court
      Councils; Brooklyn                              Councils, Boy Scouts of America;                     of the State of
      Council                                         and Brooklyn Council, Boy Scouts                     New York, New
                                                      of America                                           York County
382   Indian Waters Council,      [Redacted]          [Redacted] v. Indian Waters          2020CP4002741   In the Court of
      Inc.                                            Council, Boy Scouts of America,                      Common Pleas
                                                      Inc.                                                 for the Fifth
                                                                                                           Judicial District,
                                                                                                           State of South
                                                                                                           Carolina County
                                                                                                           of Richland
383   Greater Niagara Frontier    [Redacted]          [Redacted] v. Greater Niagara        805818/2020     Supreme Court
      Council, Inc.                                   Frontier Council, Inc., Boy Scouts                   of the State of
                                                      of America                                           New York, Erie
                                                                                                           County
384   Twin Rivers Council,        [Redacted]          [Redacted] v. Twin Rivers Council,   904010-20       Supreme Court
      Inc.; Schenectady                               Inc., Boy Scouts of America;                         of the State of
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                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   130 134
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                           Case Number   Court or Agency
      County Council; Bradt                       Schenectady County Council; Bradt                    New York,
      Primary School;                             Primary School; and Mohonasen                        Albany County
      Mohonasen Central                           Central School District
      School District
385   Greater Niagara Frontier   [Redacted]        [Redacted] v. Greater Niagara         805819/2020   Supreme Court
      Council, Inc.; Orchard                       Frontier Council, Inc., Boy Scouts                  of the State of
      Park United Methodist                        of America; Orchard Park United                     New York, Erie
      Church; The Upper New                        Methodist Church; and The Upper                     County
      York Conference of the                       New York Conference of the
      United Methodist                             United Methodist Church
      Church
386   Greater Niagara Frontier   LG 40 Doe         LG 40 Doe v. Greater Niagara          805763/2020   Supreme Court
      Council, Inc.                                Frontier Council, Inc., Boy Scouts                  of the State of
                                                   of America                                          New York, Erie
                                                                                                       County
387   Massawepie Scout           [Redacted]        [Redacted] v. Massawepie Scout        950201/2020   Supreme Court
      Camps; Otetiana                              Camps; Otetiana Council, Inc., Boy                  of the State of
      Council, Inc.; Seneca                        Scouts of America; Seneca                           New York, New
      Waterways Council, Inc;                      Waterways Council, Inc., Boy                        York County
      The New York Province                        Scouts of America; The New York
      of the Society of Jesus;                     Province of the Society of Jesus;
      U.S.A. Northeast                             U.S.A. Northeast Province of the
      Province of the Jesuit                       Jesuit Fathers and Brothers, a/k/a,
      Fathers and Brothers,                        U.S.A. Northeast Province; The
      a/k/a, U.S.A. Northeast                      USA Northeast Province of the
      Province; The USA                            Society of Jesus, Inc., d/b/a,
      Northeast Province of                        McQuaid Jesuit Community; and
      the Society of Jesus,                        McQuaid Jesuit High School
      Inc., d/b/a, McQuaid
      Jesuit Community; and
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   131 135
                                                                                       of 312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)     Case Caption                          Case Number       Court or Agency
      McQuaid Jesuit High
      School
388   Westchester-Putnam        [Redacted]         [Redacted] v. Westchester-Putnam     56272/2020        Supreme Court
      Council, Inc.; St.                           Council, Inc., Boy Scouts of                           of the State of
      Washington Irving                            America; St. Washington Irving                         New York,
      Council; Lawrence                            Council; Lawrence School; and                          Westchester
      School; Archdiocese of                       Archdiocese of New York                                County
      New York
389                             [Redacted]         [Redacted] v. Boy Scouts of          CAM-L-002144-20   Superior Court of
                                                   America; John & Jane Does (1-10);                      New Jersey,
                                                   and ABC Entities (1-10)                                Camden County
                                                                                                          Law Division –
                                                                                                          Civil Part
390   Rip Van Winkle            [Redacted]         [Redacted] v. Rip Van Winkle         EF2020-1413       Supreme Court
      Council, Inc.                                Council, Inc., Boy Scouts of                           of the State of
                                                   America                                                New York,
                                                                                                          Ulster County
391   Longhouse Council,        [Redacted]         [Redacted] v. Longhouse Council,     003789/2020       Supreme Court
      Inc.; Hiawatha Council,                      Inc., Boy Scouts of America;                           of the State of
      Inc.; Hiawatha Seaway                        Hiawatha Council, Inc., Boy Scouts                     New York,
      Council, Inc.                                of America; and Hiawatha Seaway                        Onondaga
                                                   Council, Inc., Boy Scouts of                           County
                                                   America
392   Greater New York          [Redacted]         [Redacted] v. Greater New York       950222/2020       Supreme Court
      Councils; Queens                             Councils, Boy Scouts of America;                       of the State of
      Council                                      and Queens Council, Boy Scouts of                      New York, New
                                                   America                                                York County
393   Suffolk County Council,   [Redacted]         [Redacted] v. Suffolk County         607768/2020       Supreme Court
      Inc.; St. Mary Roman                         Council, Inc., Boy Scouts of                           of the State of
      Catholic Church; The                         America; St. Mary Roman Catholic
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                                       20-50527-LSS Doc
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     132 136
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                         Case Number     Court or Agency
      Diocese of Rockville                          Church; and The Diocese of                           New York,
      Centre                                        Rockville Centre                                     Suffolk County
394   Greater New York           [Redacted]         [Redacted] v. Greater New York       950223/2020     Supreme Court
      Councils; Redeemer                            Councils, Boy Scouts of America;                     of the State of
      Lutheran Church                               and Redeemer Lutheran Church                         New York, New
                                                                                                         York County
395   Hudson Valley Council,     [Redacted]          [Redacted] v. Hudson Valley         EF003086-2020   Supreme Court
      Inc.; Dutchess County                          Council, Inc., Boy Scouts of                        of the State of
      Council, Inc.; Millerton                       America; Dutchess County Council                    New York,
      Elementary School;                             of Boy Scouts of America, Inc.;                     Orange County
      Webtuck Central School                         Millerton Elementary School; and
      District                                       Webtuck Central School District
396   Hudson Valley Council,     [Redacted]          [Redacted] v. Hudson Valley         EF003085-2020   Supreme Court
      Inc.; Hudson Delaware                          Council, Inc., Boy Scouts of                        of the State of
      Council                                        America; and Hudson Delaware                        New York,
                                                     Council                                             Orange County
397   Allegheny Highlands        [Redacted]          [Redacted] v. Allegheny Highlands   EK12020000679   Supreme Court
      Council, Inc.; Seneca                          Council, Inc.; and Seneca Council                   of the State of
      Council                                                                                            New York,
                                                                                                         Chautauqua
                                                                                                         County
398   Suffolk County Council,    [Redacted]          [Redacted] v. Suffolk County        608020/2020     Supreme Court
      Inc.; Baden-Powell                             Council, Inc., Boy Scouts of                        of the State of
      Council, Inc.;                                 America; Baden-Powell Council,                      New York,
      Susquenango Council;                           Inc., Boy Scouts of America;                        Suffolk County
      Birchwood Intermediate                         Susquenango Council; Birchwood
      School; South                                  Intermediate School; South
      Huntington School                              Huntington School District; and
      District; West Hills                           West Hills United Methodist
                                                     Church
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                                     20-50527-LSS Doc
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   133 137
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                            Case Number     Court or Agency
      United Methodist
      Church
399   Connecticut Yankee         [Redacted]        [Redacted] v. Connecticut Yankee       E012020015758   Supreme Court
      Council, Mauwehu                             Council, Boy Scouts of America;                        of the State of
      Council; Fairfield                           Mauwehu Council; and Fairfield                         New York,
      County Council                               County Council                                         Columbia
                                                                                                          County
400   Greater Niagara Frontier   [Redacted]        [Redacted] v. Greater Niagara          806370/2020     Supreme Court
      Council, Inc.; Buffalo                       Frontier Council, Inc., Boy Scouts                     of the State of
      Area Council                                 of America; and Buffalo Area                           New York, Erie
                                                   Council                                                County
401   Seneca Waterways           [Redacted]        [Redacted] v. Seneca Waterways         E2020004188     Supreme Court
      Council, In. Otetiana                        Council, Inc., Boy Scouts of                           of the State of
      Council; Seneca                              America; Otetiana Council; Seneca                      New York,
      Elementary School; and                       Elementary School; and West                            Monroe County
      West Irondeqoit School                       Irondequoit School District
      District
402   Seneca Waterways           PC-6 Doe          PC-6 Doe v. Boy Scouts of              E2020004263     Supreme Court
      Council                                      America, and Seneca Waterways                          of the State of
                                                   Council, Boy Scouts of America                         New York,
                                                                                                          Monroe County
403   Suffolk County Council;    [Redacted]        [Redacted] v. Suffolk County           608068/2020     Supreme Court
      Suffolk County Council,                      Council, BSA, Suffolk County                           of the State of
      Inc.; Learning for Life                      Council, Inc., and Learning for Life                   New York,
      Corporation                                  Corporation                                            Suffolk County
404   Greater Niagara Frontier   [Redacted]        [Redacted] v. John C. Bobeck v.        806601/2020     Supreme Court
      Council, Inc.                                Greater Niagara Frontier Council,                      of the State of
                                                   Inc., Boy Scouts of America;                           New York, Erie
                                                   Robert L. Eberhardt                                    County
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    134 138
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                          Case Number     Court or Agency
405   Greater New York            [Redacted]       [Redacted] v. Boy Scouts of           950247/2020     Supreme Court
      Councils                                     America and Greater New York                          of the State of
                                                   Councils                                              New York, New
                                                                                                         York County
406   Greater New York            [Redacted]        [Redacted] v. Greater New York       950257/2020     Supreme Court
      Councils; Bronx Council                       Councils, Boy Scouts of America,                     of the State of
                                                    and Bronx Council                                    New York, New
                                                                                                         York County
407   Greater Niagara Frontier    [Redacted]        [Redacted] v. Greater Niagara        806672/2020     Supreme Court
      Council, Inc.; Knights of                     Frontier Council, Inc., Boy Scouts                   of the State of
      Columbus, Father Baker                        of America; and Knights of                           New York, Erie
      Council #2243                                 Columbus, Father Baker Council                       County
                                                    #2243
408   Twin Rivers Council,        [Redacted]        [Redacted] v. Twin Rivers Council,   904388-20       Supreme Court
      Inc,; Mohican Council;                        Inc., Boy Scouts of America;                         of the State of
      Big Cross Street                              Mohican Council; Big Cross Street                    New York,
      Elementary School; Glen                       Elementary School; and Glen Falls                    Albany County
      Falls City Schools                            City Schools
409   Iroquois Trail Council,     [Redacted]        [Redacted] v. Iroquois Trail         E68425          Supreme Court
      Inc.; Genesee Council;                        Council, Inc., Boy Scouts of                         of the State of
      Town of York; York                            America; Genesee Council; Town                       New York,
      Town Hall                                     of York; and York Town Hall                          Genesee County
410   Hudson Valley Council,      [Redacted]        [Redacted] v. Hudson Valley          EF003242-2020   Supreme Court
      Inc.; Dutchess County                         Council, Inc., Boy Scouts of                         of the State of
      Council; Hudson                               America; Dutchess County Council                     New York,
      Delaware Council;                             of Boy Scouts of America, Inc.;                      Orange County
      Circleville Elementary                        Hudson Delaware Council;
      School; Pine Bush                             Circleville Elementary School; and
      Central School District                       Pine Bush Central School District
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                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                          08/09/21
                                                                                PagePage
                                                                                     135 139
                                                                                         of 312
                                                                                             of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)     Case Caption                          Case Number   Court or Agency
411   Westchester-Putnam          [Redacted]        [Redacted] v. Westchester-Putnam      56944/2020    Supreme Court
      Council                                       Council, Boy Scouts of America                      of the State of
                                                                                                        New York,
                                                                                                        Westchester
                                                                                                        County
412   Longhouse Council, Inc.     PC-11 Doe          PC-11 Doe v. Boy Scouts of           E2020-0552    Supreme Court
                                                     America and Longhouse Council,                     of the State of
                                                     Inc., Boy Scouts of America                        New York,
                                                                                                        Cayuga County
413   Westchester-Putnam          [Redacted]         [Redacted] v. Westchester-Putnam     57296/2020    Supreme Court
      Council, Inc.; St. Paul’s                      Council, Inc., Boy Scouts of                       of the State of
      Episcopal Church                               America; and St. Paul’s Episcopal                  New York,
                                                     Church                                             Westchester
                                                                                                        County
414   Westchester-Putnam          [Redacted]         [Redacted] v. Boy Scouts of          57298/2020    Supreme Court
      Council, Inc.; Knights of                      America, Westchester-Putnam                        of the State of
      Columbus Council 462                           Council, Inc., Boy Scouts of                       New York,
                                                     America, and Knights of Columbus                   Westchester
                                                     Council 462                                        County
415   Westchester-Putnam          [Redacted]         [Redacted] v. Westchester-Putnam     57295/2020    Supreme Court
      Council, Inc.;                                 Council, Inc., Boy Scouts of                       of the State of
      Washington Irving                              America; Washington Irving                         New York,
      Council; and The                               Council, and The Children’s                        Westchester
      Children’s Village, Inc.                       Village, Inc.                                      County
416   Greater Niagara Frontier    [Redacted]         [Redacted] v. Greater Niagara        807102/2020   Supreme Court
      Council, Inc.; First                           Frontier Council, Inc., Boy Scouts                 of the State of
      Baptist Church of East                         of America; and First Baptist                      New York, Erie
      Aurora                                         Church of East Aurora                              County
417   Seneca Waterways            [Redacted]         [Redacted] v. Seneca Waterways       E2020004583   Supreme Court
      Council, Inc.; Otetiana                        Council, Inc., Boy Scouts of                       of the State of
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                                      20-50527-LSS Doc
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                                                                         08/09/21
                                                                               PagePage
                                                                                    136 140
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                          Case Number     Court or Agency
      Council; Kiwanis Club                        America; Otetiana Council; and                        New York,
      of Webster, New York,                        Kiwanis Club of Webster, New                          Monroe County
      Inc.                                         York, Inc.
418   Greater Niagara Frontier   [Redacted]        [Redacted] v. Greater Niagara         806802/2020     Supreme Court
      Council, Inc.                                Frontier Council, Inc., Boy Scouts                    of the State of
                                                   of America                                            New York, Erie
                                                                                                         County
419   Theodore Roosevelt         [Redacted] and     [Redacted] and [Redacted] v. Boy     900089/2020     Supreme Court
      Council, Inc.              [Redacted]         Scouts of America and Theodore                       of the State of
                                                    Roosevelt Council, Inc., Boy                         New York,
                                                    Scouts of America and Bruce                          Nassau County
                                                    Stegner
420   Northern New Jersey        [Redacted]         [Redacted] v. Northern New Jersey    BER-L-3846-20   Superior Court of
      Council; The Roman                            Council Boy Scouts of America                        New Jersey, Law
      Catholic Archdiocese of                       Inc.; The Roman Catholic                             Division –
      Newark; St. Catharine’s                       Archdiocese of Newark and St.                        Bergen County
      Roman Catholic Church                         Catharine’s Roman Catholic
                                                    Church
421   Greater Niagara Frontier   LG 63 Doe          LG 63 Doe v. Greater Niagara         807625/2020     Supreme Court
      Council, Inc.                                 Frontier Council, Inc., Boy Scouts                   of the State of
                                                    of America                                           New York, Erie
                                                                                                         County
422   Greater Niagara Frontier   LG 81 Doe          LG 81 Doe v. Greater Niagara         807621/2020     Supreme Court
      Council, Inc.                                 Frontier Council, Inc., Boy Scouts                   of the State of
                                                    of America                                           New York, Erie
                                                                                                         County
423   Twin Rivers Council,       [Redacted]         [Redacted] v. Twin Rivers Council,   904653-20       Supreme Court
      Inc.; Sir William                             Inc., Boy Scouts of America; Sir                     of the State of
      Johnson Council;                              William Johnson Council; McNulty                     New York,
      McNulty Elementary                                                                                 Albany County
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
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                                                                         08/09/21
                                                                               PagePage
                                                                                    137 141
                                                                                        of 312
                                                                                            of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)      Case Caption                          Case Number   Court or Agency
      School ; Greater                             Elementary School; and Greater
      Amsterdam School                             Amsterdam School District
      District
424   Greater New York          [Redacted]          [Redacted] v. Greater New York       950352/2020   Supreme Court
      Councils; Queens                              Councils, Boy Scouts of America;                   of the State of
      Council; Louis Blum                           Queens Council; and Louis Blum                     New York, New
      Jewish War Veterans                           Jewish War Veterans Post                           York County
      Post
425   Theodore Roosevelt        [Redacted]          [Redacted] v. Theodore Roosevelt     900097/2020   Supreme Court
      Council, Inc.; Grace                          Council, Inc., Boy Scouts of                       of the State of
      Lutheran Church                               America; and Grace Lutheran                        New York,
                                                    Church                                             Nassau County
426   Greater New York          [Redacted]          [Redacted] v. Greater New York       950351/2020   Supreme Court
      Councils; Brooklyn                            Councils, Boy Scouts of America;                   of the State of
      Council; Bethesda                             Brooklyn Council; and Bethesda                     New York, New
      Memorial Baptist                              Memorial Baptist Church, Inc.                      York County
      Church, Inc.
427   Twin Rivers Council,      [Redacted]          [Redacted] v. Twin Rivers Council,   904652-20     Supreme Court
      Inc.; Schenectady                             Inc., Boy Scouts of America; and                   of the State of
      County Council, Inc.                          Schenectady County Council, Inc.,                  New York,
                                                    Boy Scouts of America                              Albany County
428   Iroquois Trail Council,   [Redacted]          [Redacted] v. Iroquois Trail         807548/2020   Supreme Court
      Inc.; Greater Niagara                         Council, Inc., Boy Scouts of                       of the State of
      Frontier Council, Inc.;                       America; Greater Niagara Frontier                  New York, Erie
      Exley United Methodist                        Council, Inc., Boy Scouts of                       County
      Church                                        America; and Exley United
                                                    Methodist Church
429   N/A                       [Redacted]          [Redacted] v. Boy Scouts of          200701520     Court of
                                                    America                                            Common Pleas
                                                                                                       Philadelphia
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                                       20-50527-LSS Doc
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     138 142
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                            Case Number     Court or Agency
                                                                                                            County Civil
                                                                                                            Trial Division
430   The City of Los            John C Doe          John C Doe v. The City of Los          20STCV25957     Superior Court of
      Angeles; Western Los                           Angeles, a local public entity;                        the State of
      Angeles County Council,                        Western Los Angeles County                             California,
      Inc.                                           Council, Inc., a California domestic                   County of Los
                                                     non-profit; George Julian Stan, an                     Angeles
                                                     individual; and Does 1-50,
                                                     inclusive
431   Westchester-Putnam         [Redacted]          [Redacted] v. Westchester-Putnam       57751/2020      Supreme Court
      Council, Inc.                                  Council, Inc., Boy Scouts of                           of the State of
                                                     America                                                New York,
                                                                                                            Westchester
                                                                                                            County
432   Westchester-Putnam         [Redacted]          [Redacted] v. Westchester-Putnam       57750/2020      Supreme Court
      Council, Inc.;                                 Council, Inc., Boy Scouts of                           of the State of
      Washington Irving                              America; and Washington Irving                         New York,
      Council, Inc.                                  Council, Inc., Boy Scouts of                           Westchester
                                                     America                                                County
433   Allegheny Highlands        [Redacted]          [Redacted] v. Allegheny Highlands      EK12020000825   Supreme Court
      Council, Inc.; French                          Council, Inc.; French Creed                            of the State of
      Creek Council; First                           Council, Boy Scouts of America;                        New York,
      Presbyterian Church                            and First Presbyterian Church                          Chautauqua
                                                                                                            County
434   Westchester-Putnam         [Redacted]          [Redacted] v. Westchester-Putnam       57752/2020      Supreme Court
      Council, Inc.;                                 Council, Inc., Boy Scouts of                           of the State of
      Hutchinson River                               America; and Hutchinson River                          New York,
      Council, Inc.                                  Council, Inc., Boy Scouts of                           Westchester
                                                     America                                                County
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                                        20-50527-LSS Doc
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                                                                           08/09/21
                                                                                 PagePage
                                                                                      139 143
                                                                                          of 312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                          Case Number     Court or Agency
435   Greater New York            [Redacted]         [Redacted] v. Greater New York        950423/2020     Supreme Court
      Councils; Manhattan                            Councils, Boy Scouts of America;                      of the State of
      Council                                        and Manhattan Council, Boy Scouts                     New York, New
                                                     of America                                            York County
436   Theodore Roosevelt          [Redacted]         [Redacted] v. Theodore Roosevelt      900104/2020     Supreme Court
      Council, Inc.; Bowling                         Council, Inc., Boy Scouts of                          of the State of
      Green Elementary                               America; Bowling Green                                New York,
      School; and East                               Elementary School; and East                           Nassau County
      Meadow School District                         Meadow School District
437   Longhouse Council,          [Redacted]         [Redacted] v. Longhouse Council,      004550/2020     Supreme Court
      Inc.; St. Lawrence                             Inc., Boy Scouts of America; St.                      of the State of
      Council, Inc.; First                           Lawrence Council, Inc., Boy Scouts                    New York,
      Presbyterian Church                            of America; and First Presbyterian                    Onondaga
                                                     Church                                                County
438   Allegheny Highlands         AB 417 Doe         AB 417 Doe v. Allegheny               EK12020000844   Supreme Court
      Council, Inc.; River’s                         Highlands Council, Inc.; River’s                      of the State of
      Edge United Methodist                          Edge United Methodist Church                          New York,
      Church f/k/a Portville                         f/k/a Portville Methodist Church;                     Chautauqua
      Methodist Church                               and Does 1-5 whose identities are                     County
                                                     unknown to Plaintiff
439   Greater New York            JA-017 Doe         JA-017 Doe v. Greater New York        950451/2020     Supreme Court
      Councils; Brooklyn                             Councils, Boy Scouts of America;                      of the State of
      Council; YMCA of                               Brooklyn Council, Boy Scouts of                       New York, New
      Greater New York                               America; YMCA of Greater New                          York County
                                                     York; and Does 1-5 whose
                                                     identities are unknown to Plaintiff
440   Allegheny Highlands         [Redacted]         [Redacted] v. Allegheny Highlands     EK12020000843   Supreme Court
      Council, Inc.; The                             Council, Inc.; The Lakewood                           of the State of
      Lakewood Memorial                              Memorial Post No. 1286, Inc.,                         New York,
      Post No. 1286, Inc.,
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                                        20-50527-LSS Doc
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                                                         185-1 23-1
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                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      140 144
                                                                                          of 312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                        Case Number   Court or Agency
      American Legion,                               American Legion, Department of                    Chautauqua
      Department of New                              New York                                          County
      York
441   Seneca Waterways            AB 410 Doe          AB 410 Doe v. Seneca Waterways     E2020005486   Supreme Court
      Council, Inc.; First                            Council, Inc., Boy Scouts of                     of the State of
      United Methodist                                America; First United Methodist                  New York,
      Church a/k/a Newark                             Church a/k/a Newark First United                 Monroe County
      First United Methodist                          Methodist Church; and Does 1-5
      Church                                          whose identities are unknown to
                                                      Plaintiff
442   Greater New York            [Redacted]          [Redacted] v. Greater New York     950565/2020   Supreme Court
      Councils                                        Councils, Boy Scouts of America                  of the State of
                                                                                                       New York, New
                                                                                                       York County
443   Longhouse Council, Inc.     [Redacted]          [Redacted] v. Longhouse Council,   004585/2020   Supreme Court
                                                      Inc., Boy Scouts of America                      of the State of
                                                                                                       New York,
                                                                                                       Onondaga
                                                                                                       County
444   Greater New York            [Redacted]          [Redacted] v. Greater New York     004585/2020   Supreme Court
      Councils                                        Councils, Boy Scouts of America                  of the State of
                                                                                                       New York, New
                                                                                                       York County
445   Greater New York            [Redacted]          [Redacted] v. Greater New York     950571/2020   Supreme Court
      Councils; Archdiocese                           Councils, Boy Scouts of America;                 of the State of
      of New York; Our Lady                           Archdiocese of New York; Our                     New York, New
      of Refuge Church                                Lady of Refuge Church                            York County
446   Westchester-Putnam          [Redacted]          [Redacted] v. Westchester-Putnam   57805/2020    Supreme Court
      Council; Trinity                                Council, Boy Scouts of America;                  of the State of
      Episcopal Church;                                                                                New York,
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                                      20-50527-LSS Doc
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    141 145
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number      Court or Agency
      Episcopal Diocese of                         Trinity Episcopal Church;                               Westchester
      New York                                     Episcopal Diocese of New York                           County
447   Greater New York            [Redacted]       [Redacted] v. Greater New York         950572/2020      Supreme Court
      Councils                                     Councils, Boy Scouts of America                         of the State of
                                                                                                           New York, New
                                                                                                           York County
448   Greater New York            [Redacted]        [Redacted] v. Greater New York        950573/2020      Supreme Court
      Councils                                      Councils, Boy Scouts of America                        of the State of
                                                                                                           New York, New
                                                                                                           York County
449   91st Sojourners Scout       [Redacted]        [Redacted] v. 91st Sojourners Scout   EFCA2020001461   Supreme Court
      Group – Baden Powell                          Group – Baden Powell Service                           of the State of
      Service Association,                          Association, a/k/a Baden Powell                        New York,
      a/k/a Baden Powell                            Council, Inc., Boy Scouts of                           Broome County
      Council, Inc., Boy                            America; First United Methodist
      Scouts of America; First                      Church; St. Mary’s Church
      United Methodist
      Church; St. Mary’s
      Church
450   Greater New York            [Redacted]        [Redacted] v. Greater New York        513780/2020      Supreme Court
      Councils; Our Lady of                         Councils, Boy Scouts of America;                       of the State of
      the Snows Church;                             Our Lady of the Snows Church;                          New York, Kings
      Diocese of Brooklyn                           Diocese of Brooklyn                                    County
451   Greater Niagara Frontier    [Redacted]        [Redacted] v. Greater Niagara         808160/2020      Supreme Court
      Council, Inc.; St. Amelia                     Frontier Council, Inc., Boy Scouts                     of the State of
      Catholic Church                               of America; St. Amelia Catholic                        New York, Erie
                                                    Church                                                 County
452   Greater New York            [Redacted]        [Redacted] v. Greater New York        950574/2020      Supreme Court
      Councils                                      Councils, Boy Scouts of America                        of the State of
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     142 146
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                        Case Number      Court or Agency
                                                                                                         New York, New
                                                                                                         York County
453   Greater New York           [Redacted]          [Redacted] v. Greater New York     950575/2020      Supreme Court
      Councils                                       Councils, Boy Scouts of America                     of the State of
                                                                                                         New York, New
                                                                                                         York County
454   Greater New York           [Redacted]          [Redacted] v. Greater New York     950576/2020      Supreme Court
      Councils                                       Councils, Boy Scouts of America                     of the State of
                                                                                                         New York, New
                                                                                                         York County
455   Longhouse Council,         [Redacted]          [Redacted] v. Longhouse Council,   004600/2020      Supreme Court
      Inc.; Basilica of the                          Inc., Boy Scouts of America; and                    of the State of
      Sacred Heart of Jesus                          Basilica of the Sacred Heart of                     New York,
                                                     Jesus                                               Onondaga
                                                                                                         County
456   Theodore Roosevelt         [Redacted]          [Redacted] v. Theodore Roosevelt   900180/2020      Supreme Court
      Council, Inc.                                  Council, Inc., Boy Scouts of                        of the State of
                                                     America                                             New York,
                                                                                                         Nassau County
457   Baden-Powell Council,      [Redacted]          [Redacted] v. Baden-Powell         EFCA2020001444   Supreme Court
      Inc.                                           Council, Inc., Boy Scouts of                        of the State of
                                                     America                                             New York,
                                                                                                         Broome County
458   Greater New York           [Redacted]          [Redacted] v. Greater New York     950578/2020      Supreme Court
      Councils; St. Sylvester                        Councils, Boy Scouts of America;                    of the State of
      Roman Catholic Church;                         St. Sylvester Roman Catholic                        New York, New
      Archdiocese of New                             Church; Archdiocese of New York                     York County
      York
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                                         20-50527-LSS Doc
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                                                          185-1 23-1
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                                                                            08/09/21
                                                                                  PagePage
                                                                                       143 147
                                                                                           of 312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                        Case Number   Court or Agency
459   Theodore Roosevelt           [Redacted]         [Redacted] v. Theodore Roosevelt    900123/2020   Supreme Court
      Council, Inc.                                   Council, Inc., Boy Scouts of                      of the State of
                                                      America                                           New York,
                                                                                                        County of
                                                                                                        Nassau
460   Longhouse Council, Inc.      [Redacted]          [Redacted] v. Longhouse Council,   004607/2020   Supreme Court
                                                       Inc., Boy Scouts of America                      of the State of
                                                                                                        New York,
                                                                                                        Onondaga
                                                                                                        County
461   Iroquois Trail Council,      [Redacted]          [Redacted] v. Iroquois Trail       E68487        Supreme Court
      Inc.                                             Council, Inc., Boy Scouts of                     of the State of
                                                       America                                          New York,
                                                                                                        Genesee County
462   Longhouse Council, Inc., [Redacted]              [Redacted] v. Longhouse Council,   004771/2020   Supreme Court
      a/k/a Seaway Valley                              Inc., Boy Scouts of America a/k/a                of the State of
      Council a/k/a Hiawatha                           Seaway Valley Council #403 a/k/a                 New York,
      Council a/k/a Hiawatha                           Hiawatha Council a/k/a Hiawatha                  Onondaga
      Seaway Council                                   Seaway Council                                   County
463   Twin River Council,      [Redacted]              [Redacted] v. Twin River Council,  904964-20     Supreme Court
      a/k/a Governor Clinton                           Boy Scouts of America a/k/a                      of the State of
      Council, Saratoga                                Governor Clinton Council, Saratoga               New York,
      Council, Schenectady                             Council, Schenectady County                      Albany County
      County Council, Sir                              Council, Sir William Johnson
      William Johnson                                  Council, Mohican Council, and/or
      Council, Mohican                                 Adirondack Council
      Council, and/or
      Adirondack Council
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                                     20-50527-LSS Doc
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   144 148
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                           Case Number   Court or Agency
464   Seneca Waterways           [Redacted]       [Redacted] v. Seneca Waterways         E2020005544   Supreme Court
      Council, Inc.                               Council, Inc., Boy Scouts of                         of the State of
                                                  America                                              New York,
                                                                                                       Monroe County
465   Twin Rivers Council,       [Redacted]        [Redacted] v. Twin Rivers Council,    904949-20     Supreme Court
      Inc.; Sacred Heart                           Inc., Boy Scouts of America;                        of the State of
      Church; Roman Catholic                       Sacred Heart Church; Roman                          New York,
      Diocese of Albany                            Catholic Diocese of Albany                          Albany County
466   Greater New York           [Redacted]        [Redacted] v. Greater New York        513875/2020   Supreme Court
      Councils, Inc.; Mary                         Councils, Inc., Boy Scouts of                       of the State of
      Queen of Heaven                              America; Mary Queen of Heaven                       New York, Kings
      Church; Diocese of                           Church; Diocese of Brooklyn                         County
      Brooklyn
467   Longhouse Council, Inc.    [Redacted]        [Redacted] v. Longhouse Council,      004731/2020   Supreme Court
                                                   Inc., Boy Scouts of America                         of the State of
                                                                                                       New York,
                                                                                                       Onondaga
                                                                                                       County
468   Longhouse Council, Inc.    [Redacted]        [Redacted] v. Longhouse Council,      004733/2020   Supreme Court
                                                   Inc., Boy Scouts of America                         of the State of
                                                                                                       New York,
                                                                                                       Onondaga
                                                                                                       County
469   Greater Niagara Frontier   AB 400 Doe        AB 400 Doe v. Greater Niagara         808074/2020   Supreme Court
      Council, Inc.; American                      Frontier Council, Inc., Boy Scouts                  of the State of
      Medical Response, Inc.                       of America; American Medical                        New York, Erie
      d/b/a Western NY AMR                         Response, Inc. d/b/a Western NY                     County
      f/k/a Rural/Metro                            AMR f/k/a Rural/Metro
      Ambulance                                    Ambulance; and Does 1-5 whose
                                                   identities are unknown to Plaintiff
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                                     20-50527-LSS Doc
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                                                                              PagePage
                                                                                   145 149
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number   Court or Agency
470   Greater Niagara Frontier   AB 401 Doe       AB 401 Doe v. Greater Niagara         808139/2020   Supreme Court
      Council, Inc.; American                     Frontier Council, Inc., Boy Scouts                  of the State of
      Medical Response, Inc.                      of America; American Medical                        New York, Erie
      d/b/a Western NY AMR                        Response, Inc. d/b/a Western NY                     County
      f/k/a Rural/Metro                           AMR f/k/a Rural/Metro
      Ambulance                                   Ambulance; and Does 1-5 whose
                                                  identities are unknown to Plaintiff
471   Greater Niagara Frontier   AB 402 Doe       AB 402 Doe v. Greater Niagara         808140/2020   Supreme Court
      Council, Inc.; Rescue                       Frontier Council, Inc., Boy Scouts                  of the State of
      Volunteer Hose                              of America; Rescue Volunteer Hose                   New York, Erie
      Company No. 1 of                            Company No. 1 of Cheektowga                         County
      Cheektowga a/k/a                            a/k/a Rescue Hose Co.; and Does 1-
      Rescue Hose Co.                             5 whose identities are unknown to
                                                  Plaintiff
472   Greater Niagara Frontier   AB 403 Doe       AB 403 Doe v. Greater Niagara         808118/2020   Supreme Court
      Council, Inc.; Rescue                       Frontier Council, Inc., Boy Scouts                  of the State of
      Volunteer Hose                              of America; Rescue Volunteer Hose                   New York, Erie
      Company No. 1 of                            Company No. 1 of Cheektowga                         County
      Cheektowga a/k/a                            a/k/a Rescue Hose Co.; and Does 1-
      Rescue Hose Co.                             5 whose identities are unknown to
                                                  Plaintiff
473   Greater Niagara Frontier   AB 404 Doe       AB 404 Doe v. Greater Niagara         808093/2020   Supreme Court
      Council, Inc.; Rescue                       Frontier Council, Inc., Boy Scouts                  of the State of
      Volunteer Hose                              of America; Rescue Volunteer Hose                   New York, Erie
      Company No. 1 of                            Company No. 1 of Cheektowga                         County
      Cheektowga a/k/a                            a/k/a Rescue Hose Co.; and Does 1-
      Rescue Hose Co.                             5 whose identities are unknown to
                                                  Plaintiff
474   Greater Niagara Frontier   AB 405 Doe       AB 405 Doe v. Greater Niagara         808092/2020   Supreme Court
      Council, Inc.; Our                          Frontier Council, Inc., Boy Scouts                  of the State of
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                                     20-50527-LSS Doc
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                                                                        08/09/21
                                                                              PagePage
                                                                                   146 150
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number   Court or Agency
      Mother of Good Counsel                      of America; Our Mother of Good                      New York, Erie
      a/k/a Our Mother of                         Counsel a/k/a Our Mother of Good                    County
      Good Counsel Church                         Counsel Church; and Does 1-5
                                                  whose identities are unknown to
                                                  Plaintiff
475   Greater Niagara Frontier   AB 406 Doe       AB 406 Doe v. Greater Niagara         808117/2020   Supreme Court
      Council, Inc.; Our                          Frontier Council, Inc., Boy Scouts                  of the State of
      Mother of Good Counsel                      of America; Our Mother of Good                      New York, Erie
      a/k/a Our Mother of                         Counsel a/k/a Our Mother of Good                    County
      Good Counsel Church                         Counsel Church; and Does 1-5
                                                  whose identities are unknown to
                                                  Plaintiff
476   Greater Niagara Frontier   AB 407 Doe       AB 407 Doe v. Greater Niagara         808120/2020   Supreme Court
      Council, Inc.                               Frontier Council, Inc., Boy Scouts                  of the State of
                                                  of America; and Does 1-5 whose                      New York, Erie
                                                  identities are unknown to Plaintiff                 County
477   Greater Niagara Frontier   AB 408 Doe       AB 408 Doe v. Greater Niagara         808094/2020   Supreme Court
      Council, Inc.; St.                          Frontier Council, Inc., Boy Scouts                  of the State of
      Barnabas Church; St.                        of America; St. Barnabas Church;                    New York, Erie
      Martha Parish                               St. Martha Parish; and Does 1-5                     County
                                                  whose identities are unknown to
                                                  Plaintiff
478   Greater Niagara Frontier   AB 409 Doe       AB 409 Doe v. Greater Niagara         808095/2020   Supreme Court
      Council, Inc.; Father                       Frontier Council, Inc., Boy Scouts                  of the State of
      Baker Council #2243                         of America; Father Baker Council                    New York, Erie
      a/k/a Knights of                            #2243 a/k/a Knights of Columbus                     County
      Columbus Father Baker                       Father Baker Council #2243; and
      Council #2243                               Does 1-5 whose identities are
                                                  unknown to Plaintiff
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                                       20-50527-LSS Doc
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                                                                          08/09/21
                                                                                PagePage
                                                                                     147 151
                                                                                         of 312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                          Case Number   Court or Agency
479   Seneca Waterways             AB 412 Doe       AB 412 Doe v. Seneca Waterways        E2020005541   Supreme Court
      Council, Inc.; Park                           Council, Inc., Boy Scouts of                        of the State of
      Presbyterian Church                           America; Park Presbyterian                          New York,
                                                    Church; and Does 1-5 whose                          Monroe County
                                                    identities are unknown to Plaintiff
480   Seneca Waterways             AB 415 Doe       AB 415 Doe v. Seneca Waterways        E2020005545   Supreme Court
      Council, Inc.; St.                            Council, Inc., Boy Scouts of                        of the State of
      Augustine’s Church; St.                       America; St. Augustine’s Church;                    New York,
      Monica Church                                 St. Monica Church; and Does 1-5                     Monroe County
                                                    whose identities are unknown to
                                                    Plaintiff
481   Iroquois Trail Council,      AB 418 Doe       AB 418 Doe v. Iroquois Trial          E68488        Supreme Court
      Inc.; Attica Lodge #462                       Council, Inc., Boy Scouts of                        of the State of
      F. & A.M.                                     America; Attica Lodge #462 F. &                     New York,
                                                    A.M.; and Does 1-5 whose                            Genesee County
                                                    identities are unknown to Plaintiff
482   Greater Niagara Frontier     AB 422 Doe       AB 422 Doe v. Greater Niagara         808141/2020   Supreme Court
      Council, Inc.; St. Paul’s                     Frontier Council, Inc., Boy Scouts                  of the State of
                                                    of America; St. Paul’s; and Does 1-                 New York, Erie
                                                    5 whose identities are unknown to                   County
                                                    Plaintiff
483   Greater Niagara Frontier     AB 423 Doe       AB 423 Doe v. Greater Niagara         808266/2020   Supreme Court
      Council, Inc.; St. Francis                    Frontier Council, Inc., Boy Scouts                  of the State of
      Xavier; Assumption                            of America; St. Francis Xavier;                     New York, Erie
                                                    Assumption; and Does 1-5 whose                      County
                                                    identities are unknown to Plaintiff
484   Greater Niagara Frontier     AB 424 Doe       AB 424 Doe v. Greater Niagara         808218/2020   Supreme Court
      Council, Inc.                                 Frontier Council, Inc., Boy Scouts                  of the State of
                                                    of America; and Does 1-5 whose                      New York, Erie
                                                    identities are unknown to Plaintiff                 County
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                                      20-50527-LSS Doc
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                                                                         08/09/21
                                                                               PagePage
                                                                                    148 152
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                          Case Number   Court or Agency
485   Greater Niagara Frontier   AB 425 Doe        AB 425 Doe v. Greater Niagara         808217/2020   Supreme Court
      Council, Inc.                                Frontier Council, Inc., Boy Scouts                  of the State of
                                                   of America; and Does 1-5 whose                      New York, Erie
                                                   identities are unknown to Plaintiff                 County
486   Seneca Waterways           AB 426 Doe        AB 426 Doe v. Seneca Waterways        E2020005537   Supreme Court
      Council, Inc.; First                         Council, Inc., Boy Scouts of                        of the State of
      Baptist Church of                            America; First Baptist Church of                    New York,
      Rochester                                    Rochester; and Does 1-5 whose                       Monroe County
                                                   identities are unknown to Plaintiff
487   Seneca Waterways           AB 427 Doe        AB 427 Doe v. Seneca Waterways        E2020005538   Supreme Court
      Council, Inc.; West                          Council, Inc., Boy Scouts of                        of the State of
      Irondequoit Central                          America; West Irondequoit Central                   New York,
      School District                              School District; and Does 1-5                       Monroe County
                                                   whose identities are unknown to
                                                   Plaintiff
488   Westchester-Putnam         JA-001 Doe        JA-001 Doe v. Westchester-Putnam      57841/2020    Supreme Court
      Council, Inc.; Hitchcock                     Council, Inc., Boy Scouts of                        of the State of
      Presbyterian Church                          America; Hitchcock Presbyterian                     New York,
                                                   Church; and Does 1-5 whose                          Westchester
                                                   identities are unknown to Plaintiff                 County
489   Theodore Roosevelt         JA-005 Doe        JA-005 Doe v. Theodore Roosevelt      900116/2020   Supreme Court
      Council, Inc.; Our Holy                      Council, Inc., Boy Scouts of                        of the State of
      Redeemer Roman                               America; Our Holy Redeemer                          New York,
      Catholic Church                              Roman Catholic Church; and Does                     Nassau County
                                                   1-5 whose identities are unknown
                                                   to Plaintiff
490   Greater New York           JA-007 Doe        JA-007 Doe v. Greater New York        950453/2020   Supreme Court
      Councils; Queens                             Councils, Boy Scouts of America;                    of the State of
      Council; Christ                              Queens Council Boy Scouts of                        New York, New
                                                   America, Inc.; Christ Evangelical                   York County
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                                                                            08/09/21
                                                                                  PagePage
                                                                                       149 153
                                                                                           of 312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                          Case Number   Court or Agency
      Evangelical Lutheran                            Lutheran Church; and Does 1-5
      Church                                          whose identities are unknown to
                                                      Plaintiff
491   Greater New York             JA-008 Doe         JA-008 Doe v. Greater New York        950476/2020   Supreme Court
      Councils; Queens                                Councils, Boy Scouts of America;                    of the State of
      Council; Sacred Heart of                        Queens Council Boy Scouts of                        New York, New
      Jesus                                           America, Inc.; Sacred Heart of                      York County
                                                      Jesus; and Does 1-5 whose
                                                      identities are unknown to Plaintiff
492   Greater New York             JA-009 Doe         JA-009 Doe v. Greater New York        950478/2020   Supreme Court
      Councils; Queens                                Councils, Boy Scouts of America;                    of the State of
      Council; Dads Club of                           Queens Council Boy Scouts of                        New York, New
      Troop 1, Flushing, Inc.                         America, Inc.; Dads Club of Troop                   York County
                                                      1, Flushing, Inc.; and Does 1-5
                                                      whose identities are unknown to
                                                      Plaintiff
493   Greater New York             JA-010 Doe         JA-010 Doe v. Greater New York        950493/2020   Supreme Court
      Councils; Queens                                Councils, Boy Scouts of America;                    of the State of
      Council                                         Queens Council Boy Scouts of                        New York, New
                                                      America, Inc.                                       York County
494   Greater New York             JA-011 Doe         JA-011 Doe v. Greater New York        950488/2020   Supreme Court
      Councils; Queens                                Councils, Boy Scouts of America;                    of the State of
      Council; Incarnation                            Queens Council Boy Scouts of                        New York, New
      Parish                                          America, Inc.; Incarnation Parish;                  York County
                                                      and Does 1-5 whose identities are
                                                      unknown to Plaintiff
495   Greater New York             JA-012 Doe         JA-012 Doe v. Greater New York        950460/2020   Supreme Court
      Councils; Queens                                Councils, Boy Scouts of America;                    of the State of
      Council; St. Benedict                           Queens Council Boy Scouts of                        New York, New
      Joseph Labre Church                             America, Inc.; St. Benedict Joseph                  York County
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                                       20-50527-LSS Doc
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                                                                                PagePage
                                                                                     150 154
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                          Case Number   Court or Agency
                                                    Labre Church; and Does 1-5 whose
                                                    identities are unknown to Plaintiff
496   Greater New York           JA-013 Doe         JA-013 Doe v. Greater New York        950475/2020   Supreme Court
      Councils; Manhattan                           Councils, Boy Scouts of America;                    of the State of
      Council a/k/a Manhattan                       Manhattan Council, Boy Scouts of                    New York, New
      Council, Boy Scouts of                        America a/k/a Manhattan Council,                    York County
      America, Inc.; St.                            Boy Scouts of America, Inc.; St.
      Bernard’s Church; Our                         Bernard’s Church; Our Lady of
      Lady of Guadalupe                             Guadalupe; and Does 1-5 whose
                                                    identities are unknown to Plaintiff
497   Greater New York           JA-014 Doe         JA-014 Doe v. Greater New York        950494/2020   Supreme Court
      Councils; Manhattan                           Councils, Boy Scouts of America;                    of the State of
      Council a/k/a Manhattan                       Manhattan Council, Boy Scouts of                    New York, New
      Council, Boy Scouts of                        America a/k/a Manhattan Council,                    York County
      America, Inc.                                 Boy Scouts of America Inc.; and
                                                    Does 1-5 whose identities are
                                                    unknown to Plaintiff
498   Greater New York           JA-016 Doe         JA-016 Doe v. Greater New York        950454/2020   Supreme Court
      Councils; Bronx Council                       Councils, Boy Scouts of America;                    of the State of
                                                    Bronx Council Boy Scouts of                         New York, New
                                                    America, Inc.; and Does 1-5 whose                   York County
                                                    identities are unknown to Plaintiff
499   Greater New York           JA-018 Doe         JA-018 Doe v. Greater New York        950461/2020   Supreme Court
      Councils; Brooklyn                            Councils, Boy Scouts of America;                    of the State of
      Council                                       Brooklyn Council, Boy Scouts of                     New York, New
                                                    America; and Does 1-5 whose                         York County
                                                    identities are unknown to Plaintiff
500   Greater New York           JA-019 Doe         JA-019 Doe v. Greater New York        950463/2020   Supreme Court
      Councils; Brooklyn                            Councils, Boy Scouts of America;                    of the State of
      Council; St. John the                         Brooklyn Council, Boy Scouts of
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                                                                      07/21/21
                                                                            08/09/21
                                                                                  PagePage
                                                                                       151 155
                                                                                           of 312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                           Case Number   Court or Agency
      Evangelist; Saint John                          America; St. John the Evangelist;                    New York, New
      the Evangelist-Saint                            Saint John the Evangelist-Saint                      York County
      Rocco Roman Catholic                            Rocco Roman Catholic Church; and
      Church                                          Does 1-5 whose identities are
                                                      unknown to Plaintiff
501   Greater New York             JA-020 Doe         JA-020 Doe v. Greater New York         950470/2020   Supreme Court
      Councils; Brooklyn                              Councils, Boy Scouts of America;                     of the State of
      Council; New Utrecht                            Brooklyn Council, Boy Scouts of                      New York, New
      Reformed Church                                 America; New Utrecht Reformed                        York County
                                                      Church; and Does 1-5 whose
                                                      identities are unknown to Plaintiff
502   Greater New York             JA-022 Doe         JA-022 Doe v. Greater New York         950472/2020   Supreme Court
      Councils; Brooklyn                              Councils, Boy Scouts of America;                     of the State of
      Council; Holy Family                            Brooklyn Council, Boy Scouts of                      New York, New
      Church                                          America; Holy Family Church; and                     York County
                                                      Does 1-5 whose identities are
                                                      unknown to Plaintiff
503   Greater New York             JA-023 Doe         JA-023 Doe v. Greater New York         950473/2020   Supreme Court
      Councils; Brooklyn                              Councils, Boy Scouts of America;                     of the State of
      Council; St. Peter’s                            Brooklyn Council, Boy Scouts of                      New York, New
      Lutheran Church f/k/a                           America; St. Peter’s Lutheran                        York County
      St. Peter’s Evangelical                         Church f/k/a St. Peter’s Evangelical
      Church                                          Church; and Does 1-5 whose
                                                      identities are unknown to Plaintiff
504   Greater New York             JA-024 Doe         JA-024 Doe v. Greater New York         950477/2020   Supreme Court
      Councils; Brooklyn                              Councils, Boy Scouts of America;                     of the State of
      Council; Holy House of                          Brooklyn Council, Boy Scouts of                      New York, New
      Prayer for All People                           America; Holy House of Prayer for                    York County
                                                      All People; and Does 1-5 whose
                                                      identities are unknown to Plaintiff
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                                                                          08/09/21
                                                                                PagePage
                                                                                     152 156
                                                                                         of 312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                          Case Number   Court or Agency
505   Greater New York             JA-025 Doe       JA-025 Doe v. Greater New York        950452/2020   Supreme Court
      Councils                                      Councils, Boy Scouts of America;                    of the State of
                                                    and Does 1-5 whose identities are                   New York, New
                                                    unknown to Plaintiff                                York County
506   Greater New York             JA-026 Doe       JA-026 Doe v. Greater New York        950483/2020   Supreme Court
      Councils                                      Councils, Boy Scouts of America;                    of the State of
                                                    and Does 1-5 whose identities are                   New York, New
                                                    unknown to Plaintiff                                York County
507   Greater New York             JA-027 Doe       JA-027 Doe v. Greater New York        950492/2020   Supreme Court
      Councils                                      Councils, Boy Scouts of America;                    of the State of
                                                    and Does 1-5 whose identities are                   New York, New
                                                    unknown to Plaintiff                                York County
508   Longhouse Council,           JA-038 Doe       JA-038 Doe v. Longhouse Council,      004608/2020   Supreme Court
      Inc.; First Presbyterian                      Inc., Boy Scouts of America; First                  of the State of
      Church a/k/a Weedsport                        Presbyterian Church a/k/a                           New York,
      First Presbyterian                            Weedsport First Presbyterian                        Onondaga
      Church                                        Church; and Does 1-5 whose                          County
                                                    identities are unknown to Plaintiff
509   Longhouse Council,           JA-040 Doe       JA-040 Doe v. Longhouse Council,      004736/2020   Supreme Court
      Inc.; St. Margaret’s                          Inc., Boy Scouts of America; St.                    of the State of
      Church d/b/a Holy Name                        Margaret’s Church d/b/a Holy                        New York,
      Society                                       Name Society; and Does 1-5 whose                    Onondaga
                                                    identities are unknown to Plaintiff                 County
510   Longhouse Council, Inc.      JA-041 Doe       JA-041 Doe v. Longhouse Council,      004742/2020   Supreme Court
                                                    Inc., Boy Scouts of America; and                    of the State of
                                                    Does 1-5 whose identities are                       New York,
                                                    unknown to Plaintiff                                Onondaga
                                                                                                        County
511   Longhouse Council,           JA-042 Doe        JA-042 Doe v. Longhouse Council,     004745/2020   Supreme Court
      Inc.; St. John the Baptist                     Inc., Boy Scouts of America; St.                   of the State of
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                                        20-50527-LSS Doc
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                                                                           08/09/21
                                                                                 PagePage
                                                                                      153 157
                                                                                          of 312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                         Case Number       Court or Agency
      Church; St. John the                           John the Baptist Church; St. John                      New York,
      Baptist/Holy Trinity                           the Baptist/Holy Trinity Church;                       Onondaga
      Church                                         and Does 1-5 whose identities are                      County
                                                     unknown to Plaintiff
512   Longhouse Council,          JA-043 Doe         JA-043 Doe v. Longhouse Council,     004724/2020       Supreme Court
      Inc.; First United Church                      Inc., Boy Scouts of America; First                     of the State of
      of East Syracuse                               United Church of East Syracuse;                        New York,
                                                     and Does 1-5 whose identities are                      Onondaga
                                                     unknown to Plaintiff                                   County
513   Longhouse Council,          JA-044 Doe         JA-044 Doe v. Longhouse Council,     004743/2020       Supreme Court
      Inc.; Basilica of the                          Inc., Boy Scouts of America;                           of the State of
      Sacred Heart                                   Basilica of the Sacred Heart; and                      New York,
                                                     Does 1-5 whose identities are                          Onondaga
                                                     unknown to Plaintiff                                   County
514   Twin Rivers Council,        JA-053 Doe         JA-053 Doe v. Twin Rivers            904904-20         Supreme Court
      Inc.; Christ Episcopal                         Council, Inc., Boy Scouts of                           of the State of
      Church a/k/a Christ                            America; Christ Episcopal Church                       New York,
      Church                                         a/k/a Christ Church; and Does 1-5                      Albany County
                                                     whose identities are unknown to
                                                     Plaintiff
515   Five Rivers Council,        JA-057 Doe         JA-057 Doe v. Five Rivers Council,   2020-5417         Supreme Court
      Inc.; Emmanuel                                 Inc., Boy Scouts of America;                           of the State of
      Episcopal Church                               Emmanuel Episcopal Church; and                         New York,
                                                     Does 1-5 whose identities are                          Chemung County
                                                     unknown to Plaintiff
516   Leatherstocking Council;    JA-058 Doe         JA-058 Doe v. Leatherstocking        EFCA2020-001447   Supreme Court
      New Hartford                                   Council of the Boy Scouts of                           of the State of
      Presbyterian Church                            America, Inc.; New Hartford                            New York,
                                                     Presbyterian Church; and Does 1-5                      Oneida County
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                                                                              PagePage
                                                                                   154 158
                                                                                       of 312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)     Case Caption                           Case Number     Court or Agency
                                                  whose identities are unknown to
                                                  Plaintiff
517   Longhouse Council, Inc.   JA-063 Doe        JA-063 Doe v. Longhouse Council,       004744/2020     Supreme Court
                                                  Inc., Boy Scouts of America; and                       of the State of
                                                  Does 1-5 whose identities are                          New York,
                                                  unknown to Plaintiff                                   Onondaga
                                                                                                         County
518   Greater New York          JA-067 Doe         JA-067 Doe v. Greater New York        950482/2020     Supreme Court
      Councils; Bronx Council                      Councils, Boy Scouts of America;                      of the State of
                                                   Bronx Council Boy Scouts of                           New York, New
                                                   America, Inc.; and Does 1-5 whose                     York County
                                                   identities are unknown to Plaintiff
519   Longhouse Council,        JA-070 Doe         JA-070 Doe v. Longhouse Council,      004668/2020     Supreme Court
      Inc.; A Group of                             Inc., Boy Scouts of America; A                        of the State of
      Citizens                                     Group of Citizens; and Does 1-5                       New York,
                                                   whose identities are unknown to                       Onondaga
                                                   Plaintiff                                             County
520   Hudson Valley Council,    JA-071 Doe         JA-071 Doe v. Hudson Valley           EF004007-2020   Supreme Court
      Inc.; St. James’                             Council, Inc., Boy Scouts of                          of the State of
      Episcopal Church                             America; St. James’ Episcopal                         New York,
                                                   Church; and Does 1-5 whose                            Orange County
                                                   identities are unknown to Plaintiff
521   Greater New York          [Redacted]         [Redacted] v. Greater New York        950498/2020     Supreme Court
      Councils, Boy Scouts of                      Councils, Boy Scouts of America                       of the State of
      America a/k/a Queens                         a/k/a Queens Borough Council,                         New York, New
      Borough Council,                             Greater New York Councils, Boy                        York County
      Greater New York                             Scouts of America
      Councils, Boy Scouts of
      America
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                                       20-50527-LSS Doc
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                                                                          08/09/21
                                                                                PagePage
                                                                                     155 159
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                           Case Number   Court or Agency
522   Greater New York           [Redacted]         [Redacted] v. Thomas Glenn v.          513870/2020   Supreme Court
      Councils                                      Greater New York Councils, Boy                       of the State of
                                                    Scouts of America                                    New York, Kings
                                                                                                         County
523   Greater New York           [Redacted]          [Redacted] v. Greater New York        950499/2020   Supreme Court
      Councils, Boy Scouts of                        Councils, Boy Scouts of America                     of the State of
      America a/k/a Queens                           a/k/a Queens Borough Council,                       New York, New
      Borough Council,                               Greater New York Councils, Boy                      York County
      Greater New York                               Scouts of America
      Councils, Boy Scouts of
      America
524   Greater Niagara Frontier   LG 82 Doe           LG 82 Doe v. Greater Niagara          808289/2020   Supreme Court
      Council, Inc.                                  Frontier Council, Inc., Boy Scouts                  of the State of
                                                     of America                                          New York, Erie
                                                                                                         County
525   Seneca Waterways           AB 414 Doe          AB 414 Doe v. Seneca Waterways        E2020005629   Supreme Court
      Council, Inc.                                  Council, Inc., Boy Scouts of                        of the State of
                                                     America; and Does 1-5 whose                         New York,
                                                     identities are unknown to Plaintiff                 Monroe County
526   Seneca Waterways           AB 411 Doe          AB 411 Doe v. Seneca Waterways        E2020005632   Supreme Court
      Council, Inc.; Sacred                          Council, Inc., Boy Scouts of                        of the State of
      Heart Cathedral a/k/a                          America; Sacred Heart Cathedral                     New York,
      The Cathedral                                  a/k/a The Cathedral Community;                      Monroe County
      Community                                      and Does 1-5 whose identities are
                                                     unknown to Plaintiff
527   Seneca Waterways           AB 413 Doe          AB 413 Doe v. Seneca Waterways        E2020005633   Supreme Court
      Council, Inc.; Park                            Council, Inc., Boy Scouts of                        of the State of
      Presbyterian Church                            America; Park Presbyterian                          New York,
                                                     Church; and Does 1-5 whose                          Monroe County
                                                     identities are unknown to Plaintiff
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                                         20-50527-LSS Doc
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                                                                            08/09/21
                                                                                  PagePage
                                                                                       156 160
                                                                                           of 312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                          Case Number   Court or Agency
528   Seneca Waterways             AB 416 Doe         AB 416 Doe v. Seneca Waterways        E2020005638   Supreme Court
      Council, Inc.; Lions                            Council, Inc., Boy Scouts of                        of the State of
      Club of Chili, Inc.                             America; Lions Club of Chili, Inc.;                 New York,
                                                      and Does 1-5 whose identities are                   Monroe County
                                                      unknown to Plaintiff
529   Seneca Waterways             AB 421 Doe         AB 421 Doe v. Seneca Waterways        E2020005640   Supreme Court
      Council, Inc.; South                            Council, Inc., Boy Scouts of                        of the State of
      Presbyterian Church                             America; South Presbyterian                         New York,
      a/k/a Community of the                          Church a/k/a Community of the                       Monroe County
      Savior                                          Savior; and Does 1-5 whose
                                                      identities are unknown to Plaintiff
530   Iroquois Trail Council,      AB 419 Doe         AB 419 Doe v. Iroquois Trail          E68502        Supreme Court
      Inc.                                            Council, Inc., Boy Scouts of                        of the State of
                                                      America; and Does 1-5 whose                         New York,
                                                      identities are unknown to Plaintiff                 Genesee County
531   Iroquois Trail Council,      AB 420 Doe         AB 420 Doe v. Iroquois Trail          E68501        Supreme Court
      Inc.                                            Council, Inc., Boy Scouts of                        of the State of
                                                      America; and Does 1-5 whose                         New York,
                                                      identities are unknown to Plaintiff                 Genesee County
532   Westchester-Putnam           JA-002 Doe         JA-002 Doe v. Westchester-Putnam      58051/2020    Supreme Court
      Council, Inc.; Hitchcock                        Council, Inc., Boy Scouts of                        of the State of
      Presbyterian Church                             America; Hitchcock Presbyterian                     New York,
                                                      Church; and Does 1-5 whose                          Westchester
                                                      identities are unknown to Plaintiff                 County
533   Westchester-Putnam           JA-003 Doe         JA-003 Doe v. Westchester-Putnam      58052/2020    Supreme Court
      Council, Inc.; The                              Council, Inc., Boy Scouts of                        of the State of
      Community Church of                             America; The Community Church                       New York,
      the Pelhams                                     of the Pelhams; and Does 1-5                        Westchester
                                                      whose identities are unknown to                     County
                                                      Plaintiff
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                                         08/09/21
                                                                               PagePage
                                                                                    157 161
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                        Case Number      Court or Agency
534   Westchester-Putnam         JA-004 Doe        JA-004 Doe v. Westchester-Putnam 58053/2020          Supreme Court
      Council, Inc.                                Council, Inc., Boy Scouts of                         of the State of
                                                   America; and Does 1-5 whose                          New York,
                                                   identities are unknown to Plaintiff                  Westchester
                                                                                                        County
535   Twin Rivers Council,       JA-028 Doe         JA-028 Doe v. Twin Rivers             905023-20     Supreme Court
      Inc.                                          Council, Inc., Boy Scouts of                        of the State of
                                                    America; and Does 1-5 whose                         New York,
                                                    identities are unknown to Plaintiff                 Albany County
536   Greater New York        JA-029 Doe            JA-029 Doe v. Greater New York        950518/2020   Supreme Court
      Councils; Manhattan                           Councils, Boy Scouts of America;                    of the State of
      Council, Boy Scouts of                        Manhattan Council, Boy Scouts of                    New York, New
      America a/k/a Manhattan                       America a/k/a Manhattan Council,                    York County
      Council, Boy Scouts of                        Boy Scouts of America Inc.; and
      America Inc.                                  Does 1-5 whose identities are
                                                    unknown to Plaintiff
537   Greater New York           JA-030 Doe         JA-030 Doe v. Greater New York        950519/2020   Supreme Court
      Councils; Queens                              Councils, Boy Scouts of America;                    of the State of
      Council; St.                                  Queens Council Boy Scouts of                        New York, New
      Bartholomew’s Roman                           America, Inc.; St. Bartholomew’s                    York County
      Catholic Church                               Roman Catholic Church; and Does
                                                    1-5 whose identities are unknown
                                                    to Plaintiff
538   Greater New York           JA-031 Doe         JA-031 Doe v. Greater New York        950520/2020   Supreme Court
      Councils; Brooklyn                            Councils, Boy Scouts of America;                    of the State of
      Council; Central Queens                       Brooklyn Council, Boy Scouts of                     New York, New
      Young Men’s and                               America; Central Queens Young                       York County
      Young Women’s                                 Men’s and Young Women’s
      Hebrew Association,                           Hebrew Association, Inc. f/k/a East
      Inc. f/k/a East New York                      New York Young Men’s and
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                                      20-50527-LSS Doc
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                                                                         08/09/21
                                                                               PagePage
                                                                                    158 162
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                          Case Number   Court or Agency
      Young Men’s and                              Young Women’s Hebrew
      Young Women’s                                Association, Inc.; and Does 1-5
      Hebrew Association,                          whose identities are unknown to
      Inc.                                         Plaintiff
539   Greater New York           JA-032 Doe        JA-032 Doe v. Greater New York        950521/2020   Supreme Court
      Councils; Brooklyn                           Council, Boy Scouts of America;                     of the State of
      Council                                      Brooklyn Council, Boy Scouts of                     New York, New
                                                   America; and Does 1-5 whose                         York County
                                                   identities are unknown to Plaintiff
540   Greater New York           JA-035 Doe        JA-035 Doe v. Greater New York        950522/2020   Supreme Court
      Councils; Queens                             Councils, Boy Scouts of America;                    of the State of
      Council; Blessed Virgin                      Queens Council Boy Scouts of                        New York, New
      Mary, Help of Christians                     America, Inc.; Blessed Virgin                       York County
      a/k/a Blessed Virgin                         Mary, Help of Christians a/k/a
      Mary, Help of Christians                     Blessed Virgin Mary, Help of
      R.C. Church                                  Christians R.C. Church; and Does
                                                   1-5 whose identities are unknown
                                                   to Plaintiff
541   Longhouse Council,         JA-036 Doe        JA-036 Doe v. Longhouse Council,      004667/2020   Supreme Court
      Inc.; First Presbyterian                     Inc., Boy Scouts of America; First                  of the State of
      Church a/k/a Weedsport                       Presbyterian Church a/k/a                           New York,
      First Presbyterian                           Weedsport First Presbyterian                        Onondaga
      Church                                       Church; and Does 1-5 whose                          County
                                                   identities are unknown to Plaintiff
542   Longhouse Council,         JA-039 Doe        JA-039 Doe v. Longhouse Council,      004732/2020   Supreme Court
      Inc.; Blessed Sacrament                      Inc., Boy Scouts of America;                        of the State of
                                                   Blessed Sacrament; and Does 1-5                     New York,
                                                   whose identities are unknown to                     Onondaga
                                                   Plaintiff                                           County
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                                                                               PagePage
                                                                                    159 163
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                          Case Number       Court or Agency
543   Leatherstocking Council;   JA-046 Doe        JA-046 Doe v. Leatherstocking         EFCA2020-001489   Supreme Court
      American Legion Post                         Council of the Boy Scouts of                            of the State of
      1287 a/k/a William H.                        America, Inc.; American Legion                          New York,
      Cain Post 1287                               Post 1287 a/k/a William H. Cain                         Oneida
                                                   Post 1287; and Does 1-5 whose
                                                   identities are unknown to Plaintiff
544   Twin Rivers Council,       JA-054 Doe        JA-054 Doe v. Twin Rivers             905028-20         Supreme Court
      Inc.                                         Council, Inc., Boy Scouts America;                      of the State of
                                                   and Does 1-5 whose identities are                       New York,
                                                   unknown to Plaintiff                                    Albany County
545   Twin Rivers Council,       JA-055 Doe        JA-055 Doe v. Twin Rivers             905029-20         Supreme Court
      Inc.; St. Joseph’s                           Council, Inc., Boy Scouts of                            of the State of
      Church; Immaculate                           America; St. Joseph’s Church;                           New York,
      Heart of Mary                                Immaculate Heart of Mary; and                           Albany County
                                                   Does 1-5 whose identities are
                                                   unknown to Plaintiff
546   Leatherstocking Council;   JA-059 Doe        JA-059 Doe v. Leatherstocking         EFCA2020-001491   Supreme Court
      Stone Presbyterian                           Council of the Boy Scouts of                            of the State of
      Church                                       America, Inc.; Stone Presbyterian                       New York,
                                                   Church; and Does 1-5 whose                              Oneida County
                                                   identities are unknown to Plaintiff
547   Leatherstocking Council;   JA-060 Doe        JA-060 Doe v. Leatherstocking         EFCA2020-001490   Supreme Court
      First United Methodist                       Council of the Boy Scouts of                            of the State of
      Church a/k/a Herkimer                        America, Inc.; First United                             New York,
      First United Methodist                       Methodist Church a/k/a Herkimer                         Oneida County
                                                   First United Methodist; and Does 1-
                                                   5 whose identities are unknown to
                                                   Plaintiff
548   Greater New York           JA-073 Doe        JA-073 Doe v. Greater New York        950523/2020       Supreme Court
      Councils; Bronx                              Councils, Boy Scouts of America;                        of the State of
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                                                                         08/09/21
                                                                               PagePage
                                                                                    160 164
                                                                                        of 312
                                                                                            of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)      Case Caption                          Case Number   Court or Agency
      Council; The City of                         Bronx Council Boy Scouts of                         New York, New
      New York; New York                           America, Inc.; The City of New                      York County
      City Department of                           York ; New York City Department
      Education                                    of Education; and Does 1-5 whose
                                                   identities are unknown to Plaintiff
549   Greater New York          JA-074 Doe         JA-074 Doe v. Greater New York        950524/2020   Supreme Court
      Councils; Bronx                              Councils, Boy Scouts of America;                    of the State of
      Council; The City of                         Bronx Council Boy Scouts of                         New York, New
      New York; New York                           America, Inc.; The City of New                      York County
      City Department of                           York ; New York City Department
      Education                                    of Education; and Does 1-5 whose
                                                   identities are unknown to Plaintiff
550   Greater New York          JA-077 Doe         JA-077 Doe v. Greater New York        950526/2020   Supreme Court
      Councils; Queens                             Councils, Boy Scouts of America;                    of the State of
      Council; The City of                         Queens Council Boy Scouts of                        New York, New
      New York; New York                           America, Inc.; The City of New                      York County
      City Department of                           York ; New York City Department
      Education                                    of Education; and Does 1-5 whose
                                                   identities are unknown to Plaintiff
551   Greater New York          JA-078 Doe         JA-078 Doe v. Greater New York        950527/2020   Supreme Court
      Councils; Bronx                              Councils, Boy Scouts of America;                    of the State of
      Council; The City of                         Bronx Council Boy Scouts of                         New York, New
      New York; New York                           America, Inc.; The City of New                      York County
      City Department of                           York ; New York City Department
      Education                                    of Education; and Does 1-5 whose
                                                   identities are unknown to Plaintiff
552   Westchester-Putnam        JA-080 Doe         JA-080 Doe v. Westchester-Putnam      58054/2020    Supreme Court
      Council, Inc.                                Council, Inc., Boy Scouts of                        of the State of
                                                   America; and Does 1-5 whose                         New York,
                                                   identities are unknown to Plaintiff
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                                         20-50527-LSS Doc
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                                                                            08/09/21
                                                                                  PagePage
                                                                                       161 165
                                                                                           of 312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                          Case Number    Court or Agency
                                                                                                           Westchester
                                                                                                           County
553   Twin Rivers Council,         JA-081 Doe          JA-081 Doe v. Twin Rivers            905026-20      Supreme Court
      Inc.; Knights of                                 Council, Inc., Boy Scouts of                        of the State of
      Columbus, Saratoga                               America; Knights of Columbus,                       New York,
      Council #246 a/k/a                               Saratoga Council #246 a/k/a                         Albany County
      Saratoga Knights of                              Saratoga Knights of Columbus;
      Columbus; South Wilton                           South Wilton Methodist; and Does
      Methodist                                        1-5 whose identities are unknown
                                                       to Plaintiff
554   Greater New York             [Redacted]          [Redacted] v. Greater New York       950516/2020    Supreme Court
      Councils; Queens                                 Councils, Boy Scouts of America;                    of the State of
      Council; Richmond Hill                           Queens Council Boy Scouts of                        New York, New
      South Lions Club a/k/a                           America, Inc.; Richmond Hill                        York County
      Lions Club of Richmond                           South Lions Club a/k/a Lions Club
      Hill South                                       of Richmond Hill South; and Does
                                                       1-5 whose identities are unknown
                                                       to Plaintiff
555   Iroquois Trail Council,      [Redacted]          [Redacted] v. Iroquois Trail         E172679/2020   Supreme Court
      Inc.                                             Council, Inc., Boy Scouts of                        of the State of
                                                       America                                             New York,
                                                                                                           Niagara County
556   Greater Niagara Frontier     LG 80 Doe           LG 80 Doe v. Greater Niagara         808458/2020    Supreme Court
      Council, Inc.                                    Frontier Council, Inc., Boy Scouts                  of the State of
                                                       of America                                          New York, Erie
                                                                                                           County
557   Greater Niagara Frontier     LG 95 Doe           LG 95 Doe v. Greater Niagara         808459/2020    Supreme Court
      Council, Inc.                                    Frontier Council, Inc., Boy Scouts                  of the State of
                                                       of America                                          New York, Erie
                                                                                                           County
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                                        20-50527-LSS Doc
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                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      162 166
                                                                                          of 312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                          Case Number      Court or Agency
558   Baden Powell Council,       [Redacted]         [Redacted] v. Baden Powell            EFCA2020001528   Supreme Court
      Inc. a/k/a Susquenango                         Council, Inc., Boy Scouts of                           of the State of
      Council                                        America a/k/a Susquenango                              New York,
                                                     Council                                                Broome County
559   Greater New York            [Redacted]         [Redacted] v. Greater New York        950515/2020      Supreme Court
      Councils a/k/a                                 Councils, Boy Scouts of America                        of the State of
      Manhattan Borough                              a/k/a Manhattan Borough Council,                       New York, New
      Council, Greater New                           Greater New York Councils, Boy                         York County
      York Councils, Boy                             Scouts of America
      Scouts of America
560   Greater New York            [Redacted]          [Redacted] v. Greater New York       950514/2020      Supreme Court
      Councils a/k/a Queens                           Councils, Boy Scouts of America                       of the State of
      Borough Council,                                a/k/a Queens Borough Council,                         New York, New
      Greater New York                                Greater New York Councils, Boy                        York County
      Councils, Boy Scouts of                         Scouts of America
      America
561   Longhouse Council,          [Redacted]          [Redacted] v. Longhouse Council,     004786/2020      Supreme Court
      Inc.; Onondaga Council,                         Inc., Boy Scouts of America;                          of the State of
      Inc.; Lincoln Middle                            Onondaga Council, Inc., Boy                           New York,
      School; Syracuse City                           Scouts of America; Lincoln Middle                     Onondaga
      School District                                 School; and Syracuse City School                      County
                                                      District
562   Twin Rivers Council,        [Redacted]          [Redacted] v. Twin Rivers Council,   905042-20        Supreme Court
      Inc.,; Adirondack                               Inc., Boy Scouts of America;                          of the State of
      Council, Inc.;                                  Adirondack Council, Inc., Boy                         New York,
      Plattsburgh United                              Scouts of America; and Plattsburgh                    Albany County
      Methodist Church                                United Methodist Church
563   Greater New York            [Redacted]          [Redacted] v. Greater New York       950531/2020      Supreme Court
      Councils; Queens                                Councils, Boy Scouts of America;                      of the State of
                                                      Queens Council Boy Scouts of
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                                                                               PagePage
                                                                                    163 167
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                       Case Number       Court or Agency
      Council; Lutheran                            America, Inc.; and Lutheran Church                   New York, New
      Church of the Redeemer                       of the Redeemer                                      York County
564   Greater New York           [Redacted]        [Redacted] v. Greater New York     950512/2020       Supreme Court
      Councils; The City of                        Councils, Boy Scouts of America,                     of the State of
      New York; The City of                        The City of New York, and The                        New York, New
      New York Department                          New York City Department of                          York County
      of Education                                 Education
565   Greater New York           MGD-3 Doe         MGD-3 Doe v. Greater New York      950457/2020       Supreme Court
      Councils                                     Councils, Boy Scouts of America                      of the State of
                                                                                                        New York, New
                                                                                                        York County
566   All Saints Roman           MGD-4 Doe          MGD-4 Doe v. All Saints Roman         808260/2020   Supreme Court
      Catholic Parish Church;                       Catholic Parish Church and Greater                  of the State of
      Greater Niagara Frontier                      Niagara Frontier Council, Inc., Boy                 New York, Erie
      Council, Inc.                                 Scouts of America                                   County
567   Central Synagogue;         [Redacted]         [Redacted] v. Central Synagogue       950505/2020   Supreme Court
      Greater New York                              and Greater New York Councils,                      of the State of
      Councils                                      Boy Scouts of America                               New York, New
                                                                                                        York County
568   Greater New York           [Redacted]         [Redacted] v. Greater New York        950517/2020   Supreme Court
      Councils; Brooklyn                            Councils, Boy Scouts of America;                    of the State of
      Council                                       Brooklyn Council, Boy Scouts of                     New York, New
                                                    America; and Does 1-5 whose                         York County
                                                    identities are unknown to Plaintiff
569   Twin Rivers Council,       [Redacted]         [Redacted] v. Twin Rivers Council,    905101-20     Supreme Court
      Inc.                                          Inc., Boy Scouts of America                         of the State of
                                                                                                        New York,
                                                                                                        Albany County
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                                       20-50527-LSS Doc
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                                                                          08/09/21
                                                                                PagePage
                                                                                     164 168
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                           Case Number   Court or Agency
570   Greater New York           [Redacted]         [Redacted] v. Greater New York         950555/2020   Supreme Court
      Councils                                      Councils, Inc., Boy Scouts of                        of the State of
                                                    America                                              New York, New
                                                                                                         York County
571   Twin Rivers Councils,      JA-065 Doe          JA-065 Doe v. Twin Rivers             905027-20     Supreme Court
      Inc.                                           Council, Inc., Boy Scouts of                        of the State of
                                                     America; and Does 1-5 whose                         New York,
                                                     identities are unknown to Plaintiff                 Albany County
572   Twin Rivers Councils,      JA-066 Doe          JA-066 Doe v. Twin Rivers             905025-20     Supreme Court
      Inc.                                           Council, Inc., Boy Scouts of                        of the State of
                                                     America; and Does 1-5 whose                         New York,
                                                     identities are unknown to Plaintiff                 Albany County
573   Greater New York           JA-076 Doe          JA-076 Doe v. Greater New York        950525/2020   Supreme Court
      Councils; Brooklyn                             Councils, Boy Scouts of America;                    of the State of
      Council; The City of                           Brooklyn Council, Boy Scouts of                     New York, New
      New York; New York                             America; The City of New York;                      York County
      City Department of                             New York Department of
      Education                                      Education; and Does 1-5 whose
                                                     identities are unknown to Plaintiff
574   Redeemer Lutheran          [Redacted]          [Redacted] v. Redeemer Lutheran       950551/2020   Supreme Court
      Church; Greater New                            Church, and Greater New York                        of the State of
      York Councils                                  Councils, Boy Scouts of America                     New York, New
                                                                                                         York County
575   Greater New York           [Redacted]          [Redacted] v. Greater New York        514279/2020   Supreme Court
      Councils, Inc.; St.                            Councils, Inc., Boy Scouts of                       of the State of
      Elizabeth Parish;                              America; St. Elizabeth Parish;                      New York, Kings
      Diocese of Brooklyn                            Diocese of Brooklyn                                 County
576   Twin Rivers Councils,      [Redacted]          [Redacted] v. Twin Rivers Council,    905001-20     Supreme Court
      Inc.                                           Inc., Boy Scouts of America                         of the State of
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                                                                                PagePage
                                                                                     165 169
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                           Case Number   Court or Agency
                                                                                                         New York,
                                                                                                         Albany County
577   Roman Catholic Parish      [Redacted]          [Redacted] v. Roman Catholic          950458/2020   Supreme Court
      of St. Brendan and St.                         Parish of St. Brendan and St. Ann,                  of the State of
      Ann; Roman Catholic                            Roman Catholic Archdiocese of                       New York, New
      Archdiocese of New                             New York, and Greater New York                      York County
      York; Greater New York                         Councils, Boy Scouts of America
      Councils
578   Seneca Waterways           [Redacted]          [Redacted] v. Seneca Waterways        E2020005888   Supreme Court
      Council, Inc.                                  Council, Inc., Boy Scouts of                        of the State of
                                                     America                                             New York,
                                                                                                         Monroe County
579   Greater New York           JA-021 Doe          JA-021 Doe v. Greater New York        950503/2020   Supreme Court
      Councils; Brooklyn                             Councils, Boy Scouts of America;                    of the State of
      Council; St. John the                          Brooklyn Council, Boy Scouts of                     New York, New
      Baptist Church                                 America; St. John the Baptist                       York County
                                                     Church; and Does 1-5 whose
                                                     identities are unknown to Plaintiff
580   Westchester-Putnam         [Redacted]          [Redacted] v. Westchester-Putnam      58530/2020    Supreme Court
      Council, Inc.                                  Council, Inc., Boy Scouts of                        of the State of
                                                     America                                             New York,
                                                                                                         Westchester
                                                                                                         County
581   Suffolk County Council,    [Redacted]          [Redacted] v. Suffolk County          610257/2020   Supreme Court
      Inc.                                           Council, Inc., Boy Scouts of                        of the State of
                                                     America                                             New York,
                                                                                                         Suffolk County
582   Twin Rivers Council,       [Redacted]          [Redacted] v. Twin Rivers Council,    905115-20     Supreme Court
      Inc.                                           Inc., Boy Scouts of America                         of the State of
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                                                                              PagePage
                                                                                   166 170
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number     Court or Agency
                                                                                                        New York,
                                                                                                        Albany County
583   Hudson Valley Council,     [Redacted]        [Redacted] v. Hudson Valley          EF004229-2020   Supreme Court
      Inc.                                         Council, Inc., Boy Scouts of                         of the State of
                                                   America                                              New York,
                                                                                                        Orange County
584   Greater Niagara Frontier   [Redacted]        [Redacted] v. Greater Niagara        808665/2020     Supreme Court
      Council, Inc.; St. Agnes                     Frontier Council, Inc., Boy Scouts                   of the State of
      Parish                                       of America; and St. Agnes Parish                     New York, Erie
                                                                                                        County
585   Westchester-Putnam         [Redacted]        [Redacted] v. Westchester-Putnam     58529/2020      Supreme Court
      Council, Inc.                                Council, Inc., Boy Scouts of                         of the State of
                                                   America                                              New York,
                                                                                                        Westchester
                                                                                                        County
586   Greater New York           [Redacted]        [Redacted] v. Greater New York       950556/2020     Supreme Court
      Councils, Inc.                               Councils, Boy Scouts of America                      of the State of
                                                                                                        New York, New
                                                                                                        York County
587   Greater New York           [Redacted]        [Redacted] v. Greater New York       950557/2020     Supreme Court
      Councils, Inc.                               Councils, Boy Scouts of America                      of the State of
                                                                                                        New York, New
                                                                                                        York County
588   Suffolk County Council,    [Redacted]        [Redacted] v. Suffolk County         610256/2020     Supreme Court
      Inc.                                         Council, Inc., Boy Scouts of                         of the State of
                                                   America                                              New York,
                                                                                                        Suffolk County
589   Theodore Roosevelt         [Redacted]        [Redacted] v. Theodore Roosevelt     900142/2020     Supreme Court
      Council, Inc.                                Council, Inc., Boy Scouts of                         of the State of
                                                   America
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                                                                           08/09/21
                                                                                 PagePage
                                                                                      167 171
                                                                                          of 312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                          Case Number   Court or Agency
                                                                                                         New York,
                                                                                                         Nassau County
590   Longhouse Council, Inc.     John Doe            John Doe v. Boy Scouts of America    E2020-0655    Supreme Court
                                                      and Longhouse Council, Inc., BSA                   of the State of
                                                                                                         New York,
                                                                                                         Cayuga County
591   Seneca Waterways            [Redacted]          [Redacted] v. Seneca Waterways       E2020006023   Supreme Court
      Council, Inc.                                   Council, Inc., Boy Scouts of                       of the State of
                                                      America                                            New York,
                                                                                                         Monroe County
592   Greater New York            [Redacted]          [Redacted] v. Greater New York       950560/2020   Supreme Court
      Councils, Inc.                                  Councils, Boy Scouts of America                    of the State of
                                                                                                         New York, New
                                                                                                         York County
593   Five Rivers Council,        [Redacted]          [Redacted] v. Five Rivers Council,   47784         Supreme Court
      Inc.; Union University                          Inc.; Union University Church;                     of the State of
      Church                                          Edward W. Derowitsch                               New York,
                                                                                                         Allegany County
594   Greater New York            [Redacted]          [Redacted] v. Greater New York       950560/2020   Supreme Court
      Councils, Inc.                                  Councils, Boy Scouts of America                    of the State of
                                                                                                         New York, New
                                                                                                         York County
595   Greater New York            [Redacted]          [Redacted] v. Greater New York       950563/2020   Supreme Court
      Councils, Inc.                                  Councils, Boy Scouts of America                    of the State of
                                                                                                         New York, New
                                                                                                         York County
596   Greater New York            [Redacted]          [Redacted] v. Greater New York       950562/2020   Supreme Court
      Councils, Inc.                                  Councils, Boy Scouts of America                    of the State of
                                                                                                         New York, New
                                                                                                         York County
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                                                                         08/09/21
                                                                               PagePage
                                                                                    168 172
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                        Case Number   Court or Agency
597   Hudson Valley Council,     JMRCPC Doe        JMRCPC Doe v. Boy Scouts of         033595/2020   Supreme Court
      Inc.                                         America and Hudson Valley                         of the State of
                                                   Council, Inc., Boy Scouts of                      New York,
                                                   America                                           Rockland County
598   Golden Empire Council,     JMNYC1 Doe        JMNYC1 Doe v. Boy Scouts of         950582/2020   Supreme Court
      Inc.; Mount Diablo                           America, Golden Empire Council,                   of the State of
      Silverado Council, Inc.;                     Inc., Boy Scouts of America,                      New York, New
      The Church of Jesus                          Mount Diablo Silverado Council,                   York County
      Christ of Latter-Day                         Inc., Boy Scouts of America, The
      Saints                                       Church of Jesus Christ of Latter-
                                                   Day Saints, and William
                                                   Hassenbrock
599   Greater New York           JMBX1 Doe         JMBX1 Doe v. Boy Scouts of          70107/2020E   Supreme Court
      Councils; Ten Mile                           America, Greater New York                         of the State of
      River Scout Camps;                           Councils, Boy Scouts of America,                  New York,
      William Howard Taft                          Ten Mile River Scout Camps,                       Bronx County
      High School; Christ the                      William Howard Taft High School,
      King Church                                  Christ the King Church, and
                                                   Michael Grazino
600   Twin Rivers Council;       John Doe          John Doe v. Boy Scouts of           905302-20     Supreme Court
      Woodworth Lake Scout                         America, Twin Rivers Council of                   of the State of
      Reservation                                  the Boy Scouts of America,                        New York,
                                                   Woodworth Lake Scout                              Albany County
                                                   Reservation and Garth Hahn
601   Greater New York           John Doe          John Doe v. Boy Scouts of           400066/2020   Supreme Court
      Council of the Boy                           America, Greater New York                         of the State of
      Scouts of America; Boys                      Council of the Boy Scouts of                      New York,
      & Girls Club of Metro                        America, and Boys & Girls Club of                 Queens County
      Queens f/k/a The South                       Metro Queens f/k/a The South
      Queens Boys Club                             Queens Boys Club
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                                                                           08/09/21
                                                                                 PagePage
                                                                                      169 173
                                                                                          of 312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                         Case Number      Court or Agency
602   Patriots Path Council,      John Doe           John Doe v. Boy Scouts of            E2020-1143       Supreme Court
      Inc.; Monmouth                                 America, Patriots Path Council,                       of the State of
      Council, Inc.; Forestburg                      Inc., Boy Scouts of America,                          New York,
      Scout Reservation                              Monmouth Council Inc., Boy                            Sullivan County
      Summer Camp                                    Scouts of America, Forestburg
                                                     Scout Reservation Summer Camp
                                                     and Richard Lee
603   Greater New York            John Doe           John Doe v. Boy Scouts of            950603/2020      Supreme Court
      Council of the Boy                             America, Greater New York                             of the State of
      Scouts of America; St.                         Council of the Boy Scouts of                          New York, New
      James Presbyterian                             America, St. James Presbyterian                       York County
      Church; Presbytery of                          Church, Presbytery of New York
      New York City                                  City
604   Greater New York            John Doe           John Doe v. Boy Scouts of            400065/2020      Supreme Court
      Council of the Boy                             America, Greater New York                             of the State of
      Scouts of America                              Council of the Boy Scouts of                          New York,
                                                     America, and Walter Ford                              Queens County
605   Twin Rivers Council,        [Redacted]         [Redacted] v. Twin Rivers Council,   905261-20        Supreme Court
      Inc.                                           Inc., Boy Scouts of America                           of the State of
                                                                                                           New York,
                                                                                                           Albany County
606   Greater New York            [Redacted]          [Redacted] v. Greater New York      950610/2020      Supreme Court
      Councils, Inc.                                  Councils, Inc., Boy Scouts of                        of the State of
                                                      America                                              New York, New
                                                                                                           York County
607   Baden Powell Council,       [Redacted]          [Redacted] v. Baden Powell          EFCA2020001590   Supreme Court
      Inc.                                            Council, Inc., Boy Scouts of                         of the State of
                                                      America                                              New York,
                                                                                                           Broome County
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                                                                          08/09/21
                                                                                PagePage
                                                                                     170 174
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                         Case Number   Court or Agency
608   Twin Rivers Council,       [Redacted]         [Redacted] v. Boy Scouts of          905296-20     Supreme Court
      Inc.; Rotary Scout                            America, Twin Rivers Council, Inc.                 of the State of
      Reservation;                                  Boy Scouts of America, Rotary                      New York,
      Congregational Christian                      Scout Reservation, Congregational                  Albany County
      Church                                        Christian Church, and Michael
                                                    Matson
609   Greater New York           PC-45-Doe          PC-45-Doe v. Greater New York        950590/2020   Supreme Court
      Councils; Ten Mile                            Councils, and Ten Mile River Scout                 of the State of
      River Scout Camp                              Camp                                               New York, New
                                                                                                       York County
610   Suffolk County Council,    [Redacted]          [Redacted] v. Suffolk County        610600/2020   Supreme Court
      Inc.; St. Philip Neri                          Council, Inc., Boy Scouts of                      of the State of
      Parish; Diocese of                             America; St. Philip Neri Parish;                  New York,
      Rockville Centre                               Diocese of Rockville Centre                       Suffolk County
611   Iroquois Trail Council,    [Redacted]          [Redacted] v. Boy Scouts of         000456-2020   Supreme Court
      Inc.                                           America and Iroquois Trail                        of the State of
                                                     Council, Inc., Boy Scouts of                      New York,
                                                     America                                           Livingston
                                                                                                       County
612   Greater New York           [Redacted]          [Redacted] v. Boy Scouts of         950583/2020   Supreme Court
      Councils, Inc.                                 America and Greater New York                      of the State of
                                                     Councils, Inc., Boy Scouts of                     New York, New
                                                     America                                           York County
613   Greater New York           [Redacted]          [Redacted] v. Greater New York      950589/2020   Supreme Court
      Councils, Inc.; Holy                           Councils, Inc., Boy Scouts of                     of the State of
      Trinity Episcopal                              America; Holy Trinity Episcopal                   New York, New
      Church; The Episcopal                          Church; The Episcopal Diocese of                  York County
      Diocese of New York                            New York
614   Monmouth Council of        [Redacted]          [Redacted] v. Boy Scouts of         E2020-1137    Supreme Court
      the Boy Scouts of                              America, Monmouth Council of the                  of the State of
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                                         20-50527-LSS Doc
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                                                                            08/09/21
                                                                                  PagePage
                                                                                       171 175
                                                                                           of 312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                         Case Number     Court or Agency
      America; Forestburg                             Boy Scouts of America, Forestburg                    New York,
      Scout Reservation                               Scout Reservation                                    Sullivan County
615   Longhouse Council,           [Redacted]         [Redacted] v. Boy Scouts of          005037/2020     Supreme Court
      Inc.; Camp Woodland;                            America, Longhouse Council, Inc.                     of the State of
      First United Church of                          Boy Scouts of America, Camp                          New York,
      East Syracuse                                   Woodland, and First United Church                    Onondoga
                                                      of East Syracuse                                     County
616   Greater Niagara Frontier     [Redacted]         [Redacted] v. Boy Scouts of          808973/2020     Supreme Court
      Council                                         America; Greater Niagara Frontier                    of the State of
                                                      Council of the Boy Scouts of                         New York, Erie
                                                      America                                              County
617   Allegheny Highlands          [Redacted]         [Redacted] v. Boy Scouts of          EK12020000896   Supreme Court
      Council, Inc.; Elk Lick                         America, Allegheny Highlands                         of the State of
      Scout Reserve                                   Council, Inc., Boy Scouts of                         New York,
                                                      America, Elk Lick Scout Reserve,                     Chautauqua
                                                      and Richard Roll                                     County
618   Greater Niagara Frontier     [Redacted]         [Redacted] v. Boy Scouts of          809123/2020     Supreme Court
      Council, Inc.                                   America and Greater Niagara                          of the State of
                                                      Frontier Council, Inc., Boy Scouts                   New York, Erie
                                                      of America                                           County
619   Twin River Council Boy       [Redacted]         [Redacted] v. Twin River Council,    905390-20       Supreme Court
      Scouts of America a/k/a                         Boy Scouts of America a/l/a                          of the State of
      Governor Clinton                                Governor Clinton Council, Saratoga                   New York,
      Council, Saratoga                               Council, Schenectady County                          Albany County
      Council, Schenectady                            Council, Sir William Johnson
      County Council, Sir                             Council, Mohican Council, and/or
      William Johnson                                 Adirondack Council
      Council, Mohican
      Council, and/or
      Adirondack Council
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                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                          08/09/21
                                                                                PagePage
                                                                                     172 176
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                          Case Number         Court or Agency
620   Greater New York           [Redacted]         [Redacted] v. Greater New York        950622/2020         Supreme Court
      Councils, a/k/a Bronx                         Councils, Boy Scouts of America                           of the State of
      Borough Council,                              a/k/a Bronx Borough Council,                              New York, New
      Greater New York                              Greater New York Councils, Boy                            York County
      Councils, Boy Scouts of                       Scouts of America
      America
621   Suffolk County Council,    [Redacted]          [Redacted] v. Suffolk County         611541/2020         Supreme Court
      Inc.                                           Council, Inc., Boy Scouts of                             of the State of
                                                     America                                                  New York,
                                                                                                              Suffolk County
622   Greater New York           [Redacted]          [Redacted] v. Greater New York       950628/2020         Supreme Court
      Councils, Inc.                                 Councils, Inc., Boy Scouts of                            of the State of
                                                     America                                                  New York, New
                                                                                                              York County
623   Greater New York           [Redacted]          [Redacted] v. Greater New York       950627/2020         Supreme Court
      Councils, Inc.                                 Councils, Inc., Boy Scouts of                            of the State of
                                                     America                                                  New York, New
                                                                                                              York County
624   Seneca Waterways           [Redacted]          [Redacted] v. Seneca Waterways       E2020006469         Supreme Court
      Councils, Inc.                                 Council, Inc., Boy Scouts of                             of the State of
                                                     America                                                  New York,
                                                                                                              Monroe County
625   Greater Niagara Frontier   [Redacted]          [Redacted] v. Greater Niagara        809396/2020         Supreme Court
      Council, Inc.                                  Frontier Council, Inc., Boy Scouts                       of the State of
                                                     of America                                               New York, Erie
                                                                                                              County
626   Westark Area Council,      [Redacted]          [Redacted] v. Westark Area           2:20-cv-02157-PKH   United States
      Inc.                                           Council, Inc., Boy Scouts of                             District Court
                                                     America                                                  Western District
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                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     173 177
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                            Case Number       Court or Agency
                                                                                                              of Arkansas, Fort
                                                                                                              Smith Division
627   Hudson Valley Council,     [Redacted]          [Redacted] v. Hudson Valley            EF004279-2020     Supreme Court
      Inc.                                           Council, Inc., Boy Scouts of                             of the State of
                                                     America                                                  New York,
                                                                                                              Orange County
628   Greater Niagara Frontier   [Redacted]          [Redacted] v. Greater Niagara          809308/2020       Supreme Court
      Council, Inc.; Our Lady                        Frontier Council, Inc., Boy Scouts                       of the State of
      of Czestochowa Parish                          of America; and Our Lady of                              New York, Erie
                                                     Czestochowa Parish                                       County
629   Rotterdam Boys & Girls     [Redacted]          [Redacted] v. Rotterdam Boys &         202021906         Supreme Court
      Club; Boys and Girls                           Girls Club; Boys and Girls Clubs of                      of the State of
      Clubs of Schenectady,                          Schenectady, Inc.; and Boys &                            New York,
      Inc.; and Boys & Girls                         Girls Clubs of America, Inc.                             Schenectady
      Clubs of America, Inc.                                                                                  County
630   Town of Russell; Russell   [Redacted]          [Redacted] v. Town of Russell;         EFCV-20-158112    Supreme Court
      Town Hall; Knox                                Russell Town Hall; Knox Memorial                         of the State of
      Memorial Central                               Central School District; and                             New York, St.
      School District; and                           Edwards-Knox Central School                              Lawrence
      Edwards-Knox Central                           District                                                 County
      School District
631   People’s Institutional     [Redacted]          [Redacted] v. People’s Institutional   512949/2020       Supreme Court
      A.M.E. Church                                  A.M.E. Church                                            of the State of
                                                                                                              New York, Kings
                                                                                                              County
632   Northern New Jersey        [Redacted]          [Redacted] v. Northern New Jersey      ESX-L-005894-20   Superior Court of
      Council f/k/a Bayonne                          Council, Boy Scouts of America,                          New Jersey Civil
      Council                                        Inc. f/k/a Bayonne Council                               Division, Essex
                                                                                                              County
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                                           20-50527-LSS Doc
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                                                                              08/09/21
                                                                                    PagePage
                                                                                         174 178
                                                                                             of 312
                                                                                                 of 316




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            Non-Debtor                 Plaintiff(s)
            Defendants(s)              (last, first)            Case Caption                             Case Number             Court or Agency
633 6       Westchester-Putnam         OCVAWCM-Doe              OCVAWCM-Doe v. City of Rye,              52333/2020              Supreme Court
            Council, Inc., Boy                                  Rye Fire Department and Rye                                      of the State of
            Scouts of America                                   Department of Public Works v. Boy                                New York,
                                                                Scouts of America and                                            Westchester
                                                                Westchester-Putnam Council, Inc.,                                County
                                                                Boy Scouts of America
634         Longhouse Council, Inc.    [Redacted]               [Redacted] v. Longhouse Council,         005867/2020             Supreme Court
                                                                Inc., Boy Scouts of America a/k/a                                of the State of
                                                                Seaway Valley Council #403 a/k/a                                 New York,
                                                                Hiawatha Council a/k/a Hiawatha                                  Onondaga
                                                                Seaway Council                                                   County
635         Greater Niagara Frontier   John Doe                 John Doe v. Boy Scouts of America        810324/2020             Supreme Court
            Council of the Boy                                  and Greater Niagara Frontier                                     of the State of
            Scouts of America                                   Council of the Boy Scouts of                                     New York, Erie
                                                                America                                                          County
636         Longhouse Council,         [Redacted]               [Redacted] v. Boy Scouts of              005001/2020             Supreme Court
            Inc.; Church of the Most                            America, Longhouse Council, Inc.,                                of the State of
            Holy Rosary                                         Boy Scouts of America, and Church                                New York,
                                                                of the Most Holy Rosary                                          Onondaga
                                                                                                                                 County
637         Allegheny Highlands        [Redacted]               [Redacted] v. Allegheny Highlands        47844/2020              Supreme Court
            Council, Inc.                                       Council, Inc., Boy Scouts of                                     of the State of
                                                                America                                                          New York,
                                                                                                                                 Allegany County
638         Greater New York           [Redacted]               [Redacted] v. Greater New York           950675/2020             Supreme Court
            Councils                                            Councils, Boy Scouts of America                                  of the State of
                                                                a/k/a Brooklyn Borough Council,

        6
         This matter is stayed only with respect to third-party defendants Boy Scouts of America and Westchester-Putnam Council, Inc., Boy Scouts of
        America.
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                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
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                                                                           08/09/21
                                                                                 PagePage
                                                                                      175 179
                                                                                          of 312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)      Case Caption                         Case Number     Court or Agency
                                                     Greater New York Councils, Boy                       New York, New
                                                     Scouts of America                                    York County
639   Longhouse Council, Inc.     [Redacted]         [Redacted] v. Longhouse Council,     006158/2020     Supreme Court
                                                     Inc., Boy Scouts of America a/k/a                    of the State of
                                                     Seaway Valley Council #403 a/k/a                     New York,
                                                     Hiawatha Council a/k/a Hiawatha                      Onondaga
                                                     Seaway Council                                       County
640   Westchester-Putnam          [Redacted]         [Redacted] v. Westchester-Putnam     61171/2020      Supreme Court
      Council, Inc.                                  Council, Inc., Boy Scouts of                         of the State of
                                                     America a/k/a Westchester County                     New York,
                                                     Council, Siwanoy Council, Mount                      Westchester
                                                     Vernon Council, Hendrick Hudson                      County
                                                     Council, Bronx Valley Council,
                                                     James Fenimore Cooper Council,
                                                     Siwanoy-Bronx Valley Council,
                                                     Hutchinson River Council,
                                                     Washington Irving Council, and/or
                                                     Yonkers Council
641   Watchung Area Council;      [Redacted]         [Redacted] v. Watchung Area          MID-L-6864-20   Superior Court of
      Patriots’ Path Council,                        Council, Patriots’ Path Council,                     New Jersey Law
      Inc.; Russell Hulsizer                         Inc., Boy Scouts of America,                         Division,
                                                     Russell Hulsizer, John Does 1-10                     Middlesex
                                                                                                          County
642   Theodore Roosevelt          [Redacted]          [Redacted] v. Boy Scouts of         900176/2020     Supreme Court
      Council, Inc.; Onteora                          America, Theodore Roosevelt                         of the State of
      Scout Reservation                               Council, Inc., Boy Scouts of                        New York,
                                                      America, and Onteora Scout                          Nassau County
                                                      Reservation
643   Seneca Waterways            [Redacted]          [Redacted] v. Otetiana Council,     E2020007517     Supreme Court
      Council, Inc.                                   Inc., Boy Scouts of America n/k/a                   of the State of
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                                    20-50527-LSS Doc
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                                                                             PagePage
                                                                                  176 180
                                                                                      of 312
                                                                                          of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)    Case Caption                      Case Number      Court or Agency
                                                 Seneca Waterways Council, Inc.,                    New York,
                                                 Boy Scouts of America                              Monroe County
644   Doe Defendant 1; Doe      John Doe         John Doe v. Doe Defendant 1; Doe 20STCV35252       Superior Court of
      Defendant 2; Doe                           Defendant 2; Doe Defendant 3; Doe                  the State of
      Defendant 3; Doe                           Defendant 4; Doe Defendant 5; and                  California,
      Defendant 4; Doe                           Does 6 through 10, inclusive                       County of Los
      Defendant 5; and Does 6                                                                       Angeles, Central
      through 10, inclusive                                                                         Judicial District
645   Doe Defendant 1; Doe      [Redacted]        [Redacted] v. Doe Defendant 1;      20STCV35201   Superior Court of
      Defendant 2; Doe                            Doe Defendant 2; Doe Defendant 3;                 the State of
      Defendant 3; Doe                            Doe Defendant 4; and Does 5                       California,
      Defendant 4; and Does 5                     through 10, inclusive                             County of Los
      through 10, inclusive                                                                         Angeles, Central
                                                                                                    Judicial District
646   Doe Defendant 1; Doe      John Doe          John Doe v. Doe Defendant 1; Doe    20STCV35213   Superior Court of
      Defendant 2; Doe                            Defendant 2; Doe Defendant 3; and                 the State of
      Defendant 3; and Does 4                     Does 4 through 10, inclusive                      California,
      through 10, inclusive                                                                         County of Los
                                                                                                    Angeles, Central
                                                                                                    Judicial District
647   N/A                       [Redacted]        [Redacted] v. Boy Scouts of         201000147     Court of
                                                  America                                           Common Pleas
                                                                                                    Philadelphia
                                                                                                    County Civil
                                                                                                    Trial Division
648   Garden State Council;     [Redacted]        [Redacted] v. Boy Scouts of         003274-20     Superior Court of
      Bethel Commandment                          America; Garden State Council,                    New Jersey,
      Church of the Living                        Boy Scouts of America; Bethel                     Camden County
      God of New Jersey, Inc.                     Commandment Church of the                         L Division
                                                  Living God of New Jersey, Inc.;
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                                     20-50527-LSS Doc
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                                                                              PagePage
                                                                                   177 181
                                                                                       of 312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)        Case Caption                        Case Number         Court or Agency
                                                     Vincent Watkins; Clyde Watkins
                                                     a/k/a Kallad Watkins Cepada; John
                                                     and Janes Does (1-10); and ABC
                                                     Entities (1-10)
649   Connecticut Rivers        [Redacted]           [Redacted] v. Connecticut Rivers    NNH-CV-20-          Superior Court
      Council, Inc.                                  Council, Inc., Boy Scouts of        6108406-S           Judicial District
                                                     America                                                 of New Haven at
                                                                                                             New Haven
650   Defendant Doe 2,          [Redacted];          [Redacted], an individual         20STCV-04299          Superior Court of
      Council                   [Redacted];          proceeding under a pseudonym;                           the State of
                                [Redacted]           [Redacted], an individual                               California, for
                                                     proceeding under a pseudonym; and                       the County of
                                                     [Redacted], an individual                               Los Angeles
                                                     proceeding under a pseudonym v.
                                                     Defendant Doe 1, Scouting
                                                     Organization; Defendant Doe 2,
                                                     Council; and Does 3 through 100,
                                                     inclusive
651   Boston Minuteman          [Redacted]           [Redacted] v. Boston Minuteman    0481 CV 02059         Commonwealth
      Council                                        Council, Inc.                                           of Massachusetts
                                                                                                             Trial Court
652   Mountain West Council,    Mark Doe 1; Mark     Mark Doe 1, an individual; Mark     1:20-cv-00497-BLW   United States
      p/k/a Ore-Ida Council;    Doe 2; Mark Doe 3;   Doe 2, an individual; Mark Doe 3,                       District Court for
      Inland Northwest          Mark Doe 4; Mark     an individual; Mark Doe 4, an                           the District of
      Council, p/k/a Lewis &    Doe 5; Mark Doe 6;   individual; Mark Doe 5, an                              Idaho
      Clark Council;            Mark Doe 7; Mark     individual; Mark Doe 6, an
      Corporation of the        Doe 8; Mark Doe 9;   individual; Mark Doe 7, an
      Presiding Bishop of the   Mark Doe 10; Mark    individual; Mark Doe 8, an
      Church of Jesus Christ    Doe 11; Mark Doe     individual; Mark Doe 9, an
      of Latter-Day Saints;     12; Mark Doe 13      individual; Mark Doe 10, an
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                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
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                                                                           08/09/21
                                                                                 PagePage
                                                                                      178 182
                                                                                          of 312
                                                                                              of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)     Case Caption                          Case Number      Court or Agency
      Corporation of the                             individual; Mark Doe 11, an
      President of the Church                        individual; Mark Doe 12, an
      of Jesus Christ of Latter-                     individual; and Mark Doe 13, an
      Day Saints and                                 individual v. Mountain West
      Successors                                     Council, Inc., Boy Scouts of
                                                     America, p/k/a Ore-Ida Council,
                                                     Inc., Boy Scouts of America, an
                                                     Idaho Corporation; Inland
                                                     Northwest Council of Boy Scouts
                                                     of America, p/k/a Lewis & Clark
                                                     Council of Boy Scouts of America,
                                                     a foreign corporation registered to
                                                     do business in Idaho; Corporation
                                                     of the Presiding Bishop of the
                                                     Church of Jesus Christ of Latter-
                                                     Day Saints, a foreign corporation
                                                     sole registered to do business in
                                                     Idaho; and Corporation of the
                                                     President of the Church of Jesus
                                                     Christ of Latter-Day Saints and
                                                     Successors, a foreign corporation
                                                     registered to do business in Idaho
653   Church of Jesus Christ       [Redacted]        [Redacted] v. Boy Scouts of           2:20-cv-15229-   United States
      of Latter Day Saints                           America (BSA), Church of Jesus        JMV-MF           District Court for
      (LDS)                                          Christ of Latter Day Saints (LDS),                     the District of
                                                     John Does 1-20                                         New Jersey
654   Quinnipiac Council;          [Redacted]        [Redacted] v. Boy Scouts of           NNH-CV-20-       Superior Court
      Connecticut Yankee                             America Corporation; Boy Scouts       6108985-S        Judicial District
      Council                                        of America, Inc.; Boy Scouts of                        of New Haven at
                                                     America; Quinnipiac Council of                         New Haven
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   179 183
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number       Court or Agency
                                                  Boy Scouts of America,
                                                  Incorporated; and Connecticut
                                                  Yankee Council, Inc., Boy Scouts
                                                  of America
655   James E. Pacitto; Garden   [Redacted]       [Redacted] v. James E. Pacitto;       CUM-L-000641-20   New Jersey
      State Council                               Garden State Council, Boy Scouts                        Superior Court,
                                                  of America; and its directors,                          Cumberland
                                                  officers, employees, agents,                            County Law
                                                  counselors, servants or volunteers;                     Division
                                                  Boy Scouts of America, and its
                                                  directors, officers, employees,
                                                  agents, counselors, servants or
                                                  volunteers; ABC Entities and its
                                                  directors, officers, employees,
                                                  agents, counselors, servants or
                                                  volunteers; and John Does 1-10
656   Defendant Doe 2            [Redacted]       John Doe v. Defendant Doe 1,          20STCV06136       Superior Court of
      Council                                     National; Defendant Doe 2,                              the State of
                                                  Council, and Does 3 through 100                         California,
                                                                                                          County of Los
                                                                                                          Angeles
657   Steinway Reformed          [Redacted]        [Redacted] v. Steinway Reformed      400045/2020       Supreme Court
      Church                                       Church                                                 of the State of
                                                                                                          New York,
                                                                                                          Queens County
658   Rome City School           [Redacted]        [Redacted] v. Rome City School       EFCA2020-00137    Supreme Court
      District; John Doe                           District; and John Doe Elementary                      of the State of
      Elementary School                            School                                                 New York,
                                                                                                          Oneida County
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                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                        08/09/21
                                                                              PagePage
                                                                                   180 184
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                           Case Number       Court or Agency
659   Church of the Holy         [Redacted]       [Redacted] v. Church of the Holy       950353/2020       Supreme Court
      Agony; St. Cecilia’s                        Agony; St. Cecilia’s Parish Service;                     of the State of
      Parish Service; and                         and Archdiocese of New York                              New York, New
      Archdiocese of New                                                                                   York County
      York
660   Blasdell Volunteer Fire    [Redacted]        [Redacted] v. Blasdell Volunteer      807578/2020       Supreme Court
      Company, Inc.                                Fire Company, Inc.                                      of the State of
                                                                                                           New York, Erie
                                                                                                           County
661   Dr. Martin Luther King     [Redacted]        [Redacted] v. Dr. Martin Luther       EFCA2020-001373   Supreme Court
      Jr. Elementary School;                       King Jr. Elementary School; and                         of the State of
      and Utica City School                        Utica City School District                              New York,
      District                                                                                             Oneida County
662   Rescue Volunteer Hose      [Redacted]        [Redacted] v. Rescue Volunteer        807547/2020       Supreme Court
      Company No. 1 of                             Hose Company No. 1 of                                   of the State of
      Cheektowga, N.Y.;                            Cheektowga, N.Y. v. Greater                             New York, Erie
      Greater Niagara Frontier                     Niagara Frontier Council, Inc., Boy                     County
      Council, Inc., Boy                           Scouts of America and Buffalo
      Scouts of America; and                       Area Council
      Buffalo Area Council
663   New Hartford Post 1376     [Redacted]        [Redacted] v. New Hartford Post       EFCA2020-001374   Supreme Court
      American Legion                              1376 American Legion                                    of the State of
                                                                                                           New York,
                                                                                                           Oneida County
664   Centenary United           [Redacted]        [Redacted] v. Centenary United        2020-5389         Supreme Court
      Methodist Church; New                        Methodist Church; and New                               of the State of
      Beginnings United                            Beginnings United Methodist                             New York,
      Methodist Church of                          Church of Elmira                                        Chemung
      Elmira
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                              PagePage
                                                                                   181 185
                                                                                       of 312
                                                                                           of 316




                               Underlying
      Non-Debtor               Plaintiff(s)
      Defendants(s)            (last, first)      Case Caption                          Case Number      Court or Agency
665   St. James’ Church;       [Redacted]         [Redacted] v. St. James’ Church;      950355/2020      Supreme Court
      Archdiocese of New                          and Archdiocese of New York                            of the State of
      York                                                                                               New York, New
                                                                                                         York County
666   Grace Lutheran Church    [Redacted]          [Redacted] v. Grace Lutheran         E172614/2020     Supreme Court
                                                   Church                                                of the State of
                                                                                                         New York,
                                                                                                         Niagara County
667   Grace Lutheran Church    [Redacted]          [Redacted] v. Grace Lutheran         E172613/2020     Supreme Court
                                                   Church                                                of the State of
                                                                                                         New York,
                                                                                                         Niagara County
668   St. Martin of Tours      [Redacted]          [Redacted] v. St. Martin of Tours    808437/2020      Supreme Court
                                                                                                         of the State of
                                                                                                         New York, Erie
                                                                                                         County
669   Hepburn Library of       [Redacted]          [Redacted] v. Hepburn Library of     EFCV-20-158288   Supreme Court
      Waddington; North                            Waddington; North County Library                      of the State of
      County Library System;                       System; Waddington Lions Club;                        New York, St.
      Waddington Lions Club;                       and Lions Club International                          Lawrence
      and Lions Club                                                                                     County
      International
670   The Church of the        [Redacted]          [Redacted] v. The Church of the      E2020-0571CV     Supreme Court
      Sacred Heart of Jesus;                       Sacred Heart of Jesus; The Church                     of the State of
      The Church of the                            of the Sacred Heart of Jesus Roman                    New York,
      Sacred Heart of Jesus                        Catholic School; Seneca                               Steuben County
      Roman Catholic School;                       Waterways Council; Timothy
      Seneca Waterways                             Weider; Does 1-10
      Council; Timothy
      Weider; and Does 1-10
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    182 186
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                          Case Number       Court or Agency
671   Church of the               [Redacted]       [Redacted] v. Church of the           808441/2020       Supreme Court
      Transfiguration; St. John                    Transfiguration; and St. John Kanty                     of the State of
      Kanty Church                                 Church                                                  New York, Erie
                                                                                                           County
672   Garden State Council        [Redacted]        [Redacted] v. Boy Scouts of          CAM-L-003753-20   Superior Court of
                                                    America and Garden State Council,                      New Jersey
                                                    Boy Scouts of America and John                         Camden County
                                                    and Jane Does (1-10) and ABC                           Law Division –
                                                    Entities (1-10)                                        Civil Part
673   The General Greene          [Redacted]        [Redacted] v. The General Greene     20 CVS 8408       In the General
      Council Boy Scouts of                         Council Boy Scouts of America,                         Court of Justice
      America, Incorporated;                        Incorporated; Old North State                          Superior Court
      Old North State Council,                      Council, Boy Scouts of America,                        Division, North
      Boy Scouts of America,                        Incorporated; James Iredell and                        Carolina,
      Incorporated; James                           Carl Fenske                                            Guilford County
      Iredell and Carl Fenske
674   Greater New York            [Redacted]        [Redacted] v. Greater New York       950709/2020       Supreme Court
      Councils of the Boy                           Councils of the Boy Scouts of                          of the State of
      Scouts of America;                            America, Staten Island Council,                        New York, New
      Staten Island Council;                        The City of New York, New York                         York County
      The City of New York;                         City Department of Education
      New York City
      Department of Education
675   Greater New York            [Redacted]        [Redacted] v. Greater New York       522045/2020       Supreme Court
      Councils of the Boy                           Councils of the Boy Scouts of                          of the State of
      Scouts of America;                            America, Brooklyn Council, St.                         New York, Kings
      Brooklyn Council; St.                         Paul’s Episcopal Church, and the                       County
      Paul’s Episcopal                              Episcopal Diocese of Long Island
      Church; Episcopal
      Diocese of Long Island
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   183 187
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                         Case Number   Court or Agency
676   Greater New York           PS9              PS9 v. Greater New York Council      65351/2020    Supreme Court
      Council of the Boy                          of the Boy Scouts of America,                      of the State of
      Scouts of America;                          Queens Council, Boy Scouts of                      New York,
      Queens Council, Boy                         America, The City of New York,                     Westchester
      Scouts of America; The                      and New York City Department of                    County
      City of New York; New                       Education
      York City Department of
      Education
677   Twin Rivers Council        [Redacted]        [Redacted] v. Twin Rivers Council   907094-20     Supreme Court
      Boy Scouts of America;                       Boy Scouts of America and                         of the State of
      McKownville United                           McKownville United Methodist                      New York,
      Methodist Church                             Church                                            Albany County
678   Greater New York           [Redacted]        [Redacted] v. Greater New York      514827/2020   Supreme Court
      Councils, Inc., Boy                          Councils, Inc., Boy Scouts of                     of the State of
      Scouts of America; St.                       America; St. Catherine of Sienna                  New York, Kings
      Catherine of Sienna                          Church; Diocese of Brooklyn                       County
      Church; Diocese of
      Brooklyn
679   Greater New York           [Redacted]        [Redacted] v. Greater New York      513897/2020   Supreme Court
      Councils, Inc., Boy                          Councils, Inc., Boy Scouts of                     of the State of
      Scouts of America; St.                       America; St. John’s Episcopal                     New York, Kings
      John’s Episcopal                             Church; Episcopal Diocese of Long                 County
      Church; Episcopal                            Island
      Diocese of Long Island
680   Longhouse Council, Inc.,   [Redacted]        [Redacted] v. Longhouse Council,    004741/2020   Supreme Court
      Boy Scouts of America;                       Inc., Boy Scouts of America; Our                  of the State of
      Our Lady of the Sacred                       Lady of the Sacred Heart Parish;                  New York,
      Heart Parish; Diocese of                     Diocese of Ogdensburg                             Onondaga
      Ogdensburg                                                                                     County
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                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   184 188
                                                                                       of 312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)     Case Caption                          Case Number     Court or Agency
681   Greater New York          [Redacted]        [Redacted] v. Greater New York        513901/2020     Supreme Court
      Councils, Inc., Boy                         Councils, Inc., Boy Scouts of                         of the State of
      Scouts of America; St.                      America; St. Fortunata Roman                          New York, Kings
      Fortunata Roman                             Catholic Church; Diocese of                           County
      Catholic Church;                            Brooklyn
      Diocese of Brooklyn
682   Westchester-Putnam        [Redacted]         [Redacted] v. Westchester-Putnam     58527/2020      Supreme Court
      Council, Boy Scouts of                       Council, Boy Scouts of America;                      of the State of
      America; Holy Innocents                      Holy Innocents Church;                               New York,
      Church; Archdiocese of                       Archdiocese of New York                              Westchester
      New York                                                                                          County
683   Hudson Valley Council,    [Redacted]         [Redacted] v. Hudson Valley          EF004670-2020   Supreme Court
      Inc., Boy Scouts of                          Council, Inc., Boy Scouts of                         of the State of
      America                                      America                                              New York,
                                                                                                        Orange County
684   Longhouse Council, Inc., [Redacted]          [Redacted] v. Longhouse Council,     E173403/2020    Supreme Court
      Boy Scouts of America;                       Inc., Boy Scouts of America; Peter                   of the State of
      Peter A. Byrne                               A. Byrne                                             New York,
                                                                                                        Niagara County
685   Greater New York          [Redacted]         [Redacted] v. Greater New York       950581/2020     Supreme Court
      Councils, Inc., Boy                          Councils, Inc., Boy Scouts of                        of the State of
      Scouts of America;                           America; Cathedral of Saint John                     New York, New
      Cathedral of Saint John                      the Divine; Archdiocese of New                       York County
      the Divine; Archdiocese                      York
      of New York
686   Greater New York          [Redacted]         [Redacted] v. Greater New York       950587/2020     Supreme Court
      Councils, Inc., Boy                          Councils, Inc., Boy Scouts of                        of the State of
      Scouts of America                            America                                              New York, New
                                                                                                        York County
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   185 189
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                           Case Number   Court or Agency
687   Greater Niagara Frontier   [Redacted]       [Redacted] v. Greater Niagara          809345/2020   Supreme Court
      Council, Inc., Boy                          Frontier Council, Inc., Boy Scouts                   of the State of
      Scouts of America                           of America                                           New York, Erie
                                                                                                       County
688   Greater New York           [Redacted]        [Redacted] v. Greater New York        950585/2020   Supreme Court
      Councils, Inc., Boy                          Councils, Inc., Boy Scouts of                       of the State of
      Scouts of America                            America                                             New York, New
                                                                                                       York County
689   Greater Niagara Frontier   LG 67 Doe         LG 67 Doe v. Greater Niagara          813585/2020   Supreme Court
      Council, Inc., Boy                           Frontier Council, Inc., Boy Scouts                  of the State of
      Scouts of America                            of America                                          New York, Erie
                                                                                                       County
690   Greater Niagara Frontier   LG 88 Doe         LG 88 Doe v. Greater Niagara          813992/2020   Supreme Court
      Council, Inc., Boy                           Frontier Council, Inc., Boy Scouts                  of the State of
      Scouts of America                            of America                                          New York, Erie
                                                                                                       County
691   Greater Niagara Frontier   LG 85 Doe         LG 85 Doe v. Greater Niagara          813949/2020   Supreme Court
      Council, Inc., Boy                           Frontier Council, Inc., Boy Scouts                  of the State of
      Scouts of America                            of America                                          New York, Erie
                                                                                                       County
692   Boy Scouts of America      [Redacted]        [Redacted] v. Boy Scouts of           950716/2020   Supreme Court
      Pack 1000 Incorporated;                      America, Delaware BSA, LLC,                         of the State of
      Boy Scouts of America                        Boy Scouts of America Pack 1000                     New York, New
      Troop 1000, Inc.;                            Incorporated, Boy Scouts of                         York County
      Central Synagogue                            America Troop 1000 Inc., Central
      Preservation Foundation,                     Synagogue Preservation
      Inc., Adventure Trails,                      Foundation, Inc., Adventure Trails,
      Inc.; Jerrold Schwartz                       Inc. and Jerrold Schwartz
693   Father Baker Council       [Redacted]        [Redacted] v. Father Baker Council    814562/2020   Supreme Court
      #2243 of the Knights of                      # 2243 of the Knights of Columbus,                  of the State of
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                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     186 190
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                          Case Number    Court or Agency
      Columbus; Greater                             Greater Niagara Frontier Council,                    New York, Erie
      Niagara Frontier                              Inc., Boy Scouts of America, and                     County
      Council, Inc., Boy                            William D. Baker
      Scouts of America;
      William D. Baker
694   Saint Luke’s Lutheran      [Redacted]          [Redacted] v Saint Luke’s Lutheran   950724/2020    Supreme Court
      Church; Greater New                            Church, and Greater New York                        of the State of
      York Councils                                  Councils, Boy Scouts of America                     New York, New
                                                                                                         York County
695   Greater St. Louis Area     [Redacted]          [Redacted] v. Greater St. Louis      20SL-CC05478   Circuit Court of
      Council, Boy Scouts of                         Area Council, Boy Scouts of                         St. Louis County,
      America, Inc.; John Doe                        America, Inc., Boy Scouts of                        State of Missouri
                                                     America, and John Doe
696   Occoneechee Council of     James Doe           James Doe, an individual             20CV001204     In the General
      Boy Scouts of America,                         proceeding under a fictitious name                  Court of Justice
      Inc.                                           v. Occoneechee Council of Boy                       Superior Court
                                                     Scouts of America, Inc., a North                    Division, State of
                                                     Carolina nonprofit corporation                      North Carolina,
                                                                                                         County of
                                                                                                         Orange
697   Greater New York           [Redacted]          [Redacted] v. Boy Scouts of          950734/2020    Supreme Court
      Councils, Boy Scouts of                        America, Greater New York                           of the State of
      America; Ten Mile River                        Councils, Boy Scouts of America,                    New York, New
      Scout Camps;                                   Ten Mile River Scout Camps,                         York County
      Archdiocese of New                             Archdiocese of New York, and
      York; USA Midwest                              USA Midwest Province of the
      Province of the Society                        Society of Jesus
      of Jesus
698   Westchester-Putnam         [Redacted]          [Redacted] v. Westchester-Putnam     58526/2020     Supreme Court
      Council                                        Council, Boy Scouts of America                      of the State of
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   187 191
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number       Court or Agency
                                                                                                          New York,
                                                                                                          Westchester
                                                                                                          County
699   Old Hickory Council of     [Redacted]        [Redacted] v. Old Hickory Council    20 CVS 5241       In the General
      Boy Scouts of America,                       of Boy Scouts of America, Inc.                         Court of Justice
      Inc.                                                                                                Superior Court
                                                                                                          Division, North
                                                                                                          Carolina, Forsyth
                                                                                                          County
700   Weedsport Central          John Doe          John Doe v. Weedsport Central        E2020-0657        Supreme Court
      School District;                             School District, Weedsport Central                     of the State of
      Weedsport Central                            School District Board of Education                     New York,
      School District Board of                     and First Presbyterian Church of                       Cayuga County
      Education; First                             Weedsport
      Presbyterian Church of
      Weedsport
701   Great Trail Council of     [Redacted]        [Redacted] v. Great Trail Council    CV-2020-12-3354   Summit County
      Boy Scouts of America,                       of Boy Scouts of America, Inc.                         Common Pleas
      Inc.                                                                                                Court, Ohio
702   Greater New York           [Redacted]        [Redacted] v. Greater New York       950579/2020       Supreme Court
      Councils, Inc., Boy                          Councils, Inc., Boy Scouts of                          of the State of
      Scouts of America;                           America; American Legion,                              New York, New
      American Legion,                             Department of New York                                 York County
      Department of New
      York
703   Greater New York           [Redacted]        [Redacted] v. Greater New York       950584/2020       Supreme Court
      Councils, Inc.                               Councils, Inc., Boy Scouts of                          of the State of
                                                   America                                                New York, New
                                                                                                          York County
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                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   188 192
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                           Case Number     Court or Agency
704   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon             CV2020-016650   Superior Court of
      Inc.                                        Council, Inc., Boy Scouts of                           the State of
                                                  America                                                Arizona, County
                                                                                                         of Maricopa
705   Grand Canyon Council,      [Redacted]        [Redacted] v. Grand Canyon            CV2020-016651   Superior Court of
      Inc.                                         Council, Inc., Boy Scouts of                          the State of
                                                   America                                               Arizona, County
                                                                                                         of Maricopa
706   Grand Canyon Council,      [Redacted]        [Redacted] v. Grand Canyon            CV2020-016701   Superior Court of
      Inc.                                         Council, Inc., Boy Scouts of                          the State of
                                                   America                                               Arizona, County
                                                                                                         of Maricopa
707   Grand Canyon Council,      [Redacted]        [Redacted] v. Grand Canyon            CV2020-016703   Superior Court of
      Inc.                                         Council, Inc., Boy Scouts of                          the State of
                                                   America                                               Arizona, County
                                                                                                         of Maricopa
708   Grand Canyon Council,      [Redacted]        [Redacted] v. Grand Canyon            CV2020-016656   Superior Court of
      Inc.                                         Council, Inc., Boy Scouts of                          the State of
                                                   America; John Doe 1-100; Jane                         Arizona, County
                                                   Doe 1-100; and Black & White                          of Maricopa
                                                   Corporations 1-100
709   Grand Canyon Council,      [Redacted]        [Redacted] v. Grand Canyon            CV2020-016672   Superior Court of
      Inc.; The Corporation of                     Council, Inc., Boy Scouts of                          the State of
      the President of the                         America; The Corporation of the                       Arizona, County
      Church of Jesus Christ                       President of the Church of Jesus                      of Maricopa
      of Latter-Day Saints;                        Christ of Latter-Day Saints, a Utah
      The Corporation of the                       corporation sole; The Corporation
      Presiding Bishop of the                      of the Presiding Bishop of the
      Church of Jesus Christ                       Church of Jesus Christ of Latter-
      of Latter-Day Saints                         Day Saints; John Doe 1-100; Jane
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                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   189 193
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number     Court or Agency
                                                  Doe 1-100; and Black & White
                                                  Corporations 1-100
710   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon            CV2020-016659   Superior Court of
      Inc.; The Corporation of                    Council, Inc., Boy Scouts of                          the State of
      the President of the                        America; The Corporation of the                       Arizona, County
      Church of Jesus Christ                      President of the Church of Jesus                      of Maricopa
      of Latter-Day Saints;                       Christ of Latter-Day Saints, a Utah
      The Corporation of the                      corporation sole; The Corporation
      Presiding Bishop of the                     of the Presiding Bishop of the
      Church of Jesus Christ                      Church of Jesus Christ of Latter-
      of Latter-Day Saints                        Day Saints; John Doe 1-100; Jane
                                                  Doe 1-100; and Black & White
                                                  Corporations 1-100
711   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon            CV2020-016689   Superior Court of
      Inc.                                        Council, Inc., Boy Scouts of                          the State of
                                                  America; John Doe 1-100; Jane                         Arizona, County
                                                  Doe 1-100; and Black & White                          of Maricopa
                                                  Corporations 1-100
712   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon            CV2020-016601   Superior Court of
      Inc.                                        Council, Inc., Boy Scouts of                          the State of
                                                  America                                               Arizona, County
                                                                                                        of Maricopa
713   Grand Canyon Council,      [Redacted]        [Redacted] v. Grand Canyon           CV2020-016689   Superior Court of
      Inc.                                         Council, Inc., Boy Scouts of                         the State of
                                                   America                                              Arizona, County
                                                                                                        of Maricopa
714   Catalina Council           [Redacted]        [Redacted] v. Catalina Council,      C20205519       Superior Court of
                                                   Boy Scouts of America                                the State of
                                                                                                        Arizona, County
                                                                                                        of Pima
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                                     20-50527-LSS Doc
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                                                                        08/09/21
                                                                              PagePage
                                                                                   190 194
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number     Court or Agency
715   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon            CV2020-016657   Superior Court of
      Inc.; The Corporation of                    Council, Inc., Boy Scouts of                          the State of
      the President of the                        America; The Corporation of the                       Arizona, County
      Church of Jesus Christ                      President of the Church of Jesus                      of Maricopa
      of Latter-Day Saints;                       Christ of Latter-Day Saints, A Utah
      The Corporation of the                      Corporation Sole; The Corporation
      Presiding Bishop of the                     of the Presiding Bishop of the
      Church of Jesus Christ                      Church of Jesus Christ of Latter-
      of Latter-Day Saints                        Day Saints; John Doe 1-100; Jane
                                                  Doe 1-100; and Black & White
                                                  Corporations 1-100
716   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon            CV2020-016705   Superior Court of
      Inc.                                        Council, Inc., Boy Scouts of                          the State of
                                                  America; John Doe 1-100; Jane                         Arizona, County
                                                  Doe 1-100; and Black & White                          of Maricopa
                                                  Corporations 1-100
717   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon            CV2020-016708   Superior Court of
      Inc.                                        Council, Inc., Boy Scouts of                          the State of
                                                  America; John Doe 1-100; Jane                         Arizona, County
                                                  Doe 1-100; and Black & White                          of Maricopa
                                                  Corporations 1-100
718   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon            CV2020-016711   Superior Court of
      Inc.; The Corporation of                    Council, Inc., Boy Scouts of                          the State of
      the President of the                        America; The Corporation of the                       Arizona, County
      Church of Jesus Christ                      President of the Church of Jesus                      of Maricopa
      of Latter-Day Saints;                       Christ of Latter-Day Saints, a Utah
      The Corporation of the                      corporation sole; The Corporation
      Presiding Bishop of the                     of the Presiding Bishop of the
      Church of Jesus Christ                      Church of Jesus Christ of Latter-
      of Latter-Day Saints                        Day Saints; John Doe 1-100; Jane
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                                    20-50527-LSS Doc
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                                                                 07/21/21
                                                                       08/09/21
                                                                             PagePage
                                                                                  191 195
                                                                                      of 312
                                                                                          of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)    Case Caption                     Case Number        Court or Agency
                                                 Doe 1-100; and Black & White
                                                 Corporations 1-100
719   Grand Canyon Council,     [Redacted]       [Redacted] v. Grand Canyon       CV2020-016713      Superior Court of
      Inc.                                       Council, Inc., Boy Scouts of                        the State of
                                                 America; John Doe 1-100; Jane                       Arizona, County
                                                 Doe 1-100; and Black & White                        of Maricopa
                                                 Corporations 1-100
720   Grand Canyon Council,     [Redacted]       [Redacted] v. Grand Canyon       CV2020-016715      Superior Court of
      Inc.                                       Council, Inc., Boy Scouts of                        the State of
                                                 America; John Doe 1-100; Jane                       Arizona, County
                                                 Doe 1-100; and Black & White                        of Maricopa
                                                 Corporations 1-100
721   Grand Canyon Council,     [Redacted]       [Redacted] v. Grand Canyon       CV2020-016719      Superior Court of
      Inc.                                       Council, Inc., Boy Scouts of                        the State of
                                                 America; John Doe 1-100; Jane                       Arizona, County
                                                 Doe 1-100; and Black & White                        of Maricopa
                                                 Corporations 1-100
722   Grand Canyon Council,     [Redacted]       [Redacted] v. Grand Canyon       CV2020-016721      Superior Court of
      Inc.                                       Council, Inc., Boy Scouts of                        the State of
                                                 America; John Doe 1-100; Jane                       Arizona, County
                                                 Doe 1-100; and Black & White                        of Maricopa
                                                 Corporations 1-100
723   Las Vegas Area Council,   [Redacted]       [Redacted] v. Las Vegas Area     S8015CV202001195   Superior Court of
      Inc.                                       Council, Inc., Boy Scouts of                        the State of
                                                 America                                             Arizona, County
                                                                                                     of Mohave
724   Grand Canyon Council,     [Redacted]        [Redacted] v. Grand Canyon      CV2020-016735      Superior Court of
      Inc.                                        Council, Inc., Boy Scouts of                       the State of
                                                  America; John Doe 1-100; Jane                      Arizona, County
                                                                                                     of Maricopa
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                                     20-50527-LSS Doc
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                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   192 196
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                         Case Number     Court or Agency
                                                  Doe 1-100; and Black & White
                                                  Corporations 1-100
725   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon           CV2020-016748   Superior Court of
      Inc.                                        Council, Inc., Boy Scouts of                         the State of
                                                  America; John Doe 1-100; Jane                        Arizona, County
                                                  Doe 1-100; and Black & White                         of Maricopa
                                                  Corporations 1-100
726   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon           CV2020-016849   Superior Court of
      Inc.                                        Council, Inc., Boy Scouts of                         the State of
                                                  America; John Doe 1-100; Jane                        Arizona, County
                                                  Doe 1-100; and Black & White                         of Maricopa
                                                  Corporations 1-100
727   Grand Canyon Council,      [Redacted]       [Redacted], an individual v. Grand   CV2020-016885   Superior Court of
      Inc.; Theodore Roosevelt                    Canyon Council, Inc., Boy Scouts                     the State of
      Council; Red Mountain                       of America, an Arizona                               Arizona, County
      United Methodist                            corporation; Theodore Roosevelt                      of Maricopa
      Church                                      Council, Inc., Boy Scouts of
                                                  America, an Arizona corporation;
                                                  and Red Mountain United
                                                  Methodist Church, an Arizona
                                                  corporation
728   Grand Canyon Council,      [Redacted]       [Redacted], an individual v. Grand   CV2020-016879   Superior Court of
      Inc.; Theodore Roosevelt                    Canyon Council, Inc., Boy Scouts                     the State of
      Council, Inc.; Church of                    of America, an Arizona                               Arizona, County
      the Resurrection Roman                      corporation; Theodore Roosevelt                      of Maricopa
      Catholic Parish Tempe;                      Council, Inc., Boy Scouts of
      The Roman Catholic                          America, an Arizona corporation;
      Church of the Diocese of                    Church of the Resurrection Roman
      Phoenix                                     Catholic Parish Tempe, an Arizona
                                                  corporation; and The Roman
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                                                                              PagePage
                                                                                   193 197
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                         Case Number     Court or Agency
                                                  Catholic Church of the Diocese of
                                                  Phoenix, an Arizona corporation
729   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon           CV2020-016882   Superior Court of
      Inc.                                        Council, Inc., Boy Scouts of                         the State of
                                                  America; John Doe 1-100; Jane                        Arizona, County
                                                  Doe 1-100; and Black & White                         of Maricopa
                                                  Corporations 1-100
730   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon           CV2020-016880   Superior Court of
      Inc.                                        Council, Inc., Boy Scouts of                         the State of
                                                  America; John Doe 1-100; Jane                        Arizona, County
                                                  Doe 1-100; and Black & White                         of Maricopa
                                                  Corporations 1-100
731   Grand Canyon Council,      [Redacted]       [Redacted], an individual v. Grand   CV2020-016887   Superior Court of
      Inc.; Theodore Roosevelt                    Canyon Council, Inc., Boy Scouts                     the State of
      Council, Inc.                               of America, an Arizona                               Arizona, County
                                                  corporation; and Theodore                            of Maricopa
                                                  Roosevelt Council, Inc., Boy
                                                  Scouts of America, an Arizona
                                                  corporation
732   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon           CV2020-016886   Superior Court of
      Inc.; The Roman                             Council, Inc., Boy Scouts of                         the State of
      Catholic Diocese of                         America; The Roman Catholic                          Arizona, County
      Phoenix                                     Diocese of Phoenix; John Doe 1-                      of Maricopa
                                                  100; Jane Doe 1-100; and Black &
                                                  White Corporations 1-100
733   Grand Canyon Council,      [Redacted]       [Redacted] v. Grand Canyon           CV2020-016888   Superior Court of
      Inc.; The Roman                             Council, Inc., Boy Scouts of                         the State of
      Catholic Diocese of                         America; The Roman Catholic                          Arizona, County
      Phoenix                                     Diocese of Phoenix; John Doe 1-                      of Maricopa
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                                       20-50527-LSS Doc
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                                                                          08/09/21
                                                                                PagePage
                                                                                     194 198
                                                                                         of 312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                          Case Number     Court or Agency
                                                    100; Jane Doe 1-100; and Black &
                                                    White Corporations 1-100
734   Grand Canyon Council;        [Redacted]       [Redacted], an individual v. Grand    CV2020-016899   Superior Court of
      Theodore Roosevelt                            Canyon Council, Inc., Boy Scouts                      the State of
      Council, Inc.;                                of America, an Arizona                                Arizona, County
      Corporation of the                            corporation; Theodore Roosevelt                       of Maricopa
      Presiding Bishop of the                       Council, Inc., Boy Scouts of
      Church of Jesus Christ                        America, an Arizona corporation;
      of Latter-Day Saints;                         Corporation of the Presiding Bishop
      Corporation of the                            of the Church of Jesus Christ of
      President of the Church                       Latter-Day Saints, a foreign
      of Jesus Christ of Latter-                    corporation sole registered to do
      Day Saints and                                business in the State of Arizona;
      Successors; Spring                            Corporation of the President of the
      Valley Ward of the                            Church of Jesus Christ of Latter-
      Church of Jesus Christ                        Day Saints and Successors, a
      of Latter-Day Saints                          foreign corporation sole registered
                                                    to do business in the State of
                                                    Arizona; and Spring Valley Ward
                                                    of the Church of Jesus Christ of
                                                    Latter-Day Saints, Mayer, Arizona,
                                                    an unincorporated entity
735   Grand Canyon Council,        [Redacted]       [Redacted] v. Grand Canyon            CV2020-016903   Superior Court of
      Inc.; The Roman                               Council, Inc., Boy Scouts of                          the State of
      Catholic Diocese of                           America; The Roman Catholic                           Arizona, County
      Phoenix                                       Diocese of Phoenix; John Doe 1-                       of Maricopa
                                                    100; Jane Doe 1-100; and Black &
                                                    White Corporations 1-100
736   Grand Canyon Council,        [Redacted]       [Redacted], an individual v. Grand    CV2020-096761   Superior Court of
      Inc.; The Desert                              Canyon Council, Inc., Boy Scouts                      the State of
                              CaseCase
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                                                        185-1 23-1
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                                                                          08/09/21
                                                                                PagePage
                                                                                     195 199
                                                                                         of 312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                          Case Number     Court or Agency
      Southwest Annual                              of America, a domestic non-profit                     Arizona, County
      (Regional) Conference                         corporation; The Desert Southwest                     of Maricopa
      of the United Methodist                       Annual (Regional) Conference of
      Church; Arizona                               the United Methodist Church, an
      Ecumenical Council;                           unincorporated entity; Arizona
      Los Arcos United                              Ecumenical Council, a domestic
      Methodist Church                              nonprofit corporation; and Los
                                                    Arcos United Methodist Church, a
                                                    domestic nonprofit corporation
737   Grand Canyon Council,        [Redacted]       [Redacted], an individual v. Grand    CV2020-096764   Superior Court of
      Inc.; The Church of                           Canyon Council, Inc., Boy Scouts                      the State of
      Jesus Christ of Latter-                       of America, a domestic non-profit                     Arizona, County
      Day Saints; The                               corporation; The Church of Jesus                      of Maricopa
      Corporation of the                            Christ of Latter-Day Saints, a
      Presiding Bishop of the                       foreign corporation solely
      Church of Jesus Christ                        registered to do business in the
      of Latter-Day Saints;                         State of Arizona; The Corporation
      Ward #42 of the Church                        of the Presiding Bishop of the
      of Jesus Christ of Latter-                    Church of Jesus Christ of Latter-
      Day Saints, Mesa,                             Day Saints, a foreign corporation
      Arizona                                       solely registered to do business in
                                                    the State of Arizona; Ward #42 of
                                                    the Church of Jesus Christ of
                                                    Latter-Day Saints, Mesa, Arizona,
                                                    an unincorporated entity
738   Grand Canyon Council,        [Redacted]       [Redacted] v. Grand Canyon            CV2020-016950   Superior Court of
      Inc.; The Corporation of                      Council, Inc., Boy Scouts of                          the State of
      the President of the                          America; The Corporation of the                       Arizona, County
      Church of Jesus Christ                        President of the Church of Jesus                      of Maricopa
      of Latter-Day Saints;                         Christ of Latter-Day Saints, a Utah
                              CaseCase
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                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     196 200
                                                                                         of 312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                          Case Number     Court or Agency
      The Corporation of the                        corporation sole; The Corporation
      Presiding Bishop of the                       of the Presiding Bishop of the
      Church of Jesus Christ                        Church of Jesus Christ of Latter-
      of Latter-Day Saints                          Day Saints; John Doe 1-100; Jane
                                                    Doe 1-100; and Black & White
                                                    Corporations 1-100
739   Grand Canyon Council,        [Redacted]       [Redacted] v. Grand Canyon            CV2020-016956   Superior Court of
      Inc.                                          Council, Inc., Boy Scouts of                          the State of
                                                    America; John Doe 1-100; Jane                         Arizona, County
                                                    Doe 1-100; and Black & White                          of Maricopa
                                                    Corporations 1-100
740   Grand Canyon Council,        [Redacted]       [Redacted], an individual v. Grand    CV2020-096775   Superior Court of
      Inc.                                          Canyon Council, Inc., Boy Scouts                      the State of
                                                    of America, a domestic non-profit                     Arizona, County
                                                    corporation                                           of Maricopa
741   Grand Canyon Council,        [Redacted]       [Redacted], an individual v. Grand    CV2020-096782   Superior Court of
      Inc.; The Church of                           Canyon Council, Inc., Boy Scouts                      the State of
      Jesus Christ of Latter-                       of America, a domestic non-profit                     Arizona, County
      Day Saints; The                               corporation; The Church of Jesus                      of Maricopa
      Corporations of the                           Christ of Latter-Day Saints, a
      Presiding Bishop of the                       foreign corporation solely
      Church of Jesus Christ                        registered to do business in the
      of Latter-Day Saints;                         State of Arizona; The Corporations
      Ward #43 of the Church                        of the Presiding Bishop of the
      of Jesus Christ of Latter-                    Church of Jesus Christ of Latter-
      Day Saints, Mesa,                             Day Saints, a foreign corporation
      Arizona                                       solely registered to do business in
                                                    the State of Arizona; Ward #43 of
                                                    the Church of Jesus Christ of
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                                      20-50527-LSS Doc
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    197 201
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                            Case Number     Court or Agency
                                                   Latter-Day Saints, Mesa, Arizona,
                                                   an unincorporated entity
742   Grand Canyon Council,       John Doe         John Doe, an individual v. Grand        CV2020-017127   Superior Court of
      Inc.                                         Canyon Council, Inc., Boy Scouts                        the State of
                                                   of America, an Arizona corporation                      Arizona, County
                                                                                                           of Maricopa
743   Catalina Council Inc.;      John Does 1-26    John Does 1-26 v. Boy Scouts of        CV2020-017218   Superior Court of
      Grand Canyon Council,                         America, a federally chartered                         the State of
      Inc.; Las Vegas Area                          nonprofit corporation; Catalina                        Arizona, County
      Counsel, Inc.;                                Council, Inc., an Arizona nonprofit                    of Maricopa
      Crossroads of the West,                       corporation; Grand Canyon
      Inc.; Great Southwest                         Council, Inc., an Arizona nonprofit
      Council, Inc.; The                            corporation; Las Vegas Area
      Roman Catholic Church                         Counsel, Inc., a Nevada nonprofit
      of the Diocese of                             corporation; Crossroads of the
      Phoenix; The Roman                            West, Inc., a Utah nonprofit
      Catholic Church of the                        corporation; Great Southwest
      Diocese of Tucson; The                        Council, Inc., a New Mexico
      Roman Catholic Church                         nonprofit corporation; The Roman
      of the Diocese of Gallup;                     Catholic Church of the Diocese of
      The Corporation of the                        Phoenix, an Arizona corporation;
      President of the Church                       The Roman Catholic Church of the
      of Jesus Christ of Latter                     Diocese of Tucson, an Arizona
      Day Saints; The                               corporation; The Roman Catholic
      Southern Baptist                              Church of the Diocese of Gallup, a
      Convention                                    New Mexico nonprofit corporation;
                                                    The Corporation of the President of
                                                    the Church of Jesus Christ of Latter
                                                    Day Saints, a Utah corporation; The
                                                    Southern Baptist Convention, a
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                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     198 202
                                                                                         of 312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                         Case Number     Court or Agency
                                                    Georgia nonprofit corporation; John
                                                    Does I-V; Jane Does I-V; XYZ
                                                    Corporations I-V; ABC
                                                    Partnerships I-V
744   Catalina Council; The        [Redacted]       [Redacted] v. Catalina Council,      C20205593       Superior Court of
      Corporation of the                            Boy Scouts of America; The                           the State of
      President of the Church                       Corporation of the President of the                  Arizona, County
      of Jesus Christ of Latter-                    Church of Jesus Christ of Latter-                    of Pima
      Day Saints; The                               Day Saints, a Utah corporation sole;
      Corporation of the                            The Corporation of the Presiding
      Presiding Bishop of the                       Bishop of the Church of Jesus
      Church of Jesus Christ                        Christ of Latter-Day Saints; John
      of Latter-Day Saints                          Doe 1-100; Jane Doe 1-100; and
                                                    Black & White Corporations 1-100
745   Catalina Council; Grand      John Does 1-36   John Does 1-36 v. Catalina           CV2020-017235   Superior Court of
      Canyon Council, Inc.;                         Council, an Arizona nonprofit                        the State of
      Las Vegas Area                                corporation; Grand Canyon                            Arizona, County
      Counsel, Inc.;                                Council, Inc., an Arizona nonprofit                  of Maricopa
      Crossroads of the West,                       corporation; Las Vegas Area
      Inc.; Great Southwest                         Counsel, Inc., a Nevada nonprofit
      Council, Inc.; The                            corporation; Crossroads of the
      Roman Catholic Church                         West, Inc., a Utah nonprofit
      of the Diocese of                             corporation; Great Southwest
      Phoenix; The Roman                            Council, Inc., a New Mexico
      Catholic Church of the                        nonprofit corporation; The Roman
      Diocese of Tucson; The                        Catholic Church of the Diocese of
      Roman Catholic Church                         Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                     The Roman Catholic Church of the
      The Corporation of the                        Diocese of Tucson, an Arizona
      President of the Church                       corporation; The Roman Catholic
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                                       20-50527-LSS Doc
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                                                                          08/09/21
                                                                                PagePage
                                                                                     199 203
                                                                                         of 312
                                                                                             of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)     Case Caption                           Case Number     Court or Agency
      of Jesus Christ of Latter                     Church of the Diocese of Gallup, a
      Day Saints                                    New Mexico nonprofit corporation;
                                                    The Corporation of the President of
                                                    the Church of Jesus Christ of Latter
                                                    Day Saints, a Utah corporation;
                                                    John Does I-V; Jane Does I-V;
                                                    XYZ Corporations I-V; ABC
                                                    Partnerships I-V
746   Catalina Council; Grand     John Does 1-30    John Does 1-30 v. Catalina             CV2020-017207   Superior Court of
      Canyon Council, Inc.;                         Council, an Arizona nonprofit                          the State of
      Las Vegas Area                                corporation; Grand Canyon                              Arizona, County
      Counsel, Inc.;                                Council, Inc., an Arizona nonprofit                    of Maricopa
      Crossroads of the West,                       corporation; Las Vegas Area
      Inc.; Great Southwest                         Counsel, Inc., a Nevada nonprofit
      Council, Inc.; The                            corporation; Crossroads of the
      Roman Catholic Church                         West, Inc., a Utah nonprofit
      of the Diocese of                             corporation; Great Southwest
      Phoenix; The Roman                            Council, Inc., a New Mexico
      Catholic Church of the                        nonprofit corporation; The Roman
      Diocese of Tucson; The                        Catholic Church of the Diocese of
      Roman Catholic Church                         Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                     The Roman Catholic Church of the
      The Corporation of the                        Diocese of Tucson, an Arizona
      President of the Church                       corporation; The Roman Catholic
      of Jesus Christ of Latter                     Church of the Diocese of Gallup, a
      Day Saints                                    New Mexico nonprofit corporation;
                                                    The Corporation of the President of
                                                    the Church of Jesus Christ of Latter
                                                    Day Saints, a Utah corporation;
                                                    John Does I-V; Jane Does I-V;
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                                      20-50527-LSS Doc
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                                                                         08/09/21
                                                                               PagePage
                                                                                    200 204
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
747   Catalina Council; Grand     John Does 1-34   John Does 1-34 v. Catalina             CV2020-017208   Superior Court of
      Canyon Council, Inc.;                        Council, an Arizona nonprofit                          the State of
      Las Vegas Area                               corporation; Grand Canyon                              Arizona, County
      Counsel, Inc.;                               Council, Inc., an Arizona nonprofit                    of Maricopa
      Crossroads of the West,                      corporation; Las Vegas Area
      Inc.; Great Southwest                        Counsel, Inc., a Nevada nonprofit
      Council, Inc.; The                           corporation; Crossroads of the
      Roman Catholic Church                        West, Inc., a Utah nonprofit
      of the Diocese of                            corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
      Catholic Church of the                       nonprofit corporation; The Roman
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
748   Catalina Council; Grand     John Does 1-35   John Does 1-35 v. Catalina             CV2020-017210   Superior Court of
      Canyon Council, Inc.;                        Council, an Arizona nonprofit                          the State of
      Las Vegas Area                               corporation; Grand Canyon                              Arizona, County
      Counsel, Inc.;                               Council, Inc., an Arizona nonprofit                    of Maricopa
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                                      20-50527-LSS Doc
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                                                                         08/09/21
                                                                               PagePage
                                                                                    201 205
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
      Crossroads of the West,                      corporation; Las Vegas Area
      Inc.; Great Southwest                        Counsel, Inc., a Nevada nonprofit
      Council, Inc.; The                           corporation; Crossroads of the
      Roman Catholic Church                        West, Inc., a Utah nonprofit
      of the Diocese of                            corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
      Catholic Church of the                       nonprofit corporation; The Roman
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
749   Catalina Council; Grand     John Does 1-50   John Does 1-50 v. Catalina             CV2020-017213   Superior Court of
      Canyon Council, Inc.;                        Council, an Arizona nonprofit                          the State of
      Las Vegas Area                               corporation; Grand Canyon                              Arizona, County
      Counsel, Inc.;                               Council, Inc., an Arizona nonprofit                    of Maricopa
      Crossroads of the West,                      corporation; Las Vegas Area
      Inc.; Great Southwest                        Counsel, Inc., a Nevada nonprofit
      Council, Inc.; The                           corporation; Crossroads of the
      Roman Catholic Church                        West, Inc., a Utah nonprofit
      of the Diocese of                            corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
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                                      20-50527-LSS Doc
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                                                                         08/09/21
                                                                               PagePage
                                                                                    202 206
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
      Catholic Church of the                       nonprofit corporation; The Roman
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
750   Catalina Council; Grand     John Does 1-42   John Does 1-42 v. Catalina             CV2020-017215   Superior Court of
      Canyon Council, Inc.;                        Council, an Arizona nonprofit                          the State of
      Las Vegas Area                               corporation; Grand Canyon                              Arizona, County
      Counsel, Inc.;                               Council, Inc., an Arizona nonprofit                    of Maricopa
      Crossroads of the West,                      corporation; Las Vegas Area
      Inc.; Great Southwest                        Counsel, Inc., a Nevada nonprofit
      Council, Inc.; The                           corporation; Crossroads of the
      Roman Catholic Church                        West, Inc., a Utah nonprofit
      of the Diocese of                            corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
      Catholic Church of the                       nonprofit corporation; The Roman
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
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                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                          08/09/21
                                                                                PagePage
                                                                                     203 207
                                                                                         of 312
                                                                                             of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)     Case Caption                         Case Number    Court or Agency
      of Jesus Christ of Latter                     Church of the Diocese of Gallup, a
      Day Saints                                    New Mexico nonprofit corporation;
                                                    The Corporation of the President of
                                                    the Church of Jesus Christ of Latter
                                                    Day Saints, a Utah corporation;
                                                    John Does I-V; Jane Does I-V;
                                                    XYZ Corporations I-V; ABC
                                                    Partnerships I-V
751   Catalina Council; Grand     John Does 1-20    John Does 1-20 v. Catalina Council, CV2020-017217   Superior Court of
      Canyon Council, Inc.;                         an Arizona nonprofit corporation;                   the State of
      Las Vegas Area                                Grand Canyon Council, Inc., an                      Arizona, County
      Counsel, Inc.;                                Arizona nonprofit corporation; Las                  of Maricopa
      Crossroads of the West,                       Vegas Area Counsel, Inc., a Nevada
      Inc.; Great Southwest                         nonprofit corporation; Crossroads
      Council, Inc.; The                            of the West, Inc., a Utah nonprofit
      Roman Catholic Church                         corporation; Great Southwest
      of the Diocese of                             Council, Inc., a New Mexico
      Phoenix; The Roman                            nonprofit corporation; The Roman
      Catholic Church of the                        Catholic Church of the Diocese of
      Diocese of Tucson; The                        Phoenix, an Arizona corporation;
      Roman Catholic Church                         The Roman Catholic Church of the
      of the Diocese of Gallup;                     Diocese of Tucson, an Arizona
      The Corporation of the                        corporation; The Roman Catholic
      President of the Church                       Church of the Diocese of Gallup, a
      of Jesus Christ of Latter                     New Mexico nonprofit corporation;
      Day Saints                                    The Corporation of the President of
                                                    the Church of Jesus Christ of Latter
                                                    Day Saints, a Utah corporation;
                                                    John Does I-V; Jane Does I-V;
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                                                                               PagePage
                                                                                    204 208
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                         Case Number     Court or Agency
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
752   Catalina Council; Grand     John Does 1-6    John Does 1-6 v. Catalina Council,   CV2020-017219   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                    the State of
      Las Vegas Area                               Grand Canyon Council, Inc., an                       Arizona, County
      Counsel, Inc.;                               Arizona nonprofit corporation; Las                   of Maricopa
      Crossroads of the West,                      Vegas Area Counsel, Inc., a Nevada
      Inc.; Great Southwest                        nonprofit corporation; Crossroads
      Council, Inc.; The                           of the West, Inc., a Utah nonprofit
      Roman Catholic Church                        corporation; Great Southwest
      of the Diocese of                            Council, Inc., a New Mexico
      Phoenix; The Roman                           nonprofit corporation; The Roman
      Catholic Church of the                       Catholic Church of the Diocese of
      Diocese of Tucson; The                       Phoenix, an Arizona corporation;
      Roman Catholic Church                        The Roman Catholic Church of the
      of the Diocese of Gallup;                    Diocese of Tucson, an Arizona
      The Corporation of the                       corporation; The Roman Catholic
      President of the Church                      Church of the Diocese of Gallup, a
      of Jesus Christ of Latter                    New Mexico nonprofit corporation;
      Day Saints                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
753   Catalina Council; Grand     John Does 1-6    John Does 1-6 v. Catalina Council,   CV2020-017221   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                    the State of
      Las Vegas Area                               Grand Canyon Council, Inc., an                       Arizona, County
      Counsel, Inc.;                               Arizona nonprofit corporation; Las                   of Maricopa
      Crossroads of the West,                      Vegas Area Counsel, Inc., a Nevada
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                                                                               PagePage
                                                                                    205 209
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                         Case Number     Court or Agency
      Inc.; Great Southwest                        nonprofit corporation; Crossroads
      Council, Inc.; The                           of the West, Inc., a Utah nonprofit
      Roman Catholic Church                        corporation; Great Southwest
      of the Diocese of                            Council, Inc., a New Mexico
      Phoenix; The Roman                           nonprofit corporation; The Roman
      Catholic Church of the                       Catholic Church of the Diocese of
      Diocese of Tucson; The                       Phoenix, an Arizona corporation;
      Roman Catholic Church                        The Roman Catholic Church of the
      of the Diocese of Gallup;                    Diocese of Tucson, an Arizona
      The Corporation of the                       corporation; The Roman Catholic
      President of the Church                      Church of the Diocese of Gallup, a
      of Jesus Christ of Latter                    New Mexico nonprofit corporation;
      Day Saints                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
754   Catalina Council; Grand     John Does 1-2    John Does 1-2 v. Catalina Council,   CV2020-017226   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                    the State of
      Las Vegas Area                               Grand Canyon Council, Inc., an                       Arizona, County
      Counsel, Inc.;                               Arizona nonprofit corporation; Las                   of Maricopa
      Crossroads of the West,                      Vegas Area Counsel, Inc., a Nevada
      Inc.; Great Southwest                        nonprofit corporation; Crossroads
      Council, Inc.; The                           of the West, Inc., a Utah nonprofit
      Roman Catholic Church                        corporation; Great Southwest
      of the Diocese of                            Council, Inc., a New Mexico
      Phoenix; The Roman                           nonprofit corporation; The Roman
      Catholic Church of the                       Catholic Church of the Diocese of
      Diocese of Tucson; The                       Phoenix, an Arizona corporation;
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                                                                               PagePage
                                                                                    206 210
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                         Case Number    Court or Agency
      Roman Catholic Church                        The Roman Catholic Church of the
      of the Diocese of Gallup;                    Diocese of Tucson, an Arizona
      The Corporation of the                       corporation; The Roman Catholic
      President of the Church                      Church of the Diocese of Gallup, a
      of Jesus Christ of Latter                    New Mexico nonprofit corporation;
      Day Saints                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
755   Catalina Council; Grand     John Does 1-29   John Does 1-29 v. Catalina Council, CV2020-017173   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                   the State of
      Las Vegas Area                               Grand Canyon Council, Inc., an                      Arizona, County
      Counsel, Inc.;                               Arizona nonprofit corporation; Las                  of Maricopa
      Crossroads of the West,                      Vegas Area Counsel, Inc., a Nevada
      Inc.; Great Southwest                        nonprofit corporation; Crossroads
      Council, Inc.; The                           of the West, Inc., a Utah nonprofit
      Roman Catholic Church                        corporation; Great Southwest
      of the Diocese of                            Council, Inc., a New Mexico
      Phoenix; The Roman                           nonprofit corporation; The Roman
      Catholic Church of the                       Catholic Church of the Diocese of
      Diocese of Tucson; The                       Phoenix, an Arizona corporation;
      Roman Catholic Church                        The Roman Catholic Church of the
      of the Diocese of Gallup;                    Diocese of Tucson, an Arizona
      The Corporation of the                       corporation; The Roman Catholic
      President of the Church                      Church of the Diocese of Gallup, a
      of Jesus Christ of Latter                    New Mexico nonprofit corporation;
      Day Saints                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
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                                                                         08/09/21
                                                                               PagePage
                                                                                    207 211
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                         Case Number    Court or Agency
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
756   Catalina Council; Grand     John Does 1-46   John Does 1-46 v. Catalina Council, CV2020-017176   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                   the State of
      Las Vegas Area                               Grand Canyon Council, Inc., an                      Arizona, County
      Counsel, Inc.;                               Arizona nonprofit corporation; Las                  of Maricopa
      Crossroads of the West,                      Vegas Area Counsel, Inc., a Nevada
      Inc.; Great Southwest                        nonprofit corporation; Crossroads
      Council, Inc.; The                           of the West, Inc., a Utah nonprofit
      Roman Catholic Church                        corporation; Great Southwest
      of the Diocese of                            Council, Inc., a New Mexico
      Phoenix; The Roman                           nonprofit corporation; The Roman
      Catholic Church of the                       Catholic Church of the Diocese of
      Diocese of Tucson; The                       Phoenix, an Arizona corporation;
      Roman Catholic Church                        The Roman Catholic Church of the
      of the Diocese of Gallup;                    Diocese of Tucson, an Arizona
      The Corporation of the                       corporation; The Roman Catholic
      President of the Church                      Church of the Diocese of Gallup, a
      of Jesus Christ of Latter                    New Mexico nonprofit corporation;
      Day Saints                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
757   Grand Canyon Council,       John Doe #5      John Doe #5, an individual v. Grand CV2020-017288   Superior Court of
      Inc.; Theodore Roosevelt                     Canyon Council, Inc., Boy Scouts                    the State of
      Council, Inc.; Catalina                      of America, an Arizona
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                                                                                 PagePage
                                                                                      208 212
                                                                                          of 312
                                                                                              of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)        Case Caption                            Case Number     Court or Agency
      Council, Inc.; Brooks                            corporation; Theodore Roosevelt                         Arizona, County
      Community Center                                 Council, Inc., Boy Scouts of                            of Maricopa
      School; Roosevelt                                America, an Arizona corporation;
      School District No. 66                           Catalina Council, Inc., an Arizona
                                                       corporation; Brooks Community
                                                       Center School, an Arizona public
                                                       school; and Roosevelt School
                                                       District No. 66, a political
                                                       subdivision of the State of Arizona
758   Grand Canyon Council,       John Doe #3          John Doe #3, an individual v. Grand     CV2020-017291   Superior Court of
      Inc.; Theodore Roosevelt                         Canyon Council, Inc., Boy Scouts                        the State of
      Council, Inc.; Loma                              of America, an Arizona                                  Arizona, County
      Linda School; Creighton                          corporation; Theodore Roosevelt                         of Maricopa
      Elementary School                                Council, Inc., Boy Scouts of
      District                                         America, an Arizona corporation;
                                                       Loma Linda School, an Arizona
                                                       public school; and Creighton
                                                       Elementary School District, an
                                                       Arizona public school district in the
                                                       State of Arizona
759   Grand Canyon Council,       John Doe #6          John Doe #6, an individual v.           CV2020-017310   Superior Court of
      Inc.; Theodore Roosevelt                         Grand Canyon Council, Inc., Boy                         the State of
      Council, Inc.                                    Scouts of America, an Arizona                           Arizona, County
                                                       corporation; Theodore Roosevelt                         of Maricopa
                                                       Council, Inc., Boy Scouts of
                                                       America, an Arizona corporation
760   Grand Canyon Council,       John Does 1-28 and   John Does 1-28 and Jane Doe 1 v.        CV2020-017322   Superior Court of
      Inc.; Catalina Council;     Jane Doe 1           Grand Canyon Council, Inc., Boy                         the State of
      Boy Scouts of America,                           Scouts of America; Catalina                             Arizona, County
      Las Vegas Area Council;                          Council, Boy Scouts of America;                         of Maricopa
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                                                                              PagePage
                                                                                   209 213
                                                                                       of 312
                                                                                           of 316




                               Underlying
      Non-Debtor               Plaintiff(s)
      Defendants(s)            (last, first)      Case Caption                         Case Number     Court or Agency
      Greater Los Angeles                         Boy Scouts of America, Las Vegas
      Area Council; Boy                           Area Council; Greater Los Angeles
      Scouts of America,                          Area Council, Boy Scouts of
      California Inland Empire                    America; Boy Scouts of America,
      Council 045; Boy Scouts                     California Inland Empire Council
      of America, Denver Area                     045; Boy Scouts of America,
      Council #61; Hawkeye                        Denver Area Council #61;
      Area Council; and                           Hawkeye Area Council, Boy Scouts
      Mayflower Council, Inc.                     of America; and Mayflower
                                                  Council, Inc., Boy Scouts of
                                                  America
761   Grand Canyon Council,   John Does 1-66      John Does 1-66, adult males          CV2020-056280   Superior Court of
      Inc.; Boy Scouts of                         proceeding under fictitious names                    the State of
      America, Catalina                           v. Grand Canyon Council, Inc., Boy                   Arizona, County
      Council; Las Vegas Area                     Scouts of America; Boy Scouts of                     of Maricopa
      Council, Inc.;                              America, Catalina Council; Las
      Crossroads of the West                      Vegas Area Council, Inc., Boy
      Council; Great                              Scouts of America; Crossroads of
      Southwest Council                           the West Council, Boy Scouts of
                                                  America; Great Southwest Council,
                                                  Boy Scouts of America; John Does
                                                  I-V; Jane Doe I-V; XYZ
                                                  Corporations I-V; and ABC
                                                  Partnerships I-V
762   Grand Canyon Council,   John Does 1-65      John Does 1-65, adult males          CV2020-056283   Superior Court of
      Inc.; Boy Scouts of                         proceeding under fictitious names                    the State of
      America, Catalina                           v. Grand Canyon Council, Inc., Boy                   Arizona, County
      Council; Las Vegas Area                     Scouts of America; Boy Scouts of                     of Maricopa
      Council, Inc.;                              America, Catalina Council; Las
      Crossroads of the West                      Vegas Area Council, Inc., Boy
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                                                                07/21/21
                                                                      08/09/21
                                                                            PagePage
                                                                                 210 214
                                                                                     of 312
                                                                                         of 316




                              Underlying
      Non-Debtor              Plaintiff(s)
      Defendants(s)           (last, first)     Case Caption                         Case Number     Court or Agency
      Council; Great                            Scouts of America; Crossroads of
      Southwest Council                         the West Council, Boy Scouts of
                                                America; Great Southwest Council,
                                                Boy Scouts of America; John Does
                                                I-V; Jane Doe I-V; XYZ
                                                Corporations I-V; and ABC
                                                Partnerships I-V
763   Grand Canyon Council,   John Does 1-65    John Does 1-65, adult males          CV2020-056284   Superior Court of
      Inc.; Boy Scouts of                       proceeding under fictitious names                    the State of
      America, Catalina                         v. Grand Canyon Council, Inc., Boy                   Arizona, County
      Council; Las Vegas Area                   Scouts of America; Boy Scouts of                     of Maricopa
      Council, Inc.;                            America, Catalina Council; Las
      Crossroads of the West                    Vegas Area Council, Inc., Boy
      Council; Great                            Scouts of America; Crossroads of
      Southwest Council                         the West Council, Boy Scouts of
                                                America; Great Southwest Council,
                                                Boy Scouts of America; John Does
                                                I-V; Jane Doe I-V; XYZ
                                                Corporations I-V; and ABC
                                                Partnerships I-V
764   Grand Canyon Council,   John Does 1-65    John Does 1-65, adult males          CV2020-056286   Superior Court of
      Inc.; Boy Scouts of                       proceeding under fictitious names                    the State of
      America, Catalina                         v. Grand Canyon Council, Inc., Boy                   Arizona, County
      Council; Las Vegas Area                   Scouts of America; Boy Scouts of                     of Maricopa
      Council, Inc.;                            America, Catalina Council; Las
      Crossroads of the West                    Vegas Area Council, Inc., Boy
      Council; Great                            Scouts of America; Crossroads of
      Southwest Council                         the West Council, Boy Scouts of
                                                America; Great Southwest Council,
                                                Boy Scouts of America; John Does
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                                                                         08/09/21
                                                                               PagePage
                                                                                    211 215
                                                                                        of 312
                                                                                            of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)      Case Caption                        Case Number      Court or Agency
                                                   I-V; Jane Doe I-V; XYZ
                                                   Corporations I-V; and ABC
                                                   Partnerships I-V
765   Catalina Council          [Redacted]         [Redacted] v. Catalina Council, Boy C20205760        Superior Court of
                                                   Scouts of America                                    the State of
                                                                                                        Arizona, County
                                                                                                        of Pima
766   Catalina Council          [Redacted]         [Redacted] v. Catalina Council, Boy C20205761        Superior Court of
                                                   Scouts of America                                    the State of
                                                                                                        Arizona, County
                                                                                                        of Pima
767   Grand Canyon Council      [Redacted]         [Redacted] v. Grand Canyon           CV2020-017355   Superior Court of
                                                   Council, Inc., Boy Scouts of                         the State of
                                                   America, a domestic non-profit                       Arizona, County
                                                   corporation; Boy Scouts of                           of Maricopa
                                                   America, a foreign non-profit
                                                   corporation; John Does 1-100; Jane
                                                   Does 1-100; Black Corporations
                                                   and White Corporations 1-100
768   Theodore Roosevelt        John PA 1 Doe      John PA 1 Doe, a single man v.       CV2020-017375   Superior Court of
      Council, Inc.; Grand                         Theodore Roosevelt Council, Inc.,                    the State of
      Canyon Council, Inc.;                        Boy Scouts of America; Grand                         Arizona, County
      The Corporation of the                       Canyon Council, Inc., Boy Scouts                     of Maricopa
      Presiding Bishop of the                      of America, an Arizona
      Church of Jesus Christ                       Corporation; The Corporation of the
      of Latter-Day Saints;                        Presiding Bishop of the Church of
      The Church of Jesus                          Jesus Christ of Latter-Day Saints, a
      Christ of Latter-Day                         foreign corporation sole registered
      Saints                                       to do business in the state of
                                                   Arizona; The Church of Jesus
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                                                                               PagePage
                                                                                    212 216
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                          Case Number     Court or Agency
                                                   Christ of Latter-Day Saints, a
                                                   foreign corporation sole registered
                                                   to do business in the State of
                                                   Arizona; John Doe 1-100; Jane Doe
                                                   1-100; and Black & White
                                                   Corporations 1-100
769   Desert Trails Council,     John Doe PA 15    John Doe PA 15, a single man v.       CV2020-017393   Superior Court of
      Inc.; San Diego-Imperial                     Desert Trails Council, Inc., Boy                      the State of
      Council; Grand Canyon                        Scouts of America; San Diego-                         Arizona, County
      Council, Inc.                                Imperial Council, Boy Scouts of                       of Maricopa
                                                   America, a foreign corporation
                                                   authorized to do business in the
                                                   state of California; Grand Canyon
                                                   Council, Inc., Boy Scouts of
                                                   America, an Arizona corporation;
                                                   John Doe 1-100; Jane Doe 1-100;
                                                   and Black & White Corporations 1-
                                                   100
770   Theodore Roosevelt         John Doe PA 13    John Doe PA 13, a married man v.      CV2020-017390   Superior Court of
      Council, Inc.; Grand                         Theodore Roosevelt Council, Inc.,                     the State of
      Canyon Council, Inc.                         Boy Scouts of America; Grand                          Arizona, County
                                                   Canyon Council, Inc., Boy Scouts                      of Maricopa
                                                   of America, an Arizona
                                                   corporation; John Doe 1-100; Jane
                                                   Doe 1-100; and Black & White
                                                   Corporations
771   Theodore Roosevelt         [Redacted]        [Redacted], a single man v.           CV2020-017395   Superior Court of
      Council, Inc.; Grand                         Theodore Roosevelt Council, Inc.,                     the State of
      Canyon Council, Inc.                         Boy Scouts of America; Grand                          Arizona, County
                                                   Canyon Council, Inc., Boy Scouts                      of Maricopa
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                                                                               PagePage
                                                                                    213 217
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
                                                   of America, an Arizona
                                                   corporation; John Doe 1-100; Jane
                                                   Doe 1-100; and Black & White
                                                   Corporations 1-100
772   Theodore Roosevelt          John Doe PA 12   John Doe PA 12, a single man v.        CV2020-017399   Superior Court of
      Council, Inc.; Grand                         Theodore Roosevelt Council, Inc.,                      the State of
      Canyon Council, Inc.                         Boy Scouts of America; Grand                           Arizona, County
                                                   Canyon Council, Inc., Boy Scouts                       of Maricopa
                                                   of America, an Arizona
                                                   corporation; John Doe 1-100; Jane
                                                   Doe 1-100; and Black & White
                                                   Corporations 1-100
773   Theodore Roosevelt          [Redacted]       [Redacted] v. Boy Scouts of            CV2020-017404   Superior Court of
      Council, Inc.; Grand                         America, a/k/a, Boy Scouts of                          the State of
      Canyon Council, Inc.                         America, Corp., a/k/a, BSA,                            Arizona, County
                                                   Theodore Roosevelt Council, Inc.,                      of Maricopa
                                                   Boy Scouts of America, and Grand
                                                   Canyon Council, Inc., Boy Scouts
                                                   of America; John Doe 1-100; Jane
                                                   Doe 1-100; and Black & White
                                                   Corporations 1-100
774   Grand Canyon Council,       [Redacted]       [Redacted] v. Grand Canyon             CV2020-017445   Superior Court of
      Inc.; Theodore Roosevelt                     Council, Inc., Boy Scouts of                           the State of
      Council, Inc.; Cartwright                    America, an Arizona corporation;                       Arizona, County
      School; Cartwright                           Theodore Roosevelt Council, Inc.,                      of Maricopa
      Elementary School                            Boy Scouts of America, an Arizona
      District No. 83, a                           corporation; Cartwright School, an
      political subdivision of                     Arizona public school; Cartwright
      the State of Arizona; Big                    Elementary School District No. 83,
                                                   a political subdivision of the State
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                                                                            08/09/21
                                                                                  PagePage
                                                                                       214 218
                                                                                           of 312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                          Case Number     Court or Agency
      Brothers Big Sisters of                         of Arizona; and Big Brothers Big
      Central Arizona                                 Sisters of Central Arizona, an
                                                      Arizona corporation
775   The Church of Jesus          [Redacted]         [Redacted], a married male resident   CV2020-017451   Superior Court of
      Christ of Latter-Day                            of Arizona proceeding under a                         the State of
      Saints; The Corporation                         pseudonym v. The Church of Jesus                      Arizona, County
      of The President of the                         Christ of Latter-Day Saints, a                        of Maricopa
      Church of Jesus Christ                          foreign Corporation Sole; The
      of Latter-Day Saints;                           Corporation of The President of the
      Catalina Council                                Church of Jesus Christ of Latter-
                                                      Day Saints, a foreign Corporation
                                                      Sole; Catalina Council, Boy Scouts
                                                      of America, an Arizona nonprofit
                                                      corporation
776   The Church of Jesus          [Redacted]         [Redacted], a married male resident   CV2020-017449   Superior Court of
      Christ of Latter-Day                            of Nevada proceeding under a                          the State of
      Saints; The Corporation                         pseudonym v. The Church of Jesus                      Arizona, County
      of The President of the                         Christ of Latter-Day Saints, a                        of Maricopa
      Church of Jesus Christ                          foreign Corporation Sole; The
      of Latter-Day Saints;                           Corporation of The President of the
      Grand Canyon Council                            Church of Jesus Christ of Latter-
                                                      Day Saints, a foreign Corporation
                                                      Sole; Grand Canyon Council, Inc.,
                                                      Boy Scouts of America, an Arizona
                                                      nonprofit corporation
777   Grand Canyon Council,        [Redacted]         [Redacted], an individual v. Grand    CV2020-017452   Superior Court of
      Inc.; Theodore Roosevelt                        Canyon Council, Inc., Boy Scouts                      the State of
      Council, Inc.;                                  of America, an Arizona                                Arizona, County
      Bicentennial North                              corporation; Theodore Roosevelt                       of Maricopa
      School; and Glendale                            Council, Inc., Boy Scouts of
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                                                                             08/09/21
                                                                                   PagePage
                                                                                        215 219
                                                                                            of 312
                                                                                                of 316




                                    Underlying
      Non-Debtor                    Plaintiff(s)
      Defendants(s)                 (last, first)      Case Caption                        Case Number     Court or Agency
      Elementary School                                America, an Arizona corporation;
      District No. 40, a                               Bicentennial North School, an
      political subdivision of                         Arizona public school; and
      the State of Arizona                             Glendale Elementary School
                                                       District No. 40, a political
                                                       subdivision of the State of Arizona
778   The Church of the Jesus       [Redacted]         [Redacted], an unmarried male       CV2020-017454   Superior Court of
      Christ of Latter-Day                             resident of Arizona proceeding                      the State of
      Saints; The Corporation                          under a pseudonym v. The Church                     Arizona, County
      of the President of the                          of the Jesus Christ of Latter-Day                   of Maricopa
      Church of Jesus Christ                           Saints, a foreign Corporation Sole;
      of Latter-Day Saints;                            The Corporation of the President of
      Grand Canyon Council                             the Church of Jesus Christ of
                                                       Latter-Day Saints, a foreign
                                                       Corporation Sole; Grand Canyon
                                                       Council, Boy Scouts of America, an
                                                       Arizona nonprofit corporation
779   Theodore Roosevelt            John Doe PA 10     John Doe PA 10, a single man v.     CV2020-017379   Superior Court of
      Council, Inc.; Grand                             Theodore Roosevelt Council, Inc.,                   the State of
      Canyon Council, Inc.;                            Boy Scouts of America; Grand                        Arizona, County
      The Roman Catholic                               Canyon Council, Inc., Boy Scouts                    of Maricopa
      Church of the Diocese of                         of America, an Arizona
      Phoenix; St. Theresa                             corporation; The Roman Catholic
      Roman Catholic Parish                            Church of the Diocese of Phoenix,
      Phoenix a/k/a St.                                an Arizona corporation sole; St.
      Theresa                                          Theresa Roman Catholic Parish
                                                       Phoenix a/k/a St. Theresa, an
                                                       Arizona Corporation; John Doe 1-
                                                       100; Jane Doe 1-100; and Black &
                                                       White Corporations 1-100
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                                                                         08/09/21
                                                                               PagePage
                                                                                    216 220
                                                                                        of 312
                                                                                            of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)      Case Caption                           Case Number     Court or Agency
780   Theodore Roosevelt        John Doe PA 6      John Doe PA 6, a married man v.        CV2020-017381   Superior Court of
      Council, Inc.; Grand                         Theodore Roosevelt Council, Inc.,                      the State of
      Canyon Council, Inc.;                        Boy Scouts of America; Grand                           Arizona, County
      St. Theresa Roman                            Canyon Council, Inc., Boy Scouts                       of Maricopa
      Catholic Parish Phoenix                      of America, an Arizona
      a/k/a St. Theresa                            corporation; St. Theresa Roman
                                                   Catholic Parish Phoenix a/k/a St.
                                                   Theresa, an Arizona Corporation;
                                                   John Doe 1-100; Jane Doe 1-100;
                                                   and Black & White Corporations 1-
                                                   100
781   Theodore Roosevelt        John Doe PA5       John Doe PA5, a married man v.         CV2020-017376   Superior Court of
      Council, Inc.; Grand                         Theodore Roosevelt Council, Inc.,                      the State of
      Canyon Council, Inc.                         Boy Scouts of America; Grand                           Arizona, County
                                                   Canyon Council, Inc., Boy Scouts                       of Maricopa
                                                   of America, an Arizona
                                                   corporation; John Doe 1-100; Jane
                                                   Doe 1-100; and Black & White
                                                   Corporations 1-100
782   Theodore Roosevelt        John Doe PA 8      John Doe PA 8, a married man v.        CV2020-017386   Superior Court of
      Council, Inc.; Grand                         Theodore Roosevelt Council, Inc.,                      the State of
      Canyon Council, Inc.;                        Boy Scouts of America; Grand                           Arizona, County
      The Corporation of the                       Canyon Council, Inc., Boy Scouts                       of Maricopa
      Presiding Bishop of the                      of America, an Arizona
      Church of Jesus Christ                       corporation; The Corporation of the
      of Latter-Day Saints;                        Presiding Bishop of the Church of
      The Church of Jesus                          Jesus Christ of Latter-Day Saints, a
      Christ of Latter-Day                         foreign corporation sole registered
      Saints; The Church of                        to do business in the state of
                                                   Arizona; The Church of Jesus
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                                                          185-1 23-1
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                                                                            08/09/21
                                                                                  PagePage
                                                                                       217 221
                                                                                           of 312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                           Case Number     Court or Agency
      Jesus Christ of Latter-                         Christ of Latter-Day Saints, a
      Day Saints                                      foreign corporation sole registered
                                                      to do business in the state of
                                                      Arizona; The Church of Jesus
                                                      Christ of Latter-Day Saints, a
                                                      foreign corporation sole registered
                                                      to do business in the state of
                                                      Arizona; John Doe 1-100; Jane Doe
                                                      1-100; and Black & White
                                                      Corporations 1-100
783   Theodore Roosevelt           John Doe PA 9      John Doe PA 9, a single man v.         CV2020-017398   Superior Court of
      Council, Inc.; Grand                            Theodore Roosevelt Council, Inc.,                      the State of
      Canyon Council, Inc.                            Boy Scouts of America; Grand                           Arizona, County
                                                      Canyon Council, Inc., Boy Scouts                       of Maricopa
                                                      of America, an Arizona
                                                      corporation; John Doe 1-100; Jane
                                                      Doe 1-100; and Black & White
                                                      Corporations 1-100
784   Theodore Roosevelt           John Doe PA3       John Doe PA3, a single man v.          CV2020-017391   Superior Court of
      Council, Inc.; Grand                            Theodore Roosevelt Council, Inc.,                      the State of
      Canyon Council, Inc.;                           Boy Scouts of America; Grand                           Arizona, County
      The Corporation of the                          Canyon Council, Inc., Boy Scouts                       of Maricopa
      Presiding Bishop of the                         of America, an Arizona
      Church of Jesus Christ                          corporation; The Corporation of the
      of Latter-Day Saints;                           Presiding Bishop of the Church of
      The Church of Jesus                             Jesus Christ of Latter-Day Saints, a
      Christ of Latter-Day                            foreign corporation sole registered
      Saints                                          to do business in the state of
                                                      Arizona; The Church of Jesus
                                                      Christ of Latter-Day Saints, a
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                                    20-50527-LSS Doc
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                                                     185-1 23-1
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                                                                 07/21/21
                                                                       08/09/21
                                                                             PagePage
                                                                                  218 222
                                                                                      of 312
                                                                                          of 316




                               Underlying
      Non-Debtor               Plaintiff(s)
      Defendants(s)            (last, first)     Case Caption                          Case Number     Court or Agency
                                                 foreign corporation sole registered
                                                 to do business in the state of
                                                 Arizona; John Doe 1-100; Jane Doe
                                                 1-100; and Black & White
                                                 Corporations 1-100
785   Grand Canyon Council,    John LK Doe       John LK Doe, a single man v.          CV2020-017403   Superior Court of
      Inc.                                       Grand Canyon Council, Inc., Boy                       the State of
                                                 Scouts of America, an Arizona                         Arizona, County
                                                 Corporation; John Doe 1-100; Jane                     of Maricopa
                                                 Doe 1-100; and Black & White
                                                 Corporations 1-100
786   The Roman Catholic        [Redacted]       [Redacted], a single man v. The       CV2020-096887   Superior Court of
      Church of The Diocese                      Roman Catholic Church of The                          the State of
      of Phoenix; St. Theresa’s                  Diocese of Phoenix, an Arizona                        Arizona, County
      Catholic Church; Roman                     corporation; St. Theresa’s Catholic                   of Maricopa
      Catholic Bishop of                         Church; Roman Catholic Bishop of
      Phoenix; Boy Scouts of                     Phoenix; Boy Scouts of America,
      America, Grand Canyon                      Grand Canyon Council; John and
      Council                                    Jane Does 1-100; XYZ Corporation
                                                 1-100; ABC Partnerships 1-100
787   The Roman Catholic        [Redacted]       [Redacted], a single man v. The       CV2020-096899   Superior Court of
      Church of The Diocese                      Roman Catholic Church of The                          the State of
      of Phoenix; St. Theresa’s                  Diocese of Phoenix, an Arizona                        Arizona, County
      Catholic Church; Roman                     corporation; St. Theresa’s Catholic                   of Maricopa
      Catholic Bishop of                         Church; Roman Catholic Bishop of
      Phoenix; Boy Scouts of                     Phoenix; Boy Scouts of America,
      America, Grand Canyon                      Grand Canyon Council; John and
      Council                                    Jane Does 1-100; XYZ
                                                 Corporations 1-100; ABC
                                                 Partnerships 1-100
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                                      20-50527-LSS Doc
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                                                                         08/09/21
                                                                               PagePage
                                                                                    219 223
                                                                                        of 312
                                                                                            of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)      Case Caption                           Case Number     Court or Agency
788   Grand Canyon Council      [Redacted]         [Redacted] v. Boy Scouts of            CV2020-096889   Superior Court of
                                                   America, Grand Canyon Council;                         the State of
                                                   John and Jane Does 1-100; XYZ                          Arizona, County
                                                   Corporations 1-100; ABC                                of Maricopa
                                                   Partnerships 1-100
789   Grand Canyon Council      [Redacted]         [Redacted], a married man v. Boy       CV2020-096894   Superior Court of
                                                   Scouts of America, Grand Canyon                        the State of
                                                   Council; John and Jane Does 1-100;                     Arizona, County
                                                   XYZ Corporations 1-100; ABC                            of Maricopa
                                                   Partnerships 1-100
790   Grand Canyon Council,     [Redacted]         [Redacted], an unmarried man v.        CV2020-017472   Superior Court of
      Inc.; United States Air                      Grand Canyon Council, Inc., Boy                        the State of
      Force                                        Scouts of America, an Arizona non-                     Arizona, County
                                                   profit company; United States Air                      of Maricopa
                                                   Force, a branch of the United States
                                                   military
791   Canyon State Academy,     [Redacted]         [Redacted], an unmarried male          CV2020-017475   Superior Court of
      Inc.; Grand Canyon                           resident of Arizona proceeding                         the State of
      Council                                      under a pseudonym v. Canyon State                      Arizona, County
                                                   Academy, Inc., an Arizona                              of Maricopa
                                                   nonprofit corporation; Grand
                                                   Canyon Council, Boy Scouts of
                                                   America, an Arizona nonprofit
                                                   corporation; and Unknown Entity,
                                                   an Arizona corporate entity that is
                                                   unknown at the time of filing this
                                                   complaint
792   Grand Canyon Council      John Doe           John Doe, an unmarried man v.          CV2020-017478   Superior Court of
                                                   Grand Canyon Council, Inc., Boy                        the State of
                             CaseCase
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                                      20-50527-LSS Doc
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                                                                         08/09/21
                                                                               PagePage
                                                                                    220 224
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                          Case Number     Court or Agency
                                                   Scouts of America, an Arizona non-                    Arizona, County
                                                   profit company                                        of Maricopa
793   Grand Canyon Council       John Doe          John Doe, an unmarried man v.         CV2020-017494   Superior Court of
                                                   Grand Canyon Council, Inc., Boy                       the State of
                                                   Scouts of America, an Arizona non-                    Arizona, County
                                                   profit company                                        of Maricopa
794   Grand Canyon Council       John Doe          John Doe, an unmarried man v.         CV2020-017500   Superior Court of
                                                   Grand Canyon Council, Inc., Boy                       the State of
                                                   Scouts of America, an Arizona non-                    Arizona, County
                                                   profit company                                        of Maricopa
795   Grand Canyon Council       John Doe          John Doe, an unmarried man v.         CV2020-017504   Superior Court of
                                                   Grand Canyon Council, Inc., Boy                       the State of
                                                   Scouts of America, an Arizona non-                    Arizona, County
                                                   profit company                                        of Maricopa
796   Grand Canyon Council       John Doe          Charles Gray v. Grand Canyon          CV2020-07097    Superior Court of
                                                   Council, Inc., an Arizona nonprofit                   the State of
                                                   corporation                                           Arizona, County
                                                                                                         of Maricopa
797   Catalina Council; Sabbar   [Redacted]        [Redacted] v. Catalina Council, Boy C20205661         Superior Court of
      Shrine Temple                                Scouts of America, an Arizona                         the State of
      Corporation; Shriners                        corporation; Sabbar Shrine Temple                     Arizona, County
      International                                Corporation, an Arizona                               of Pima
                                                   corporation; and Shriners
                                                   International, a foreign corporation
                                                   sole registered to do business in the
                                                   State of Arizona
798   Catalina Council           [Redacted]        [Redacted] v. Catalina Council, Boy C20205662         Superior Court of
                                                   Scouts of America; John Doe 1-                        the State of
                                                   100; Jane Doe 1-100; and Black &                      Arizona, County
                                                   White Corporations 1-100                              of Pima
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                                    20-50527-LSS Doc
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                                                                 07/21/21
                                                                       08/09/21
                                                                             PagePage
                                                                                  221 225
                                                                                      of 312
                                                                                          of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)    Case Caption                          Case Number        Court or Agency
799   Catalina Council;         [Redacted]       [Redacted] v. Catalina Council Boy    C20205670          Superior Court of
      Roman Catholic Diocese                     Scouts of America; Roman Catholic                        the State of
      of Tucson                                  Diocese of Tucson; John Doe 1-                           Arizona, County
                                                 100; Jane Doe 1-100; and Black &                         of Pima
                                                 White Corporations 1-100
800   Catalina Council          [Redacted]       [Redacted] v. Catalina Council, Boy   C20205699          Superior Court of
                                                 Scouts of America Inc.; John Doe                         the State of
                                                 1-100; Jane Doe 1-100; and Black                         Arizona, County
                                                 & White Corporations 1-100                               of Pima
801   Grand Canyon Council,     [Redacted]       [Redacted] v. Grand Canyon            CV2020-017102      Superior Court of
      Inc.                                       Council, Inc., an Arizona nonprofit                      the State of
                                                 corporation                                              Arizona, County
                                                                                                          of Maricopa
802   Las Vegas Area Council,   [Redacted]       [Redacted] v. Las Vegas Area          S8015CV202001205   Superior Court of
      Inc.; Boys’ and Girls’                     Council, Inc., Boy Scouts of                             the State of
      Club of the Colorado                       America; Boys’ and Girls’ Club of                        Arizona, County
      River, Inc.; Ron Smith                     the Colorado River, Inc.; Ron                            of Mohave
                                                 Smith; John Doe 1-100; Jane Doe
                                                 1-100; and Black & White
                                                 Corporations 1-100
803   Grand Canyon Council,     [Redacted]       [Redacted] v. Grand Canyon            S0600CV202000040   Superior Court of
      Inc.                                       Council, Inc., Boy Scouts of                             the State of
                                                 America; John Doe 1-100; Jane                            Arizona, County
                                                 Doe 1-100; and Black & White                             of Greenlee
                                                 Corporations 1-100
804   Las Vegas Area Council,   [Redacted]       [Redacted], an individual v. Las      S8015CV202001202   Superior Court of
      Inc.; Boulder Dam Area                     Vegas Area Council, Inc., Boy                            the State of
      Council, Inc.;                             Scouts of America, a foreign                             Arizona, County
      Corporation of the                         corporation sole registered to do                        of Mohave
      Presiding Bishop of the                    business in the State of Arizona;
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                                        20-50527-LSS Doc
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                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      222 226
                                                                                          of 312
                                                                                              of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)     Case Caption                            Case Number        Court or Agency
      Church of Jesus Christ                         Boulder Dam Area Council, Inc.,
      of Latter-Day Saints;                          Boy Scouts of America, a foreign
      Corporation of the                             corporation sole registered to do
      President of the Church                        business in the State of Arizona;
      of Jesus Christ of Latter-                     Corporation of the Presiding Bishop
      Day Saints and                                 of the Church of Jesus Christ of
      Successors; Desert                             Latter-Day Saints, a foreign
      Willow Ward of The                             corporation sole registered to do
      Church of Jesus Christ                         business in the State of Arizona;
      of Latter-Day Saints,                          Corporation of the President of the
      Kingman, Arizona;                              Church of Jesus Christ of Latter-
      Stockton Hill Ward of                          Day Saints and Successors, a
      the Church of Jesus                            foreign corporation sole registered
      Christ of Latter-Day                           to do business in the State of
      Saints, Kingman,                               Arizona; Desert Willow Ward of
      Arizona; Centennial                            The Church of Jesus Christ of
      Park Ward of the Church                        Latter-Day Saints, Kingman,
      of Jesus Christ of Latter-                     Arizona, an unincorporated entity;
      Day Saints, Kingsman,                          Stockton Hill Ward of the Church
      Arizona                                        of Jesus Christ of Latter-Day Saints,
                                                     Kingman, Arizona, an
                                                     unincorporated entity; and
                                                     Centennial Park Ward of the
                                                     Church of Jesus Christ of Latter-
                                                     Day Saints, Kingsman, Arizona, an
                                                     unincorporated entity
805   The Church of Jesus          [Redacted];       [Redacted], an adult individual,        S0300CV202000663   Superior Court of
      Christ of Latter-Day         [Redacted]        [Redacted], an adult individual v.                         the State of
      Saints; Corporation of                         The Church of Jesus Christ of                              Arizona, County
      the President of the                           Latter-Day Saints, a Foreign                               of Coconino
                             CaseCase
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                                      20-50527-LSS Doc
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    223 227
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                          Case Number        Court or Agency
      Church of Jesus Christ                       Corporation; Corporation of the
      of Latter-Day Saints;                        President of the Church of Jesus
      Crossroads of the West                       Christ of Latter-Day Saints, a
      Council, Inc. d/b/a Great                    Foreign Corporation; Crossroads of
      Salt Lake Council Boy                        the West Council, Inc. d/b/a Great
      Scouts of America;                           Salt Lake Council Boy Scouts of
      Grand Canyon Council,                        America, a Foreign Corporation;
      Inc.                                         Grand Canyon Council, Inc., Boy
                                                   Scouts of America, a Domestic
                                                   Nonprofit Corporation
806   Catalina Council            [Redacted]       [Redacted] v. Catalina Council, Boy   C20205659          Superior Court of
                                                   Scouts of America; John Doe 1-                           the State of
                                                   100; Jane Doe 1-100; and Black &                         Arizona, County
                                                   White Corporations 1-100                                 of Pima
807   Grand Canyon Council,       [Redacted]       [Redacted] v. Grand Canyon            S1400CV202000696   Superior Court of
      Inc.; Theodore Roosevelt                     Council, Inc., Boy Scouts of                             the State of
      Council, Inc.; First                         America, an Arizona corporation;                         Arizona, County
      Presbyterian Church                          Theodore Roosevelt Council, Inc.,                        of Yuma
                                                   Boy Scouts of America, an Arizona
                                                   corporation; and First Presbyterian
                                                   Church
808   Catalina Council            [Redacted]       [Redacted] v. Catalina Council, Boy   C20205638          Superior Court of
                                                   Scouts of America; John Doe 1-                           the State of
                                                   100; Jane Doe 1-100; and Black &                         Arizona, County
                                                   White Corporations 1-100                                 of Pima
809   Catalina Council            [Redacted]       [Redacted] v. Catalina Council, Boy   C20205639          Superior Court of
                                                   Scouts of America; John Doe 1-                           the State of
                                                   100; Jane Doe 1-100; and Black &                         Arizona, County
                                                   White Corporations 1-100                                 of Pima
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                                  20-50527-LSS Doc
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                                                                     08/09/21
                                                                           PagePage
                                                                                224 228
                                                                                    of 312
                                                                                        of 316




                            Underlying
      Non-Debtor            Plaintiff(s)
      Defendants(s)         (last, first)      Case Caption                          Case Number   Court or Agency
810   Catalina Council      [Redacted]         [Redacted] v. Catalina Council, Boy   C20205640     Superior Court of
                                               Scouts of America; John Doe 1-                      the State of
                                               100; Jane Doe 1-100; and Black &                    Arizona, County
                                               White Corporations 1-100                            of Pima
811   Catalina Council      [Redacted]         [Redacted] v. Catalina Council, Boy   C20205641     Superior Court of
                                               Scouts of America; John Doe 1-                      the State of
                                               100; Jane Doe 1-100; and Black &                    Arizona, County
                                               White Corporations 1-100                            of Pima
812   Catalina Council      [Redacted]         [Redacted] v. Catalina Council, Boy   C20205651     Superior Court of
                                               Scouts of America; John Doe 1-                      the State of
                                               100; Jane Doe 1-100; and Black &                    Arizona, County
                                               White Corporations 1-100                            of Pima
813   Catalina Council      [Redacted]         [Redacted] v. Catalina Council, Boy   C20205653     Superior Court of
                                               Scouts of America; John Doe 1-                      the State of
                                               100; Jane Doe 1-100; and Black &                    Arizona, County
                                               White Corporations 1-100                            of Pima
814   Catalina Council      [Redacted]         [Redacted] v. Catalina Council, Boy   C20205654     Superior Court of
                                               Scouts of America; John Doe 1-                      the State of
                                               100; Jane Doe 1-100; and Black &                    Arizona, County
                                               White Corporations 1-100                            of Pima
815   Catalina Council      [Redacted]         [Redacted] v. Catalina Council, Boy   C20205655     Superior Court of
                                               Scouts of America; John Doe 1-                      the State of
                                               100; Jane Doe 1-100; and Black &                    Arizona, County
                                               White Corporations 1-100                            of Pima
816   Catalina Council      [Redacted]         [Redacted] v. Catalina Council, Boy   C20205656     Superior Court of
                                               Scouts of America; John Doe 1-                      the State of
                                               100; Jane Doe 1-100; and Black &                    Arizona, County
                                               White Corporations 1-100                            of Pima
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                                      20-50527-LSS Doc
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                                                                               PagePage
                                                                                    225 229
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                            Case Number     Court or Agency
817   Catalina Council            [Redacted]       [Redacted], an individual v.            C20205657       Superior Court of
                                                   Catalina Council, Boy Scouts of                         the State of
                                                   America, an Arizona corporation                         Arizona, County
                                                                                                           of Pima
818   Catalina Council, Boy       [Redacted]       [Redacted], an individual v.            C20205658       Superior Court of
      Scouts of America;                           Catalina Council, Boy Scouts of                         the State of
      VFW Post 549; Veterans                       America, an Arizona corporation;                        Arizona, County
      of Foreign Wars of the                       VFW Post 549, an Arizona                                of Pima
      United States                                corporation; and Veterans of
                                                   Foreign Wars of the United States,
                                                   a foreign corporation sole registered
                                                   to do business in the State of
                                                   Arizona
819   Catalina Council; Grand     John Does 1-47   John Does 1-47 v. Catalina Council,     CV2020-017436   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                       the State of
      Las Vegas Area Council,                      Grand Canyon Council, Inc., an                          Arizona, County
      Inc.; Crossroads of the                      Arizona nonprofit corporation; Las                      of Maricopa
      West, Inc.; Great                            Vegas Area Council, Inc., a Nevada
      Southwest Council, Inc.;                     nonprofit corporation; Crossroads
      The Roman Catholic                           of the West, Inc., a Utah nonprofit
      Church of the Diocese of                     corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
      Catholic Church of the                       nonprofit corporation; The Roman
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
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                                      20-50527-LSS Doc
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                                                                               PagePage
                                                                                    226 230
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
820   Catalina Council; Grand     John Does 1-46   John Does 1-46 v. Catalina Council,    CV2020-017439   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                      the State of
      Las Vegas Area Council,                      Grand Canyon Council, Inc., an                         Arizona, County
      Inc.; Crossroads of the                      Arizona nonprofit corporation; Las                     of Maricopa
      West, Inc.; Great                            Vegas Area Council, Inc., a Nevada
      Southwest Council, Inc.;                     nonprofit corporation; Crossroads
      The Roman Catholic                           of the West, Inc., a Utah nonprofit
      Church of the Diocese of                     corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
      Catholic Church of the                       nonprofit corporation; The Roman
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
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                                                                                PagePage
                                                                                     227 231
                                                                                         of 312
                                                                                             of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)     Case Caption                          Case Number     Court or Agency
821   Church of Jesus Christ      [Redacted];       [Redacted]; [Redacted]; [Redacted];   CV2020-017374   Superior Court of
      of Latter-Day Saints;       [Redacted];       [Redacted] v. Church of Jesus                         the State of
      The Corporation of the      [Redacted];       Christ of Latter-Day Saints, a Utah                   Arizona, County
      President of the Church     [Redacted]        nonprofit corporation; The                            of Maricopa
      of Jesus Christ of Latter                     Corporation of the President of the
      Day Saints; Grand                             Church of Jesus Christ of Latter
      Canyon Council, Inc.;                         Day Saints, a Utah corporation;
      Robert Gene Metcalf                           Grand Canyon Council, Inc., an
                                                    Arizona nonprofit corporation;
                                                    Robert Gene Metcalf; John Does 1-
                                                    500 (Inclusive)
822   The United Methodist        [Redacted]        [Redacted] v. The United Methodist    CV2020-017484   Superior Court of
      Church; First United                          Church; First United Methodist                        the State of
      Methodist Church of                           Church of Gilbert, an Arizona                         Arizona, County
      Gilbert; Desert                               nonprofit corporation; Desert                         of Maricopa
      Southwest Annual                              Southwest Annual Conference of
      Conference of the United                      the United Methodist Church, an
      Methodist Church;                             Arizona nonprofit corporation;
      General Commission on                         General Commission on United
      United Methodist Men                          Methodist Men of the United
      of the United Methodist                       Methodist Church, a Tennessee
      Church; United                                nonprofit corporation; United
      Methodist Men                                 Methodist Men Foundation, a
      Foundation; Grand                             Tennessee nonprofit corporation;
      Canyon Council, Inc.                          Grand Canyon Council, Inc., an
                                                    Arizona nonprofit corporation; John
                                                    Does 1-500, (Inclusive)
823   Catalina Council            [Redacted]        [Redacted] v. Catalina Council, Boy   C20205558       Superior Court of
                                                    Scouts of America                                     the State of
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                                                                            08/09/21
                                                                                  PagePage
                                                                                       228 232
                                                                                           of 312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                          Case Number     Court or Agency
                                                                                                            Arizona, County
                                                                                                            of Pima
824   Grand Canyon Council,        [Redacted]         [Redacted] v. Grand Canyon            CV2020-016690   Superior Court of
      Inc.; The Corporation of                        Council, Inc., Boy Scouts of                          the State of
      the President of the                            America; The Corporation of the                       Arizona, County
      Church of Jesus Christ                          President of the Church of Jesus                      of Maricopa
      of Latter-Day Saints;                           Christ of Latter-Day Saints, a Utah
      The Corporation of the                          corporation sole; The Corporation
      Presiding Bishop of the                         of the Presiding Bishop of the
      Church of Jesus Christ                          Church of Jesus Christ of Latter-
      of Latter-Day Saints                            Day Saints; John Doe 1-100; Jane
                                                      Doe 1-100; and Black & White
                                                      Corporations 1-100
825   Catalina Council, Inc.;      John Doe #4        John Doe #4, an individual v.         C20205781       Superior Court of
      Tucson Unified School                           Catalina Council, Inc., Boy Scouts                    the State of
      District                                        of America, an Arizona                                Arizona, County
                                                      corporation; Tucson Unified School                    of Pima
                                                      District, an Arizona public school
                                                      district
826   Catalina Council; Grand      John Does 1-19     John Does 1-19 v. Catalina Council,   CV2020-017473   Superior Court of
      Canyon Council, Inc.;                           an Arizona nonprofit corporation;                     the State of
      Las Vegas Area Council,                         Grand Canyon Council, Inc., an                        Arizona, County
      Inc.; Crossroads of the                         Arizona nonprofit corporation; Las                    of Maricopa
      West, Inc.; Great                               Vegas Area Council, Inc., a Nevada
      Southwest Council, Inc.;                        nonprofit corporation; Crossroads
      The Roman Catholic                              of the West, Inc., a Utah nonprofit
      Church of the Diocese of                        corporation; Great Southwest
      Phoenix; The Roman                              Council, Inc., a New Mexico
      Catholic Church of the                          nonprofit corporation; The Roman
      Diocese of Tucson; The                          Catholic Church of the Diocese of
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                                                                         08/09/21
                                                                               PagePage
                                                                                    229 233
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
827   Catalina Council; Grand     John Does #1     John Does #1 [Redacted] and #2         CV2020-017526   Superior Court of
      Canyon Council, Inc.;       [Redacted]; #2   [Redacted] v. Catalina Council, an                     the State of
      Las Vegas Area Council,     [Redacted]       Arizona nonprofit corporation;                         Arizona, County
      Inc.; Crossroads of the                      Grand Canyon Council, Inc., an                         of Maricopa
      West, Inc.; Great                            Arizona nonprofit corporation; Las
      Southwest Council, Inc.;                     Vegas Area Council, Inc., a Nevada
      The Roman Catholic                           nonprofit corporation; Crossroads
      Church of the Diocese of                     of the West, Inc., a Utah nonprofit
      Phoenix; The Roman                           corporation; Great Southwest
      Catholic Church of the                       Council, Inc., a New Mexico
      Diocese of Tucson; The                       nonprofit corporation; The Roman
      Roman Catholic Church                        Catholic Church of the Diocese of
      of the Diocese of Gallup;                    Phoenix, an Arizona corporation;
      The Corporation of the                       The Roman Catholic Church of the
      President of the Church                      Diocese of Tucson, an Arizona
      of Jesus Christ of Latter                    corporation; The Roman Catholic
      Day Saints                                   Church of the Diocese of Gallup, a
                                                   New Mexico nonprofit corporation;
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                                                                              PagePage
                                                                                   230 234
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                           Case Number        Court or Agency
                                                  The Corporation of the President of
                                                  the Church of Jesus Christ of Latter
                                                  Day Saints, a Utah corporation;
                                                  John Does I-V; Jane Does I-V;
                                                  XYZ Corporations I-V; ABC
                                                  Partnerships I-V
828   Kit Carson Council;        John Doe PA2     John Doe PA2, a married man v.         S0100CV202000227   Superior Court of
      Great Southwest Area                        Kit Carson Council; Great                                 the State of
      Council; Great                              Southwest Area Council; Great                             Arizona, County
      Southwest Council, Inc.                     Southwest Council, Inc., Boy                              of Apache
                                                  Scouts of America, an Arizona
                                                  corporation; John Doe 1-100; Jane
                                                  Doe 1-100; and Black & White
                                                  Corporations 1-100
829   Catalina Council           John Roe 1       John Roe 1, a married man v. Boy       S0500CV202000101   Superior Court of
                                                  Scouts of America, Catalina                               the State of
                                                  Council; John and Jane Does 1-100;                        Arizona, County
                                                  XYZ Corporations 1-100; ABC                               of Graham
                                                  Partnerships 1-100
830   Grand Canyon Council,      John Doe 7       John Doe 7, an individual v. Grand     S1400CV202000713   Superior Court of
      Inc.; Theodore Roosevelt                    Canyon Council, Inc., Boy Scouts                          the State of
      Council, Inc.                               of America, an Arizona corporation                        Arizona, County
                                                  and Theodore Roosevelt Council,                           of Yuma
                                                  Inc., Boy Scouts of America, an
                                                  Arizona corporation
831   Catalina Council           [Redacted]       [Redacted] v. Catalina Council, Boy    C20205801          Superior Court of
                                                  Scouts of America, Inc., an Arizona                       the State of
                                                  corporation; John Doe 1-100; Jane                         Arizona, County
                                                  Doe 1-100; and Black & White                              of Pima
                                                  Corporations 1-100
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                                                                                PagePage
                                                                                     231 235
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                          Case Number   Court or Agency
832   Catalina Council;          John Doe PA4       John Doe PA4, a single man v.         C20205802     Superior Court of
      Douglas Lodge No. 955,                        Catalina Council, Boy Scouts of                     the State of
      Benevolent and                                America, an Arizona corporation;                    Arizona, County
      Protective Order of                           Douglas Lodge No. 955,                              of Pima
      El[ks] a/k/a Elks Lodge                       Benevolent and Protective Order of
                                                    El[ks] a/k/a Elks Lodge, an Arizona
                                                    Corporation; John Doe 1-100; Jane
                                                    Doe 1-100; and Black & White
                                                    Corporations 1-100
833   Catalina Council           John Doe PA7       John Doe PA7, a married man v.        C20205803     Superior Court of
                                                    Catalina Council, Boy Scouts of                     the State of
                                                    America, Inc., an Arizona                           Arizona, County
                                                    corporation; John Doe 1-100; Jane                   of Pima
                                                    Doe 1-100; and Black & White
                                                    Corporations 1-100
834   Catalina Council           John Doe PA 11     John Doe PA 11, a married man v.      C20205804     Superior Court of
                                                    Catalina Council, Boy Scouts of                     the State of
                                                    America, Inc., an Arizona                           Arizona, County
                                                    corporation; John Doe 1-100; Jane                   of Pima
                                                    Doe 1-100; and Black & White
                                                    Corporations 1-100
835   Catalina Council;          John Doe PA 14     John Doe PA 14, a single man v.       C20205805     Superior Court of
      Evangelical Lutheran                          Catalina Council, Boy Scouts of                     the State of
      Church of the King of                         America, an Arizona corporation;                    Arizona, County
      Tucson; Abounding                             Evangelical Lutheran Church of the                  of Pima
      Grace – ELCA                                  King of Tucson; Abounding Grace
                                                    – ELCA, an Arizona Corporation;
                                                    John Doe 1-100; Jane Doe 1-100;
                                                    and Black & White Corporations 1-
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                                                                         08/09/21
                                                                               PagePage
                                                                                    232 236
                                                                                        of 312
                                                                                            of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)     Case Caption                           Case Number   Court or Agency
836   Catalina Council;          [Redacted]        [Redacted], a single man v. Catalina   C20205807     Superior Court of
      Tucson Post No. 549                          Council, Boy Scouts of America, an                   the State of
      Veterans of Foreign                          Arizona Corporation; Tucson Post                     Arizona, County
      Wars of the U.S.                             No. 549 Veterans of Foreign Wars                     of Pima
                                                   of the U.S., a non-profit Veteran
                                                   Organization; John Doe 1-100; Jane
                                                   Doe 1-100; and Black & White
                                                   Corporations 1-100
837   Catalina Council           [Redacted]        [Redacted], a married man v.           C20205808     Superior Court of
                                                   Catalina Council, Boy Scouts of                      the State of
                                                   America, Inc., an Arizona                            Arizona, County
                                                   corporation; John Doe 1-100; Jane                    of Pima
                                                   Doe 1-100; and Black & White
                                                   Corporations 1-100
838   Catalina Council; St.      [Redacted]        [Redacted], an individual v.           C20205818     Superior Court of
      Alban’s Episcopal                            Catalina Council, Boy Scouts of                      the State of
      Church of Tucson, Inc.;                      America, an Arizona corporation;                     Arizona, County
      Orange Grove Middle                          St. Alban’s Episcopal Church of                      of Pima
      School; Catalina                             Tucson, Inc., an Arizona
      Foothills Unified School                     corporation; Orange Grove Middle
      District No. 16                              School, an Arizona public school;
                                                   and Catalina Foothills Unified
                                                   School District No. 16, a political
                                                   subdivision of the State of Arizona
839   Catalina Council;          [Redacted]        [Redacted], an individual v.           C20205819     Superior Court of
      Corbett Elementary                           Catalina Council, Boy Scouts of                      the State of
      School; Tucson Unified                       America, an Arizona corporation;                     Arizona, County
      School District No. 1 of                     Corbett Elementary School, an                        of Pima
      Pima County                                  Arizona Public School; and Tucson
                                                   Unified School District No. 1 of
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                                                                                     233 237
                                                                                         of 312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                          Case Number     Court or Agency
                                                    Pima County, a political
                                                    subdivision of the State of Arizona
840   Catalina Council             [Redacted] Doe   [Redacted] Doe, a married man v.      C20205834       Superior Court of
                                                    Catalina Council, Inc., Boy Scouts                    the State of
                                                    of America, an Arizona non-profit                     Arizona, County
                                                    company                                               of Pima
841   The Corporation of the       John Does 1-3    John Does 1-3 v. The Corporation      C20205836       Superior Court of
      President of the Church                       of the President of the Church of                     the State of
      of Jesus Christ of Latter-                    Jesus Christ of Latter-Day Saints;                    Arizona, County
      Day Saints; The                               The Corporation of the Presiding                      of Pima
      Corporation of the                            Bishop of the Church of Jesus
      Presiding Bishop of the                       Christ of Latter-Day Saints; The
      Church of Jesus Christ                        Church of Jesus Christ of Latter-
      of Latter-Day Saints;                         Day Saints Francisco Park Ward;
      The Church of Jesus                           The Church of Jesus Christ of
      Christ of Latter-Day                          Latter-Day Saints Richfield, Utah
      Saints Francisco Park                         Stake; Catalina Council, Inc., an
      Ward; The Church of                           Arizona nonprofit corporation;
      Jesus Christ of Latter-                       Grand Canyon Council, Inc., an
      Day Saints Richfield,                         Arizona nonprofit corporation; Las
      Utah Stake; Catalina                          Vegas Area Council, Inc., a Nevada
      Council, Inc.; Grand                          nonprofit corporation; Crossroads
      Canyon Council, Inc.;                         of the West, Inc., a Utah nonprofit
      Las Vegas Area Council,                       corporation; Great Southwest
      Inc.; Crossroads of the                       Council, Inc., a New Mexico
      West, Inc.; Great                             nonprofit corporation; John Does 1-
      Southwest Council, Inc.                       3
842   Catalina Council; Grand      John Does 1-50   John Does 1-50 v. Catalina Council,   CV2020-017328   Superior Court of
      Canyon Council, Inc.;                         an Arizona nonprofit corporation;                     the State of
      Las Vegas Area Council,                       Grand Canyon Council, Inc., an
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                                                                         08/09/21
                                                                               PagePage
                                                                                    234 238
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
      Inc.; Crossroads of the                      Arizona nonprofit corporation; Las                     Arizona, County
      West, Inc.; Great                            Vegas Area Council, Inc., a Nevada                     of Pima
      Southwest Council, Inc.;                     nonprofit corporation; Crossroads
      The Roman Catholic                           of the West, Inc., a Utah nonprofit
      Church of the Diocese of                     corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
      Catholic Church of the                       nonprofit corporation; The Roman
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
843   Catalina Council; Grand     John Does 1-50   John Does 1-50 v. Catalina Council,    CV2020-017336   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                      the State of
      Las Vegas Area Council,                      Grand Canyon Council, Inc., an                         Arizona, County
      Inc.; Crossroads of the                      Arizona nonprofit corporation; Las                     of Maricopa
      West, Inc.; Great                            Vegas Area Council, Inc., a Nevada
      Southwest Council, Inc.;                     nonprofit corporation; Crossroads
      The Roman Catholic                           of the West, Inc., a Utah nonprofit
      Church of the Diocese of                     corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
      Catholic Church of the                       nonprofit corporation; The Roman
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                                                                               PagePage
                                                                                    235 239
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
844   Catalina Council; Grand     John Does 1-14   John Does 1-14 v. Catalina Council,    CV2020-017343   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                      the State of
      Las Vegas Area Council,                      Grand Canyon Council, Inc., an                         Arizona, County
      Inc.; Crossroads of the                      Arizona nonprofit corporation; Las                     of Maricopa
      West, Inc.; Great                            Vegas Area Council, Inc., a Nevada
      Southwest Council, Inc.;                     nonprofit corporation; Crossroads
      The Roman Catholic                           of the West, Inc., a Utah nonprofit
      Church of the Diocese of                     corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
      Catholic Church of the                       nonprofit corporation; The Roman
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
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                                      20-50527-LSS Doc
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                                                                               PagePage
                                                                                    236 240
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
845   Catalina Council; Grand     John Does 1-44   John Does 1-44 v. Catalina Council,    CV2020-017349   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                      the State of
      Las Vegas Area Council,                      Grand Canyon Council, Inc., an                         Arizona, County
      Inc.; Crossroads of the                      Arizona nonprofit corporation; Las                     of Maricopa
      West, Inc.; Great                            Vegas Area Council, Inc., a Nevada
      Southwest Council, Inc.;                     nonprofit corporation; Crossroads
      The Roman Catholic                           of the West, Inc., a Utah nonprofit
      Church of the Diocese of                     corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
      Catholic Church of the                       nonprofit corporation; The Roman
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
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                                                                                    237 241
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
846   Catalina Council; Grand     John Does 1-12   John Does 1-12 v. Catalina Council,    CV2020-017383   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                      the State of
      Las Vegas Area Council,                      Grand Canyon Council, Inc., an                         Arizona, County
      Inc.; Crossroads of the                      Arizona nonprofit corporation; Las                     of Maricopa
      West, Inc.; Great                            Vegas Area Council, Inc., a Nevada
      Southwest Council, Inc.;                     nonprofit corporation; Crossroads
      The Roman Catholic                           of the West, Inc., a Utah nonprofit
      Church of the Diocese of                     corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
      Catholic Church of the                       nonprofit corporation; The Roman
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
847   Catalina Council; Grand     John Does 1-47   John Does 1-47 v. Catalina Council,    CV2020-017394   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                      the State of
      Las Vegas Area Council,                      Grand Canyon Council, Inc., an                         Arizona, County
      Inc.; Crossroads of the                      Arizona nonprofit corporation; Las                     of Maricopa
      West, Inc.; Great                            Vegas Area Council, Inc., a Nevada
      Southwest Council, Inc.;                     nonprofit corporation; Crossroads
      The Roman Catholic                           of the West, Inc., a Utah nonprofit
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                                                                               PagePage
                                                                                    238 242
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                         Case Number    Court or Agency
      Church of the Diocese of                     corporation; Great Southwest
      Phoenix; The Roman                           Council, Inc., a New Mexico
      Catholic Church of the                       nonprofit corporation; The Roman
      Diocese of Tucson; The                       Catholic Church of the Diocese of
      Roman Catholic Church                        Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                    The Roman Catholic Church of the
      The Corporation of the                       Diocese of Tucson, an Arizona
      President of the Church                      corporation; The Roman Catholic
      of Jesus Christ of Latter                    Church of the Diocese of Gallup, a
      Day Saints                                   New Mexico nonprofit corporation;
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
848   Catalina Council; Grand     John Does 1-37   John Does 1-37 v. Catalina Council, CV2020-017416   Superior Court of
      Canyon Council, Inc.;                        an Arizona nonprofit corporation;                   the State of
      Las Vegas Area                               Grand Canyon Council, Inc., an                      Arizona, County
      Counsel, Inc.; Golden                        Arizona nonprofit corporation; Las                  of Maricopa
      Empire Council; The                          Vegas Area Counsel, Inc., a Nevada
      Roman Catholic Church                        nonprofit corporation; Golden
      of the Diocese of                            Empire Council, a California
      Phoenix; The Roman                           nonprofit corporation; The Roman
      Catholic Church of the                       Catholic Church of the Diocese of
      Diocese of Tucson; The                       Phoenix, an Arizona corporation;
      Roman Catholic Church                        The Roman Catholic Church of the
      of the Diocese of Gallup;                    Diocese of Tucson, an Arizona
      The Corporation of the                       corporation; The Roman Catholic
      President of the Church                      Church of the Diocese of Gallup, a
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                                                                                PagePage
                                                                                     239 243
                                                                                         of 312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                           Case Number     Court or Agency
      of Jesus Christ of Latter-                    New Mexico nonprofit corporation;
      Day Saints                                    The Corporation of the President of
                                                    the Church of Jesus Christ of
                                                    Latter-Day Saints, a Utah
                                                    corporation; John Does 1-V; Jane
                                                    Does I-V; XYZ Corporations I-V;
                                                    ABC Partnerships I-V
849   Catalina Council; Grand      John Does 1-40   John Does 1-40 v. Catalina Council,    CV2020-017425   Superior Court of
      Canyon Council, Inc.;                         an Arizona nonprofit corporation;                      the State of
      Las Vegas Area Council,                       Grand Canyon Council, Inc., an                         Arizona, County
      Inc.; Crossroads of the                       Arizona nonprofit corporation; Las                     of Maricopa
      West, Inc.; Great                             Vegas Area Council, Inc., a Nevada
      Southwest Council, Inc.;                      nonprofit corporation; Crossroads
      The Roman Catholic                            of the West, Inc., a Utah nonprofit
      Church of the Diocese of                      corporation; Great Southwest
      Phoenix; The Roman                            Council, Inc., a New Mexico
      Catholic Church of the                        nonprofit corporation; The Roman
      Diocese of Tucson; The                        Catholic Church of the Diocese of
      Roman Catholic Church                         Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                     The Roman Catholic Church of the
      The Corporation of the                        Diocese of Tucson, an Arizona
      President of the Church                       corporation; The Roman Catholic
      of Jesus Christ of Latter                     Church of the Diocese of Gallup, a
      Day Saints                                    New Mexico nonprofit corporation;
                                                    The Corporation of the President of
                                                    the Church of Jesus Christ of Latter
                                                    Day Saints, a Utah corporation;
                                                    John Does I-V; Jane Does I-V;
                                                    XYZ Corporations I-V; ABC
                                                    Partnerships I-V
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                                                                                PagePage
                                                                                     240 244
                                                                                         of 312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                           Case Number     Court or Agency
850   Catalina Council; Grand      John Doe 1       John Doe 1 v. Catalina Council, an     CV2020-017448   Superior Court of
      Canyon Council, Inc.;                         Arizona nonprofit corporation;                         the State of
      Las Vegas Area Council,                       Grand Canyon Council, Inc., an                         Arizona, County
      Inc.; Crossroads of the                       Arizona nonprofit corporation; Las                     of Maricopa
      West, Inc.; Great                             Vegas Area Council, Inc., a Nevada
      Southwest Council, Inc.;                      nonprofit corporation; Crossroads
      The Roman Catholic                            of the West, Inc., a Utah nonprofit
      Church of the Diocese of                      corporation; Great Southwest
      Phoenix; The Roman                            Council, Inc., a New Mexico
      Catholic Church of the                        nonprofit corporation; The Roman
      Diocese of Tucson; The                        Catholic Church of the Diocese of
      Roman Catholic Church                         Phoenix, an Arizona corporation;
      of the Diocese of Gallup;                     The Roman Catholic Church of the
      The Corporation of the                        Diocese of Tucson, an Arizona
      President of the Church                       corporation; The Roman Catholic
      of Jesus Christ of Latter                     Church of the Diocese of Gallup, a
      Day Saints                                    New Mexico nonprofit corporation;
                                                    The Corporation of the President of
                                                    the Church of Jesus Christ of Latter
                                                    Day Saints, a Utah corporation;
                                                    John Does I-V; Jane Does I-V;
                                                    XYZ Corporations I-V; ABC
                                                    Partnerships I-V
851   The Corporation of the       John Doe         John Doe, a married man v. The         CV2020-017480   Superior Court of
      President of the Church                       Corporation of the President of the                    the State of
      of Jesus Christ of Latter-                    Church of Jesus Christ of Latter-                      Arizona, County
      Day Saints; The                               Day Saints; The Corporation of the                     of Maricopa
      Corporation of the                            Presiding Bishop of the Church of
      Presiding Bishop of the                       Jesus Christ of Latter-Day Saints, a
      Church of Jesus Christ                        sole corporation; The Grand
                             CaseCase
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                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    241 245
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)       Case Caption                         Case Number     Court or Agency
      of Latter-Day Saints;                           Canyon Council, Inc. of the Boy
      The Grand Canyon                                Scouts of America; Roy E. Young;
      Council, Inc. of the Boy                        Floyd Dean Davis; Ellis Lavar
      Scouts of America; Roy                          Engle; John Doe 1-100; Jane Doe 1-
      E. Young; Floyd Dean                            100; and Black & White
      Davis; Ellis Lavar Engle                        Corporations 1-100
852   Catalina Council; Grand     John Does 1 and 2   John Does 1 and 2 v. Catalina        CV2020-017509   Superior Court of
      Canyon Council, Inc.;                           Council, an Arizona nonprofit                        the State of
      Las Vegas Area Council,                         corporation; Grand Canyon                            Arizona, County
      Inc.; Crossroads of the                         Council, Inc., an Arizona nonprofit                  of Maricopa
      West, Inc.; Great                               corporation; Las Vegas Area
      Southwest Council, Inc.;                        Counsel, Inc., a Nevada nonprofit
      The Roman Catholic                              corporation; Crossroads of the
      Church of the Diocese of                        West, Inc., a Utah nonprofit
      Phoenix; The Roman                              corporation; Great Southwest
      Catholic Church of the                          Council, Inc., a New Mexico
      Diocese of Tucson; The                          nonprofit corporation; The Roman
      Roman Catholic Church                           Catholic Church of the Diocese of
      of the Diocese of Gallup;                       Phoenix, an Arizona corporation;
      The Corporation of the                          The Roman Catholic Church of the
      President of the Church                         Diocese of Tucson, an Arizona
      of Jesus Christ of Latter                       corporation; The Roman Catholic
      Day Saints                                      Church of the Diocese of Gallup, a
                                                      New Mexico nonprofit corporation;
                                                      The Corporation of the President of
                                                      the Church of Jesus Christ of Latter
                                                      Day Saints, a Utah corporation;
                                                      Arizona Elks Association, an
                                                      Arizona nonprofit corporation; John
                                                      Does I-V; Jane Does I-V; XYZ
                             CaseCase
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                                                                               PagePage
                                                                                    242 246
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                           Case Number     Court or Agency
                                                   Corporations I-V; ABC
                                                   Partnerships I-V
853   Catalina Council; Grand     John Doe #1      John Doe #1 [Redacted] v. Catalina     CV2020-017510   Superior Court of
      Canyon Council, Inc.;       [Redacted]       Council, an Arizona nonprofit                          the State of
      Las Vegas Area Council,                      corporation; Grand Canyon                              Arizona, County
      Inc.; Crossroads of the                      Council, Inc., an Arizona nonprofit                    of Maricopa
      West, Inc.; Great                            corporation; Las Vegas Area
      Southwest Council, Inc.;                     Council, Inc., a Nevada nonprofit
      The Roman Catholic                           corporation; Crossroads of the
      Church of the Diocese of                     West, Inc., a Utah nonprofit
      Phoenix; The Roman                           corporation; Great Southwest
      Catholic Church of the                       Council, Inc., a New Mexico
      Diocese of Tucson; The                       nonprofit corporation; The Roman
      Roman Catholic Church                        Catholic Church of the Diocese of
      of the Diocese of Gallup;                    Phoenix, an Arizona corporation;
      The Corporation of the                       The Roman Catholic Church of the
      President of the Church                      Diocese of Tucson, an Arizona
      of Jesus Christ of Latter                    corporation; The Roman Catholic
      Day Saints                                   Church of the Diocese of Gallup, a
                                                   New Mexico nonprofit corporation;
                                                   The Corporation of the President of
                                                   the Church of Jesus Christ of Latter
                                                   Day Saints, a Utah corporation;
                                                   John Does I-V; Jane Does I-V;
                                                   XYZ Corporations I-V; ABC
                                                   Partnerships I-V
854   The Buckeye Council,        John Doe 1       John Doe 1, a minor, individually      2021CV00040     Stark County
      Boy Scouts of America;                       and by his Natural Guardian v. The                     Common Pleas
      First Lutheran Church                        Buckeye Council, Boy Scouts of                         Court, Ohio
      Shelby
                             CaseCase
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                                                                         08/09/21
                                                                               PagePage
                                                                                    243 247
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                          Case Number     Court or Agency
                                                   America; First Lutheran Church
                                                   Shelby
855   The Buckeye Council,        John Doe 2       John Doe 2, a minor, individually     2021CV00039     Stark County
      Boy Scouts of America;                       and by his Natural Guardian v. The                    Common Pleas
      First Lutheran Church                        Buckeye Council, Boy Scouts of                        Court, Ohio
      Shelby                                       America; First Lutheran Church
                                                   Shelby
856   Grand Canyon Council,       John CD Doe      John CD Doe v. Grand Canyon           CV2020-16668    Superior Court of
      Inc.; The Corporation of                     Council, Inc., Boy Scouts of                          State of Arizona,
      the President of the                         America; The Corporation of the                       County of
      Church of Jesus Christ                       President of the Church of Jesus                      Maricopa
      of the Latter-Day Saints;                    Christ of Latter-Day Saints, a Utah
      The Corporation of the                       Corporation sole; The Corporation
      Presiding Bishop of the                      of the Presiding Bishop of the
      Church of Jesus Christ                       Church of Jesus Christ of the
      of Latter-Day Saints                         Latter-Day Saints; John Doe 1-100;
                                                   Jane Doe 1-100; and Black & White
                                                   Corporations 1-100
857   Grand Canyon Council,       [Redacted]       [Redacted] v. Grand Canyon            CV2020-016698   Superior Court of
      Inc.                                         Council, Inc., Boy Scouts of                          State of Arizona,
                                                   America                                               County of
                                                                                                         Maricopa
858   Grand Canyon Council,       [Redacted]       [Redacted] v. Grand Canyon            CV2020-016999   Superior Court of
      Inc.                                         Council, Inc., Boy Scouts of                          State of Arizona,
                                                   America; John Doe 1-100; Jane                         County of
                                                   Doe 1-100; and Black & White                          Maricopa
                                                   Corporations 1-100
859   Theodore Roosevelt          [Redacted]       [Redacted] v. Theodore Roosevelt      900002/2021     Supreme Court
      Council, Inc., f/k/a                         Council, Inc., Boy Scouts of                          of the State of
      Nassau County Council                        America f/k/a Nassau County
                              CaseCase
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                                                                                PagePage
                                                                                     244 248
                                                                                         of 312
                                                                                             of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)      Case Caption                          Case Number   Court or Agency
                                                    Council of Boy Scouts of America,                   New York,
                                                    Incorporated, Boy Scouts of                         Nassau County
                                                    America; and Does 1-5 whose
                                                    identities are unknown to Plaintiff
860   Greater New York           [Redacted]         [Redacted] v. Greater New York        950039/2021   Supreme Court
      Councils                                      Council, Boy Scouts of America                      of the State of
                                                                                                        New York, New
                                                                                                        York County
861   Oregon Trail Council,      [Redacted]         [Redacted], an individual             TBD           Circuit Court of
      Inc.                                          proceeding under a fictitious name                  the State of
                                                    v. Oregon Trail Council, Inc., Boy                  Oregon, Lane
                                                    Scouts of America, an Oregon                        County
                                                    nonprofit corporation
862   Redwood Empire             [Redacted]         [Redacted], an individual             SCV-265823    Superior Court of
      Council                                       proceeding under a pseudonym v.                     the State of
                                                    Defendant Doe 1, Scouting                           California,
                                                    Organization; Defendant Doe 2,                      County of
                                                    Council; and Defendants 3 through                   Sonoma
                                                    100, inclusive
863   Suffolk County Council;    [Redacted]         [Redacted] v. Suffolk County          603159/2021   Supreme Court
      Saint Anne’s R.C.                             Council, Inc., Boy Scouts of                        of the State of
      Church; Diocese of                            America; Saint Anne’s R.C.                          New York,
      Rockville Centre                              Church; and Diocese of Rockville                    County of
                                                    Centre                                              Suffolk
864   Learning for Life of New [Redacted]           [Redacted] v. Learning for Life of    950031/2021   Supreme Court
      York; The City of New                         New York, The City of New York,                     of the State of
      York; New York City                           and New York City Police                            New York,
      Police Department                             Department                                          County of New
                                                                                                        York
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                                     20-50527-LSS Doc
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                                                                              PagePage
                                                                                   245 249
                                                                                       of 312
                                                                                           of 316




                               Underlying
      Non-Debtor               Plaintiff(s)
      Defendants(s)            (last, first)      Case Caption                          Case Number        Court or Agency
865   Learning for Life of New [Redacted]         [Redacted] v. Learning for Life of    950030/2021        Supreme Court
      York; The City of New                       New York, The City of New York,                          of the State of
      York; New York City                         and New York City Police                                 New York,
      Police Department                           Department                                               County of New
                                                                                                           York
866   Learning for Life of New [Redacted]         [Redacted] v. Learning for Life of    950029/2021        Supreme Court
      York; The City of New                       New York, The City of New York,                          of the State of
      York; New York City                         and New York City Police                                 New York,
      Police Department                           Department                                               County of New
                                                                                                           York
867   Corporation of the        [Redacted]        [Redacted], an Individual v.          6:21-cv-00280-AA   United States
      Presiding                                   Corporation of the Presiding Bishop                      District Court for
      Bishop of the Church of                     of the Church of Jesus Christ of                         the District of
      Jesus                                       Latter-Day Saints, a Corporation                         Oregon, Eugene
      Christ of Latter-Day                        Sole; and Corporation of the                             Division
      Saints,                                     President of The Church of Jesus
      and Corporation of the                      Christ of Latter-Day Saints
      President of the Church                     and Successors, a Corporation Sole
      of
      Jesus Christ of Latter-
      Day Saints and
      Successors
868   Seneca Waterways          [Redacted]        [Redacted] v. Seneca Waterways        C-2021-03051220    Supreme Court
      Council                                     Council, Boy Scouts of America                           of the State of
                                                                                                           New York,
                                                                                                           County of
                                                                                                           Monroe
869   Northern New Jersey       [Redacted]        [Redacted] v. Northern New Jersey     BER-L-001128-21    Superior Court of
      Council, Boy Scouts of                      Council, Boy Scouts of America,                          New Jersey Law
      America, Inc. f/k/a
                           CaseCase
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                                    20-50527-LSS Doc
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                                                                       08/09/21
                                                                             PagePage
                                                                                  246 250
                                                                                      of 312
                                                                                          of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)    Case Caption                          Case Number        Court or Agency
      Bergen Council of Boy                      Inc. f/k/a Bergen Council of Boy                         Division –
      Scouts of America, Inc                     Scouts of America, Inc                                   Bergen County
870   The Children’s Village    [Redacted]       [Redacted] v. The Children’s          7:20-cv-10377-CS   United States
                                                 Village; Boy Scouts of America                           District Court for
                                                                                                          the Southern
                                                                                                          District of New
                                                                                                          York
871   Greater New York          [Redacted]       [Redacted] v. Greater New York        950073/2021        New York State
      Councils, Boy Scouts of                    Councils, Boy Scouts of America                          Supreme Court,
      America and Staten                         and Staten Island Council Boy                            New York
      Island Council Boy                         Scouts of America, Inc.                                  County
      Scouts of America, Inc.
872   Greater New York          [Redacted]       [Redacted] v. Greater New York        70022/2021E        Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                         of the State of
      America; Bronx Council                     Bronx Council Boy Scouts of                              New York,
      Boy Scouts of America,                     America, Inc.; Riverdale                                 County of Bronx
      Inc.; Riverdale                            Presbyterian Church and David
      Presbyterian Church and                    Weiser
      David Weiser
873   Montana Council, Boy      [Redacted]       [Redacted] v. Montana Council,        ADV-21-0155        Montana Eighth
      Scouts of America, and                     Boy Scouts of America, and John                          Judicial District,
      John Does I and II                         Does I and II                                            Cascade County
874   Seneca Waterways          [Redacted]       [Redacted] v. Seneca Waterways        E2021002152        New York State
      Council, Inc., Boy                         Council, Inc., Boy Scouts of                             Supreme Court,
      Scouts of America;                         America; Fingerlakes Council, Inc.,                      Monroe County
      Fingerlakes Council,                       Boy Scouts of America; Otetiana
      Inc., Boy Scouts of                        Council, Inc., Boy Scouts of
      America; Otetiana                          America; and Wolcott Rotary Club
      Council, Inc., Boy
                            CaseCase
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                                     20-50527-LSS Doc
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                                                                              PagePage
                                                                                   247 251
                                                                                       of 312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)     Case Caption                         Case Number      Court or Agency
      Scouts of America; and
      Wolcott Rotary Club
875   Greater Boston Council,   [Redacted]        [Redacted] v. Greater Boston         2184CV00321      Commonwealth
      Inc., Boy Scouts of                         Council, Inc., Boy Scouts of                          of Massachusetts
      America; Boston                             America; Boston Minuteman                             Superior Court
      Minuteman Council,                          Council, Inc. BSA; and The Spirit
      Inc., BSA; and The                          of Adventure Council, Inc., Boy
      Spirit of Adventure                         Scouts of America
      Council, Inc., Boy
      Scouts of America
876   Connecticut Yankee        [Redacted]        [Redacted] v. Connecticut Yankee     2021-50910       New York State
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                          Supreme Court,
      Scouts of America;                          America; Fairfield County Council,                    Dutchess County
      Fairfield County                            Inc., Boy Scouts of America;
      Council, Inc., Boy                          Quinnipiac Council, Inc.; John
      Scouts of America;                          Winthrop Elementary School; and
      Quinnipiac Council,                         Bridgeport Public Schools
      Inc.; John Winthrop
      Elementary School; and
      Bridgeport Public
      Schools
877   Juniata Valley Council,   [Redacted]        [Redacted] v. Juniata Valley         EFCA2021000478   New York State
      Inc., Boy Scouts of                         Council, Inc., Boy Scouts of                          Supreme Court,
      America and Baden-                          America and Baden-Powell                              Broome County
      Powell Council, Inc.,                       Council, Inc., Boy Scouts of
      Boy Scouts of America                       America
878   Baden-Powell Council,     [Redacted]        [Redacted] v. Baden-Powell           EFCA2021000477   New York State
      Inc., Boy Scouts of                         Council, Inc., Boy Scouts of                          Supreme Court,
      America; Susquenango                        America; Susquenango Council,                         Broome County
      Council, Inc., Boy                          Inc, Boy Scouts of America;
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                                                                              PagePage
                                                                                   248 252
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                           Case Number   Court or Agency
      Scouts of America;                          General Conference of the United
      General Conference of                       Methodist Church; Northeastern
      the United Methodist                        Jurisdiction of the United Methodist
      Church; Northeastern                        Church; Upper New York Annual
      Jurisdiction of the                         (Regional) Conference of the
      United Methodist                            United Methodist Church; and First
      Church; Upper New                           United Methodist Church of
      York Annual (Regional)                      Endicott
      Conference of the United
      Methodist Church; and
      First United Methodist
      Church of Endicott
879   Twin Rivers Council,       [Redacted]       [Redacted] v. Twin Rivers Council,     901767-21     New York State
      Inc., Boy Scouts of                         Inc., Boy Scouts of America; and                     Supreme Court,
      America; and Mohican                        Mohican Council, Inc., Boy Scouts                    Albany County
      Council, Inc., Boy                          of America
      Scouts of America
880   Greater Hudson Valley,     [Redacted]       [Redacted] v. Greater Hudson           52907/2021    New York State
      Inc., Boy Scouts of                         Valley, Inc., Boy Scouts of                          Supreme Court,
      America; Westchester-                       America; Westchester-Putnam                          Westchester
      Putnam Council, Inc.,                       Council, Inc., Boy Scouts of                         County
      Boy Scouts of America;                      America; Hudson Valley Council,
      Hudson Valley Council,                      Inc, Boy Scouts of America; and
      Inc., Boy Scouts of                         Good Shepherd Lutheran Church
      America; and Good
      Shepherd Lutheran
      Church
881   Greater Hudson Valley,     [Redacted]       [Redacted] v. Greater Hudson           52125/2021    New York State
      Inc., Boy Scouts of                         Valley, Inc., Boy Scouts of                          Supreme Court,
      America; Westchester-                       America; Westchester-Putnam
                            CaseCase
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                                     20-50527-LSS Doc
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                                                                        08/09/21
                                                                              PagePage
                                                                                   249 253
                                                                                       of 312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)     Case Caption                          Case Number         Court or Agency
      Putnam Council, Inc,                        Council, Inc., Boy Scouts of                              Westchester
      Boy Scouts of America                       America                                                   County
882   Greater Hudson Valley,    [Redacted]        [Redacted] v. Greater Hudson          52126/2021          New York State
      Inc, Boy Scouts of                          Valley, Inc., Boy Scouts of                               Supreme Court,
      America; Westchester-                       America; Westchester-Putnam                               Westchester
      Putnam Council, Inc.,                       Council, Inc., Boy Scouts of                              County
      Boy Scouts of America                       America
883   Twin Rivers Council,      [Redacted]        [Redacted] v. Twin Rivers Council,    901772-21           New York State
      Inc., Boy Scouts of                         Inc., Boy Scouts of America;                              Supreme Court,
      America; Governor                           Governor Clinton Council, Inc.,                           Albany County
      Clinton Council, Inc.,                      Boy Scouts of America; Benevolent
      Boy Scouts of America;                      and Protective Order of 141 Troy
      Benevolent and                              Elks; and Benevolent and Protective
      Protective Order of 141                     Order of the Elks
      Troy Elks; and
      Benevolent and
      Protective Order of the
      Elks
884   Allegheny Highlands       [Redacted]        [Redacted] v. Allegheny Highlands     EK12021000276       New York State
      Council, Inc.                               Council, Inc.                                             Supreme Court,
                                                                                                            Chautauqua
                                                                                                            County
885   None                      [Redacted]        [Redacted] v. Boy Scouts of           1:21-cv-00511-MCC   United States
                                                  America                                                   District Court for
                                                                                                            the Middle
                                                                                                            District of
                                                                                                            Pennsylvania
886   Northern New Jersey       [Redacted]        [Redacted] v. Boy Scouts of           ESX-L-1843-21       Superior Court of
      Council, The Boy Scouts                     America, Northern New Jersey                              New Jersey Law
      of America; County of                       Council, The Boy Scouts of
                            CaseCase
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                                                                        08/09/21
                                                                              PagePage
                                                                                   250 254
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number   Court or Agency
      Essex; Essex County                         America, County of Essex, Essex                     Division: Essex
      Sheriff's Office; and                       County Sheriff's Office, and John                   County
      John Doe 1-10                               Doe 1-10
887   Longhouse Council,         [Redacted]       [Redacted] v. Longhouse Council,      002670/2021   New York State
      Inc., Boy Scouts of                         Inc., Boy Scouts of America; and                    Supreme Court,
      America; and Onondaga                       Onondaga Council, Inc., Boy                         Onondaga
      Council, Inc., Boy                          Scouts of America                                   County
      Scouts of America
888   Greater Hudson Valley      [Redacted]       [Redacted] v. Greater Hudson          53359/2021    New York State
      Council, Inc., Boy                          Valley Council, Inc., Boy Scouts of                 Supreme Court,
      Scouts of America; and                      America; and Westchester-Putnam                     Westchester
      Westchester-Putnam                          Council, Inc., Boy Scouts of                        County
      Council, Inc., Boy                          America
      Scouts of America
889   Greater Hudson Valley      [Redacted]       [Redacted] v. Greater Hudson          53356/2021    New York State
      Council, Inc., Boy                          Valley Council, Inc., Boy Scouts of                 Supreme Court,
      Scouts of America; and                      America; and Westchester-Putnam                     Westchester
      Westchester-Putnam                          Council, Inc., Boy Scouts of                        County
      Council, Inc., Boy                          America
      Scouts of America
890   Greater New York           [Redacted]       [Redacted] v. Greater New York        950092/2021   New York State
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                    Supreme Court,
      America; and Bronx                          and Bronx Council Boy Scouts of                     New York
      Council Boy Scouts of                       America, Inc.                                       County
      America, Inc.
891   Nassau County Council,     [Redacted]       [Redacted] v. Nassau County           900021/2021   New York State
      Inc., Boy Scouts of                         Council, Inc., Boy Scouts of                        Supreme Court,
      America n/k/a Theodore                      America n/k/a Theodore Roosevelt                    Nassau County
      Roosevelt Council, Inc.,                    Council, Inc., Boy Scouts of
      Boy Scouts of America;                      America; P.J. Gelinas Junior High
                             CaseCase
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                                      20-50527-LSS Doc
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                                                                               PagePage
                                                                                    251 255
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                          Case Number   Court or Agency
      P.J. Gelinas Junior High                     School; and Three Village Central
      School; and Three                            School District
      Village Central School
      District
892   Greater New York            [Redacted]       [Redacted] v. Greater New York        150607/2021   New York State
      Councils, Boy Scouts of                      Councils, Boy Scouts of America,                    Supreme Court,
      America; Staten Island                       Staten Island Council Boy Scouts of                 Richmond
      Council Boy Scouts of                        America, Inc.; General Conference                   County
      America, Inc.; General                       of the United Methodist Church;
      Conference of the United                     Northeastern Jurisdiction of the
      Methodist Church;                            United Methodist Church; Upper
      Northeastern Jurisdiction                    New York Annual (Regional)
      of the United Methodist                      Conference of the United Methodist
      Church; Upper New                            Church; and Saint Paul’s United
      York Annual (Regional)                       Methodist Church of Staten Island
      Conference of the United
      Methodist Church; and
      Saint Paul’s United
      Methodist Church of
      Staten Island
893   Greater New York            [Redacted]       [Redacted] v. Greater New York        950091/2021   New York State
      Councils, Boy Scouts of                      Councils, Boy Scouts of America;                    Supreme Court,
      America; and Brooklyn                        and Brooklyn Council Boy Scouts                     New York
      Council Boy Scouts of                        of America, Inc.                                    County
      America, Inc.
894   Pine Tree Council, Inc.     [Redacted]       [Redacted] v. Pine Tree Council,      EF2021-823    New York State
      Boy Scouts of America;                       Inc. Boy Scouts of America;                         Supreme Court,
      Greater Rumford                              Greater Rumford Community                           Ulster County
      Community Center;                            Center; Roman Catholic Diocese of
      Roman Catholic Diocese                       Portland; Roman Catholic Bishop
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   252 256
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                           Case Number       Court or Agency
      of Portland; Roman                          of Portland; St. Athanasius Catholic
      Catholic Bishop of                          Church; and The Order of the Holy
      Portland; St. Athanasius                    Cross
      Catholic Church; and
      The Order of the Holy
      Cross
895   Nassau County Council,     [Redacted]       [Redacted] v. Nassau County            900022/2021       New York State
      Inc., Boy Scouts of                         Council, Inc., Boy Scouts of                             Supreme Court,
      America n/k/a Theodore                      America n/k/a Theodore Roosevelt                         Nassau County
      Roosevelt Council, Inc.,                    Council, Inc., Boy Scouts of
      Boy Scouts of America                       America
896   Seneca Waterways           [Redacted]       [Redacted] v. Seneca Waterways         E2021002766       New York State
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                             Supreme Court,
      Scouts of America; and                      America; and Finger Lakes                                Monroe County
      Finger Lakes Council,                       Council, Inc., Boy Scouts of
      Inc., Boy Scouts of                         America
      America
897   Seneca Waterways           [Redacted]       [Redacted] v. Seneca Waterways         E2021002742       New York State
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                             Supreme Court,
      Scouts of America; and                      America; and Otetiana Council,                           Monroe County
      Otetiana Council, Inc.,                     Inc., Boy Scouts of America
      Boy Scouts of America
898   Theodore Roosevelt         [Redacted]       [Redacted] v. Theodore Roosevelt       900019/2021       New York State
      Council, Inc., f/k/a                        Council, Inc., Boy Scouts of                             Supreme Court,
      Nassau County Council                       America f/k/a Nassau County                              Nassau County
      of Boy Scouts of                            Council of Boy Scouts of America,
      America, Inc.; Does 1-5                     Incorporated, Boy Scouts of
                                                  America; and Does 1-5
899   Northern New Jersey        [Redacted]       [Redacted] v. Northern New Jersey      ESX-L-002349-21   Superior Court of
      Council, Boy Scouts of                      Council, Boy Scouts of America,                          New Jersey Law
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                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     253 257
                                                                                         of 312
                                                                                             of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)     Case Caption                        Case Number       Court or Agency
      America, Inc.;                                Inc.; Brookdale Reformed Church;                      Division; Essex
      Brookdale Reformed                            and John Does 1-10                                    County
      Church; and John Does
      1-10
900   Garden State Council,       [Redacted]        [Redacted] v. Garden State Council, BUR-L-000705-21   Superior Court of
      Inc., Boy Scouts of                           Inc., Boy Scouts of America;                          New Jersey Law
      America; Southern New                         Southern New Jersey Council, Inc.,                    Division,
      Jersey Council, Inc., Boy                     Boy Scouts of America; Burlington                     Burlington
      Scouts of America;                            County Council, Inc., Boy Scouts of                   County
      Burlington County                             America; and John Does 1-10
      Council, Inc., Boy
      Scouts of America; and
      John Does 1-10
901   Defendant Doe 1,            John Roe DZ 1     John Roe DZ 1 v. Defendant Doe 1,   CV-20-000510      Superior Court of
      Scouting Organization;                        Scouting Organization; Defendant                      the State of
      Defendant Doe 2,                              Doe 2, Council; and Defendants                        California for the
      Council; and Defendants                       Does 3 through 100, inclusive                         County of
      Does 3 through 100,                                                                                 Stanislaus
      inclusive
902   Greater New York            Anonymous         Anonymous v. Greater New York       507969/2021       Supreme Court
      Councils                                      Councils                                              of the State of
                                                                                                          New York
                                                                                                          County of Kings
903   Theodore Roosevelt          Anonymous         Anonymous v. Theodore Roosevelt     900023/2021       Supreme Court
      Council f/k/a/ Nassau                         Council f/k/a/ Nassau County                          of the State of
      County Council                                Council                                               New York
                                                                                                          County of
                                                                                                          Nassau
904   Greater Niagara Frontier    Anonymous         Anonymous v. Greater Niagara        804552/2021       Supreme Court
      Councils                                      Frontier Councils                                     of the State of
                              CaseCase
                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     254 258
                                                                                         of 312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                           Case Number    Court or Agency
                                                                                                          New York
                                                                                                          County of Erie
905   Greater New York             [Redacted]       [Redacted] v. Greater New York         950110/2021    Supreme Court
      Councils, Boy Scouts of                       Councils, Boy Scouts of America;                      of the State of
      America; Greater New                          Greater New York Councils,                            New York
      York Councils, Queens                         Queens Council, Boy Scouts of                         County of New
      Council, Boy Scouts of                        America; and Greater New York                         York
      America; and Greater                          Councils, Brooklyn Council, Boy
      New York Councils,                            Scouts of America
      Brooklyn Council, Boy
      Scouts of America
906   Pacific Harbors Council,     [Redacted]       [Redacted] v. Pacific Harbors          21-2-05399-0   Superior Court of
      Boy Scouts of America;                        Council, Boy Scouts of America;                       the State of
      Corporation of the                            Corporation of the Presiding Bishop                   Washington in
      Presiding Bishop of the                       of the Church of Jesus Christ of                      and for the
      Church of Jesus Christ                        Latter-Day Saints; Corporation of                     County of Pierce
      of Latter-Day Saints;                         the President of the Church of Jesus
      Corporation of the                            Christ of Latter-Day Saints and
      President of the Church                       Successors; Soundview Ward of the
      of Jesus Christ of Latter-                    Church of Jesus Christ of Latter-
      Day Saints and                                Day Saints, University Place
      Successors; Soundview                         Washington; Curtis Junior High
      Ward of the Church of                         School; and University Place
      Jesus Christ of Latter-                       School District
      Day Saints, University
      Place Washington;
      Curtis Junior High
      School; and University
      Place School District
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    255 259
                                                                                        of 312
                                                                                            of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)   Case Caption                          Case Number       Court or Agency
907   Patriots' Path Council;      [Redacted]      [Redacted] v. Patriots' Path          ESX-L-2894-21     Superior Court of
      Morris-Sussex Area                           Council; Morris-Sussex Area                             New Jersey
      Council, Inc.; Boy Scout                     Council, Inc.; Boy Scout Troop                          Essex County
      Troop #70; American                          #70; American Legion Post #279;                         Law Division
      Legion Post #279; Xyz                        Xyz Entities 1-100 (fictitious
      Entities 1-100 (fictitious                   designations); and John Does 1-100
      designations); and John                      (fictitious designations)
      Does 1-100 (fictitious
      designations)
908   Patriots' Path Council,      John Doe        John Doe v. Patriots' Path Council,   MID-L-002362-21   Superior Court of
      Inc. Boy Scots of                            Inc. Boy Scots of America; Thomas                       New Jersey
      America; Thomas A.                           A. Edison Council, Inc., Boy Scouts                     Middlesex
      Edison Council, Inc. Boy                     of America; John Does 1-10                              County Law
      Scouts of America; John                                                                              Division
      Does 1-10
909   Patriots' Path Council,      John Doe        John Doe v. Patriots' Path Council,   UNN-L-1384-21     Superior Court of
      Inc. Boy Scots of                            Inc. Boy Scots of America;                              New Jersey Law
      America; Watchung                            Watchung Area Council,                                  Division Union
      Area Council,                                Incorporated, Boy Scouts of                             County
      Incorporated, Boy                            America; Franklin Elementary
      Scouts of America;                           School; Westfield Public Schools;
      Franklin Elementary                          John Does 1-10
      School; Westfield Public
      Schools; John Does 1-10
910   Northern New Jersey          [Redacted]      [Redacted] v. Northern New Jersey     ESX-L-2786-21     Superior Court of
      Council, Boy Scouts of                       Council, Boy Scouts of America,                         New Jersey Law
      America, Inc,; Eagle                         Inc,; Eagle Rock Council, Boy                           Division Essex
      Rock Council, Boy                            Scouts of America, Inc,; Robert                         County
      Scouts of America, Inc,;                     Treat Council, Boy Scouts of
      Robert Treat Council,                        America, Inc,; Orange Mountain
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                                     4:19-cv-00847-BSM
                                         20-50527-LSS Doc
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                                                          185-1 23-1
                                                                 FiledFiled
                                                                      07/21/21
                                                                            08/09/21
                                                                                  PagePage
                                                                                       256 260
                                                                                           of 312
                                                                                               of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)      Case Caption                          Case Number        Court or Agency
      Boy Scouts of America,                          Council, Boy Scouts of America,
      Inc,; Orange Mountain                           Inc,; Sacred Heart Church;
      Council, Boy Scouts of                          Archdiocese of Newark; John Does
      America, Inc,; Sacred                           1-10
      Heart Church;
      Archdiocese of Newark;
      John Does 1-10
911   Northern New Jersey          [Redacted]         [Redacted] v. Northern New Jersey     BER-L-2289-21      Superior Court of
      Council, Boy Scouts of                          Council, Boy Scouts of America,                          New Jersey Law
      America, Inc,; Bergen                           Inc,; Bergen Council, Boy Scouts of                      Division Bergen
      Council, Boy Scouts of                          America, Inc,; Old North Reformed                        County
      America, Inc,; Old North                        Church; the Reformed Church in
      Reformed Church; the                            America; John Does 1-10
      Reformed Church in
      America; John Does 1-
      10
912   Garden State Council,        [Redacted]         [Redacted] v. Garden State Council, SLM-L-0081-21        Superior Court of
      Inc., Boy Scouts of                             Inc., Boy Scouts of America, Inc,;                       New Jersey Law
      America, Inc,; Southern                         Southern New Jersey Council, Inc.,                       Division Salam
      New Jersey Council,                             Boy Scouts of America, Inc,;                             County
      Inc., Boy Scouts of                             Quinton Fellowship Baptist Church;
      America, Inc,; Quinton                          John Does 1-10
      Fellowship Baptist
      Church; John Does 1-10
913   National Capital Area        [Redacted]         [Redacted] v. National Capital Area   2021 CA 001394 B   Superior Court of
      Council, Boy Scouts of                          Council, Boy Scouts of America                           the District of
      America                                                                                                  Columbia Civil
                                                                                                               Division
914   Patriots’ Path Council,      [Redacted]         [Redacted] v. Patriots’ Path          ESX-L-2842-21      Superior Court of
      Inc. Boy Scouts of                              Council, Inc. Boy Scouts of                              New Jersey
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                                4:19-cv-00847-BSM
                                    20-50527-LSS Doc
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                                                     185-1 23-1
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                                                                 07/21/21
                                                                       08/09/21
                                                                             PagePage
                                                                                  257 261
                                                                                      of 312
                                                                                          of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)    Case Caption                        Case Number     Court or Agency
      America; Watchung                          America; Watchung Area Council,                     Essex County
      Area Council,                              Incorporated, Boy Scouts of                         Law Division
      Incorporated, Boy                          America; St. Bernard of Clairvaux
      Scouts of America; St.                     and St. Stanislaus Kostka Church;
      Bernard of Clairvaux                       Archdiocese of Newark; John Does
      and St. Stanislaus                         1-10
      Kostka Church;
      Archdiocese of Newark;
      John Does 1-10
915   Patriots’ Path Council,   [Redacted]       [Redacted] v. Patriots’ Path        MID-L-2119-21   Superior Court of
      Inc. Boy Scouts of                         Council, Inc. Boy Scouts of                         New Jersey Law
      America; Thomas A.                         America; Thomas A. Edison                           Division
      Edison Council, Our                        Council, Our Lady of Peace                          Middlesex
      Lady of Peace Church,                      Church, Inc. Boy Scouts of                          County
      Inc. Boy Scouts of                         America; Diocese of Metuchen;
      America; Diocese of                        John Does 1-10
      Metuchen; John Does 1-
      10
916   Patriots’ Path Council,   [Redacted]       [Redacted] v. Patriots’ Path        SSX-L-0173-21   Superior Court of
      Inc. Boy Scouts of                         Council, Inc. Boy Scouts of                         New Jersey Law
      America; Morris-Sussex                     America; Morris-Sussex Area                         Division Sussex
      Area Council, Boy                          Council, Boy Scouts of America;                     County
      Scouts of America;                         Stillwater Area Volunteer Fire
      Stillwater Area                            Company; John Does 1-10
      Volunteer Fire
      Company; John Does 1-
      10
917   Northern New Jersey       [Redacted]       [Redacted] v. Northern New Jersey   BER-L-2654-21   Superior Court of
      Council, Boy Scouts of                     Council, Boy Scouts of America;                     New Jersey Law
      America; Bayonne
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   258 262
                                                                                       of 312
                                                                                           of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)   Case Caption                          Case Number     Court or Agency
      Council Boy Scouts of                       Bayonne Council Boy Scouts of                         Division Bergen
      America; John Does 1-                       America; John Does 1-10                               County
      10
918   Washington Crossing         [Redacted]      [Redacted] v. Washington Crossing     HNT-L-0133-21   Superior Court of
      Council, Boy Scouts of                      Council, Boy Scouts of America;                       New Jersey Law
      America; Central New                        Central New Jersey Council, Inc.,                     Division
      Jersey Council, Inc., Boy                   Boy Scouts of America; George                         Hunterdon
      Scouts of America;                          Washington Council, Inc., Boy                         County
      George Washington                           Scouts of America; Three Bridges
      Council, Inc., Boy                          Volunteer Fire Company; John
      Scouts of America;                          Does 1-10
      Three Bridges Volunteer
      Fire Company; John
      Does 1-10
919   Washington Crossing         John Doe        John Doe v. Washington Crossing       WRN-L-135-21    Superior Court of
      Council Boy Scouts of                       Council Boy Scouts of America;                        New Jersey Law
      America; Central New                        Central New Jersey Council, Inc.,                     Division Warren
      Jersey Council, Inc., Boy                   Boy Scouts of America; George                         County
      Scouts of America;                          Washington Council Inc., Boy
      George Washington                           Scouts of America; John Does 1-10
      Council Inc., Boy Scouts
      of America; John Does
      1-10
920   Monmouth Council, Boy       [Redacted]      [Redacted] v. Monmouth Council,       MID-L-2229-21   Superior Court of
      Scouts of America;                          Boy Scouts of America; Central                        New Jersey Law
      Central New Jersey                          New Jersey Council, Inc., Boy                         Division
      Council, Inc., Boy                          Scouts of America; Thomas A.                          Middlesex
      Scouts of America;                          Edison Council, Inc., Boy Scouts of                   County
      Thomas A. Edison                            America; Raymond E. Voorhees
      Council, Inc., Boy                          Elementary School; Old Bridge
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                                   4:19-cv-00847-BSM
                                       20-50527-LSS Doc
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     259 263
                                                                                         of 312
                                                                                             of 316




                                   Underlying
      Non-Debtor                   Plaintiff(s)
      Defendants(s)                (last, first)    Case Caption                           Case Number     Court or Agency
      Scouts of America;                            Township Public Schools; John
      Raymond E. Voorhees                           Does 1-10
      Elementary School; Old
      Bridge Township Public
      Schools; John Does 1-10
921   Monmouth Council, Boy        John Doe         John Doe v. Monmouth Council           MON-L-1283-21   Superior Court of
      Scouts of America;                            Boy Scouts of America; North                           New Jersey Law
      North Long Branch                             Long Branch Elementary School;                         Division
      Elementary School;                            Long Branch Public Schools; John                       Monmouth
      Long Branch Public                            Does 1-10                                              County
      Schools; John Does 1-10
922   Northern New Jersey          [Redacted]       [Redacted] v. Northern New Jersey      BER-L-2653-21   Superior Court of
      Council, Boy Scouts of                        Council, Boy Scouts of America,                        New Jersey Law
      America, Inc.; Tamarack                       Inc.; Tamarack Council Inc., Boy                       Division Bergen
      Council, Inc., Boy                            Scouts of America; John Does 1-10                      County
      Scouts of America; John
      Does 1-10
923   Cascade Pacific Council,     [Redacted]       [Redacted] v. Cascade Pacific          21CV15962       Circuit Court of
      Boy Scouts of America,                        Council, an Oregon nonprofit                           the State of
      an Oregon nonprofit                           corporation; Boy Scouts of                             Oregon for
      corporation; Corporation                      America, Corporation of the                            Multnomah
      of the Presiding Bishop                       Presiding Bishop of the Church of                      County
      of the Church of Jesus                        Jesus Christ of Latter-Day Saints, a
      Christ of Latter-Day                          foreign corporation registered to do
      Saints, a foreign                             business in Oregon; and
      corporation registered to                     Corporation of the President of the
      do business in Oregon;                        Church of Jesus Christ of Latter-
      and Corporation of the                        Day Saints and Successors, a
      President of the Church                       foreign corporation registered to do
      of Jesus Christ of Latter-                    business in Oregon
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   260 264
                                                                                       of 312
                                                                                           of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)   Case Caption                           Case Number   Court or Agency
      Day Saints and
      Successors, a foreign
      corporation registered to
      do business in Oregon
924   Greater Tampa Bay Area      [Redacted]      [Redacted] v. Greater Tampa Bay        126161783     Circuit Court for
      Council, Inc., Boy                          Area Council, Inc., Boy Scouts of                    the Thirteenth
      Scouts of America, a                        America, a Florida Corporation                       Judicial Circuit
      Florida Corporation                         f/k/a/ Gulf Ridge Council, Inc., Boy                 in and for
      f/k/a/ Gulf Ridge                           Scouts of America, a Florida                         Hillsborough
      Council, Inc., Boy                          Corporation                                          County, Florida
      Scouts of America, a
      Florida Corporation
925   Boy Scouts of America,      [Redacted]      [Redacted] v. Boy Scouts of            400031/2021   Supreme Court
      Greater New York                            America, Greater New York                            of the State of
      Council of the Boy                          Council of the Boy Scouts of                         New York
      Scouts of America and                       America and John Doe                                 County of
      John Doe                                                                                         Queens
926   Boy Scouts of America,      [Redacted]      [Redacted] v. Boy Scouts of            950145/2021   Supreme Court
      Greater New York                            America, Greater New York                            of the State of
      Council of the Boy                          Council of the Boy Scouts of                         New York
      Scouts of America and                       America and Lawrence Svrcek                          County of New
      Lawrence Svrcek                                                                                  York
927   Greater New York            [Redacted]      [Redacted] v. Greater New York         509988/2021   Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                     of the State of
      America; Brooklyn                           Brooklyn Council, Boy Scouts of                      New York
      Council, Boy Scouts of                      America; and Does 1-10                               County of Kings
      America; and Does 1-10
928   Greater New York            [Redacted]      [Redacted] v. Greater New York         509984/2021   Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                     of the State of
      America; Brooklyn
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                                    20-50527-LSS Doc
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                                                                             PagePage
                                                                                  261 265
                                                                                      of 312
                                                                                          of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)    Case Caption                        Case Number   Court or Agency
      Council, Boy Scouts of                     Brooklyn Council, Boy Scouts of                   New York
      America; and Does 1-10                     America; and Does 1-10                            County of Kings
929   Greater New York          [Redacted]       [Redacted] v. Greater New York      400030/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Queens                            Queens Council, Boy Scouts of                     New York
      Council, Boy Scouts of                     America; and Does 1-10                            County of
      America; and Does 1-10                                                                       Queens
930   Greater New York          [Redacted]       [Redacted] v. Greater New York      950135/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Staten Island                     Staten Island Council, Boy Scouts                 New York
      Council, Boy Scouts of                     of America; and Does 1-10                         County of New
      America; and Does 1-10                                                                       York
931   Greater New York          [Redacted]       [Redacted] v. Greater New York      400028/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Queens                            Queens Council, Boy Scouts of                     New York
      Council, Boy Scouts of                     America; and Does 1-10                            County of
      America; and Does 1-10                                                                       Queens
932   Greater New York          [Redacted]       [Redacted] v. Greater New York      400029/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Queens                            Queens Council, Boy Scouts of                     New York
      Council, Boy Scouts of                     America, Inc.; and Does 1-10                      County of
      America, Inc.; and Does                                                                      Queens
      1-10
933   Greater New York          [Redacted]       [Redacted] v. Greater New York      509835/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Brooklyn                          Brooklyn Council, Boy Scouts of                   New York
      Council, Boy Scouts of                     America; and Does 1-10                            County of Kings
      America; and Does 1-10
934   Greater New York          [Redacted]       [Redacted] v. Greater New York      509985/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
                            CaseCase
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                                                                        08/09/21
                                                                              PagePage
                                                                                   262 266
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number   Court or Agency
      America; Brooklyn                           Brooklyn Council, Boy Scouts of                     New York
      Council, Boy Scouts of                      America; and Does 1-10                              County of Kings
      America; and Does 1-10
935   Greater New York           [Redacted]       [Redacted] v. Greater New York        950121/2021   Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                    of the State of
      America; Manhattan                          Manhattan Council, Boy Scouts of                    New York
      Council, Boy Scouts of                      America; St. Bernard’s School and                   County of New
      America; St. Bernard’s                      Does 1-10                                           York
      School and Does 1-10
936   Greater New York           [Redacted]       [Redacted] v. Greater New York        70071/2021E   Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                    of the State of
      America; Bronx Council,                     Bronx Council, Boy Scouts of                        New York
      Boy Scouts of America;                      America; and Does 1-10                              County of Bronx
      and Does 1-10
937   Greater New York           [Redacted]       [Redacted] v. Greater New York        509086/2021   Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                    of the State of
      America; Brooklyn                           Brooklyn Council, Boy Scouts of                     New York
      Council, Boy Scouts of                      America; Order of the Teachers of                   County of Kings
      America; Order of the                       the Children of God, Episcopal
      Teachers of the Children                    Diocese of Long Island, St. Philips
      of God; Episcopal                           Episcopal/Anglican Church and
      Diocese of Long Island;                     Does 1-10
      St. Philips
      Episcopal/Anglican
      Church and Does 1-10
938   Greater New York           [Redacted]       [Redacted] v. Greater New York        509090/2021   Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                    of the State of
      America; Brooklyn                           Brooklyn Council, Boy Scouts of                     New York
      Council, Boy Scouts of                      America; and Does 1-10                              County of Kings
      America; and Does 1-10
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                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                              PagePage
                                                                                   263 267
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                        Case Number   Court or Agency
939   Greater New York           [Redacted]       [Redacted] v. Greater New York      950123/2021   Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America                   of the State of
      America and Brooklyn                        and Brooklyn Council, Boy Scouts                  New York
      Council, Boy Scouts of                      of America                                        County of New
      America                                                                                       York
940   Greater New York           [Redacted]       [Redacted] v. Greater New York      950147/2021   Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America                   of the State of
      America and Queens                          and Queens Council, Boy Scouts of                 New York
      Council, Boy Scouts of                      America, Inc.                                     County of New
      America, Inc.                                                                                 York
941   Greater New York           [Redacted]       [Redacted] v. Greater New York      950161/2021   Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America                   of the State of
      America and Brooklyn                        and Brooklyn Council, Boy Scouts                  New York
      Council, Boy Scouts of                      of America                                        County of New
      America                                                                                       York
942   County of Suffolk,         [Redacted]       [Redacted] v. County of Suffolk,    608659/2021   Supreme Court
      Suffolk County Police                       Suffolk County Police Department,                 of the State of
      Department, Michael                         Michael Trentini and Learning for                 New York
      Trentini and Learning                       Life d/b/a Police Explorers Program               County of
      for Life (d/b/a Police                      Troop 282, John or Jane Does 1-10                 Suffolk
      Explorers Program                           and BC Corps. 1-10
      Troop 282), John or Jane
      Does 1-10 and ABC
      Corps. 1-10
943   Westchester-Putnam         [Redacted]       [Redacted] v. Westchester-Putnam    56387/2021    Supreme Court
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                      of the State of
      Scouts of America; and                      America; and Does 1-10                            New York
      Does 1-10                                                                                     County of
                                                                                                    Westchester
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                                4:19-cv-00847-BSM
                                    20-50527-LSS Doc
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                                                     185-1 23-1
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                                                                 07/21/21
                                                                       08/09/21
                                                                             PagePage
                                                                                  264 268
                                                                                      of 312
                                                                                          of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)    Case Caption                       Case Number    Court or Agency
944   Greater New York          [Redacted]       [Redacted] v. Greater New York     400029/2021    Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Queens                            Queens Council, Boy Scouts of                     New York
      Council, Boy Scouts of                     America, Inc.; and Does 1-10                      County of
      America, Inc.; and Does                                                                      Queens
      1-10
945   Greater New York          [Redacted]       [Redacted] v. Greater New York     400030/2021    Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Queens                            Queens Council, Boy Scouts of                     New York
      Council, Boy Scouts of                     America, Inc.; and Does 1-10                      County of
      America, Inc.; and Does                                                                      Queens
      1-10
946   Greater New York          [Redacted]       [Redacted] v. Greater New York     400038/2021    Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Queens                            Queens Council, Boy Scouts of                     New York
      Council, Boy Scouts of                     America, Inc.; and Does 1-10                      County of
      America, Inc.; and Does                                                                      Queens
      1-10
947   Greater New York          [Redacted]       [Redacted] v. Greater New York    400049/2021     Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Queens                            Queens Council, Boy Scouts of                     New York
      Council, Boy Scouts of                     America, Inc.; Reformed Church in                 County of
      America, Inc.; Reformed                    America, United Church of Christ                  Queens
      Church in America,                         a/k/a Flushing Bowne Street
      United Church of Christ                    Community Church UCC; and Does
      a/k/a Flushing Bowne                       1-10
      Street Community
      Church UCC; and Does
      1-10
                            CaseCase
                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   265 269
                                                                                       of 312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)     Case Caption                        Case Number       Court or Agency
948   Greater New York          [Redacted]        [Redacted] v. Greater New York      950135/2021       Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                      of the State of
      America; Staten Island                      Staten Island Council, Boy Scouts                     New York
      Council Boy Scouts of                       of America; and Does 1-10                             County of New
      America, Inc.; and Does                                                                           York
      1-10
949   Greater New York          [Redacted]        [Redacted] v. Greater New York      950214/2021       Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                      of the State of
      America; Manhattan                          Manhattan Council, Boy Scouts of                      New York
      Council, Boy Scouts of                      America; and Does 1-10                                County of New
      America; and Does 1-10                                                                            York
950   Seneca Waterways          [Redacted]        [Redacted] v. Seneca Waterways      E2021005369       Supreme Court
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                          of the State of
      Scouts of America; St.                      America; St. Mark's & St. John's                      New York
      Mark's & St. John's                         Episcopal Church; and Does 1-5                        County of
      Episcopal Church; and                                                                             Monroe
      Does 1-5
951   Seneca Waterways          [Redacted]        [Redacted] v. Seneca Waterways      E2021005367       Supreme Court
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                          of the State of
      Scouts of America;                          America; Greek Orthodox Church                        New York
      Greek Orthodox Church                       of the Holy Spirit; and Does 1-5                      County of
      of the Holy Spirit; and                                                                           Monroe
      Does 1-5
952   Seneca Waterways          [Redacted]        [Redacted] v. Seneca Waterways      E2021005365       Supreme Court
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                          of the State of
      Scouts of America; and                      America; and Does 1-5                                 New York
      Does 1-5                                                                                          County of
                                                                                                        Monroe
953   Leatherstocking Council   [Redacted]        [Redacted] v. Leatherstocking       EFCA2021-001401   Supreme Court
      of the Boy Scouts of                        Council of the Boy Scouts of                          of the State of
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                                4:19-cv-00847-BSM
                                    20-50527-LSS Doc
                                                  Document
                                                     185-1 23-1
                                                            FiledFiled
                                                                 07/21/21
                                                                       08/09/21
                                                                             PagePage
                                                                                  266 270
                                                                                      of 312
                                                                                          of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)    Case Caption                         Case Number       Court or Agency
      America, Inc. f/k/a                        America, Inc. f/k/a Upper Mohawk                       New York
      Upper Mohawk Council,                      Council, Boy Scouts of America                         County of
      Boy Scouts of America                      f/k/a Iroquois Council, Boy Scouts                     Oneida
      f/k/a Iroquois Council,                    of America, Inc. and Camden
      Boy Scouts of America,                     Central Schools
      Inc. and Camden Central
      Schools
954   Leatherstocking Council   [Redacted]       [Redacted] v. Leatherstocking        EFCA2021-001369   Supreme Court
      of the Boy Scouts of                       Council of the Boy Scouts of                           of the State of
      America, Inc. f/k/a                        America, Inc. f/k/a Upper Mohawk                       New York
      Upper Mohawk Council,                      Council, Boy Scouts of America,                        County of
      Boy Scouts of America,                     Inc.                                                   Oneida
      Inc.
955   Greater New York          [Redacted]       [Redacted] v. Greater New York       950286/2021       Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                       of the State of
      America; Manhattan                         Manhattan Council, Boy Scouts of                       New York
      Council, Boy Scouts of                     America; Broadway Presbyterian                         County of New
      America; Broadway                          Church                                                 York
      Presbyterian Church
956   Greater New York          [Redacted]       [Redacted] v. Greater New York       509985/2021       Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                       of the State of
      America; Brooklyn                          Brooklyn Council, Boy Scouts of                        New York
      Council, Boy Scouts of                     America; and Does 1-10                                 County of Kings
      America; and Does 1-10
957   Greater New York          [Redacted]       [Redacted] v. Greater New York       509988/2021       Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                       of the State of
      America; Brooklyn                          Brooklyn Council, Boy Scouts of                        New York
      Council, Boy Scouts of                     America; and Does 1-10                                 County of Kings
      America; and Does 1-10
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                                4:19-cv-00847-BSM
                                    20-50527-LSS Doc
                                                  Document
                                                     185-1 23-1
                                                            FiledFiled
                                                                 07/21/21
                                                                       08/09/21
                                                                             PagePage
                                                                                  267 271
                                                                                      of 312
                                                                                          of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)    Case Caption                         Case Number   Court or Agency
958   Greater New York          [Redacted]       [Redacted] v. Greater New York       509984/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                   of the State of
      America; Brooklyn                          Brooklyn Council, Boy Scouts of                    New York
      Council, Boy Scouts of                     America; and Does 1-10                             County of Kings
      America; and Does 1-10
959   Greater New York          [Redacted]       [Redacted] v. Greater New York       512533/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                   of the State of
      America; Brooklyn                          Brooklyn Council, Boy Scouts of                    New York
      Council, Boy Scouts of                     America; St. Augustine-Francis                     County of Kings
      America; St. Augustine-                    Xavier Parish f/k/a St. Augustine
      Francis Xavier Parish                      Roman Catholic Church; and Does
      f/k/a St. Augustine                        1-10
      Roman Catholic Church;
      and Does 1-10
960   Greater New York          [Redacted]       [Redacted] v. Greater New York       950171/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                   of the State of
      America; Manhattan                         Manhattan Council, Boy Scouts of                   New York
      Council, Boy Scouts of                     America; Friends Seminary; and                     County of New
      America; Friends                           Does 1-10                                          York
      Seminary; and Does 1-
      10
961   Seneca Waterways          [Redacted]       [Redacted] v. Seneca Waterways       900056/2021   Supreme Court
      Council, Inc., Boy                         Council, Inc., Boy Scouts of                       of the State of
      Scouts of America;                         America; Theodore Roosevelt                        New York
      Theodore Roosevelt                         Council, Inc., Boy Scouts of                       County of
      Council, Inc., Boy                         America f/k/a Nassau County                        Nassau
      Scouts of America f/k/a                    Council, Boy Scouts of America,
      Nassau County Council,                     Inc.; Valley Stream Union District
      Boy Scouts of America,                     #30; and Shaw Avenue Elementary
      Inc.; Valley Stream                        School
                            CaseCase
                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
                                                   Document
                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   268 272
                                                                                       of 312
                                                                                           of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)     Case Caption                       Case Number    Court or Agency
      Union District #30; and
      Shaw Avenue
      Elementary School
962   Seneca Waterways          [Redacted]        [Redacted] v. Seneca Waterways     E2021005076    Supreme Court
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                      of the State of
      Scouts of America;                          America; Finger Lakes Council,                    New York
      Finger Lakes Council,                       Inc., Boy Scouts of America; and                  County of
      Inc., Boy Scouts of                         Otetiana Council, Boy Scouts of                   Monroe
      America; and Otetiana                       America, Inc.
      Council, Boy Scouts of
      America, Inc.
963   Rip Van Winkle            [Redacted]        [Redacted] v. Rip Van Winkle       EF2021-1440    Supreme Court
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                      of the State of
      Scouts of America; and                      America; and Does 1-10                            New York
      Does 1-10                                                                                     County of Ulster
964   Rip Van Winkle            [Redacted]        [Redacted] v. Rip Van Winkle       EF2021-1472    Supreme Court
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                      of the State of
      Scouts of America;                          America; Ellenville United                        New York
      Ellenville United                           Methodist Church; and Does 1-10                   County of Ulster
      Methodist Church; and
      Does 1-10
965   Seneca Waterways          [Redacted]        [Redacted] v. Seneca Waterways     E2021005074    Supreme Court
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                      of the State of
      Scouts of America;                          America; Finger Lakes Council,                    New York
      Finger Lakes Council,                       Inc., Boy Scouts of America; and                  County of
      Inc., Boy Scouts of                         Otetiana Council, Boy Scouts of                   Monroe
      America; and Otetiana                       America, Inc.
      Council, Boy Scouts of
      America, Inc.
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                                4:19-cv-00847-BSM
                                    20-50527-LSS Doc
                                                  Document
                                                     185-1 23-1
                                                            FiledFiled
                                                                 07/21/21
                                                                       08/09/21
                                                                             PagePage
                                                                                  269 273
                                                                                      of 312
                                                                                          of 316




                                Underlying
      Non-Debtor                Plaintiff(s)
      Defendants(s)             (last, first)    Case Caption                        Case Number   Court or Agency
966   Greater New York          [Redacted]       [Redacted] v. Greater New York      513627/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Brooklyn                          Brooklyn Council, Boy Scouts of                   New York
      Council, Boy Scouts of                     America; and Does 1-10                            County of Kings
      America; and Does 1-10
967   Greater New York          [Redacted]       [Redacted] v. Greater New York      513571/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Brooklyn                          Brooklyn Council, Boy Scouts of                   New York
      Council, Boy Scouts of                     America; American Baptist                         County of Kings
      America; American                          Churches USA; the Concord Baptist
      Baptist Churches USA;                      Church of Christ; and Does 1-10
      the Concord Baptist
      Church of Christ; and
      Does 1-10
968   Greater New York          [Redacted]       [Redacted] v. Greater New York      70149/2021E   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Bronx Council,                    Bronx Council, Boy Scouts of                      New York
      Boy Scouts of America;                     America; and Does 1-10                            County of Bronx
      and Does 1-10
969   Greater New York          [Redacted]       [Redacted] v. Greater New York      511300/2021   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Brooklyn                          Brooklyn Council, Boy Scouts of                   New York
      Council, Boy Scouts of                     America; Bay Ridge Jewish Center;                 County of Kings
      America; Bay Ridge                         and Does 1-10
      Jewish Center; and Does
      1-10
970   Greater New York          [Redacted]       [Redacted] v. Greater New York      70071/2021E   Supreme Court
      Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
      America; Bronx Council,                    Bronx Council, Boy Scouts of                      New York
                                                 America; and Does 1-10                            County of Bronx
                            CaseCase
                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   270 274
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                         Case Number   Court or Agency
      Boy Scouts of America;
      and Does 1-10
971   Westchester-Putnam         [Redacted]       [Redacted] v. Westchester-Putnam     57564/2021    Supreme Court
      Council Inc., Boy Scouts                    Council Inc., Boy Scouts of                        of the State of
      of America a/k/a Greater                    America a/k/a Greater Hudson                       New York
      Hudson Valley Council,                      Valley Council, Boy Scouts of                      County of
      Boy Scouts of America;                      America; Hudson Valley Council,                    Westchester
      Hudson Valley Council,                      Inc., Boy Scouts of America; and
      Inc., Boy Scouts of                         Does 1-10
      America; and Does 1-10
972   Hudson Valley Council,     [Redacted]       [Redacted] v. Hudson Valley          2021-52019    Supreme Court
      Inc., Boy Scouts of                         Council, Inc., Boy Scouts of                       of the State of
      America a/k/a Greater                       America a/k/a Greater Hudson                       New York
      Hudson Valley Council,                      Valley Council, Boy Scouts of                      County of
      Boy Scouts of America;                      America; and Does 1-10                             Duchess
      and Does 1-10
973   Westchester-Putnam         [Redacted]       [Redacted] v. Westchester-Putnam     950221/2021   Supreme Court
      Council Inc., Boy Scouts                    Council Inc., Boy Scouts of                        of the State of
      of America a/k/a Greater                    America a/k/a Greater Hudson                       New York
      Hudson Valley Council,                      Valley Council; Archdiocese of                     County of New
      Archdiocese of New                          New York; Church of Our Lady of                    York
      York; Church of Our                         Victory and Sacred Heart; and Does
      Lady of Victory and                         1-10
      Sacred Heart; and Does
      1-10
974   Westchester-Putnam         [Redacted]       [Redacted] v. Westchester-Putnam     950220/2021   Supreme Court
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                       of the State of
      Scouts of America a/k/a                     America a/k/a Greater Hudson                       New York
      Greater Hudson Valley                       Valley Council; Archdiocese of                     County of New
      Council; Archdiocese of                     New York; Church of Our Lady of                    York
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   271 275
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                         Case Number   Court or Agency
      New York; Church of                         Victory and Sacred Heart; and Does
      Our Lady of Victory and                     1-10
      Sacred Heart; and Does
      1-10
975   Seneca Waterways           [Redacted]       [Redacted] v. Seneca Waterways       E2021005009   Supreme Court
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                       of the State of
      Scouts of America;                          America; Finger Lakes Council,                     New York
      Finger Lakes Council,                       Inc., Boy Scouts of America;                       County of
      Inc., Boy Scouts of                         Otetiana Council, Boy Scouts of                    Monroe
      America; Otetiana                           America, Inc.; and Seneca Falls
      Council, Boy Scouts of                      United Methodist Church
      America, Inc.; and
      Seneca Falls United
      Methodist Church
976   Longhouse Council, Inc.,   [Redacted]       [Redacted] v. Longhouse Council,     004898/2021   Supreme Court
      Boy Scouts of America;                      Inc., Boy Scouts of America; First                 of the State of
      First Presbyterian                          Presbyterian Church of                             New York
      Church of Baldwinsville;                    Baldwinsville; and Does 1-10                       County of
      and Does 1-10                                                                                  Onondaga
977   Longhouse Council, Inc.,   [Redacted]       [Redacted] v. Longhouse Council,     005151/2021   Supreme Court
      Boy Scouts of America                       Inc., Boy Scouts of America f/k/a                  of the State of
      f/k/a Hiawatha-Seaway                       Hiawatha-Seaway Council f/k/a                      New York
      Council f/k/a Hiawatha                      Hiawatha Council and Gethsemane                    County of
      Council and Gethsemane                      United Methodist Church                            Onondaga
      United Methodist
      Church
978   Suffolk County Council     [Redacted]       [Redacted] v. Suffolk County         609634/2021   Supreme Court
      Inc., Boy Scouts of                         Council Inc., Boy Scouts of                        of the State of
      America; Suffolk                            America; Suffolk Masonic District;                 New York
      Masonic District;
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   272 276
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                         Case Number    Court or Agency
      Riverhead Masonic                           Riverhead Masonic Lodge and                         County of
      Lodge and Does 1-10                         Does 1-10                                           Suffolk
979   Greater New York           [Redacted]       [Redacted] v. Greater New York       950216/2021    Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                    of the State of
      America; Manhattan                          Manhattan Council, Boy Scouts of                    New York
      Council, Boy Scouts of                      America; Broadway Presbyterian                      County of New
      America; Broadway                           Church of the City of New York;                     York
      Presbyterian Church of                      and Does 1-10
      the City of New York;
      and Does 1-10
980   Greater Niagara Frontier   [Redacted]       [Redacted] v. Greater Niagara        807120/2021    Supreme Court
      Council, Inc., Boy                          Frontier Council, Inc., Boy Scouts                  of the State of
      Scouts of America;                          of America; Iroquois Trails                         New York
      Iroquois Trails Council,                    Council, Inc., Boy Scouts of                        County of Erie
      Inc., Boy Scouts of                         America; St. Martin de Porres
      America; St. Martin de                      Catholic Church f/k/a St.
      Porres Catholic Church                      Matthews's Church; and Does 1-10
      f/k/a St. Matthews's
      Church; and Does 1-10
981   Iroquois Trail Council,    [Redacted]       [Redacted] v. Iroquois Trail         E174985/2021   Supreme Court
      Inc., Boy Scouts of                         Council, Inc., Boy Scouts of                        of the State of
      America; Lewiston Trail                     America; Lewiston Trail Council,                    New York
      Council, Inc., Boy                          Inc., Boy Scouts of America; Grace                  County of
      Scouts of America;                          Episcopal Church; and Episcopal                     Niagara
      Grace Episcopal Church;                     Diocese of New York
      and Episcopal Diocese
      of New York
982   Westchester-Putnam         [Redacted]       [Redacted] v. Westchester-Putnam     950199/2021    Supreme Court
      Council, Inc., Boy                          Council, Inc., Boy Scouts of                        of the State of
      Scouts of America a.k.a.                    America a.k.a. Greater Hudson                       New York
                            CaseCase
                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   273 277
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                          Case Number     Court or Agency
      Greater Hudson Valley                       Valley Council; Archdiocese of                        County of New
      Council; Archdiocese of                     New York, Church of the                               York
      New York, Church of                         Resurrection; and Does 1-10
      the Resurrection; and
      Does 1-10
983   Greater Hudson Valley      [Redacted]       [Redacted] v. Greater Hudson          56310/2021      Supreme Court
      Council, Inc., Boy                          Valley Council, Inc., Boy Scouts of                   of the State of
      Scouts of America; and                      America; and Washington Irving                        New York
      Washington Irving                           Council, Inc., Boy Scouts of                          County of
      Council, Inc., Boy                          America                                               Westchester
      Scouts of America
984   Hudson Valley Council,     [Redacted]       [Redacted] v. Hudson Valley           EF003201-2021   Supreme Court
      Inc., Boy Scouts of                         Council, Inc., Boy Scouts of                          of the State of
      America a.k.a. Greater                      America a.k.a. Greater Hudson                         New York
      Hudson Valley Council                       Valley Council and Does 1-10                          County of
      and Does 1-10                                                                                     Orange
985   Hudson Valley Council,     [Redacted]       [Redacted] v. Hudson Valley           032846/2021     Supreme Court
      Inc., Boy Scouts of                         Council, Inc., Boy Scouts of                          of the State of
      America a.k.a. Greater                      America a.k.a. Greater Hudson                         New York
      Hudson Valley Council;                      Valley Council; and Does 1-10                         County of
      and Does 1-10                                                                                     Rockland
986   Hudson Valley Council,     [Redacted]       [Redacted] v. Hudson Valley           032875/2021     Supreme Court
      Inc., Boy Scouts of                         Council, Inc., Boy Scouts of                          of the State of
      America a.k.a. Greater                      America a.k.a. Greater Hudson                         New York
      Hudson Valley Council;                      Valley Council; and Does 1-10                         County of
      and Does 1-10                                                                                     Rockland
987   Greater Niagara Frontier   [Redacted]       [Redacted] v. Greater Niagara         806857/2021     Supreme Court
      Council, Inc., Boy                          Frontier Council, Inc., Boy Scouts                    of the State of
      Scouts of America; St.                      of America; St. Lawrence Roman                        New York
      Lawrence Roman                              Catholic Church; and Does 1-10                        County of Erie
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
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                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    274 278
                                                                                        of 312
                                                                                            of 316




                                  Underlying
      Non-Debtor                  Plaintiff(s)
      Defendants(s)               (last, first)    Case Caption                          Case Number     Court or Agency
      Catholic Church; and
      Does 1-10
988   Suffolk County Council      [Redacted]       [Redacted] v. Suffolk County          151019/2021     Supreme Court
      Inc., Boy Scouts of                          Council Inc., Boy Scouts of                           of the State of
      America; and Does 1-10                       America; and Does 1-10                                New York
                                                                                                         County of
                                                                                                         Richmond
989   Suffolk County Council      [Redacted]       [Redacted] v. Suffolk County          609036/2021     Supreme Court
      Inc., Boy Scouts of                          Council Inc., Boy Scouts of                           of the State of
      America; and Does 1-10                       America; and Does 1-10                                New York
                                                                                                         County of
                                                                                                         Suffolk
990   Suffolk County Council      [Redacted]       [Redacted] v. Suffolk County          607028/2021     Supreme Court
      Inc., Boy Scouts of                          Council Inc., Boy Scouts of                           of the State of
      America and Brentwood                        America and Brentwood Union                           New York
      Union Free School                            Free School District                                  County of
      District                                                                                           Suffolk
991   Theodore Roosevelt          [Redacted]       [Redacted] v. Theodore Roosevelt      90030/2021      Supreme Court
      Council, Inc., Boy                           Council, Inc., Boy Scouts of                          of the State of
      Scouts of America; and                       America; and Nassau County                            New York
      Nassau County Council,                       Council, Inc., Boy Scouts of                          County of
      Inc., Boy Scouts of                          America                                               Nassau
      America
992   General Herkimer            [Redacted]       [Redacted] v. General Herkimer        EF2021-108229   Supreme Court
      Council, Inc., Boy                           Council, Inc., Boy Scouts of                          of the State of
      Scouts of America;                           America; Leatherstocking Council                      New York
      Leatherstocking Council                      of the Boy Scouts of America, Inc.;                   County of
      of the Boy Scouts of                         and Little Falls Methodist Church                     Herkimer
      America, Inc.; and Little
      Falls Methodist Church
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   275 279
                                                                                       of 312
                                                                                           of 316




                                 Underlying
      Non-Debtor                 Plaintiff(s)
      Defendants(s)              (last, first)    Case Caption                         Case Number      Court or Agency
993   Longhouse Council, Inc.,   [Redacted]       [Redacted] v. Longhouse Council,     EFCV-21-159767   Supreme Court
      Boy Scouts of America;                      Inc., Boy Scouts of America; Grand                    of the State of
      Grand Lodge of Free and                     Lodge of Free and Accepted                            New York
      Accepted Masons of the                      Masons of the State of New York;                      County of St.
      State of New York;                          Masonic Temple; and Does 1-10                         Lawrence
      Masonic Temple; and
      Does 1-10
994   Greater New York           [Redacted]       [Redacted] v. Greater New York       511415/2021      Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                      of the State of
      America; Brooklyn                           Brooklyn Council, Boy Scouts of                       New York
      Council, Boy Scouts of                      America; Diocese of Brooklyn; St.                     County of Kings
      America; Diocese of                         Mary Star of the Sea Parish; and
      Brooklyn; St. Mary Star                     Does 1-10
      of the Sea Parish; and
      Does 1-10
995   Greater New York           [Redacted]       [Redacted] v. Greater New York       950165/2021      Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                      of the State of
      America; Manhattan                          Manhattan Council, Boy Scouts of                      New York
      Council, Boy Scouts of                      America; and Does 1-10                                County of New
      America; and Does 1-10                                                                            York
996   Greater New York           [Redacted]       [Redacted] v. Greater New York       950166/2021      Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                      of the State of
      America; The New York                       The New York City Department of                       New York
      City Department of                          Education and the City of New                         County of New
      Education and the City                      York                                                  York
      of New York
997   Greater New York           [Redacted]       [Redacted] v. Greater New York       509988/2021      Supreme Court
      Councils, Boy Scouts of                     Councils, Boy Scouts of America;                      of the State of
      America; Brooklyn                           Brooklyn Council, Boy Scouts of                       New York
                                                  America; and Does 1-10                                County of Kings
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                                       20-50527-LSS Doc
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                                                        185-1 23-1
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                                                                    07/21/21
                                                                          08/09/21
                                                                                PagePage
                                                                                     276 280
                                                                                         of 312
                                                                                             of 316




                                   Underlying
       Non-Debtor                  Plaintiff(s)
       Defendants(s)               (last, first)    Case Caption                           Case Number   Court or Agency
       Council, Boy Scouts of
       America; and Does 1-10
998    Greater New York            [Redacted]       [Redacted] v. Greater New York         511358/2021   Supreme Court
       Councils, Boy Scouts of                      Councils, Boy Scouts of America;                     of the State of
       America; Brooklyn                            Brooklyn Council, Boy Scouts of                      New York
       Council, Boy Scouts of                       America; Episcopal Diocese of                        County of Kings
       America; Episcopal                           Long Island; St. Philips
       Diocese of Long Island;                      Episcopal/Anglican Church; and
       St. Philips                                  Does 1-10
       Episcopal/Anglican
       Church; and Does 1-10
999    Greater New York            [Redacted]       [Redacted] v. Greater New York         511316/2021   Supreme Court
       Councils, Boy Scouts of                      Councils, Boy Scouts of America;                     of the State of
       America; Brooklyn                            Brooklyn Council, Boy scouts of                      New York
       Council, Boy scouts of                       America; Diocese of Brooklyn;                        County of Kings
       America; Diocese of                          Parish of St. Michael-St. Malachy
       Brooklyn; Parish of St.                      f/k/a Malachy’s Church
       Michael-St. Malachy
       f/k/a Malachy’s Church
1000   Greater New York            [Redacted]       [Redacted] v. Greater New York         511408/2021   Supreme Court
       Councils, Boy Scouts of                      Councils, Boy Scouts of America;                     of the State of
       America; Brooklyn                            Brooklyn Council, Boy Scouts of                      New York
       Council, Boy Scouts of                       America; and Does 1-10                               County of Kings
       America; and Does 1-10
1001   Greater New York            [Redacted]       [Redacted] v. Greater New York         950169/2021   Supreme Court
       Councils; Church of the                      Councils; Church of the Holy                         of the State of
       Holy Agony; St.                              Agony; St. Cecilia’s Parish Service;                 New York
       Cecilia’s Parish Service;                    and Archdiocese of New York                          County of New
       and Archdiocese of New                                                                            York
       York
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
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                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   277 281
                                                                                       of 312
                                                                                           of 316




                                 Underlying
       Non-Debtor                Plaintiff(s)
       Defendants(s)             (last, first)    Case Caption                        Case Number   Court or Agency
1002   Greater New York          [Redacted]       [Redacted] v. Greater New York      70088/2021E   Supreme Court
       Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
       America; Bronx Council,                    Bronx Council, Boy Scouts of                      New York
       Boy Scouts of America;                     America; and Does 1-10                            County of Bronx
       and Does 1-10
1003   Greater New York          [Redacted]       [Redacted] v. Greater New York      400038/2021   Supreme Court
       Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
       America; Queens                            Queens Council, Boy Scouts of                     New York
       Council, Boy Scouts of                     America; and Does 1-10                            County of
       America; and Does 1-10                                                                       Queens
1004   Greater New York          [Redacted]       [Redacted] v. Greater New York      511345/2021   Supreme Court
       Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
       America; Brooklyn                          Brooklyn Council, Boy Scouts of                   New York
       Council, Boy Scouts of                     America; and Does 1-10                            County of Kings
       America; and Does 1-10
1005   Greater New York          [Redacted]       [Redacted] v. Greater New York      70090/2021E   Supreme Court
       Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
       America; Brooklyn                          Brooklyn Council, Boy Scouts of                   New York
       Council, Boy Scouts of                     America, Inc.; and Does 1-10                      County of Bronx
       America, Inc.; and Does
       1-10
1006   Greater New York          [Redacted]       [Redacted] v. Greater New York      70091/2021E   Supreme Court
       Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
       America; Brooklyn                          Brooklyn Council, Boy Scouts of                   New York
       Council, Boy Scouts of                     America; and Does 1-10                            County of Bronx
       America; and Does 1-10
1007   Greater New York          [Redacted]       [Redacted] v. Greater New York      511776/2021   Supreme Court
       Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
       America; Brooklyn                          Brooklyn Council, Boy Scouts of                   New York
       Council, Boy Scouts of                     America; Diocese of Brooklyn; St.                 County of Kings
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    278 282
                                                                                        of 312
                                                                                            of 316




                                  Underlying
       Non-Debtor                 Plaintiff(s)
       Defendants(s)              (last, first)    Case Caption                         Case Number   Court or Agency
       America; Diocese of                         Finbar Catholic Church; and Does
       Brooklyn; St. Finbar                        1-10
       Catholic Church; and
       Does 1-10
1008   Greater New York           [Redacted]       [Redacted] v. Greater New York       400043/2021   Supreme Court
       Councils, Boy Scouts of                     Councils, Boy Scouts of America;                   of the State of
       America; Queens                             Queens Council, Boy Scouts of                      New York
       Council, Boy Scouts of                      America; Diocese of Brooklyn; St.                  County of
       America; Diocese of                         Mary Catholic Church a.k.a. St.                    Queens
       Brooklyn; St. Mary                          Mary Parish; and Does 1-10
       Catholic Church a.k.a.
       St. Mary Parish; and
       Does 1-10
1009   Greater New York           [Redacted]       [Redacted] v. Greater New York       950185/2021   Supreme Court
       Councils, Boy Scouts of                     Councils, Boy Scouts of America;                   of the State of
       America; Manhattan                          Manhattan Council, Boy Scouts of                   New York
       Council, Boy Scouts of                      America; Archdiocese of New                        County of New
       America; Archdiocese of                     York; Our Lady of Guadalupe at St.                 York
       New York; Our Lady of                       Bernard Church; and Does 1-10
       Guadalupe at St. Bernard
       Church; and Does 1-10
1010   Greater New York           [Redacted]       [Redacted] v. Greater New York       511888/2021   Supreme Court
       Councils, Boy Scouts of                     Councils, Boy Scouts of America;                   of the State of
       America; Brooklyn                           Brooklyn Council, Boy Scouts of                    New York
       Council, Boy Scouts of                      America; Diocese of Brooklyn; and                  County of Kings
       America; Diocese of                         St. Finbar Catholic Church; and
       Brooklyn; and St. Finbar                    Does 1-10
       Catholic Church; and
       Does 1-10
                            CaseCase
                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   279 283
                                                                                       of 312
                                                                                           of 316




                                 Underlying
       Non-Debtor                Plaintiff(s)
       Defendants(s)             (last, first)    Case Caption                       Case Number    Court or Agency
1011   Greater New York          [Redacted]       [Redacted] v. Greater New York     512404/2021    Supreme Court
       Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
       America; Brooklyn                          Brooklyn Council, Boy Scouts of                   New York
       Council, Boy Scouts of                     America; Church of the Open Door                  County of Kings
       America; Church of the                     a/k/a Open Door Church of God in
       Open Door a/k/a Open                       Christ; and Does 1-10
       Door Church of God in
       Christ; and Does 1-10
1012   Greater New York          [Redacted]       [Redacted] v. Greater New York     400048/2021    Supreme Court
       Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
       America; Queens                            Queens Council, Boy Scouts of                     New York
       Council, Boy Scouts of                     America; and Does 1-10                            County of
       America; and Does 1-10                                                                       Queens
1013   Greater New York          [Redacted]       [Redacted] v. Greater New York     512306/2021    Supreme Court
       Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
       America; Brooklyn                          Brooklyn Council, Boy Scouts of                   New York
       Council, Boy Scouts of                     America; Diocese of Brooklyn; St                  County of Kings
       America; Diocese of                        Mary Star of the Sea Parish; and
       Brooklyn; St Mary Star                     Does 1-10
       of the Sea Parish; and
       Does 1-10
1014   Greater New York          [Redacted]       [Redacted] v. Greater New York     400047/2021    Supreme Court
       Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
       America; Queens                            Queens Council, Boy Scouts of                     New York
       Council, Boy Scouts of                     America; and Does 1-10                            County of
       America; and Does 1-10                                                                       Queens
1015   Greater New York          [Redacted]       [Redacted] v. Greater New York     512285/2021    Supreme Court
       Councils, Boy Scouts of                    Councils, Boy Scouts of America;                  of the State of
       America; Brooklyn                          Brooklyn Council, Boy Scouts of                   New York
                                                  America; and Does 1-10                            County of Kings
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                                    4:19-cv-00847-BSM
                                        20-50527-LSS Doc
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                                                         185-1 23-1
                                                                FiledFiled
                                                                     07/21/21
                                                                           08/09/21
                                                                                 PagePage
                                                                                      280 284
                                                                                          of 312
                                                                                              of 316




                                    Underlying
       Non-Debtor                   Plaintiff(s)
       Defendants(s)                (last, first)    Case Caption                          Case Number        Court or Agency
       Council, Boy Scouts of
       America; and Does 1-10
1016   Oregon Trail Council,        [Redacted]       [Redacted] v. Oregon Trail Council,   21CV16874          Circuit Court of
       Boy Scouts of America                         Boy Scouts of America                                    the State of
                                                                                                              Oregon for the
                                                                                                              County of Lane
1017   Montana Council, Boy         [Redacted]       [Redacted] v. Montana Council,        BDV-21-0279        Montana Eighth
       Scouts of America                             Boy Scouts of America                                    Judicial District,
                                                                                                              Cascade County
1018   National Capital Area        [Redacted]       [Redacted] v. National Capital Area   2021 CA 001394 B   Superior Court of
       Council, Boy Scouts of                        Council, Boy Scouts of America                           the District of
       America                                                                                                Columbia Civil
                                                                                                              Division
1019   National Capital Area        [Redacted]       [Redacted] v. National Capital Area   2021 CA 01626 B    Superior Court of
       Council, Boy Scouts of                        Council, Boy Scouts of America                           the District of
       America                                                                                                Columbia Civil
                                                                                                              Division
1020   Boy Scouts of America;       [Redacted]       [Redacted] v. Boy Scouts of           2021-CA-01897-B    Superior Court
       National Capital Area                         America; National Capital Area                           for the District of
       Council Boy Scouts of                         Council Boy Scouts of Americas;                          Columbia Civil
       Americas; Baltimore                           Baltimore Area Council, Boy                              Division
       Area Council, Boy                             Scouts of America, Inc.; People
       Scouts of America, Inc.;                      Congregation United Church of
       People Congregation                           Christ; The Corporation of the
       United Church of Christ;                      President of the Church of Jesus
       The Corporation of the                        Christ of Latter-Day Saints; Roman
       President of the Church                       Catholic Church; Allen Catholic
       of Jesus Christ of Latter-                    Church; Our Lady Queen of Peace
       Day Saints; Roman                             Church; Shiloh Baptist Church;
       Catholic Church; Allen                        Unity Baptist Church; Mr. King;
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
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                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    281 285
                                                                                        of 312
                                                                                            of 316




                                  Underlying
       Non-Debtor                 Plaintiff(s)
       Defendants(s)              (last, first)    Case Caption                          Case Number     Court or Agency
       Catholic Church; Our                        Mr. Gilbert Wiggins; Mr. Brown;
       Lady Queen of Peace                         Mr. Stewart; Mr. Neely; John Does
       Church; Shiloh Baptist                      Defendants I-V; Jane Does
       Church; Unity Baptist                       Defendants I-V; XYZ Corporations
       Church; Mr. King; Mr.                       I-V; and ABC Partnerships I-V
       Gilbert Wiggins; Mr.
       Brown; Mr. Stewart; Mr.
       Neely; John Does
       Defendants I-V; Jane
       Does Defendants I-V;
       XYZ Corporations I-V;
       and ABC Partnerships I-
       V
1021   Clark County School        [Redacted]       [Redacted] v. Clark County School     A-21-834491-C   District Court,
       District; Las Vegas Area                    District; Las Vegas Area Council,                     Clark County,
       Council, Inc., Boy                          Inc., Boy Scouts of America; Does                     Nevada
       Scouts of America; Does                     1 through 10, inclusive; ABC
       1 through 10, inclusive;                    Limited Liability Companies 21
       ABC Limited Liability                       through 30
       Companies 21 through
       30
1022   Northern New Jersey        [Redacted]       [Redacted] v. Northern New Jersey     ESX-L-4016-21   Superior Court of
       Council, Boy Scouts of                      Council, Boy Scouts of America,                       New Jersey
       America, Inc.; Eagle                        Inc.; Eagle Rock Council, Boy                         Essex County
       Rock Council, Boy                           Scouts of America, Inc.; Winston S.                   Law Division
       Scouts of America, Inc.;                    Churchill Elementary School;
       Winston S. Churchill                        Fairfield Public Schools and John
       Elementary School;                          Does 1-10
       Fairfield Public Schools
       and John Does 1-10
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                                 4:19-cv-00847-BSM
                                     20-50527-LSS Doc
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                                                      185-1 23-1
                                                             FiledFiled
                                                                  07/21/21
                                                                        08/09/21
                                                                              PagePage
                                                                                   282 286
                                                                                       of 312
                                                                                           of 316




                                 Underlying
       Non-Debtor                Plaintiff(s)
       Defendants(s)             (last, first)    Case Caption                        Case Number       Court or Agency
1023   Jersey Shore Council,     [Redacted]       [Redacted] v. Jersey Shore Council, OCN-L-1337-21     Superior Court of
       Boy Scouts of America;                     Boy Scouts of America; Ocean                          New Jersey
       Ocean County Council,                      County Council, Inc., Boy Scouts of                   Ocean County
       Inc., Boy Scouts of                        America; All Saints Episcopal                         Law Division
       America; All Saints                        Church; Spruce Street Elementary
       Episcopal Church;                          School; Lakewood Public School
       Spruce Street                              District; and John Does 1-10
       Elementary School;
       Lakewood Public School
       District; and John Does
       1-10
1024   Garden State Council,     [Redacted]       [Redacted] v. Garden State Council,   BUR-L-1080-21   Superior Court of
       Inc., Boy Scouts of                        Inc., Boy Scouts of America;                          New Jersey
       America; Burlington                        Burlington County, Council Inc.,                      Burlington
       County, Council Inc.,                      Boy Scouts of America; and John                       County Law
       Boy Scouts of America;                     Does 1-10                                             Division
       and John Does 1-10
1025   Patriots’ Path Council,   [Redacted]       [Redacted] v. Patriots’ Path          MRS-L-1213-21   Superior Court of
       Inc. Boy Scouts of                         Council, Inc. Boy Scouts of                           New Jersey
       America; Watchung                          America; Watchung Area Council,                       Morris County
       Area Council,                              Incorporated, Boy Scouts of                           Law Division
       Incorporated, Boy                          America; and John Does 1-10
       Scouts of America; and
       John Does 1-10
1026   Boy Scouts of America;    [Redacted]       [Redacted] v. Boy Scouts of           MON-L-1773-21   Superior Court of
       Boy Scout Troop 27;                        America; Boy Scout Troop 27;                          New Jersey
       Connecticut Rivers                         Connecticut Rivers Council 066;                       Monmouth
       Council 066; Estate of                     Estate of Darryl Andrews; John                        County Law
       Darryl Andrews; John                       Does 1-10 (a fictitious name) and                     Division
       Does 1-10 (a fictitious                    XYZ Company (a fictitious name)
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                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    283 287
                                                                                        of 312
                                                                                            of 316




                                   Underlying
       Non-Debtor                  Plaintiff(s)
       Defendants(s)               (last, first)   Case Caption                         Case Number     Court or Agency
       name) and XYZ
       Company (a fictitious
       name)
1027   Bucks County Council        [Redacted]      [Redacted] v. Bucks County           HNT-L-0233-21   Superior Court of
       Boy Scouts of America                       Council Boy Scouts of America                        New Jersey
       n/k/a Washington                            n/k/a Washington Crossing Council                    Hunterdon
       Crossing Council Boy                        Boy Scouts of America; Central                       County Law
       Scouts of America;                          New Jersey Council, Inc., Boy                        Division
       Central New Jersey                          Scouts of America; George
       Council, Inc., Boy                          Washington Council, Inc., Boy
       Scouts of America;                          Scouts of America; and John Does
       George Washington                           1-10
       Council, Inc., Boy
       Scouts of America; and
       John Does 1-10
1028   Northern New Jersey         [Redacted]      [Redacted] v. Northern New Jersey    ESX-L-4277-21   Superior Court of
       Council, Boy Scouts of                      Council, Boy Scouts of America,                      New Jersey
       America, Inc.; Essex                        Inc.; Essex Council, Boy Scouts of                   Essex County
       Council, Boy Scouts of                      America, Inc.; The Episcopal                         Law Division
       America, Inc.; The                          Church of St. James; The Episcopal
       Episcopal Church of St.                     Diocese of Newark; and John Does
       James; The Episcopal                        1-10
       Diocese of Newark; and
       John Does 1-10
1029   Garden State Council        [Redacted]      [Redacted] v. Garden State Council   SLM-L-0107-21   Superior Court of
       Inc.; Boy Scouts of                         Inc.; Boy Scouts of America;                         New Jersey
       America; Southern New                       Southern New Jersey Council, Inc.,                   Salem County
       Jersey Council, Inc., Boy                   Boy Scouts of America;                               Law Division
       Scouts of America;                          Woodstown Presbyterian Church;
                                                   John Does 1-10
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    284 288
                                                                                        of 312
                                                                                            of 316




                                  Underlying
       Non-Debtor                 Plaintiff(s)
       Defendants(s)              (last, first)    Case Caption                         Case Number        Court or Agency
       Woodstown Presbyterian
       Church; John Does 1-10
1030   Garden State Council       [Redacted]       [Redacted] v. Garden State Council   BUR-L-1078-21      Superior Court of
       Inc., Boy Scouts of                         Inc., Boy Scouts of America;                            New Jersey
       America; Burlington                         Burlington County Council Inc.,                         Burlington
       County Council Inc.,                        Boy Scouts of America; Sacred                           County Law
       Boy Scouts of America;                      Heart Church; Diocese of Trenton;                       Division
       Sacred Heart Church;                        Does 1-10
       Diocese of Trenton;
       Does 1-10
1031   Quivira Council, Boy       [Redacted]       [Redacted] v. Quivira Council, Boy   MGI-2021-CV-0040   14th Judicial
       Scouts of America, Inc.;                    Scouts of America, Inc.; General                        District
       General Conference of                       Conference of the United Methodist                      Montgomery
       the United Methodist                        Church; South Central Jurisdiction                      County, Kansas
       Church; South Central                       of the United Methodist Church;
       Jurisdiction of the                         Great Plains Annual Conference of
       United Methodist                            the United Methodist Church; and
       Church; Great Plains                        the First United Methodist Church
       Annual Conference of                        of Independence, Kansas.
       the United Methodist
       Church; and the First
       United Methodist
       Church of Independence,
       Kansas.
1032   Pacific Harbors Council,   [Redacted]       [Redacted] v. Pacific Harbors        21-2-06061-9       Superior Court of
       Boy Scouts of America,                      Council, Boy Scouts of America,                         the State of
       f.k.a. Mt. Rainier                          f.k.a. Mt. Rainier Council, a                           Washington in
       Council, a Washington                       Washington Corporation                                  and for the
       Corporation                                                                                         County of Pierce
                             CaseCase
                                  4:19-cv-00847-BSM
                                      20-50527-LSS Doc
                                                    Document
                                                       185-1 23-1
                                                              FiledFiled
                                                                   07/21/21
                                                                         08/09/21
                                                                               PagePage
                                                                                    285 289
                                                                                        of 312
                                                                                            of 316




                                  Underlying
       Non-Debtor                 Plaintiff(s)
       Defendants(s)              (last, first)    Case Caption                         Case Number       Court or Agency
1033   Crater Lake Council,       [Redacted]       [Redacted] v. Crater Lake Council,   21CV14647         Circuit Court of
       Boy Scouts of America,                      Boy Scouts of America, an Oregon                       the State of
       an Oregon nonprofit                         nonprofit corporation                                  Oregon for
       corporation                                                                                        Jackson County
1034   Greater Niagara Frontier   [Redacted]       [Redacted] v. Greater Niagara        807087/2021       New York State
       Council, Inc., Boy                          Frontier Council, Inc., Boy Scouts                     Supreme Court
       Scouts of America                           of America                                             Erie County
1035   Twin Rivers Council,       [Redacted]       [Redacted] v. Twin Rivers Council,   904623-21         New York State
       Inc., Boy Scouts of                         Inc., Boy Scouts of America; and                       Supreme Court
       America; and Saratoga                       Saratoga County Council, Inc., Boy                     Albany County
       County Council, Inc.,                       Scouts of America
       Boy Scouts of America
1036   Northern New Jersey        [Redacted]       [Redacted] v. Northern New Jersey    BER-L-002292-21   Superior Court of
       Council, Boy Scouts of                      Council, Boy Scouts of America,                        New Jersey
       America, Inc.; Hudson-                      Inc.; Hudson-Hamilton Council,                         Bergen County
       Hamilton Council, Boy                       Boy Scouts of America, Inc.; St.                       Law Division
       Scouts of America, Inc.;                    Paul of the Cross parish;
       St. Paul of the Cross                       Archdiocese of Newark; John Does
       parish; Archdiocese of                      1-10
       Newark; John Does 1-10
1037   Allegheny Highlands        [Redacted]       [Redacted] v. Allegheny Highlands    EK12021000861     Supreme Court
       Council, Inc.                               Council, Inc.                                          of the State of
                                                                                                          New York
                                                                                                          County of
                                                                                                          Chautaugua
CaseCase
     4:19-cv-00847-BSM
         20-50527-LSS Doc
                       Document
                          185-1 23-1
                                 FiledFiled
                                      07/21/21
                                            08/09/21
                                                  PagePage
                                                       286 290
                                                           of 312
                                                               of 316




                             Schedule 2


                        BSA Related Parties
        CaseCase
             4:19-cv-00847-BSM
                 20-50527-LSS Doc
                               Document
                                  185-1 23-1
                                         FiledFiled
                                              07/21/21
                                                    08/09/21
                                                          PagePage
                                                               287 291
                                                                   of 312
                                                                       of 316




   I.       BSA Affiliated Organizations

Learning for Life

Learning for Life of New York

Learning for Life d/b/a Police Explorers
Program Troop 282

   II.      Active Local Councils

Katahdin Area Council
                                             Longhouse Council
Pine Tree Council
                                             Five Rivers Council
Cape Cod and Islands Council
                                             Iroquois Trail Council
Spirit of Adventure Council
                                             Greater Niagara Frontier Council
Heart of New England Council
                                             Seneca Waterways Council
Mayflower Council
                                             Leatherstocking Council
Daniel Webster Council
                                             Green Mountain Council
Narragansett Council
                                             Allegheny Highlands Council
Connecticut Rivers Council
                                             Juniata Valley Council
Greenwich Council
                                             Moraine Trails Council
Housatonic Council
                                             Columbia-Montour Council
Connecticut Yankee Council
                                             Bucktail Council
Western Massachusetts Council
                                             Westmoreland-Fayette Council
Theodore Roosevelt Council
                                             Laurel Highlands Council
Suffolk County Council
                                             French Creek Council
Rip Van Winkle Council
                                             Susquehanna Council
Greater New York Council
                                             Chief Cornplanter Council
Twin Rivers Council
                                             Northern New Jersey Council
Baden-Powell Council
                                             Jersey Shore Council
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            288 292
                                                                of 312
                                                                    of 316




Monmouth Council                          Andrew Jackson Council

Patriot’s Path Council                    Pine Burr Area Council

Northeastern Pennsylvania Council         Pushmataha Area Council

Minsi Trail Council                       Gulf Coast Council

Cradle of Liberty Council                 Norwela Council

Puerto Rico Council                       Texas Trails Council

Garden State Council                      Golden Spread Council

Washington Crossing Council               Circle Ten Council

Transatlantic Council                     Caddo Area Council

Del-Mar-Va Council                        East Texas Area Council

National Capital Area Council             Northwest Texas Council

Baltimore Area Council                    Longhorn Council

Mason-Dixon Council                       South Plains Council

Pennsylvania Dutch Council                Capitol Area Council

Hawk Mountain Council                     Buffalo Trail Council

Chester County Council                    Bay Area Council

New Birth of Freedom Council              Sam Houston Area Council

Alabama-Florida Council                   South Texas Council

Mobile Area Council                       Three Rivers Council

Calcasieu Area Council                    Alamo Area Council

Istrouma Area Council                     Texas Southwest Council

Evangeline Area Council                   Rio Grande Council

Louisiana Purchase Council                Central Florida Council

Southeast Louisiana Council               South Florida Council

Choctaw Area Council                      Gulf Stream Council
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            289 293
                                                                of 312
                                                                    of 316




North Florida Council                     Tuscarora Council

Southwest Florida Council                 Cape Fear Council

Greater Tampa Bay Area Council            East Carolina Council

Suwannee River Area Council               Old Hickory Council

Georgia-Carolina Council                  Colonial Virginia Council

Daniel Boone Council                      Tidewater Council

Mecklenburg County Council                Shenandoah Area Council

Central North Carolina Council            Blue Ridge Mountains Council

Piedmont Council                          Heart of Virginia Council

Palmetto Council                          Stonewall Jackson Area Council

Coastal Carolina Council                  De Soto Area Council

Blue Ridge Council                        Westark Area Council

Pee Dee Area Council                      Quapaw Area Council

Indian Waters Council                     Arbuckle Area Council

Blue Grass Council                        Cherokee Area Council

Lincoln Heritage Council                  Cimarron Council

Cherokee Area Council                     Last Frontier Council

Great Smoky Mountain Council              Indian Nations Council

Chickasaw Council                         Greater Alabama Council

West Tennessee Area Council               Tukabatchee Area Council

Middle Tennessee Council                  Black Warrior Council

Sequoyah Council                          Chattahoochee Council

Yocona Area Council                       Atlanta Area Council

Old North State Council                   Flint River Council

Occoneechee Council                       Central Georgia Council
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            290 294
                                                                of 312
                                                                    of 316




South Georgia Council                     Abraham Lincoln Council

Coastal Georgia Council                   Hawkeye Area Council

Northwest Georgia Council                 Winnebago Council

Northeast Georgia Council                 Northeast Iowa Council

Northern Star Council                     Greater St. Louis Area Council

Twin Valley Council                       Great Trail Council

Voyageurs Area Council                    Buckeye Council

Central Minnesota Council                 Lake Erie Council

Gamehaven Council                         Simon Kenton Council

Northern Lights Council                   Muskigum Valley Council

Gateway Area Council                      Mountaineer Area Council

Samoset Council                           Buckskin Council

Bay-Lakes Council                         Ohio River Valley Council

Chippewa Valley Council                   Mid-Iowa Council

Black Hills Area Council                  Coronado Area Council

Sioux Council                             Santa Fe Trail Council

Michigan Crossroads Council               Jayhawk Area Council

President Ford FSC Council                Quivira Council

Water and Woods FSC Council               Ozark Trails Council

Southern Shores FSC Council               Heart of America Council

Great Lakes FSC Council                   Pony Express Council

Prairielands Council                      Overland Trails Council

Illowa Council                            Cornhusker Council

W.D. Boyce Council                        Mid-America Council

Mississippi Valley Council                Great Rivers Council
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            291 295
                                                                of 312
                                                                    of 316




Hoosier Trails Council                    Inland Northwest Council

Buffalo Trace Council                     Pacific Harbors Council

Anthony Wayne Area Council                Grand Columbia Council

Crossroads of America Council             Midnight Sun Council

Sagamore Council                          Oregon Trail Council

La Salle Council                          Pikes Peak Council

Dan Beard Council                         Denver Area Council

Tecumseh Council                          Longs Peak Council

Miami Valley Council                      Rocky Mountain Council

Black Swamp Area Council                  Grand Teton Council

Erie Shores Council                       Snake River Council

Three Fires Council                       Montana Council

Northeast Illinois Council                Trapper Trails Council

Pathway to Adventure Council              Great Salt Lake Council

Glacier’s Edge Council                    Utah National Parks Council

Three Harbors Council                     Greater Wyoming Council

Potawatomi Area Council                   Sequoia Council

Blackhawk Area Council                    Pacific Skyline Council

Rainbow Council                           Marin Council

Crater Lake Council                       Redwood Empire Council

Cascade Pacific Council                   Piedmon Council

Blue Mountain Council                     Golden Empire Council

Mount Baker Council                       Silicon Valley Monterey Bay Council

Chief Seattle Council                     Greater Yosemite Council

Great Alaska Council                      Nevada Area Council
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            292 296
                                                                of 312
                                                                    of 316




Southern Sierra Council                   Yucca Council

Long Beach Area Council                   Far East Council

Greater Los Angeles Area Council

Orange County Council

California Inland Empire Council

Western Los Angeles County Council

Los Padres Council

Ventura County Council

Verdugo Hills Council

Grand Canyon Council

Catalina Council

San Diego-Imperial Council

Aloha Council

Las Vegas Area Council

Great Southwest Council

Conquistador Council

Finger Lakes Council

Mountain West Council

Crossroads of the West Council

Greater Hudson Valley Council

Hudson-Hamilton Council
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            293 297
                                                                of 312
                                                                    of 316




   III.    Defunct Local Councils

Alameda Council                           Schenectady County Council

San Francisco-Bay Area Council            Otetiana Council

Mount Diablo Silverado Council            Hiawatha Council

Land of the Oneidas Council               Hiawatha Seaway Council

Fort Stanwix Council                      Fairfield County Council

Burlington County Council                 Chicago Area Council

Manhattan Council                         Essex County Council

Nassau County Council                     Mohican Council

Washington Irving Council                 Genesee Council

Brooklyn Council                          Hudson Delaware Council

Queens Council                            Siwanoy Council

St. Lawrence Council                      Mount Vernon Council

Seaway Valley Council                     Hendrick Hudson Council

Olympic Area Council                      Bronx Valley Council

Bronx Council                             James Fenimore Cooper Council

Steuben Area Council                      Siwanoy-Bronx Valley Council

Sullivan Trail Council                    Hutchinson River Council

Adirondack Council                        Yonkers Council

Jefferson-Lewis Council                   Brooklyn Borough Council

Governor Clinton Council                  Bayonne Council

Watchung Area Council                     Bronx Borough Council

Buffalo Area Council                      Saratoga Council

Dutchess County Council                   Sir William Johnson Council

Onondaga Council                          Manhattan Borough Council
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            294 298
                                                                of 312
                                                                    of 316




Susquenango Council

French Creed Council

Boston Minuteman Council

Ore-Ida Council

Lewis & Clark Council

Quinnipiac Council

The General Greene Council

Staten Island Council

Desert Trails Council

Boulder Dam Area Council

Kit Carson Council

Great Southwest Area Council

Bergen Council

Hudson Valley Council

Westchester-Putnam Council

Southern New Jersey Council

Thomas A. Edison Council

Morris-Sussex Area Council

Eagle Rock Council

Robert Treat Council

Orange Mountain Council

George Washington Council

Tamarack Council

Gulf Ridge Council
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            295 299
                                                                of 312
                                                                    of 316




   IV.     Named Chartered Organizations

Archdiocese of New York

Audubon Baptist Church

Big Cross Elementary School

Capuchin Franciscans

Capuchin Franciscans Custody of Star of the Sea

Capuchin Franciscans Province of St. Mary

Carmel of the Immaculate Concepcion

Church of the Holy Innocents

City of Bloomingdale, Georgia

Corporation of the President of the Church of Jesus Christ of Latter-Day Saints

Diocese of Brooklyn

Diocese of Buffalo

Discalced Carmelite Nuns (O.C.D.) a.k.a. Order of Discalced Carmelites

First Baptist Church of Danville d/b/a Boy Scout Troop 354

First Baptist Church of Gainesville

Glens Falls City School District

Greek Orthodox Archdiocese of America

Holy Family Church

House of Hope Presbyterian Church

Mohawk District of the Northern New York Annual Conference of the Methodist Episcopal

Church of New York

Our Lady of Lourdes Catholic School
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            296 300
                                                                of 312
                                                                    of 316




Our Savior Lutheran Church

Reformation Lutheran Church

Regis High School

Roman Catholic Archdiocese of New York, Archdiocese of New York

Roman Catholic Parish of St. Frances Xavier Cabrini, Rochester NY (formerly "Church of the
Annunciation of Rochester, New York"), a religious corporation

Saint John the Baptist Church

School Sisters of Notre Dame Central Pacific Province, Inc.

School Sisters of Notre Dame, Region of Guam

Silver Springs Shores Presbyterian Church, Inc.

St. Ambrose Church

St. Benedict Joseph Labre Church

St. Catherine's Roman Catholic Church

St. Catherine's Roman Catholic Church School

St. Demetrios Greek Orthodox Church

St. Francis of Assisi Roman Catholic Church

St. Francis Xavier Church

St. Helena Parish

St. Nicholas of Tolentine

St. Paul’s R.C. Church

St. Pius V

St. Pius X Catholic Church of Rochester, Minnesota

St. Teresa Parish a/k/a Church of St. Teresa of the Infant Jesus
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            297 301
                                                                of 312
                                                                    of 316




The Diocese of Rochester (a/k/a "Roman Catholic Diocese of Rochester"), a religious
corporation

The Foundation of the Roman Catholic Diocese of Buffalo N.Y., Inc.

The Pingry School

The Roman Catholic Diocese of Syracuse

The School Sisters of Notre Dame, Milwaukee Province, Inc.

Town Of Deerfield

University Heights Presbyterian Church

USA Northeast Province of the Society of Jesus

Weedsport Central School District

Weedsport Central School District Board of Education

Faith Lutheran Church

New Hope Lutheran Church

Montana Synod of the Evangelical Lutheran Church in America Inc.

Moose Lodge Libby

Moose International

St. Michael’s Church

Sarah Jane United Methodist Church

Church of the Holy Trinity

St. Stanislaus Kostka Catholic Church

Alliance Church

Catholic Church of St. John the Baptist and Transfiguration of Our Lord Parish

Bethel Commandment Church of the Living God of New Jersey, Inc.

Mount Laurel Fire Department
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            298 302
                                                                of 312
                                                                    of 316




Our Lady of Guadalupe at St. Bernard

Fork Lane School

Dutch Lane School

Lee Avenue Elementary School

Hicksville Union Free School District

Archer Street School

Freeport Union Free School District

Our Holy Redeemer School

Diocese of Rockville Centre

St. Patrick’s Catholic Academy

St. Mary and St. Antonios Coptic Orthodox Church

The Coptic Orthodox Diocese of New York and New England

Smithtown Central School District

St. James Elementary School

White Plains School District

George Washington Elementary School

Town of Russell

Russell Town Hall

Russell Methodist Church

Knox Memorial Central School

Edwards-Knox Central School District

Bethal Grange No. 404

Holy Rosary Church

Alexander Fire Department

Catholic Guardian Services A.K.A. Catholic Guardian Society
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            299 303
                                                                of 312
                                                                    of 316




Grange Hall

Our Lady of Lourdes

First Presbyterian Church of Watervliet, N.Y.

Veterans of Foreign Wars #6763

Veterans of Foreign Wars of the United States

Rescue Volunteer Hose Company No. 1 of Cheektowga, N.Y.

Steele Elementary School

Baldwin Union Free School District

Trinity United Methodist Church

United Methodist Church, NewYork-Connecticut District

Greenburgh Junior High School

Greenburgh Central School District

School 23, Yonkers Public School

Edward Smith School

Syracuse City School District

Higbie Lane School

Secatogue School

West Islip School District

St. Ann’s Episcopal Church

West Hills United Methodist Church

Holy Cross High School

Bradt Primary School

Mohonasen Central School District

Orchard Park United Methodist Church

Upper New York Conference of the United Methodist Church
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            300 304
                                                                of 312
                                                                    of 316




The New York Province of the Society of Jesus

U.S.A. Northeast Province of the Jesuit Father and Brothers, a/k/a, U.S.A. Northeast Province

The USA Northeast Province of the Society of Jesus, Inc., d/b/a McQuaid Jesuit Community

McQuaid Jesuit High School

Lawrence School

St. Mary Roman Catholic Church

Redeemer Lutheran Church

Seneca Elementary School

West Irondequoit School District

Knights of Columbus, Father Baker Council #2243

Big Cross Street Elementary SchoolGlen Falls City Schools

Town of York

York Town Hall

Circleville Elementary School

Pine Bush Central School District

St. Paul’s Episcopal Church

Knights of Columbus Council 462

The Children’s Village, Inc.

First Baptist Church of East Aurora

Kiwanis Club of Webster, New York, Inc.

Sacred Heart Church

Sacred Heart of Jesus

Roman Catholic Diocese of Albany

Mary Queen of Heaven Church

American Medical Response, Inc.
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            301 305
                                                                of 312
                                                                    of 316




Our Mother of Good Counsel

St. Barnabas Church

St. Martha Parish

Park Presbyterian Church

St. Augustine’s Church

St. Monica Church

Attica Lodge #462 F&AM

St. Paul’s

Assumption

First Baptist Church of Rochester

Hitchcock Presbyterian Church

Christ Evangelical Lutheran Church

Dads Club of Troop 1, Flushing Inc.

Incarnation Parish

St. Bernard’s Church

St. Bernard’s School

St. John the Evangelist

Saint Rocco Roman Catholic Church

St. Peter’s Lutheran Church

Holy House of Prayer for all People

First Presbyterian Church

St. Margaret’s Church

St. John the Baptist Church

First United Church of East Syracuse

Basilica of the Sacred Heart
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            302 306
                                                                of 312
                                                                    of 316




Christ Episcopal Church

Emmanuel Episcopal Church

New Hartford Presbyterian Church

A Group of Citizens

St. James’ Episcopal Church

Sacred Heart Cathedral

Lions Club of Chili, Inc.

South Presbyterian Church

The Community Church of Pelhams

St. Bartholomew’s Roman Catholic Church

Central Queens Young Men’s and Young Women’s Hebrew Association, Inc.

Blessed Virgin Mary, Help of Christians

Blessed Sacrament

American Legion Post 1287

St. Joseph’s Church

Immaculate Heart of Mary

Stone Presbyterian Church

First United Methodist Church

Knights of Columbus, Saratoga Council #246

Richmond Hill South Lions Club

Lincoln Middle School

Plattsburgh United Methodist Church

Lutheran Church of the Redeemer

All Saints Roman Catholic Parish Church

Central Synagogue
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            303 307
                                                                of 312
                                                                    of 316




St. Elizabeth Parish

Roman Catholic Church of Brendan and St. Ann

St. Agnes Parish

Union University Church

The Church of Jesus Christ of Latter-Day Saints

Ten Mile Rivers Scout Camps

William Howard Taft High School

Christ the King Church

Woodworth Lake Scout Reservation

Boys & Girls Club of Metro Queens

Forestburg Scout Reservation Summer Camp

St. James Presbyterian Church

Presbytery of New York City

Rotary Scout Reservation

Congregational Christian Church

St. Philip Neri Parish

Holy Trinity Episcopal Church

The Episcopal Diocese of New York

Camp Woodland

Elk Lick Scout Reserve

Our Lady of Czestochowa Parish

Rotterdam Boys & Girls Club

Boys and Girls Club of Schenectady, Inc.

Boys & Girls Clubs of America, Inc.

People’s Institutional A.M.E. Church
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            304 308
                                                                of 312
                                                                    of 316




Onteora Scout Reservation

Church of the Most Holy Rosary

South Wilton Methodist

New Utrecht Reformed Church

St. Sylvester Roman Catholic Church

St. Amelia Catholic Church

Our Lady of the Snows Church

St. Mary’s Church

Our Lady of Refuge Church

The Lakewood Memorial Post No. 1286, Inc.

YMCA of Greater New York

River’s Edge United Methodist Church f/k/a Portville Methodist Church

Bowling Green Elementary School

East Meadow School District

Exley United Methodist Church

Bethesda Memorial Baptist Church, Inc.

Grace Lutheran Church

Louis Blum Jewish War Veterans Post

McNulty Elementary School

Amsterdam School District

The Roman Catholic Archdiocese of Newark

St. Catharine’s Roman Catholic Church

Corporation of the Presiding Bishop of the Church of Jesus Christ of Latter-Day Saints

Corporation of the President of the Church of Jesus Christ of Latter-Day Saints and Successors

Church of Jesus Christ of Latter Day Saints (LDS)
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            305 309
                                                                of 312
                                                                    of 316




Steinway Reformed Church

Rome City School District

Church of the Holy Agony

St. Cecilia’s Parish Service

Blasdell Volunteer Fire Company, Inc.

Dr. Martin Luther King Jr. Elementary School

Utica City School District

New Hartford Post 1376 American Legion

Centenary United Methodist Church

New Beginnings United Methodist Church of Elmira

St. James’ Church

St. Martin of Tours

Hepburn Library of Waddington

North County Library System

Waddington Lions Club

Lions Club International

The Church of the Sacred Heart of Jesus

The Church of the Sacred Heart of Jesus Roman Catholic School

Church of the Transfiguration

St. John Kanty Church

The City of New York

New York City Department of Education

Episcopal Diocese of Long Island

McKownville United Methodist Church

St. Catherine of Sienna Church
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            306 310
                                                                of 312
                                                                    of 316




St. John’s Episcopal Church

Our Lady of the Sacred Heart Parish

Diocese of Ogdensburg

St. Fortunata Roman Catholic Church

Cathedral of Saint John the Divine

Central Synagogue Preservation Foundation, Inc.

Adventure Trails, Inc.

St. Luke’s Lutheran Church

USA Midwest Province of the Society of Jesus

First Presbyterian Church of Weedsport

American Legion, Department of New York

South Huntington School District

Birchwood Intermediate School

Red Mountain United Methodist Church

Church of the Resurrection Roman Catholic Parish Tempe

The Roman Catholic Church of the Diocese of Phoenix

Spring Valley Ward of the Church of Jesus Christ of Latter-Day Saints, Mayer, Arizona

The Desert Southwest Annual Conference of the United Methodist Church

Desert Southwest Annual (Regional) Conference of the United Methodist Church

Arizona Ecumenical Council

Los Arcos United Methodist Church

Ward #42 of the Church of Jesus Christ of Latter-Day Saints, Mesa, Arizona

Ward #43 of the Church of Jesus Christ of Latter-Day Saints, Mesa, Arizona

The Roman Catholic Church of the Diocese of Tucson

The Roman Catholic Church of the Diocese of Gallup
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            307 311
                                                                of 312
                                                                    of 316




The Southern Baptist Convention

Brooks Community Center School

Roosevelt School District No. 66

Loma Linda School

Creighton Elementary School District

Cartwright School

Cartwright Elementary School District No. 83

Big Brothers Big Sisters of Central Arizona

Bicentennial North School

Glendale Elementary School District No. 40

St. Theresa Roman Catholic Parish Phoenix a/k/a St. Theresa

Roman Catholic Bishop of Phoenix

United States Air Force

Canyon State Academy, Inc.

Sabbar Shrine Temple Corporation

Shriners International

Boys’ and Girls’ Club of the Colorado River, Inc.

Desert Willow Ward of The Church of Jesus Christ of Latter-Day Saints, Kingman, Arizona

Stockton Hill Ward of the Church of Jesus Christ of Latter-Day Saints, Kingman, Arizona

Centennial Park Ward of the Church of Jesus Christ of Latter-Day Saints, Kingsman, Arizona

First Presbyterian Church, Arizona

VFW Post 549

Veterans of Foreign Wars of the United States

The United Methodist Church

First United Methodist Church of Gilbert
     CaseCase
          4:19-cv-00847-BSM
              20-50527-LSS Doc
                            Document
                               185-1 23-1
                                      FiledFiled
                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            308 312
                                                                of 312
                                                                    of 316




General Commission on United Methodist Men of the United Methodist Church

United Methodist Men Foundation

Tucson Unified School District

Douglas Lodge No. 955, Benevolent and Protective Order of El[ks] a/k/a Elks Lodge

Evangelical Lutheran Church of the King of Tucson

Abounding Grace – ELCA

Tucson Post No. 549 Veterans of Foreign Wars of the U.S.

St. Alban’s Episcopal Church of Tucson, Inc.

Orange Grove Middle School

Catalina Foothills Unified School District No. 16

Corbett Elementary School

Tucson Unified School District No. 1 of Pima County

The Church of Jesus Christ of Latter-Day Saints Francisco Park Ward

The Church of Jesus Christ of Latter-Day Saints Richfield, Utah Stake

Arizona Elks Association

First Lutheran Church Shelby

Fordham University

Board of Trustees of Fordham University

John and Jane Doe 1-30, members of the Board of Trustees of Fordham University

Saint Anne’s R.C. Church

New York City Police Department

Riverdale Presbyterian Church

The Children’s Village

Wolcott Rotary Club

John Winthrop Elementary School
     CaseCase
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              20-50527-LSS Doc
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                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            309 313
                                                                of 312
                                                                    of 316




Bridgeport Public Schools

General Conference of the United Methodist Church

Northeastern Jurisdiction of the United Methodist Church

Upper New York Annual (Regional) Conference of the United Methodist Church

First United Methodist Church of Endicott

Good Shepherd Lutheran Church

Benevolent and Protective Order of 141 Troy Elks

Benevolent and Protective Order of the Elks

Essex County Sheriff's Office

P.J. Gelinas Junior High School

Three Village Central School District

Saint Paul’s United Methodist Church of Staten Island

Greater Rumford Community Center

Roman Catholic Diocese of Portland

Roman Catholic Bishop of Portland

St. Athanasius Catholic Church

The Order of the Holy Cross

Brookdale Reformed Church

Soundview Ward of the Church of Jesus Christ of Latter-Day Saints, University Place
Washington

Curtis Junior High School and University Place School District

American Legion Post #279

Old North Reformed Church

Reformed Church in America

Quinton Fellowship Baptist Church
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              20-50527-LSS Doc
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                               185-1 23-1
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                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            310 314
                                                                of 312
                                                                    of 316




St. Bernard of Clairvaux

Our Lady of Peace Church

Diocese of Metuchen

Stillwater Area Volunteer Fire Company

Three Bridges Volunteer Fire Company

Raymond E. Voorhees Elementary School

Old Bridge Township Public Schools

Long Branch Elementary School

Long Branch Public Schools

Order of the Teachers of the Children of God

St. Philips Episcopal/Anglican Church

Suffolk County Police Department

United Church of Christ a/k/a Flushing Bowne Street Community Church UCC

St. Mark's & St. John's Episcopal Church

Greek Orthodox Church of the Holy Spirit

Camden Central Schools

Broadway Presbyterian Church of the City of New York

St. Augustine-Francis Xavier Parish f/k/a St. Augustine Roman Catholic Church

Friends Seminary

Valley Stream Union District #30

Shaw Avenue Elementary School

Ellenville United Methodist Church

American Baptist Churches USA

Concord Baptist Church of Christ

Bay Ridge Jewish Center
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          4:19-cv-00847-BSM
              20-50527-LSS Doc
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                                           07/21/21
                                                 08/09/21
                                                       PagePage
                                                            311 315
                                                                of 312
                                                                    of 316




Our Lady of Victory and Sacred Heart

Seneca Falls United Methodist Church

First Presbyterian Church of Baldwinsville

Gethsemane United Methodist Church

Suffolk Masonic District

Riverhead Masonic Lodge

St. Martin de Porres Catholic Church f/k/a St. Matthews's Church

Grace Episcopal Church

Church of the Resurrection (New York)

St. Lawrence Roman Catholic Church

Brentwood Union Free School District

Little Falls Methodist Church

Grand Lodge of Free and Accepted Masons of the State of New York

(Unnamed) Masonic Temple

St. Mary Star of the Sea Parish

Parish of St. Michael-St. Malachy f/k/a Malachy’s Church

St. Finbar Catholic Church

St. Mary Catholic Church a.k.a. St. Mary Parish

Our Lady of Guadalupe at St. Bernard Church

Church of the Open Door a/k/a Open Door Church of God in Christ

People Congregation United Church of Christ

Allen Catholic Church

Our Lady Queen of Peace Church

Shiloh Baptist Church

Unity Baptist Church
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          4:19-cv-00847-BSM
              20-50527-LSS Doc
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                               185-1 23-1
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                                                 08/09/21
                                                       PagePage
                                                            312 316
                                                                of 312
                                                                    of 316




Clark County School District

Winston S. Churchill Elementary School

Fairfield Public Schools

All Saints Episcopal Church

Spruce Street Elementary School

Lakewood Public School District

The Episcopal Church of St. James

The Episcopal Diocese of Newark

Woodstown Presbyterian Church

Sacred Heart Church

Diocese of Trenton

General Conference of the United Methodist Church

South Central Jurisdiction of the United Methodist Church

Great Plains Annual Conference of the United Methodist Church

First United Methodist Church of Independence, Kansas

St. Paul of the Cross parish

Archdiocese of Newark
